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                                                                      EXECUTION VERSION


  SECOND AMENDMENT TO AMENDED AND RESTATED CREDIT AGREEMENT
               AND LIMITED WAIVER OF DEFAULTS

       THIS SECOND AMENDMENT TO AMENDED AND RESTATED CREDIT
AGREEMENT AND LIMITED WAIVER OF DEFAULTS (this "Amendment") dated effective
as of February 27, 2017 (the "Second Amendment Effective Date"), is by and among
LOCKWOOD ENTERPRISES, INC., a Texas corporation, LOCKWOOD INTERNATIONAL,
INC., a Texas corporation, LMG MANUFACTURING, INC., a Texas corporation, and PIPING
COMPONENTS, INC., a Texas corporation (each a "Borrower" and collectively, "Borrowers"),
and WELLS FARGO BANK, NATIONAL ASSOCIATION, as a Lender (defined below), and
as Administrative Agent for itself and the other Lenders (in such capacity, "Administrative
Agent").
                                         RECITALS

        A.      WHEREAS, Borrowers are party to that certain Amended and Restated Credit
Agreement dated as of September 30, 2015, among Borrowers, the financial institutions party
thereto from time to time, as lenders (the "Lenders"), and Administrative Agent, as amended by
that certain First Amendment to Amended and Restated Credit Agreement dated effective as of
July 31, 2016, among Borrowers, Lenders and Administrative Agent (as may be further
amended, restated or otherwise modified from time to time, the "Credit Agreement").

        B.      WHEREAS, Borrowers have requested that Required Lenders and Administrative
Agent waive Events of Default which currently exist and are continuing under Section 9.l(d) of
the Credit Agreement as a result of Borrowers' failure to comply with the (i) Consolidated Total
Liabilities to Consolidated Tangible Net Worth ratio set forth in Section 8.14(a) of the Credit
Agreement for the fiscal quarters ended October 31, 2016 and January 31, 2017, and (ii)
Consolidated Net Income covenant set forth in Section 8.14(b) of the Credit Agreement for the
fiscal quarters ended April 30, 2016, July 31, 2016, October 31, 2016, and January 31, 2017
(collectively, the "Existing Defaults").

       C.      WHEREAS, Borrowers, Required Lenders, and Administrative Agent have
agreed, subject to the terms and conditions of this Amendment, to amend the Credit Agreement.

       NOW THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are acknowledged, the undersigned hereby agree as follows:
                                      AGREEMENTS:

        1.     Incorporation of Recitals, Etc. Each of the above Recitals is expressly
incorporated herein by reference and made a part of this Agreement as though set forth herein
verbatim. The Borrower acknowledges that such Recitals are true and correct on the date of this
Agreement. For clarity and avoidance of doubt, the parties confirm and agree that the Credit
Agreement and the other Loan Documents continue in full force and effect except to the extent
specifically amended or affected herein.




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        2.     Definitions. Unless otherwise defined in this Amendment, capitalized terms used
in this Amendment which are defined in the Credit Agreement shall have the meanings assigned
to such terms in the Credit Agreement (as amended hereby).

        3.     Limited Waiver. Subject to the conditions of effectiveness set forth in Section 5
hereof, Administrative Agent and the undersigned Lenders hereby waive the Existing Defaults.
The foregoing waiver is limited as written and does not relate to any other covenant or provision
of the Credit Agreement or any other Loan Document.

        4.       Amendments to Credit Agreement. Subject to the satisfaction of the conditions
precedent set forth in Section 5 hereof, the Credit Agreement, including the Schedules and
Exhibits thereto, as applicable, is hereby amended to delete the stricken text (indicated textually
in the same manner as the following example: stricken text) and to add the double-underlined
text (indicated textually in the same manner as the following example: double-underlined text)
as set forth in the compiled copy of the Credit Agreement attached as Annex A hereto.

        5.     Conditions. This Amendment shall be effective on the Second Amendment
Effective Date once each of the following have been delivered to Administrative Agent, in each
case, in form and substance acceptable to Administrative Agent:

               (a)    this Amendment executed by Borrowers, Administrative Agent and
                      Required Lenders;

               (b)    a written confirmation from each holder of Subordinated Indebtedness, in
                      form and substance satisfactory to Administrative Agent, concerning such
                      holder’s Subordinated Indebtedness;

               (c)    evidence satisfactory to Administrative Agent that Borrower Lockwood
                      International, Inc. is in good standing and is active according to the Texas
                      Secretary of State's records, including with respect to its franchise tax
                      account status;

               (d)    payment to the Agent, for the account of the Lenders, a non-refundable
                      amendment fee equal to $180,000;

               (e)    payment of Lenders' fees and expenses (including without limitation, the
                      fees and expenses of Lenders' outside legal counsel) in connection with
                      the preparation and negotiations of this Amendment and any other
                      documents prepared in connection herewith; and

               (f)    such other documents and information as Administrative Agent may
                      reasonably request.

       6.     Representations and Warranties. Each Borrower represents and warrants to
Administrative Agent that (a) it possesses all requisite power and authority to execute, deliver
and comply with the terms of this Amendment, (b) this Amendment has been duly authorized
and approved by all requisite corporate actions on the part of such Borrower, (c) no other consent
of any Person (other than Administrative Agent) is required for this Amendment to be effective,

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(d) the execution and delivery of this Amendment does not violate its organizational documents,
(e) the representations and warranties in each Loan Document are true and correct in all material
respects on and as of the date of this Amendment as though made on the date of this Amendment
(except to the extent that such representations and warranties speak to a specific date), (f) except
as set forth herein, it is in full compliance with all covenants and agreements contained in each
Loan Document, and (g) other than the Existing Defaults, no Event of Default has occurred and
is continuing. The representations and warranties made in this Amendment shall survive the
execution and delivery of this Amendment. No investigation by Administrative Agent is
required for Administrative Agent to rely on the representations and warranties in this
Amendment.

        7.      Scope of Waiver; Reaffirmation; RELEASE. Except as affected by this
Amendment, the Loan Documents are unchanged and continue in full force and effect.
However, in the event of any inconsistency between the terms of the Credit Agreement and any
other Loan Document, the terms of the Credit Agreement shall control and such other document
shall be deemed to be amended to conform to the terms of the Credit Agreement. Each Borrower
hereby reaffirms its obligations under the Loan Documents and agrees that all Loan Documents
to which it is a party remain in full force and effect and continue to be legal, valid, and binding
obligations enforceable in accordance with their terms (as the same are affected by this
Amendment). AS A MATERIAL PART OF THE CONSIDERATION FOR ADMINISTRATIVE AGENT
ENTERING INTO THIS AMENDMENT, EACH BORROWER HEREBY RELEASES AND FOREVER
DISCHARGES ADMINISTRATIVE AGENT AND THE LENDERS (AND THEIR RESPECTIVE
SUCCESSORS, ASSIGNS, AFFILIATES, OFFICERS, MANAGERS, DIRECTORS, EMPLOYEES, AND
AGENTS) FROM ANY AND ALL CLAIMS, DEMANDS, DAMAGES, CAUSES OF ACTION, OR
LIABILITIES FOR ACTIONS OR OMISSIONS (WHETHER ARISING AT LAW OR IN EQUITY, AND
WHETHER DIRECT OR INDIRECT) IN CONNECTION WITH THE CREDIT AGREEMENT AND THE
OTHER LOAN DOCUMENTS PRIOR TO THE DATE OF THIS AMENDMENT, WHETHER OR NOT
HERETOFORE ASSERTED, AND WHICH SUCH BORROWER MAY HAVE OR CLAIM TO HAVE
AGAINST ADMINISTRATIVE AGENT OR ANY LENDER.

       8.      Miscellaneous.

               (a)     No Waiver of Defaults: Reservation of Rights. Except as expressly
                       provided in this Amendment, this Amendment does not constitute (i) a
                       waiver of, or a consent to, (A) any provision of the Credit Agreement or
                       any other Loan Document not expressly referred to in this Amendment, or
                       (B) any present or future violation of, or default under, any provision of
                       the Loan Documents; or (ii) a waiver of Administrative Agent's right to
                       insist upon future compliance with each term, covenant, condition and
                       provision of the Loan Documents. Borrowers acknowledge and agree that
                       Administrative Agent and the Lenders hereby in all respects continue to
                       reserve all of their respective rights to exercise any and all rights and
                       remedies under the Credit Agreement, any of the Loan Documents, and at
                       law or in equity, as described in the Reservation of Rights Letter.

               (b)     Form. Each agreement, document, instrument or other writing to be
                       executed and delivered or otherwise furnished to Administrative Agent as

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               a condition to the effectiveness of, or as requested by Administrative
               Agent in connection with, this Amendment must be in form and substance
               satisfactory to Administrative Agent and its counsel.

         (c)   Headings. The headings and captions used in this Amendment are for
               convenience only and will not be deemed to limit, amplify or modify the
               terms of this Amendment, the Credit Agreement, or the other Loan
               Documents.

         (d)   Costs, Expenses and Attorneys' Fees. Borrowers agree to pay or
               reimburse Administrative Agent on demand for all its reasonable out-of-
               pocket costs and expenses incurred in connection with the preparation,
               negotiation, and execution of this Amendment, including, without
               limitation, the reasonable fees and disbursements of Administrative
               Agent's counsel.

         (e)   Successors and Assigns. This Amendment shall be binding upon and
               inure to the benefit of each of the undersigned and their respective
               successors and assigns, and shall be enforceable against Borrowers in
               accordance with its terms except as enforceability may be limited by
               (i) equitable principles generally and (ii) bankruptcy, insolvency,
               liquidation, conservatorship, moratorium, rearrangement, reorganization,
               or other similar debtor relief laws or similar laws of general application
               relating to the enforcement of creditors' rights.

         (f)   Governmental Authorization.         No approval, consent, exemption,
               authorization or other action by, or notice to, or filing with or approvals
               required under state blue sky securities laws or by any governmental
               authority is necessary or required in connection with the execution,
               delivery, performance or enforcement of this Amendment.

         (g)   Multiple Counterparts. This Amendment may be executed in any number
               of counterparts with the same effect as if all signatories had signed the
               same document. All counterparts must be construed together to constitute
               one and the same instrument. This Amendment may be transmitted and
               signed by facsimile. The effectiveness of any such documents and
               signatures shall, subject to applicable law, have the same force and effect
               as manually-signed originals and shall be binding on each Borrower and
               Administrative Agent. Administrative Agent may also require that any
               such documents and signatures be confirmed by a manually-signed
               original; provided that, the failure to request or deliver the same shall not
               limit the effectiveness of any facsimile document or signature.

         (h)   Governing Law. This Amendment and the other Loan Documents must be
               construed, and their performance enforced, under Texas law.




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         (i)   NOTICE.  THIS AMENDMENT AND THE OTHER LOAN
               DOCUMENTS (AS AFFECTED BY THIS AMENDMENT)
               RELATING TO THE INDEBTEDNESS CONSTITUTE A
               WRITTEN LOAN AGREEMENT WHICH REPRESENTS THE
               FINAL AGREEMENT AMONG BORROWERS, THE LENDERS,
               AND ADMINISTRATIVE AGENT AND MAY NOT BE
               CONTRADICTED      BY    EVIDENCE      OF   PRIOR,
               CONTEMPORANEOUS,      OR      SUBSEQUENT    ORAL
               AGREEMENTS BY THE PARTIES.         THERE ARE NO
               UNWRITTEN ORAL AGREEMENTS AMONG THE PARTIES
               RELATING TO THE INDEBTEDNESS.

                  [Signatures appear on the following pages.]




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                            ANNEX A TO SECOND AMENDMENT TO
                         AMENDED AND RESTATED CREDIT AGREEMENT
                             AND LIMITED WAIVER OF DEFAULTS



               COMPILED AMENDED AND RESTATED CREDIT AGREEMENT
                            dated as of September 30, 2015

                                             by and among


                                 LOCKWOOD ENTERPRISES, INC.,

                               LOCKWOOD INTERNATIONAL, INC.,

                                   LMG MANUFACTURING, INC.,

                                                  and

                                    PIPING COMPONENTS, INC.

                                             as Borrowers,


                              THE LENDERS REFERRED TO HEREIN,
                                         as Lenders,
                                             and

                         WELLS FARGO BANK, NATIONAL ASSOCIATION,
                                     as Administrative Agent,
                                Swingline Lender and Issuing Lender

                                  WELLS FARGO SECURITIES, LLC
                              as Sole Lead Arranger and Sole Book Manager,

                        as amended by First Amendment dated as of July 31, 2016
                        and by Second Amendment dated as of February 27, 2017




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        AMENDED AND RESTATED CREDIT AGREEMENT, dated as of September 30,
2015, by and among LOCKWOOD ENTERPRISES, INC., a Texas corporation, LOCKWOOD
INTERNATIONAL, INC., a Texas corporation, LMG MANUFACTURING, INC., a Texas
corporation, and PIPING COMPONENTS, INC., a Texas corporation (each a “Borrower” and
collectively, “Borrowers”), the lenders who are party to this Agreement and the lenders who
may become a party to this Agreement pursuant to the terms hereof (collectively with the lenders
party hereto, the “Lenders”) and WELLS FARGO BANK, NATIONAL ASSOCIATION, as
Administrative Agent for the Lenders.

                                  STATEMENT OF PURPOSE

      The Borrowers have requested, and, subject to the terms and conditions hereof, the
Administrative Agent and the Lenders have agreed to extend certain credit facilities to the
Borrowers on the terms and conditions of this Agreement.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged by the parties hereto, such parties hereby agree as follows:

                                           Article I
                                         DEFINITIONS

        SECTION 1.1          Definitions. The following terms when used in this Agreement
shall have the meanings assigned to them below:

       “12/4/2015 Note” means that certain Revolving Promissory Note dated December 4,
2015, executed by LHI, as maker, and made payable to LII, as payee, in the original principal
amount of up to $25,000,000, and that as of the First Amendment Effective Date has an
outstanding principal balance of $5,600,000. [First Amendment]

        “13-Week Budget” means the thirteen-week rolling operating budget and cash flow
forecast which shall reflect the good faith projection of the Borrowers of all weekly cash receipts
and disbursements in connection with the operation of the Credit Parties' and their respective
Subsidiaries' business during such thirteen-week period, including but not limited to, collections,
payroll, capital expenditures and other major cash outlays, as such budget and forecast may be
updated from time to time as required under Section 7.1(d) herein.

       “Administrative Agent” means Wells Fargo, in its capacity as Administrative Agent
hereunder, and any successor thereto appointed pursuant to Section 10.6.

        “Administrative Agent’s Office” means the office of the Administrative Agent specified
in or determined in accordance with the provisions of Section 11.1(c).

       “Administrative Questionnaire” means an administrative questionnaire in a form
supplied by the Administrative Agent.

        “Affiliate” means, with respect to any Person, any other Person (other than a Subsidiary
of a Borrower) which directly or indirectly through one or more intermediaries, controls, or is
controlled by, or is under common control with, such first Person or any of its Subsidiaries. The
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term “control” means (a) the power to vote five percent (5%) or more of the securities or other
Capital Stock of a Person having ordinary voting power, or (b) the possession, directly or
indirectly, of any other power to direct or cause the direction of the management and policies of
a Person, whether through ownership of voting securities, by contract or otherwise. The terms
“controlling” and “controlled” have meanings correlative thereto.

       “Agreement” means this Credit Agreement, as amended, restated, supplemented or
otherwise modified from time to time.

       “Anti-Corruption Laws” means all laws, rules, and regulations of any jurisdiction
applicable to any Credit Party or its Subsidiaries from time to time concerning or relating to
bribery or corruption.

           “Anti-Terrorism Laws” is defined in Section 6.25.

        “Applicable Law” means all applicable provisions of constitutions, laws, statutes,
ordinances, rules, treaties, regulations, permits, licenses, approvals, interpretations and orders of
courts or Governmental Authorities and all orders and decrees of all courts and arbitrators.

       “Applicable Margin” means the corresponding percentages per annum as set forth below
based on the Consolidated Total Liabilities to Consolidated Tangible Net Worth Ratio:

                    Pri  Consolidated             Commitment   Stan    LIB     Base Rate
                    cin Total Liabilities            Fee       dby     OR          +
                     g to Tangible Net                         L/C      +
                    Le      Worth                              Fee
                    vel Leverage Ratio

      I        Less than 0.75 to 1.00                 0.25%      1.25%        1.25%         0.0%

     II        Greater than or equal to 0.75 to       0.25%      1.50%        1.50%         0.0%
               1.00, but less than 1.25 to 1.00

     III       Greater than or equal to 1.25 to       0.25%      1.75%        1.75%         0.0%
               1.00, but less than 1.75 to 1.00

                     IV       Greater than or       0.25%      2.003   2.00    0.00.50%
                              equal to 1.75 to                 .00%    3.00
                              1.00 but less                             %
                              than 2.25 to 1.00

     V         Greater than or equal to 2.25 to       0.25%      2.25%        2.25%         0.0%
               1.00


The Applicable Margin shall be determined and adjusted quarterly as of the first day of the
month immediately following the date by which Borrowers are required to deliver an Officer’s

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Compliance Certificate pursuant to Section 7.2(a) for the most recently ended fiscal quarter of
Borrowers (each such delivery date, a “Calculation Date”); provided that (a) the Applicable
Margin shall be based on Pricing Level IV until the first Calculation Date occurring after the
Closing Date and, thereafter the Pricing Level shall be determined by reference to the
Consolidated Total Liabilities to Consolidated Tangible Net Worth Ratio as of the last day of the
most recently ended fiscal quarter of Borrowers preceding the applicable Calculation Date, and
(b) if the Borrowers fail to provide the Officer’s Compliance Certificate as required by Section
7.2(a) for the most recently ended fiscal quarter of the Borrowers preceding the applicable
Calculation Date, the Applicable Margin from such Calculation Date shall be based on Pricing
Level V until such time as an appropriate Officer’s Compliance Certificate is provided, at which
time the Pricing Level shall be determined by reference to the Consolidated Total Liabilities to
Consolidated Tangible Net Worth Ratio as of the last day of the most recently ended fiscal
quarter of the Borrowers preceding such Calculation Date. The Applicable Margin shall be
effective from one Calculation Date until the next Calculation Date. Any adjustment in the
Applicable Margin shall be applicable to all Extensions of Credit then existing or subsequently
made or issued.

Notwithstanding the foregoing, in the event that any financial statement or Officer’s Compliance
Certificate delivered pursuant to Section 7.1 or 7.2(a) is shown to be inaccurate (regardless of
whether (i) this Agreement is in effect, (ii) the Revolving Credit Commitments are in effect, or
(iii) any Extension of Credit is outstanding when such inaccuracy is discovered or such financial
statement or Officer’s Compliance Certificate was delivered), and such inaccuracy, if corrected,
would have led to the application of a higher Applicable Margin for any period (an “Applicable
Period”) than the Applicable Margin applied for such Applicable Period, then (A) the Borrowers
shall immediately deliver to the Administrative Agent a corrected Officer’s Compliance
Certificate for such Applicable Period, (B) the Applicable Margin for such Applicable Period
shall be determined as if the Consolidated Total Liabilities to Consolidated Tangible Net Worth
Ratio in the corrected Officer’s Compliance Certificate were applicable for such Applicable
Period, and (C) the Borrowers shall immediately and retroactively be obligated to pay to the
Administrative Agent the accrued additional interest and fees owing as a result of such increased
Applicable Margin for such Applicable Period, which payment shall be promptly applied by the
Administrative Agent in accordance with Section 4.4. Nothing in this paragraph shall limit the
rights of the Administrative Agent and Lenders with respect to Sections 4.1(c) and 9.2 nor any of
their other rights under this Agreement. The Borrowers’ obligations under this paragraph shall
survive the termination of the Commitments and the repayment of all other Obligations
hereunder.

The Applicable Margins set forth above shall be increased as, and to the extent, required by
Section 4.13.

        “Approved Fund” means any Fund that is administered or managed by (a) a Lender, (b)
an Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers or manages a
Lender.

       “Arranger” means Wells Fargo Securities, LLC, in its capacity as sole lead arranger and
sole bookrunner, and its successors.


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        “Asset Disposition” means the disposition of any or all of the assets (including, without
limitation, any Capital Stock owned thereby) of any Credit Party or any Subsidiary thereof
whether by sale, lease, transfer or otherwise, and any issuance of Capital Stock by any
Subsidiary of any Borrower to any Person that is not a Credit Party or any Subsidiary thereof.
The term “Asset Disposition” shall not include (a) any Equity Issuance, (b) the sale of inventory
in the ordinary course of business, (c) the transfer of assets to any Borrower or any Subsidiary
Guarantor pursuant to any other transaction permitted pursuant to Section 9.4, (d) the write-off,
discount, sale or other disposition of defaulted or past-due receivables and similar obligations in
the ordinary course of business and not undertaken as part of an accounts receivable financing
transaction, (e) the disposition of any Hedge Agreement, (f) dispositions of Investments in cash
and Cash Equivalents, and (f) (i) the transfer by any Credit Party of its assets to any other Credit
Party, (ii) the transfer by any Non-Guarantor Subsidiary of its assets to any Credit Party
(provided that in connection with any new transfer, such Credit Party shall not pay more than an
amount equal to the fair market value of such assets as determined in good faith at the time of
such transfer) and (iv) the transfer by any Non-Guarantor Subsidiary of its assets to any other
Non-Guarantor Subsidiary.

        “Assignment and Assumption” means an assignment and assumption entered into by a
Lender and an assignee (with the consent of any party whose consent is required by Section
11.10), and accepted by the Administrative Agent, in substantially the form attached as Exhibit
G or any other form approved by the Administrative Agent.

        “Attributable Indebtedness” means, on any date of determination, (a) in respect of any
Capital Lease of any Person, the capitalized amount thereof that would appear on a balance sheet
of such Person prepared as of such date in accordance with GAAP, and (b) in respect of any
Synthetic Lease, the capitalized amount or principal amount of the remaining lease payments
under the relevant lease that would appear on a balance sheet of such Person prepared as of such
date in accordance with GAAP if such lease were accounted for as a Capital Lease.

       “Base Rate” means, at any time, the highest of (a) the Prime Rate, (b) the Federal Funds
Rate plus 1.50% and (c) except during any period of time during which a notice delivered to
Borrowers under Section 4.8 shall remain in effect, LIBOR for an Interest Period of one month
plus 1.75%; each change in the Base Rate shall take effect simultaneously with the
corresponding change or changes in the Prime Rate, the Federal Funds Rate, or LIBOR.

       “Base Rate Loan” means any Loan bearing interest at a rate based upon the Base Rate as
provided in Section 4.1(a).

       “Borrower” and “Borrowers” have the meaning assigned thereto in the introductory
paragraph hereto.

          “Borrower Materials” has the meaning assigned thereto in Section 7.2.

       “Business Day” means (a) for all purposes other than as set forth in clause (b) below, any
day other than a Saturday, Sunday or legal holiday on which banks in Houston, Texas, and New
York, New York, are open for the conduct of their commercial banking business, and (b) with
respect to all notices and determinations in connection with, and payments of principal and

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interest on, any LIBOR Rate Loan, or any Base Rate Loan as to which the interest rate is
determined by reference to LIBOR, any day that is a Business Day described in clause (a) and
that is also a day for trading by and between banks in Dollar deposits in the London interbank
market.

      “Calculation Date” has the meaning assigned thereto in the definition of Applicable
Margin.

       “Capital Asset” means, with respect to Parent and its Subsidiaries, any asset that should,
in accordance with GAAP, be classified and accounted for as a capital asset on a Consolidated
balance sheet of Parent and its Subsidiaries.

        “Capital Expenditures” means, with respect to Parent and its Subsidiaries for any period,
the aggregate cost of all Capital Assets acquired by Parent or its Subsidiaries during such period,
as determined in accordance with GAAP.

       “Capital Lease” means any lease of any property by Parent or its Subsidiaries, as lessee,
that should, in accordance with GAAP, be classified and accounted for as a capital lease on a
Consolidated balance sheet of the Parent and its Subsidiaries.

        “Capital Stock” means (a) in the case of a corporation, capital stock, (b) in the case of an
association or business entity, any and all shares, interests, participations, rights or other
equivalents (however designated) of capital stock, (c) in the case of a partnership, partnership
interests (whether general or limited), (d) in the case of a limited liability company, membership
interests, (e) any other interest or participation that confers on a Person the right to receive a
share of the profits and losses of, or distributions of assets of, the issuing Person and (f) any and
all warrants, rights or options to purchase any of the foregoing.

        “Cash Collateralize” means, to pledge and deposit with, or deliver to, the Administrative
Agent, for the benefit of one or more of the Issuing Lender, the Swingline Lender or the Lenders,
as collateral for L/C Obligations or obligations of the Lenders to fund participations in respect of
L/C Obligations or Swingline Loans, cash or deposit account balances or, if the Administrative
Agent, the Issuing Lender and the Swingline Lender shall agree, in their sole discretion, other
credit support, in each case pursuant to documentation in form and substance satisfactory to the
Administrative Agent, the Issuing Lender and the Swingline Lender, as applicable. “Cash
Collateral” shall have a meaning correlative to the foregoing and shall include the proceeds of
such cash collateral and other credit support.

        “Cash Equivalents” means, collectively, (a) marketable direct obligations issued or
unconditionally guaranteed by the United States or any agency thereof maturing within one
hundred twenty (120) days from the date of acquisition thereof, (b) commercial paper maturing
no more than one hundred twenty (120) days from the date of creation thereof and currently
having the highest rating obtainable from either S&P or Moody’s, (c) certificates of deposit
maturing no more than one hundred twenty (120) days from the date of creation thereof issued
by commercial banks incorporated under the laws of the United States, each having combined
capital, surplus and undivided profits of not less than $500,000,000 and having a rating of “A” or
better by a nationally recognized rating agency; provided that the aggregate amount invested in

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such certificates of deposit shall not at any time exceed $5,000,000 for any one such certificate
of deposit and $10,000,000 for any one such bank, or (d) time deposits maturing no more than
thirty (30) days from the date of creation thereof with commercial banks or savings banks or
savings and loan associations each having membership either in the FDIC or the deposits of
which are insured by the FDIC and in amounts not exceeding the maximum amounts of
insurance thereunder.

       “Cash Management Agreement” means any agreement to provide cash management
services, including treasury, depository, overdraft, credit or debit card, electronic funds transfer
and other cash management arrangements.

        “Cash Management Bank” means any Person that, at the time it enters into a Cash
Management Agreement, is a Lender, an Affiliate of a Lender, the Administrative Agent or an
Affiliate of the Administrative Agent, in its capacity as a party to such Cash Management
Agreement.

          “CFTC” means the Commodity Futures Trading Commission.

        “Change in Control” means an event or series of events by which, at any time, (a)
Michael F. Lockwood fails to own 100% of the Capital Stock of Parent entitled to vote in the
election of members of the board of directors (or equivalent governing body) of Parent, (b)
Parent fails to own and control 100% of the Capital Stock of LII, (c) Parent fails to own and
control 100% of the Capital Stock of LMG, (d) LMG fails to own and control 100% of the
Capital Stock of PCI, or (e) Michael F. Lockwood fails to own 100% of the Capital Stock of LHI
entitled to vote in the election of members of the board of directors (or equivalent governing
body) of LHI.

        “Change in Law” means the occurrence, after the date of this Agreement, of any of the
following: (a) the adoption or taking effect of any law, rule, regulation or treaty, (b) any change
in any law, rule, regulation or treaty or in the administration, interpretation or application thereof
by any Governmental Authority or (c) the making or issuance of any request, rule, guideline or
directive (whether or not having the force of law) by any Governmental Authority; provided that
notwithstanding anything herein to the contrary, the Dodd-Frank Wall Street Reform and
Consumer Protection Act of 2010 and all requests, rules, guidelines or directives thereunder or
issued in connection therewith shall be deemed to be a “Change in Law”, regardless of the date
enacted, adopted or issued.

       “Class” means, when used in reference to any Loan, whether such Loan is a Revolving
Credit Loan or Swingline Loan, when used in reference to any Commitment, a Revolving Credit
Commitment.

          “Closing Date” means September 30, 2015.

      “Code” means the Internal Revenue Code of 1986, and the rules and regulations
promulgated thereunder, each as amended or modified from time to time.

       “Collateral” means the collateral security for the Secured Obligations pledged or granted
pursuant to the Security Documents.
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       “Collateral Agreement” means the Pledge and Security Agreement of even date herewith
executed by the Credit Parties in favor of the Administrative Agent, for the ratable benefit of the
Secured Parties, which shall be in form and substance acceptable to the Administrative Agent, as
amended, restated, supplemented or otherwise modified from time to time.

          “Commitment Fee” has the meaning assigned thereto in Section 4.3(a).

     “Commitment Percentage” means, as to any Lender, such Lender’s Revolving Credit
Commitment Percentage.

     “Commitments” means, collectively, as to all Lenders, the Revolving Credit
Commitments of such Lenders.

       “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.),
as amended, and all related rules, regulations and published interpretations.

       “Consolidated” means, when used with reference to financial statements or financial
statement items of any Person, such statements or items on a consolidated basis in accordance
with applicable principles of consolidation under GAAP.

         “Consolidated Asset Coverage Ratio” means for Parent and its Subsidiaries on a
Consolidated basis and calculated in accordance with GAAP (and including LHI with respect to
the LHI Pledged Equipment only), as of any date of determination, the ratio of (a) the total of (i)
Domestic Trade Accounts Receivable, (ii) plus Domestic Inventory aged less than 365 days, (iii)
plus Domestic Fixed Assets, and (iv) plus LHI Pledged Equipment, in each case under these
clauses (i), (ii), (iii) and (iv), in which the Administrative Agent for the ratable benefit of the
Lenders has a valid and perfected first priority Lien securing the Obligations, (v) plus Eligible
Foreign Trade Accounts Receivable, (vi) plus Foreign Trade Accounts Receivable, and (vii) plus
Foreign Inventory, provided that, the aggregate amount of all Foreign Trade Accounts
Receivable under clause (vi) and all Foreign Inventory under clause (vii) shall not exceed
$7,500,000 in the aggregate, to (b) the total of (i) the aggregate amount of L/C Obligations, plus
(ii) the aggregate amount of outstanding Revolving Credit Loans and Swingline Loans.

        “Consolidated Cash Balance” means, at any time, the aggregate amount of cash, cash
equivalents and investments in money market funds, in each case, held or owned by (whether
directly or indirectly), credited to the account of, or otherwise reflected as an asset on the
balance sheet of, the Credit Parties.

      “Consolidated EBITDA” means, for any period, the sum of the following determined on
a Consolidated basis, without duplication, for the Parent and its Subsidiaries in accordance with
GAAP:

          (a)       Consolidated Net Income for such period, plus

       (b)   the sum of the following, without duplication, to the extent deducted in
determining Consolidated Net Income for such period:

                    (i)       income and franchise taxes payable during such period,
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                    (ii)      Consolidated Interest Expense for such period,

                  (iii) amortization, depreciation and other non-cash charges for such period
          except to the extent that such non-cash charges are reserved for cash charges to be taken
          in the future,

                 (iv)     non-cash compensation charges, including any such charges arising from
          stock options, restricted stock grants or other equity incentive programs,

                 (v)    write-down of cash expenses incurred in connection with the Existing
          Credit Agreement,

        “Consolidated Funded Indebtedness” means, as of any date of determination with
respect to the Parent and its Subsidiaries on a Consolidated basis without duplication, the sum of
all Indebtedness (other than Indebtedness in respect of obligations under any undrawn letter of
credit) of the Parent and its Subsidiaries.

        “Consolidated Leverage Ratio” means, as of any date of determination, the ratio of (a)
Consolidated Funded Indebtedness on such date to (b) Consolidated EBITDA for the period of
four (4) consecutive fiscal quarters ending on or immediately prior to such date.

        “Consolidated Net Income” means, for any period, the net income (or loss) of Parent and
its Subsidiaries for such period, determined on a Consolidated basis, without duplication, in
accordance with GAAP; provided that, in calculating Consolidated Net Income of Parent and its
Subsidiaries for any period, there shall be excluded (a) the net income (or loss) of any Person
(other than a Subsidiary which shall be subject to clause (c) below), in which Parent or any of its
Subsidiaries has a joint interest with a third party, except to the extent such net income is
actually paid in cash to Parent or any of its Subsidiaries by dividend or other distribution during
such period, (b) the net income (or loss) of any Person accrued prior to the date it becomes a
Subsidiary of Parent or any of its Subsidiaries or is merged into or consolidated with Parent or
any of its Subsidiaries or that Person’s assets are acquired by Parent or any of its Subsidiaries
except to the extent included pursuant to the foregoing clause (a), and (c) the net income (if
positive), of any Subsidiary to the extent that the declaration or payment of dividends or similar
distributions by such Subsidiary to Parent or any of its Subsidiaries of such net income (i) is not
at the time permitted by operation of the terms of its charter or any agreement, instrument,
judgment, decree, order, statute, rule or governmental regulation applicable to such Subsidiary or
(ii) would be subject to any taxes payable on such dividends or distributions, but in each case
only to the extent of such prohibition or taxes. For purposes of this Agreement, Consolidated
Net Income shall be adjusted on a Pro Forma Basis.

       “Consolidated Tangible Net Worth” means, as of any date of determination, for the
Parent and its Subsidiaries on a Consolidated basis, the sum of (a) shareholders’ equity of the
Parent and its Subsidiaries on that date, (b) minus the Intangible Assets of the Parent and its
Subsidiaries on that date, (c) plus the Subordinated Indebtedness of the Parent and its
Subsidiaries on that date, and (d) minus accounts receivable due from any Affiliate of any
Borrower that is more than 180 days past due. “Consolidated Total Liabilities” means, as of any
date of determination with respect to the Parent and its Subsidiaries on a Consolidated basis,

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without duplication, the sum of all current liabilities and non-current liabilities of the Parent and
its Subsidiaries (excluding Subordinated Indebtedness).

         “Credit Facility” means, collectively, the Revolving Credit Facility, the Swingline
Facility and the L/C Facility.

          “Credit Parties” means, collectively, each Borrower and the Subsidiary Guarantors.

       “Debt Issuance” shall mean the issuance of any Indebtedness for borrowed money by
any Credit Party or any of its Subsidiaries.

        “Default” means any of the events specified in Section 9.1 which with the passage of
time, the giving of notice or any other condition, would constitute an Event of Default.

        “Defaulting Lender” means any Lender that (a) has failed to fund any portion of the
Revolving Credit Loans, participations in L/C Obligations or participations in Swingline Loans
required to be funded by it hereunder within one Business Day of the date required to be funded
by it hereunder, (b) has otherwise failed to pay over to the Administrative Agent or any other
Lender any other amount required to be paid by it hereunder within one Business Day of the date
when due, unless such amount is the subject of a good faith dispute, (c) has notified any
Borrower, the Administrative Agent or any other Lender in writing that it does not intend to
comply with any of its funding obligations under this Agreement or has made a public statement
to the effect that it does not intend to comply or has failed to comply with its funding obligations
under this Agreement or under other agreements in which it commits or is obligated to extend
credit, or (d) has become or is insolvent or has become the subject of a bankruptcy or insolvency
proceeding, or has had a receiver, conservator, trustee or custodian appointed for it, or has taken
any action in furtherance of, or indicating its consent to, approval of or acquiescence in any such
proceeding or appointment.

       “Dollars” or “$” means, unless otherwise qualified, dollars in lawful currency of the
United States.

      “Domestic Fixed Assets” means the net book value of all fixed assets owned by any
Borrower or an Eligible Subsidiary which are located at all times in the U.S. or Canada.

        “Domestic Inventory” means all inventory (measured on the lower of cost or market
basis) owned by any Borrower or an Eligible Subsidiary which is located at all times in the U.S.
or Canada.

       “Domestic Subsidiary” means any Subsidiary organized under the laws of any political
subdivision of the United States.

       “Domestic Trade Accounts Receivable” means all trade accounts receivable owned by
any Borrower or any Eligible Subsidiary from a Person residing, located or organized in the U.S.
or Canada (but in all cases excluding any trade accounts receivable with any Affiliates).

        “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA
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Resolution Authority, (b) any entity established in an EEA Member Country which is a parent of
an institution described in clause (a) of this definition, or (c) any financial institution established
in an EEA Member Country which is a subsidiary of an institution described in clauses (a) or (b)
of this definition and is subject to consolidated supervision with its parent.

       “EEA Member Country” means any of the member states of the European Union,
Iceland, Liechtenstein, and Norway.

        “EEA Resolution Authority” means any public administrative authority or any person
entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.

         “Eligibility Date” means, with respect to any Credit Party, and each Secured Hedge
Agreement, the date on which this Agreement or any other Loan Document becomes effective
with respect to such Secured Hedge Agreement (for the avoidance of doubt, the Eligibility Date
shall be the Effective Date of such Secured Hedge Agreement if this Agreement or any other
Loan Document is then in effect with respect to any Credit Party, and otherwise it shall be the
Effective Date of this Agreement and/or such other Loan Documents to which any Credit Party
is a party). For purposes of this defined term, “Effective Date” means the date indicated in a
document or agreement to be the date on which such document or agreement becomes effective,
or, if there is no such indication, the date of execution of such document or agreement.

     “Eligible Contract Participant” means an “eligible contract participant” as defined in the
Commodity Exchange Act and regulations thereunder.

       “Eligible Foreign Trade Accounts Receivable” means trade accounts receivable owned
by any Borrower or any Eligible Subsidiary from a Person residing, located or organized outside
of the U.S. or Canada, to the extent such accounts receivable, unless otherwise approved in
writing by the Administrative Agent, (A) are supported by a letter of credit approved by the
Administrative Agent in writing, or (B) are from a Person whose senior long-term unsecured
debt securities has a rating equal to or better than Baa3 by Moody’s Investors Service, Inc.,
BBB- by Standard & Poor’s Ratings Services, a division of McGraw Hill Companies Inc., or a
comparable investment grade rating by any successor rating agency thereto and otherwise
acceptable to the Administrative Agent (but in all cases excluding any trade accounts receivable
with any Affiliates).

       “Eligible Subsidiary” means a Subsidiary Guarantor that is either (a) a Domestic
Subsidiary or (b) a Foreign Subsidiary that is organized under the laws of Canada or any
Province thereof.

        “Employee Benefit Plan” means (a) any employee benefit plan within the meaning of
Section 3(3) of ERISA that is maintained for employees of any Credit Party or any ERISA
Affiliate or (b) any Pension Plan or Multiemployer Plan that has at any time within the preceding
seven (7) years been maintained, funded or administered for the employees of any Credit Party
or any current or former ERISA Affiliate.



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        “Environmental Claims” means any and all administrative, regulatory or judicial actions,
suits, demands, demand letters, claims, liens, accusations, allegations, notices of noncompliance
or violation, investigations (other than internal reports prepared by any Person in the ordinary
course of business and not in response to any third party action or request of any kind) or
proceedings relating in any way to any actual or alleged violation of or liability under any
Environmental Law or relating to any permit issued, or any approval given, under any such
Environmental Law, including, without limitation, any and all claims by Governmental
Authorities for enforcement, cleanup, removal, response, remedial or other actions or damages,
contribution, indemnification cost recovery, compensation or injunctive relief resulting from
Hazardous Materials or arising from alleged injury or threat of injury to human health or the
environment.

        “Environmental Laws” means any and all federal, foreign, state, provincial and local
laws, statutes, ordinances, codes, rules, standards and regulations, permits, licenses, approvals,
interpretations and orders of courts or Governmental Authorities, relating to the protection of
human health or the environment, including, but not limited to, requirements pertaining to the
manufacture, processing, distribution, use, treatment, storage, disposal, transportation, handling,
reporting, licensing, permitting, investigation or remediation of Hazardous Materials.

        “Equity Issuance” means (a) any issuance by any Credit Party or any Subsidiary thereof
to any Person that is not a Credit Party or a Subsidiary thereof, of (i) shares of its Capital Stock,
(ii) any shares of its Capital Stock pursuant to the exercise of options or warrants or (iii) any
shares of its Capital Stock pursuant to the conversion of any debt securities to equity and (b) any
capital contribution from any Person that is not a Credit Party into any Credit Party or any
Subsidiary thereof. The term “Equity Issuance” shall not include (A) any Asset Disposition or
(B) any Debt Issuance.

       “ERISA” means the Employee Retirement Income Security Act of 1974, and the rules
and regulations thereunder, each as amended or modified from time to time.

        “ERISA Affiliate” means any Person who together with any Credit Party or any of its
Subsidiaries is treated as a single employer within the meaning of Section 414(b), (c), (m) or (o)
of the Code or Section 4001(b) of ERISA.

        “Eurodollar Reserve Percentage” means, for any day, the percentage (expressed as a
decimal and rounded upwards, if necessary, to the next higher 1/100th of 1%) which is in effect
for such day as prescribed by the Board of Governors of the Federal Reserve System (or any
successor) for determining the maximum reserve requirement (including, without limitation, any
basic, supplemental or emergency reserves) in respect of eurocurrency liabilities or any similar
category of liabilities for a member bank of the Federal Reserve System in New York City.

       “Event of Default” means any of the events specified in Section 9.1; provided that any
requirement for passage of time, giving of notice, or any other condition, has been satisfied.

        “Excluded Hedge Liabilities” means with respect to any Credit Party, each of its
Secured Hedge Liabilities if, and only to the extent that, all or any portion of this Agreement or
any other Loan Document that relates to such obligations is or becomes illegal under the

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Commodity Exchange Act, or any rule, regulation or order of the CFTC, solely by virtue of such
Credit Party’s failure to qualify as an Eligible Contract Participant on the Eligibility Date for
such Secured Hedge Agreement. Notwithstanding anything to the contrary contained in the
foregoing or in any other provision of this Agreement or any other Loan Document, the
foregoing is subject to the following provisos: (a) if any Secured Hedge Liabilities arise under a
master agreement governing more than one Secured Hedge Agreement, this definition shall
apply only to the portion of such Secured Hedge Liabilities that is attributable to Secured Hedge
Agreements for which such guaranty or security interest is or becomes illegal under the
Commodity Exchange Act, or any rule, regulations or order of the CFTC, solely as a result of the
failure by such Credit Party for any reason to qualify as an Eligible Contract Participant on the
Eligibility Date for such Secured Hedge Agreement; (b) if a guarantee of any Secured Hedge
Liabilities would cause such obligation to be an Excluded Hedge Liability but the grant of a
security interest would not cause such obligation to be an Excluded Hedge Liability, such
Secured Hedge Liabilities shall constitute an Excluded Hedge Liability for purposes of the
guaranty but not for purposes of the grant of the security interest; and (c) if there is more than
one Credit Party executing this Agreement or the other Loan Documents and any Secured Hedge
Liabilities would be Excluded Hedge Liabilities with respect to one or more of such Persons, but
not all of them, the definition of Excluded Hedge Liability with respect to each such Person shall
only be deemed applicable to (i) the particular Secured Hedge Liabilities that constitute
Excluded Hedge Liabilities with respect to such Person, and (ii) the particular Person with
respect to which such Secured Hedge Liabilities constitute Excluded Hedge Liabilities.

        “Excluded Taxes” means any of the following Taxes imposed on or with respect to a
Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes
imposed on or measured by net income (however denominated), franchise Taxes, and branch
profits Taxes, in each case, (i) imposed as a result of such Recipient being organized under the
laws of, or having its principal office or, in the case of any Lender, its applicable lending office
located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that
are Other Connection Taxes, (b) in the case of a Lender, United States federal withholding Taxes
imposed on amounts payable to or for the account of such Lender with respect to an applicable
interest in a Loan or Commitment pursuant to a law in effect on the date on which (i) such
Lender acquires such interest in the Loan or Commitment (other than pursuant to an assignment
request by the Borrower under Section 4.12(b)) or (ii) such Lender changes its lending office,
except in each case to the extent that, pursuant to Section 4.11, amounts with respect to such
Taxes were payable either to such Lender’s assignor immediately before such Lender became a
party hereto or to such Lender immediately before it changed its lending office, (c) Taxes
attributable to such Recipient’s failure to comply with Section 4.11(g) and (d) any United States
federal withholding Taxes imposed under FATCA.

       “Existing Credit Agreement” means that certain Credit Agreement dated as of September
30, 2011, among LII, the financial institutions party thereto from time to time, as lenders, the
Administrative Agent, the Swingline Lender, and the Issuing Lender (as amended by the First
Amendment dated April 13, 2012, the Waiver and Second Amendment dated October 8, 2012,
the Waiver and Third Amendment dated March 1, 2013, the Consent and Fourth Amendment
dated August 1, 2013, and the Fifth Amendment dated effective February 10, 2015).


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      “Existing Hedges” means those Hedges existing on the Closing Date and identified on
Schedule 1.2.

       “Existing Letters of Credit” means those Letters of Credit existing on the Closing Date
and identified on Schedule 1.3.

        “Extensions of Credit” means, as to any Lender at any time, (a) an amount equal to the
sum of (i) the aggregate principal amount of all Revolving Credit Loans made by such Lender
then outstanding, (ii) such Lender’s Revolving Credit Commitment Percentage of the L/C
Obligations then outstanding, and (iii) such Lender’s Revolving Credit Commitment Percentage
of the Swingline Loans then outstanding, or (b) the making of any Loan or participation in any
Letter of Credit by such Lender, as the context requires.

        “FATCA” means Sections 1471 through 1474 of the Code (as of the date hereof) and any
regulations or official interpretations thereof (including any Revenue Ruling, Revenue
Procedure, Notice or similar guidance issued by the U.S. Internal Revenue Service thereunder as
a precondition to relief or exemption from Taxes under such provisions); provided that FATCA
shall also include any amendments to Sections 1471 through 1474 of the Code if, as amended,
FATCA provides a commercially reasonable mechanism to avoid the tax imposed thereunder by
satisfying the information reporting and other requirements of FATCA.

          “FDIC” means the Federal Deposit Insurance Corporation, or any successor thereto.

        “Federal Funds Rate” means, for any day, the rate per annum equal to the weighted
average of the rates on overnight Federal funds transactions with members of the Federal
Reserve System arranged by federal funds brokers on such day (or, if such day is not a Business
Day, for the immediately preceding Business Day), as published by the Federal Reserve Bank of
New York on the Business Day next succeeding such day, provided that if such rate is not so
published for any day which is a Business Day, the average of the quotation for such day on such
transactions received by the Administrative Agent from three Federal Funds brokers of
recognized standing selected by the Administrative Agent. Notwithstanding the foregoing, if the
Federal Funds Rate shall be less than zero, such rate shall be deemed to be zero for purposes of
this Agreement.

      “Fee Letter” means the separate fee letter agreement dated the Closing Date, among the
Borrowers and the Administrative Agent.

          “First Amendment Effective Date” means July 31, 2016. [First Amendment]

       “First Tier Foreign Subsidiary” means any Foreign Subsidiary owned directly by any
Credit Party.

          “Fiscal Year” means the fiscal year of Parent and its Subsidiaries ending on January 31.

        “Foreign Inventory” means the aggregate amount of all inventory that is (i) owned by a
Foreign Subsidiary or (ii) owned by any Borrower or an Eligible Subsidiary that is not located at
all times in the U.S. or Canada.

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        “Foreign Lender” means any Lender that is organized under the laws of a jurisdiction
other than that in which a Borrower is resident for tax purposes. For purposes of this definition,
the United States, each State thereof and the District of Columbia shall be deemed to constitute a
single jurisdiction.

          “Foreign Subsidiary” means any Subsidiary that is not a Domestic Subsidiary.

       “Foreign Trade Accounts Receivable” means trade accounts receivable that are (i)
owned by any Foreign Subsidiary, or (ii) owned by any Borrower or any Eligible Subsidiary
from a Person residing, located or organized outside of the U.S. or Canada that are not Eligible
Foreign Trade Accounts Receivable (but in all cases excluding any trade accounts receivable
with any Affiliates).

        “Fronting Exposure” means, at any time there is a Defaulting Lender, (a) with respect to
the Issuing Lender, such Defaulting Lender’s Revolving Credit Commitment Percentage of the
outstanding L/C Obligations other than L/C Obligations as to which such Defaulting Lender’s
participation obligation has been reallocated to other Lenders or Cash Collateral or other credit
support acceptable to the Issuing Lender shall have been provided in accordance with the terms
hereof and (b) with respect to the Swingline Lender, such Defaulting Lender’s Revolving Credit
Commitment Percentage of Swingline Loans other than Swingline Loans as to which such
Defaulting Lender’s participation obligation has been reallocated to other Lenders, repaid by the
Borrowers or for which Cash Collateral or other credit support acceptable to the Swingline
Lender shall have been provided in accordance with the terms hereof.

        “Fund” means any Person (other than a natural person) that is (or will be) engaged in
making, purchasing, holding or otherwise investing in commercial loans and similar extensions
of credit in the ordinary course of its business.

        “GAAP” means generally accepted accounting principles in the United States set forth in
the opinions and pronouncements of the Accounting Principles Board and the American Institute
of Certified Public Accountants and statements and pronouncements of the Financial Accounting
Standards Board or such other principles as may be approved by a significant segment of the
accounting profession in the United States, that are applicable to the circumstances as of the date
of determination, consistently applied.

        “Governmental Approvals” means all authorizations, consents, approvals, permits,
licenses and exemptions of, registrations and filings with, and reports to, all Governmental
Authorities.

        “Governmental Authority” means the government of the United States or any other
nation, or of any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
government (including any supra-national bodies such as the European Union or the European
Central Bank).



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        “Guaranty Agreement” means an unconditional guaranty agreement executed by a
Subsidiary Guarantor or by the Individual Guarantor in favor of the Administrative Agent, for
the ratable benefit of the Secured Parties, which shall be in form and substance acceptable to the
Administrative Agent, as such agreement may be amended, restated, supplemented or otherwise
modified from time to time.

        “Guaranty Obligation” means, with respect to the Borrowers and their respective
Subsidiaries, without duplication, any obligation, contingent or otherwise, of any such Person
pursuant to which such Person has directly or indirectly guaranteed any Indebtedness or other
obligation of any other Person and, without limiting the generality of the foregoing, any
obligation, direct or indirect, contingent or otherwise, of any such Person (a) to purchase or pay
(or advance or supply funds for the purchase or payment of) such Indebtedness or other
obligation (whether arising by virtue of partnership arrangements, by agreement to keep well, to
purchase assets, goods, securities or services, to take-or-pay, or to maintain financial statement
condition or otherwise) or (b) entered into for the purpose of assuring in any other manner the
obligee of such Indebtedness or other obligation of the payment thereof or to protect such
obligee against loss in respect thereof (in whole or in part); provided, that the term Guaranty
Obligation shall not include endorsements for collection or deposit in the ordinary course of
business.

       “Hazardous Materials” means any substances or materials (a) which are or become
defined as hazardous wastes, hazardous substances, pollutants, contaminants, chemical
substances or mixtures or toxic substances under any Environmental Law, (b) which are toxic,
explosive, corrosive, flammable, infectious, radioactive, carcinogenic, mutagenic or otherwise
harmful to human health or the environment and are or become regulated by any Governmental
Authority, (c) the presence of which require investigation or remediation under any
Environmental Law or common law, (d) the discharge or emission or release of which requires a
permit or license under any Environmental Law or other Governmental Approval, (e) which are
deemed to constitute a nuisance or a trespass which pose a health or safety hazard to Persons or
neighboring properties, (f) which consist of underground or aboveground storage tanks, whether
empty, filled or partially filled with any substance, or (g) which contain, without limitation,
asbestos, polychlorinated biphenyls, urea formaldehyde foam insulation, petroleum
hydrocarbons, petroleum derived substances or waste, crude oil, nuclear fuel, natural gas or
synthetic gas.

        “Hedge Agreement” means (a) any and all rate swap transactions, basis swaps, credit
derivative transactions, forward rate transactions, commodity swaps, commodity options,
forward commodity contracts, equity or equity index swaps or options, bond or bond price or
bond index swaps or options or forward bond or forward bond price or forward bond index
transactions, interest rate options, forward foreign exchange transactions, cap transactions, floor
transactions, collar transactions, currency swap transactions, cross-currency rate swap
transactions, currency options, spot contracts, or any other similar transactions or any
combination of any of the foregoing (including any options to enter into any of the foregoing),
whether or not any such transaction is governed by or subject to any master agreement, and (b)
any and all transactions of any kind, and the related confirmations, which are subject to the terms
and conditions of, or governed by, any form of master agreement published by the International
Swaps and Derivatives Association, Inc., any International Foreign Exchange Master
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Agreement, or any other master agreement, all as amended, restated, supplemented or otherwise
modified from time to time.

        “Hedge Bank” means any Person that, at the time it enters into a Hedge Agreement
permitted under Article VIII, is a Lender, an Affiliate of a Lender, the Administrative Agent or
an Affiliate of the Administrative Agent, in its capacity as a party to such Hedge Agreement.

        “Hedge Termination Value” means, in respect of any one or more Hedge Agreements,
after taking into account the effect of any legally enforceable netting agreement relating to such
Hedge Agreements, (a) for any date on or after the date such Hedge Agreements have been
closed out and the termination value(s) have been determined in accordance therewith, such
termination value(s), and (b) for any date prior to the date referenced in clause (a), the amount(s)
determined as the mark-to-market value(s) for such Hedge Agreements, as determined based
upon one or more mid-market or other readily available quotations provided by any recognized
dealer in such Hedge Agreements (which may include a Lender or any Affiliate of a Lender).

          “Increased Amount Date” has the meaning assigned thereto in Section 4.13.

          “Incremental Lender” has the meaning assigned thereto in Section 4.13.

       “Incremental Revolving Credit Commitments” has the meaning assigned thereto in
Section 4.13.

       “Incremental Revolving Credit Commitment” has the meaning assigned thereto in
Section 4.13.

          “Incremental Revolving Credit Increase” has the meaning assigned thereto in Section
4.13.

        “Indebtedness” means, with respect to any Person at any date and without duplication,
the sum of the following:

        (a)     all liabilities, obligations and indebtedness for borrowed money including, but not
limited to, obligations evidenced by bonds, debentures, notes or other similar instruments of any
such Person;

        (b)    all obligations to pay the deferred purchase price of property or services of any
such Person (including, without limitation, all obligations under non-competition, earn-out or
similar agreements), except trade payables arising in the ordinary course of business not more
than ninety (90) days past due, or that are currently being contested in good faith by appropriate
proceedings and with respect to which reserves in conformity with GAAP have been provided
for on the books of such Person;

        (c)    the Attributable Indebtedness of such Person with respect to such Person’s
obligations in respect of Capital Leases and Synthetic Leases (regardless of whether accounted
for as indebtedness under GAAP);



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       (d)      all obligations of such Person under conditional sale or other title retention
agreements relating to property purchased by such Person to the extent of the value of such
property (other than customary reservations or retentions of title under agreements with suppliers
entered into in the ordinary course of business);

         (e)    all Indebtedness of any other Person secured by a Lien on any asset owned or
being purchased by such Person (including indebtedness arising under conditional sales or other
title retention agreements except trade payable arising in the ordinary course of business),
whether or not such indebtedness shall have been assumed by such Person or is limited in
recourse;

      (f)   all obligations, contingent or otherwise, of any such Person relative to the face
amount of letters of credit, whether or not drawn, including, without limitation, any
Reimbursement Obligation, and banker’s acceptances issued for the account of any such Person;

          (g)       all net obligations of such Person under any Hedge Agreements; and

          (h)       all Guaranty Obligations of any such Person with respect to any of the foregoing.

         For all purposes hereof, the Indebtedness of any Person shall include the Indebtedness of
any partnership or joint venture (other than a joint venture that is itself a corporation or limited
liability company) in which such Person is a general partner or a joint venturer, unless such
Indebtedness is expressly made non-recourse to such Person. The amount of any net obligation
under any Hedge Agreement on any date shall be deemed to be the Hedge Termination Value
thereof as of such date.

       “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of the Borrowers under any
Loan Document and (b) to the extent not otherwise described in clause (a), Other Taxes.

          “Individual Guarantor” means Michael F. Lockwood.

         “Insurance and Condemnation Event” means the receipt by any Credit Party or any of
its Subsidiaries of any cash insurance proceeds or condemnation award payable by reason of
theft, loss, physical destruction or damage, taking or similar event with respect to any of their
respective Property.

       “Intangible Assets” means assets that are considered to be intangible assets under
GAAP, including customer lists, goodwill, copyrights, trade names, trademarks, patents,
franchises, licenses, unamortized debt discount and capitalized research and development costs.

          “Interest Period” has the meaning assigned thereto in Section 4.1(b).

          “Investments” has the meaning assigned thereto in Section 8.3.

          “IRS” means the United States Internal Revenue Service, or any successor thereto.



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       “ISP98” means the International Standby Practices (1998 Revision, effective January 1,
1999), International Chamber of Commerce Publication No. 590.

        “Issuing Lender” means with respect to (a) Letters of Credit issued hereunder on or after
the Closing Date, Wells Fargo, in its capacity as issuer thereof, or any successor thereto, and (b)
the Existing Letters of Credit, Wells Fargo, in its capacity as issuer thereof, or any successor
thereto.

       “Italy Restructuring” means the disposition or transfer of the Capital Stock of LII’s
wholly owned Foreign Subsidiaries which are domiciled under the laws of Italy, from LII to
Michael F. Lockwood or to an entity owned and controlled by Michael F. Lockwood (or to a
holding company organized under the laws of Luxembourg that is owned or controlled by
Michael F. Lockwood), resulting in the Italian entities formerly owned and controlled by LII no
longer being Foreign Subsidiaries of LII or any other Borrower.

       “L/C Commitment” means the lesser of (a) ThirtyFive                           Million    Dollars
($30,000,0005,000,000) and (b) the Revolving Credit Commitment.

          “L/C Facility” means the letter of credit facility established pursuant to Article III.

       “L/C Obligations” means at any time, an amount equal to the sum of (a) the aggregate
undrawn and unexpired amount of the then outstanding Letters of Credit and (b) the aggregate
amount of drawings under Letters of Credit which have not then been reimbursed pursuant to
Section 3.5.

        “L/C Participants” means the collective reference to all the Revolving Credit Lenders
other than the Issuing Lender.

          “LEI” means Parent.

          “Lender” has the meaning assigned thereto in the introductory paragraph hereto.

       “Lender Joinder Agreement” means a joinder agreement in form and substance
reasonably satisfactory to the Administrative Agent delivered in connection with Section 4.13.

       “Lending Office” means, with respect to any Lender, the office of such Lender
maintaining such Lender’s Extensions of Credit.

       “Letter of Credit Application” means an application, in the form specified by the Issuing
Lender from time to time, requesting the Issuing Lender to issue a Letter of Credit.

       “Letters of Credit” means the collective reference to letters of credit issued pursuant to
Section 3.1 and the Existing Letters of Credit.

     “LHA” means LH Aviation, LLC, a Texas limited liability company.                               [First
Amendment]

          “LHI” means Lockwood Holdings, Inc., a Texas corporation.

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       “LHI Credit Agreement” means that certain Amended and Restated Credit Agreement
dated February 6, 2015, between LHI and Wells Fargo, as lender, together with all documents
and instruments executed in connection therewith, in each case as amended, restated or
otherwise modified from time to time.

       “LHI Intercompany Note” means that certain Revolving Promissory Note, dated as of
February 10, 2015, executed by LII, as maker, and made payable to LHI, as payee, in the sum of
up to $15,000,000.

       “LHI Intercreditor Agreement” means that certain Intercreditor Agreement effective
February 10, 2015, between Wells Fargo, in its capacity as a lender to LHI pursuant to the LHI
Credit Agreement, and the Administrative Agent, as such agreement may be amended, restated,
supplemented or otherwise modified from time to time.

        “LHI Pledged Equipment” means all equipment and fixed assets pledged as Collateral or
otherwise covered by an agreement or writing pursuant to which LHI purports to pledge or grant
a security interest in such equipment to secure the Secured Obligations.

       “LHI Subordination Agreement” means that certain Subordination Agreement effective
February 10, 2015, among LII, LHI, and the Administrative Agent, with respect to the LHI
Intercompany Note, as such agreement may be amended, restated, supplemented or otherwise
modified from time to time.




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          “LIBOR” means,

                  (a)      for any interest rate calculation with respect to a LIBOR Rate Loan, the
          rate of interest per annum determined on the basis of the rate for deposits in Dollars for a
          period equal to the applicable Interest Period which appears on Reuters Screen LIBOR01
          Page (or any applicable successor page) at approximately 11:00 a.m. (London time) two
          (2) Business Days prior to the first day of the applicable Interest Period (rounded upward,
          if necessary, to the nearest 1/100th of 1%). If, for any reason, such rate does not appear
          on Reuters Screen LIBOR01 Page (or any applicable successor page), then “LIBOR”
          shall be determined by the Administrative Agent to be the arithmetic average of the rate
          per annum at which deposits in Dollars in minimum amounts of at least $5,000,000
          would be offered by first class banks in the London interbank market to the
          Administrative Agent at approximately 11:00 a.m. (London time) two (2) Business Days
          prior to the first day of the applicable Interest Period for a period equal to such Interest
          Period; and

                  (b)     for any interest rate calculation with respect to a Base Rate Loan, the rate
          of interest per annum determined on the basis of the rate for deposits in Dollars in
          minimum amounts of at least $5,000,000 for a period equal to one month (commencing
          on the date of determination of such interest rate) which appears on the Reuters Screen
          LIBOR01 Page (or any applicable successor page) at approximately 11:00 a.m. (London
          time) on such date of determination, or, if such date is not a Business Day, then the
          immediately preceding Business Day (rounded upward, if necessary, to the nearest
          1/100th of 1%). If, for any reason, such rate does not appear on Reuters Screen
          LIBOR01 Page (or any applicable successor page) then “LIBOR” for such Base Rate
          Loan shall be determined by the Administrative Agent to be the arithmetic average of the
          rate per annum at which deposits in Dollars in minimum amounts of at least $5,000,000
          would be offered by first class banks in the London interbank market to the
          Administrative Agent at approximately 11:00 a.m. (London time) on such date of
          determination for a period equal to one month commencing on such date of
          determination. Notwithstanding the foregoing, if the LIBOR shall be less than zero, such
          rate shall be deemed to be zero for purposes of this Agreement.

         Each calculation by the Administrative Agent of LIBOR shall be conclusive and binding
for all purposes, absent manifest error.

        “LIBOR Market Index Rate” means for any day, the rate per annum (rounded upwards,
if necessary, to the nearest 1/100 of 1%) equal to the London interbank offered rate for one (1)
month Dollar deposits as reported on Reuters Screen LIBOR01 Page (or any successor page) at
approximately 11:00 a.m. (London time), on such day, or if such day is not a Business Day, then
the immediately preceding Business Day (or if not so reported, then as determined by the
Administrative Agent from another recognized source or interbank quotation).

      “LIBOR Market Index Rate Loan” means a Loan bearing interest based on the LIBOR
Market Index Rate.



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       “LIBOR Rate” means a rate per annum (rounded upwards, if necessary, to the next
higher 1/100th of 1%) determined by the Administrative Agent pursuant to the following
formula:

                    LIBOR Rate =                    LIBOR
                                      1.00-Eurodollar Reserve Percentage

       “LIBOR Rate Loan” means any Loan bearing interest at a rate based upon the LIBOR
Rate as provided in Section 4.1(a).

        “Lien” means, with respect to any asset, any mortgage, leasehold mortgage, lien, pledge,
charge, security interest, hypothecation or encumbrance of any kind in respect of such asset. For
the purposes of this Agreement, a Person shall be deemed to own subject to a Lien any asset
which it has acquired or holds subject to the interest of a vendor or lessor under any conditional
sale agreement, Capital Lease or other title retention agreement relating to such asset.

          “LII” means Lockwood International, Inc., a Texas corporation.

          “LMG” means LMG Manufacturing, Inc., a Texas corporation.

        “Loan Documents” means, collectively, this Agreement, each Note, the Letter of Credit
Applications, the Security Documents, the Fee Letter, the Thomas Lockwood Subordination
Agreement, the LHI Intercreditor Agreement, the LHI Subordination Agreement, and each other
document, instrument, certificate and agreement executed and delivered by the Credit Parties,
LHI, or any of their respective Subsidiaries or the Individual Guarantor in favor of or provided to
the Administrative Agent or any Secured Party in connection with this Agreement or otherwise
referred to herein or contemplated hereby (excluding any Secured Hedge Agreement and any
Secured Cash Management Agreement), all as may be amended, restated, supplemented or
otherwise modified from time to time.

       “Loans” means the collective reference to the Revolving Credit Loans and the Swingline
Loans, and “Loan” means any of such Loans.

        “Material Adverse Effect” means, with respect to Parent and its Subsidiaries, (a) a
material adverse effect on the properties, business, operations or condition (financial or
otherwise) of such Persons, taken as a whole, (b) a material impairment of the ability of any such
Person to perform its obligations under the Loan Documents to which it is a party, (c) a material
impairment of the rights and remedies of the Administrative Agent or any Lender under any
Loan Document or (d) an impairment of the legality, validity, binding effect or enforceability
against any Credit Party of any Loan Document to which it is a party.

       “Material Contract” means (a) any contract or other agreement, written or oral, of any
Credit Party or any of its Subsidiaries involving monetary liability of or to any such Person in an
amount in excess of $500,000 per annum or (b) any other contract or agreement, written or oral,
of any Credit Party or any of its Subsidiaries the failure to comply with which could reasonably
be expected to have a Material Adverse Effect.


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        Minimum Collateral Amount means, at any time, (a) with respect to Cash Collateral
consisting of cash or deposit account balances, an amount equal to 102% of the sum of (i) the
Fronting Exposure of the Issuing Lender with respect to Letters of Credit issued and outstanding
at such time and (ii) the Fronting Exposure of the Swingline Lender with respect to all Swingline
Loans outstanding at such time and (b) otherwise, an amount determined by the Administrative
Agent and the Issuing Lender in their sole discretion.

          “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

       “Multiemployer Plan” means a “multiemployer plan” as defined in Section 4001(a)(3) of
ERISA to which any Credit Party or any ERISA Affiliate is making, or is accruing an obligation
to make, or has accrued an obligation to make contributions within the preceding seven (7)
years.

       “Non-Consenting Lender” means any Lender that has not consented to any proposed
amendment, modification, waiver or termination of any Loan Document which, pursuant to
Section 11.2, requires the consent of all Lenders or all affected Lenders and with respect to
which the Required Lenders shall have granted their consent.

       “Non-Defaulting Lender” means, at any time, each Lender that is not a Defaulting
Lender at such time.

       “Non-Guarantor Subsidiary” means any Subsidiary of any Borrower that is not a
Subsidiary Guarantor.

       “Non-Qualifying Party” means any Credit Party that on the Eligibility Date fails for any
reason to qualify as an Eligible Contract Participant.

          “Notes” means the collective reference to the Revolving Credit Notes and the Swingline
Note.

          “Notice of Account Designation” has the meaning assigned thereto in Section 2.3(b).

          “Notice of Borrowing” has the meaning assigned thereto in Section 2.3(a).

          “Notice of Conversion/Continuation” has the meaning assigned thereto in Section 4.2.

          “Notice of Prepayment” has the meaning assigned thereto in Section 2.4(c).

        “Obligations” means, in each case, whether now in existence or hereafter arising: (a) the
principal of and interest on (including interest accruing after the filing of any bankruptcy or
similar petition) the Loans, (b) the L/C Obligations and (c) all other fees and commissions
(including attorneys’ fees), charges, indebtedness, loans, liabilities, financial accommodations,
obligations, covenants and duties owing by the Credit Parties and each of their respective
Subsidiaries to the Lenders or the Administrative Agent, in each case under any Loan Document,
with respect to any Loan or Letter of Credit of every kind, nature and description, direct or
indirect, absolute or contingent, due or to become due, contractual or tortious, liquidated or
unliquidated, and whether or not evidenced by any note and including interest and fees that

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accrue after the commencement by or against any Credit Party or any Affiliate thereof of any
proceeding under any federal bankruptcy laws (as now or hereafter in effect) or under any other
laws, domestic or foreign, relating to bankruptcy, insolvency, reorganization, winding up or
adjustment of debts, naming such Person as the debtor in such proceeding, regardless of whether
such interest and fees are allowed claims in such proceeding.

       “OFAC” means The Office of Foreign Assets Control of the U.S. Department of the
Treasury.

        “Officer’s Compliance Certificate” means a certificate of the chief financial officer or
the treasurer of each Borrower substantially in the form attached as Exhibit F.

       “Operating Lease” means, as to any Person as determined in accordance with GAAP,
any lease of Property (whether real, personal or mixed) by such Person as lessee which is not a
Capital Lease.

        “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a
result of a present or former connection between such Recipient and the jurisdiction imposing
such Tax (other than connections arising from such Recipient having executed, delivered,
become a party to, performed its obligations under, received payments under, received or
perfected a security interest under, engaged in any other transaction pursuant to or enforced any
Loan Document, or sold or assigned an interest in any Loan or Loan Document).

        “Other Taxes” means all present or future stamp, court, documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document, except any such Taxes that are
Other Connection Taxes imposed with respect to an assignment (other than an assignment made
pursuant to Section 4.12).

          “Parent” means Lockwood Enterprises, Inc., a Texas corporation.

          “Participant” has the meaning assigned thereto in Section 11.10(d).

      “PATRIOT Act” means the USA PATRIOT Act (Title III of Pub. L. 107-56 (signed into
law October 26, 2001)), as amended.

          “PBGC” means the Pension Benefit Guaranty Corporation or any successor agency.

          “PCI” means Piping Components, Inc., a Texas corporation.

        “Pension Plan” means any Employee Benefit Plan, other than a Multiemployer Plan,
which is subject to the provisions of Title IV of ERISA or Section 412 of the Code and which (a)
is maintained, funded or administered for the employees of any Credit Party or any ERISA
Affiliate or (b) has at any time within the preceding seven (7) years been maintained, funded or
administered for the employees of any Credit Party or any current or former ERISA Affiliates.



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        “Permitted Acquisition” means any acquisition by any Borrower or any Subsidiary
Guarantor in the form of the acquisition of all or substantially all of the assets, business or a line
of business, or at least a majority of the outstanding Capital Stock which have the ordinary
voting power for the election of directors of the board of directors (or equivalent governing
body) (whether through purchase, merger or otherwise), of any other Person if each such
acquisition meets all of the following requirements:

       (a)    no less than thirty (30) days prior to the proposed closing date of such acquisition,
Borrowers shall have delivered written notice of such acquisition to the Administrative Agent
and the Lenders, which notice shall include the proposed closing date of such acquisition;

       (b)     Borrowers shall have certified on or before the closing date of such acquisition, in
writing and in a form reasonably acceptable to the Administrative Agent, that such acquisition
has been approved by the board of directors (or equivalent governing body) of the Person to be
acquired;

       (c)     the Person or business to be acquired shall be in a line of business permitted
pursuant to Section 8.10;

       (d)    if such transaction is a merger or consolidation, a Borrower or a Subsidiary
Guarantor shall be the surviving Person and no Change in Control shall have been effected
thereby;

       (e)     Borrowers shall have delivered to the Administrative Agent all documents
required to be delivered pursuant to, and in accordance with, Section 7.14;

        (f)    no later than ten (10) days prior to the proposed closing date of such acquisition,
Borrowers shall have delivered to the Administrative Agent an Officer’s Compliance Certificate
for the most recent fiscal quarter end preceding such acquisition for which financial statements
are available demonstrating, in form and substance reasonably satisfactory to the Administrative
Agent, (i) that the Borrower is in compliance on a Pro Forma Basis (as of the date of the
acquisition and after giving effect thereto and any Indebtedness incurred in connection
therewith) with each covenant contained in Section 8.14;

        (g)    no later than ten (10) days prior to the proposed closing date of such acquisition
Borrowers, to the extent requested by the Administrative Agent, (i) shall have delivered to the
Administrative Agent promptly upon the finalization thereof copies of substantially final
Permitted Acquisition Documents, which shall be in form and substance reasonably satisfactory
to the Administrative Agent, and (ii) shall have delivered to, or made available for inspection by,
the Administrative Agent substantially complete Permitted Acquisition Diligence Information,
which shall be in form and substance reasonably satisfactory to the Administrative Agent;

       (h)    no Default or Event of Default shall have occurred and be continuing both before
and after giving effect to such acquisition and any Indebtedness incurred in connection
therewith;

       (i)    Borrowers shall have obtained the prior written consent of the Administrative
Agent and the Required Lenders prior to the consummation of such acquisition if the Permitted
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Acquisition Consideration for all acquisitions (or series of related acquisitions) exceeds
$30,000,000 in the aggregate in any Fiscal Year; and

       (j)      Borrowers shall have (i) delivered to the Administrative Agent a certificate of a
Responsible Officer certifying that all of the requirements set forth above have been satisfied or
will be satisfied on or prior to the consummation of such purchase or other acquisition and (ii)
provided such other documents and other information as may be reasonably requested by the
Administrative Agent or the Required Lenders (through the Administrative Agent) in connection
with such purchase or other acquisition.

        “Permitted Acquisition Consideration” means the aggregate amount of the purchase
price, including, but not limited to, any assumed debt, earn-outs (valued at the maximum amount
payable thereunder), deferred payments, or Capital Stock of Parent, to be paid on a singular basis
in connection with any applicable Permitted Acquisition as set forth in the applicable Permitted
Acquisition Documents executed by the Borrower or any of its Subsidiaries in order to
consummate the applicable Permitted Acquisition.

        “Permitted Acquisition Diligence Information” means with respect to any acquisition
proposed by the Borrowers or any Subsidiary Guarantor, to the extent applicable, all material
financial information, all material contracts, all material customer lists, all material supply
agreements, and all other material information, in each case, reasonably requested to be
delivered to the Administrative Agent in connection with such acquisition (except to the extent
that any such information is (a) subject to any confidentiality agreement, unless mutually
agreeable arrangements can be made to preserve such information as confidential, (b) classified
or (c) subject to any attorney-client privilege).

       “Permitted Acquisition Documents” means with respect to any acquisition proposed by
the Borrowers or any Subsidiary Guarantor, final copies or substantially final drafts if not
executed at the required time of delivery of the purchase agreement, sale agreement, merger
agreement or other agreement evidencing such acquisition, including, without limitation, all
legal opinions and each other document executed, delivered, contemplated by or prepared in
connection therewith and any amendment, modification or supplement to any of the foregoing.

          “Permitted Liens” means the Liens permitted pursuant to Section 8.2.

         “Permitted Tax Distributions” means with respect to each tax year or portion thereof that
LHI qualifies to be treated as a partnership not taxable as a corporation for U.S. federal income
tax purposes or subject to treatment on a comparable basis for purposes of state, local or foreign
tax law (a "Flow Through Entity"), the distribution by LHI to the holders of its equity interests of
an amount equal to the product of (i) the amount of aggregate net taxable income of LHI and its
Consolidated Subsidiaries allocated to the holders of such equity interests for such period and
(ii) the then applicable tax rate for such period; provided that to the extent that the aggregate net
taxable income of LHI and its Consolidated Subsidiaries for a taxable year actually reported to
the holders of its equity interests is less than the aggregate net taxable income assumed in
calculating such amounts for a taxable year, the holders of such equity interests can return an
amount equal to the product of such shortfall and such tax rate used in such calculations, or an
amount equal to such product shall be deducted from the next scheduled Permitted Tax

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Distributions payable to such holders for later years. For purposes of such computation, it will
be assumed that any net operating loss carryforwards or other carryforwards or tax attributes,
such as alternative minimum tax carryforwards, that arise in any period will be available to offset
taxable income payable in later years (regardless of any change in status as a Flow Through
Entity.

       “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, governmental authority or other entity.

          “Platform” has the meaning assigned thereto in Section 7.2.

        “Prime Rate” means, at any time, the rate of interest per annum publicly announced from
time to time by the Administrative Agent as its prime rate. Each change in the Prime Rate shall
be effective as of the opening of business on the day such change in such prime rate occurs. The
parties hereto acknowledge that the rate announced publicly by the Administrative Agent as its
prime rate is an index or base rate and shall not necessarily be its lowest or best rate charged to
its customers or other banks. Notwithstanding the foregoing, if the Prime Rate shall be less than
zero, such rate shall be deemed to be zero for purposes of this Agreement.

        “Pro Forma Basis” means, for purposes of calculating Consolidated Net Income for any
period during which one or more Permitted Acquisitions occurs, that such Permitted Acquisition
(and all other Permitted Acquisitions that have been consummated during the applicable period)
shall be deemed to have occurred as of the first day of the applicable period of measurement and:

        (a)   all income statement items (whether positive or negative) attributable to the
Property or Person acquired in a Permitted Acquisition shall be included (provided that such
income statement items to be included are reflected in financial statements or other financial data
reasonably acceptable to the Administrative Agent and based upon reasonable assumptions and
calculations which are expected to have a continuous impact); and

        (b)    non-recurring costs, extraordinary expenses and other pro forma adjustments
attributable to such Permitted Acquisition may be included to the extent that such costs,
expenses or adjustments:

                 (i)     are reasonably expected to be realized within twelve (12) months of such
          Permitted Acquisitions as set forth in reasonable detail on a certificate of a Responsible
          Officer of Parent delivered to the Administrative Agent;

                  (ii)   are calculated on a basis consistent with GAAP and are, in each case,
          reasonably identifiable, factually supportable, and expected to have a continuing impact
          on the operations of Parent and its Subsidiaries; and

                    (iii)     are approved by the Administrative Agent;

provided that the foregoing costs, expenses and adjustments shall be without duplication of any
costs, expenses or adjustments that are already included in the calculation of Consolidated Net
Income or clause (a) above.

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        “Property” means any right or interest in or to property of any kind whatsoever, whether
real, personal or mixed and whether tangible or intangible, including, without limitation, Capital
Stock.

          “Public Lenders” has the meaning assigned thereto in Section 7.2.

        “Qualified ECP Loan Party” means any Credit Party that on the Eligibility Date is (a) a
corporation, partnership, proprietorship, organization, trust, or other entity other than a
“commodity pool” as defined in Section 1a(10) of the Commodity Exchange Act and CFTC
regulations thereunder that has total assets exceeding $10,000,000, or (b) an Eligible Contract
Participant that can cause another person to qualify as an Eligible Contract Participant on the
Eligibility Date under Section 1a(18)(A)(v)(II) of the Commodity Exchange Act by entering into
or otherwise providing a “letter of credit or keepwell, support, or other agreement” for purposes
of Section 1a(18)(A)(v)(II) of the Commodity Exchange Act.

       “Recipient” means (a) the Administrative Agent, (b) any Lender and (c) the Issuing
Lender, as applicable.

          “Register” has the meaning assigned thereto in Section 11.10(c).

       “Reimbursement Obligation” means the obligation of the Borrowers to reimburse the
Issuing Lender pursuant to Section 3.5 for amounts drawn under Letters of Credit.

        “Related Parties” means, with respect to any Person, such Person’s Affiliates and the
partners, directors, officers, employees, agents and advisors of such Person and of such Person’s
Affiliates.

        “Required Lenders” means, at any date, any combination of Lenders holding more than
fifty percent (50%) of the sum of (a) the aggregate amount of the Revolving Credit Commitment
plus (b) if the Revolving Credit Commitment has been terminated, any combination of Lenders
holding more than fifty percent (50%) of the aggregate Extensions of Credit; provided that the
Revolving Credit Commitment of, and the portion of the Extensions of Credit, as applicable,
held or deemed held by, any Defaulting Lender shall be excluded for purposes of making a
determination of Required Lenders.

       “Required Revolving Credit Lenders” means, at any date, any combination of Revolving
Credit Lenders holding more than fifty percent (50%) of the sum of the aggregate amount of the
Revolving Credit Commitment or, if the Revolving Credit Commitment has been terminated, any
combination of Revolving Credit Lenders holding more than fifty percent (50%) of the aggregate
Extensions of Credit under the Revolving Credit Facility; provided that the Revolving Credit
Commitment of, and the portion of the Extensions of Credit under the Revolving Credit Facility,
as applicable, held or deemed held by, any Defaulting Lender shall be excluded for purposes of
making a determination of Required Revolving Credit Lenders.

        “Responsible Officer” means, as to any Person, the chief executive officer, president,
chief financial officer, chief accounting officer, controller, treasurer or assistant treasurer of such
Person or any other officer of such Person reasonably acceptable to the Administrative Agent.
Any document delivered hereunder or under any other Loan Document that is signed by a
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Responsible Officer of a Person shall be conclusively presumed to have been authorized by all
necessary corporate, partnership and/or other action on the part of such Person and such
Responsible Officer shall be conclusively presumed to have acted on behalf of such Person.

          “Restricted Payment” has the meaning assigned thereto in Section 8.6.

        “Revolving Credit Commitment” means (a) as to any Revolving Credit Lender, the
obligation of such Revolving Credit Lender to make Revolving Credit Loans to the account of
the Borrowers hereunder in an aggregate principal amount at any time outstanding not to exceed
the amount set forth opposite such Revolving Credit Lender’s name on the Register, as such
amount may be modified at any time or from time to time pursuant to the terms hereof
(including, without limitation, Section 4.13) and (b) as to all Revolving Credit Lenders, the
aggregate commitment of all Revolving Credit Lenders to make Revolving Credit Loans, as set
out on Schedule 1.1, as such amount may be modified at any time or from time to time pursuant
to the terms hereof (including, without limitation, Section 4.132.5). The aggregate Revolving
Credit Commitment of all of the Revolving Credit Lenders on the ClosingSecond Amendment
Effective Date is Ninety Million Dollars ($90,000,000).$72,000,000. The percentage of the
Revolving Credit Commitment ofheld by each of the Revolving Credit Lenders on the
ClosingSecond Amendment Effective Date is set out on Schedule 1.1.

        “Revolving Credit Commitment Percentage” means, as to any Revolving Credit Lender
at any time, the ratio of (a) the amount of the Revolving Credit Commitment of such Revolving
Credit Lender to (b) the Revolving Credit Commitment of all the Revolving Credit Lenders.

        “Revolving Credit Facility” means the revolving credit facility established pursuant to
Article II (including any increase in such revolving credit facility established pursuant to Section
4.13).

       “Revolving Credit Lenders” means, collectively, all of the Lenders with a Revolving
Credit Commitment.

       “Revolving Credit Loan” means any revolving loan made to the Borrowers pursuant to
Section 2.1, and all such revolving loans collectively as the context requires.

       “Revolving Credit Maturity Date” means the earliest to occur of (a) September 30, 2018,
(b) the date of termination of the entire Revolving Credit Commitment by the Borrowers
pursuant to Section 2.5, or (c) the date of termination of the Revolving Credit Commitment
pursuant to Section 9.2(a).

       “Revolving Credit Note” means a promissory note made by the Borrowers in favor of a
Revolving Credit Lender evidencing the Revolving Credit Loans made by such Revolving Credit
Lender, substantially in the form attached as Exhibit A-1, and any amendments, supplements and
modifications thereto, any substitutes therefor, and any replacements, restatements, renewals or
extension thereof, in whole or in part.

        “Revolving Credit Outstandings” means the sum of (a) with respect to Revolving Credit
Loans and Swingline Loans on any date, the aggregate outstanding principal amount thereof
after giving effect to any borrowings and prepayments or repayments of Revolving Credit Loans
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and Swingline Loans, as the case may be, occurring on such date; plus (b) with respect to any
L/C Obligations on any date, the aggregate outstanding amount thereof on such date after giving
effect to any Extensions of Credit occurring on such date and any other changes in the aggregate
amount of the L/C Obligations as of such date, including as a result of any reimbursements of
outstanding unpaid drawings under any Letters of Credit or any reductions in the maximum
amount available for drawing under Letters of Credit taking effect on such date.

       “Sanction(s)” means any sanction administered or enforced by the United States
Government (including without limitation, the U.S. Department of the Treasury's The Office of
Foreign Assets Control), the United Nations Security Council, the European Union, Her
Majesty's Treasury or other relevant sanctions authority.

        “Sanctioned Country” means any country or territory to the extent that such country or
territory itself is the subject of any Sanction.

       “Sanctioned Entity” shall mean (a) a country or a government of a country, (b) an
agency of the government of a country, (c) an organization directly or indirectly controlled by a
country or its government, or (d) a person or entity resident in or determined to be resident in a
country, that is subject to a country sanctions program administered and enforced by OFAC
described or referenced at http://www.ustreas.gov/offices/enforcement/ofac/ or as otherwise
published from time to time.

     “S&P” means Standard & Poor’s Ratings Services, a division of The McGraw-Hill
Companies, Inc. and any successor thereto.

          “Second Amendment Effective Date” means February 27, 2017.

        “Secured Cash Management Agreement” means any Cash Management Agreement that
is entered into by and between any Credit Party and any Cash Management Bank.

        “Secured Hedge Agreement” means any Hedge Agreement (a) permitted under Article
VIII, that is entered into by and between any Credit Party and any Hedge Bank, and (b) each
Existing Hedge.

         “Secured Hedge Liabilities” means, with respect to any Secured Hedge Agreement (a)
the Hedge Termination Value for such Secured Hedge Agreement, (b) any other liabilities owed
by any Credit Party to the provider under any Secured Hedge Agreement, or (c) any obligation to
pay or perform under any Secured Hedge Agreement that constitutes a “swap” within the
meaning of Section 1a(47) of the Commodity Exchange Act. The Secured Hedge Liabilities
shall, for purposes of this Agreement and all other Loan Documents be “Secured Obligations” of
such Person and of each Credit Party, be guaranteed obligations under any Guaranty and secured
obligations under any Security Document executed by any Guarantor, as applicable, and
otherwise treated as Secured Obligations for purposes of the other Loan Documents, except to
the extent constituting Excluded Hedge Liabilities of such Person.

       “Secured Obligations” means, collectively, (a) the Obligations and (b) all existing or
future payment and other obligations owing by any Credit Party under (i) any Secured Hedge

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Agreement (other than Excluded Hedge Liabilities), and (ii) any Secured Cash Management
Agreement.

       “Secured Parties” means, collectively, the Administrative Agent, the Lenders, the
Issuing Lender, the Hedge Banks, the Cash Management Banks, each co-agent or sub-agent
appointed by the Administrative Agent from time to time pursuant to Section 10.5, any other
holder from time to time of any Secured Obligations and, in each case, their respective
successors and permitted assigns.

       “Security Documents” means the collective reference to the Collateral Agreement, the
Guaranty Agreements, and each other agreement or writing pursuant to which any Credit Party
purports to pledge or grant a security interest in any Property or assets securing the Secured
Obligations or any such Person purports to guaranty the payment and/or performance of the
Secured Obligations, in each case, as amended, restated, supplemented or otherwise modified
from time to time.

         “Solvent” and “Solvency” mean, with respect to any Person on any date of determination,
that on such date (a) the fair value of the property of such Person is greater than the total amount
of liabilities, including contingent liabilities, of such Person, (b) the present fair salable value of
the assets of such Person is not less than the amount that will be required to pay the probable
liability of such Person on its debts as they become absolute and matured, (c) such Person does
not intend to, and does not believe that it will, incur debts or liabilities beyond such Person’s
ability to pay such debts and liabilities as they mature, (d) such Person is not engaged in business
or a transaction, and is not about to engage in business or a transaction, for which such Person’s
property would constitute an unreasonably small capital, and (e) such Person is able to pay its
debts and liabilities, contingent obligations and other commitments as they mature in the
ordinary course of business. The amount of contingent liabilities at any time shall be computed
as the amount that, in the light of all the facts and circumstances existing at such time, represents
the amount that can reasonably be expected to become an actual or matured liability.

        “Subordinated Indebtedness” means the collective reference to any Indebtedness
incurred by any Borrower or any of its Subsidiaries that is subordinated in right and time of
payment to the Obligations on terms and conditions satisfactory to the Administrative Agent,
including but not limited to the LHI Intercompany Note, the Thomas Lockwood Note, the
Thomas Lockwood Non-Compete Consideration, and any of the Borrower’s guarantee of
obligations under the LHI Credit Agreement.

        “Subsidiary” means as to any Person, any corporation, partnership, limited liability
company or other entity of which more than fifty percent (50%) of the outstanding Capital Stock
having ordinary voting power to elect a majority of the board of directors (or equivalent
governing body) or other managers of such corporation, partnership, limited liability company or
other entity is at the time owned by (directly or indirectly) or the management is otherwise
controlled by (directly or indirectly) such Person (irrespective of whether, at the time, Capital
Stock of any other class or classes of such corporation, partnership, limited liability company or
other entity shall have or might have voting power by reason of the happening of any
contingency). Unless otherwise qualified, references to “Subsidiary” or “Subsidiaries” herein
shall refer to those of each Borrower.

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       “Subsidiary Guarantors” means, collectively, all direct and indirect Subsidiaries of any
Borrower (other than LII, LMG and PCI, and other than Foreign Subsidiaries to the extent that
and for so long as the guaranty of such Foreign Subsidiary would have adverse tax consequences
for any Borrower or any other Credit Party or result in a violation of Applicable Laws) in
existence on the Closing Date or which executes a Guaranty Agreement pursuant to Section
7.14.

         “Swingline Commitment” means the lesser of (a) Five Million Dollars ($5,000,000) and
(b) the Revolving Credit Commitment.

          “Swingline Facility” means the swingline facility established pursuant to Section 2.2.

       “Swingline Lender” means Wells Fargo in its capacity as swingline lender hereunder or
any successor thereto.

       “Swingline Loan” means any swingline loan made by the Swingline Lender to the
Borrowers pursuant to Section 2.2, and all such swingline loans collectively as the context
requires.

        “Swingline Note” means a promissory note made by the Borrowers in favor of the
Swingline Lender evidencing the Swingline Loans made by the Swingline Lender, substantially
in the form attached as Exhibit A-2, and any amendments, supplements and modifications
thereto, any substitutes therefor, and any replacements, restatements, renewals or extension
thereof, in whole or in part.

        “Synthetic Lease” means any synthetic lease, tax retention operating lease, off-balance
sheet loan or similar off-balance sheet financing product where such transaction is considered
borrowed money indebtedness for tax purposes but is classified as an Operating Lease in
accordance with GAAP.

        “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, fees or other charges imposed by any
Governmental Authority, including any interest, fines, additions to tax or penalties applicable
thereto.

         “Termination Event” means the occurrence of any of the following which, individually
or in the aggregate, has resulted or could reasonably be expected to result in liability of any
Borrower in an aggregate amount in excess of the Threshold Amount: (a) a “Reportable Event”
described in Section 4043 of ERISA for which the thirty (30) day notice requirement has not
been waived by the PBGC, or (b) the withdrawal of any Credit Party or any ERISA Affiliate
from a Pension Plan during a plan year in which it was a “substantial employer” as defined in
Section 4001(a)(2) of ERISA or a cessation of operations that is treated as such a withdrawal
under Section 4062(e) of ERISA, or (c) the termination of a Pension Plan, the filing of a notice
of intent to terminate a Pension Plan or the treatment of a Pension Plan amendment as a
termination, under Section 4041 of ERISA, if the plan assets are not sufficient to pay all plan
liabilities, or (d) the institution of proceedings to terminate, or the appointment of a trustee with
respect to, any Pension Plan by the PBGC, or (e) any other event or condition which would

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constitute grounds under Section 4042(a) of ERISA for the termination of, or the appointment of
a trustee to administer, any Pension Plan, or (f) the imposition of a Lien pursuant to Section
430(k) of the Code or Section 303 of ERISA, or (g) the determination that any Pension Plan or
Multiemployer Plan is considered an at-risk plan or plan in endangered or critical status with the
meaning of Sections 430, 431 or 432 of the Code or Sections 303, 304 or 305 of ERISA or (h)
the partial or complete withdrawal of any Credit Party or any ERISA Affiliate from a
Multiemployer Plan if withdrawal liability is asserted by such plan, or (i) any event or condition
which results in the reorganization or insolvency of a Multiemployer Plan under Sections 4241
or 4245 of ERISA, or (j) any event or condition which results in the termination of a
Multiemployer Plan under Section 4041A of ERISA or the institution by PBGC of proceedings
to terminate a Multiemployer Plan under Section 4042 of ERISA, or (k) the imposition of any
liability under Title IV of ERISA, other than for PBGC premiums due but not delinquent under
Section 4007 of ERISA, upon any Credit Party or any ERISA Affiliate.

       “Thomas Lockwood Non-Compete Consideration” means the obligation to pay
$1,200,000 in the aggregate by LII to Thomas Lockwood in sixty equal monthly installments
commencing August 1, 2013, as consideration for certain non-compete covenants under the
terms of that certain Stock Purchase Agreement dated effective August 1, 2013, among LII, LHI,
Michael F. Lockwood and Thomas W. Lockwood.

       “Thomas Lockwood Note” means that certain Promissory Note dated August 1, 2013,
executed by LII and payable to the order of Thomas W. Lockwood in the original principal
amount of $13,650,000, which was secured by the Thomas Lockwood Security Agreement and
delivered in connection with that certain Stock Purchase Agreement dated effective August 1,
2013, among LII, LHI, Michael F. Lockwood and Thomas W. Lockwood.

        “Thomas Lockwood Security Agreement” means that certain Security Agreement dated
as of August 1, 2013, executed by LII in favor of Thomas W. Lockwood to secure the
obligations of LII under the Thomas Lockwood Note and in respect of the Thomas Lockwood
Non-Compete Consideration, as such agreement may be amended, restated, supplemented or
otherwise modified from time to time.

       “Thomas Lockwood Subordination Agreement” means that certain Amended and
Restated Subordination Agreement effective February 10, 2015, among Thomas W. Lockwood,
as subordinated creditor, Wells Fargo, as lender to LHI, and Administrative Agent, with respect
to the Thomas Lockwood Note and Thomas Lockwood Non-Compete Consideration, as such
agreement may be amended, restated, supplemented or otherwise modified from time to time.

          “Threshold Amount” means Five Hundred Thousand Dollars ($500,000).

       “Transaction Costs” means all transaction fees, charges and other amounts related to the
Transactions (including, without limitation, any financing fees, legal fees and expenses, due
diligence fees or any other fees and expenses in connection therewith), in each case to the extent
paid within six (6) months of the closing of the Credit Facility and approved by the
Administrative Agent in its reasonable discretion.



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        “Transactions” means, collectively, (a) the repayment in full of all Indebtedness (other
than Indebtedness permitted pursuant to Section 8.1) on the Closing Date, (b) the initial
Extensions of Credit, and (c) the payment of the Transaction Costs incurred in connection with
the foregoing.

      “UCC” means the Uniform Commercial Code as in effect in the State of Texas, as
amended or modified from time to time.

       “Uniform Customs” means the Uniform Customs and Practice for Documentary Credits
(2007 Revision), effective July, 2007 International Chamber of Commerce Publication No. 600.

          “United States” means the United States of America.

       “Wells Fargo” means Wells Fargo Bank, National Association, a national banking
association, and its successors.

       “WF Aviation Guaranty” means that certain Guaranty dated as of February 2, 2016,
executed by LII, LEI, and Michael F. Lockwood in favor of WF Equipment Finance, and which
was delivered upon closing of the WF Aviation Loan Agreement. [First Amendment]

       “WF Aviation Loan Agreement” means that certain Term Loan Agreement dated
February 2, 2016, between LHA, as borrower, and WF Equipment Finance, as lender. [First
Amendment]

     “WF Equipment Finance” means Wells Fargo Equipment Finance, Inc.                        [First
Amendment]

       “Wholly-Owned” means, with respect to a Subsidiary, that all of the shares of Capital
Stock of such Subsidiary are, directly or indirectly, owned or controlled by any Borrower and/or
one or more of its Wholly-Owned Subsidiaries (except for directors’ qualifying shares or other
shares required by Applicable Law to be owned by a Person other than such Borrower and/or
one or more of its Wholly-Owned Subsidiaries).

          “Withholding Agent” means the Borrowers and the Administrative Agent.

        SECTION 1.2            Other Definitions and Provisions.          With reference to this
Agreement and each other Loan Document, unless otherwise specified herein or in such other
Loan Document: (a) the definitions of terms herein shall apply equally to the singular and plural
forms of the terms defined, (b) whenever the context may require, any pronoun shall include the
corresponding masculine, feminine and neuter forms, (c) the words “include”, “includes” and
“including” shall be deemed to be followed by the phrase “without limitation”, (d) the word
“will” shall be construed to have the same meaning and effect as the word “shall”, (e) any
reference herein to any Person shall be construed to include such Person’s successors and
assigns, (f) the words “herein”, “hereof” and “hereunder”, and words of similar import, shall be
construed to refer to this Agreement in its entirety and not to any particular provision hereof, (g)
all references herein to Articles, Sections, Exhibits and Schedules shall be construed to refer to
Articles and Sections of, and Exhibits and Schedules to, this Agreement, (h) the words “asset”
and “property” shall be construed to have the same meaning and effect and to refer to any and all
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tangible and intangible assets and properties, including cash, securities, accounts and contract
rights, (i) the term “documents” includes any and all instruments, documents, agreements,
certificates, notices, reports, financial statements and other writings, however evidenced,
whether in physical or electronic form, (j) in the computation of periods of time from a specified
date to a later specified date, the word “from” means “from and including;” the words “to” and
“until” each mean “to but excluding;” and the word “through” means “to and including” and (k)
Section headings herein and in the other Loan Documents are included for convenience of
reference only and shall not affect the interpretation of this Agreement or any other Loan
Document.

         SECTION 1.3            Accounting Terms. All accounting terms not specifically or
completely defined herein shall be construed in conformity with, and all financial data (including
financial ratios and other financial calculations) required to be submitted pursuant to this
Agreement shall be prepared in conformity with GAAP, applied on a consistent basis, as in
effect from time to time and in a manner consistent with that used in preparing the audited
financial statements required by Section 7.1(a), except as otherwise specifically prescribed
herein. Notwithstanding the foregoing, for purposes of determining compliance with any
covenant (including the computation of any financial covenant) contained herein, Indebtedness
of each Borrower and its Subsidiaries shall be deemed to be carried at 100% of the outstanding
principal amount thereof, and the effects of FASB ASC 825 and FASB ASC 470-20 on financial
liabilities shall be disregarded.

       SECTION 1.4             UCC Terms. Terms defined in the UCC in effect on the Closing
Date and not otherwise defined herein shall, unless the context otherwise indicates, have the
meanings provided by those definitions. Subject to the foregoing, the term “UCC” refers, as of
any date of determination, to the UCC then in effect.

        SECTION 1.5          Rounding. Any financial ratios required to be maintained by the
Borrowers pursuant to this Agreement shall be calculated by dividing the appropriate component
by the other component, carrying the result to one place more than the number of places by
which such ratio or percentage is expressed herein and rounding the result up or down to the
nearest number (with a rounding-up if there is no nearest number).

        SECTION 1.6           References to Agreement and Laws. Unless otherwise expressly
provided herein, (a) references to formation documents, governing documents, agreements
(including the Loan Documents) and other contractual instruments shall be deemed to include all
subsequent amendments, restatements, extensions, supplements and other modifications thereto,
but only to the extent that such amendments, restatements, extensions, supplements and other
modifications are not prohibited by any Loan Document; and (b) references to any Applicable
Law shall include all statutory and regulatory provisions consolidating, amending, replacing,
supplementing or interpreting such Applicable Law.

       SECTION 1.7            Times of Day. Unless otherwise specified, all references herein to
times of day shall be references to Central time (daylight or standard, as applicable).

       SECTION 1.8          Letter of Credit Amounts. Unless otherwise specified, all
references herein to the amount of a Letter of Credit at any time shall be deemed to mean the

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maximum face amount of such Letter of Credit after giving effect to all increases thereof
contemplated by such Letter of Credit or the Letter of Credit Application therefor (at the time
specified therefor in such applicable Letter of Credit or Letter of Credit Application and as such
amount may be reduced by (a) any permanent reduction of such Letter of Credit or (b) any
amount which is drawn, reimbursed and no longer available under such Letter of Credit).

        SECTION 1.9            Guaranty Obligations. Unless otherwise specified, the amount of
any Guaranty Obligation shall be the lesser of the principal amount of the obligations guaranteed
and still outstanding and the maximum amount for which the guaranteeing Person may be liable
pursuant to the terms of the instrument embodying such Guaranty Obligation.

        SECTION 1.10           Covenant Compliance Generally. For purposes of determining
compliance under Sections 8.1, 8.2, 8.3, 8.5 and 8.6, any amount in a currency other than Dollars
will be converted to Dollars in a manner consistent with that used in calculating Consolidated
Net Income in the financial statements of the Parent and its Subsidiaries delivered pursuant to
Section 7.1(a) or (b), as applicable. Notwithstanding the foregoing, for purposes of determining
compliance with Sections 8.1, 8.2 and 8.3, with respect to any amount of Indebtedness or
Investment in a currency other than Dollars, no breach of any basket contained in such sections
shall be deemed to have occurred solely as a result of changes in rates of exchange occurring
after the time such Indebtedness or Investment is incurred; provided that for the avoidance of
doubt, the foregoing provisions of this Section 1.10 shall otherwise apply to such Sections,
including with respect to determining whether any Indebtedness or Investment may be incurred
at any time under such Sections.

                                        Article II
                                REVOLVING CREDIT FACILITY

        SECTION 2.1           Revolving Credit Loans. Subject to the terms and conditions of
this Agreement and the other Loan Documents, and in reliance upon the representations and
warranties set forth herein, each Revolving Credit Lender severally agrees to make Revolving
Credit Loans to the Borrowers from time to time from the Closing Date through, but not
including, the Revolving Credit Maturity Date as requested by the Borrowers in accordance with
the terms of Section 2.3; provided, that (a) the Revolving Credit Outstandings shall not exceed
the Revolving Credit Commitment and (b) the principal amount of outstanding Revolving Credit
Loans from any Revolving Credit Lender plus such Revolving Credit Lender’s Revolving Credit
Commitment Percentage of outstanding L/C Obligations and outstanding Swingline Loans shall
not at any time exceed such Revolving Credit Lender’s Revolving Credit Commitment. Each
Revolving Credit Loan by a Revolving Credit Lender shall be in a principal amount equal to
such Revolving Lender’s Revolving Credit Commitment Percentage of the aggregate principal
amount of Revolving Credit Loans requested on such occasion. Subject to the terms and
conditions hereof, the Borrowers may borrow, repay and reborrow Revolving Credit Loans
hereunder until the Revolving Credit Maturity Date.

          SECTION 2.2            Swingline Loans.

                          (a)    Availability. Subject to the terms and conditions of this
                    Agreement, the Swingline Lender may in its sole discretion make Swingline

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                    Loans to the Borrowers from time to time from the Closing Date through, but not
                    including, the Revolving Credit Maturity Date; provided, that (i) after giving
                    effect to any amount requested, the Revolving Credit Outstandings shall not
                    exceed the Revolving Credit Commitment and (ii) the aggregate principal amount
                    of all outstanding Swingline Loans (after giving effect to any amount requested),
                    shall not exceed the Swingline Commitment.

                              (b)    Refunding.

                                      (i)    Swingline Loans shall be refunded by the Revolving Credit
                              Lenders on demand by the Swingline Lender. Such refundings shall be
                              made by the Revolving Credit Lenders in accordance with their respective
                              Revolving Credit Commitment Percentages and shall thereafter be
                              reflected as Revolving Credit Loans of the Revolving Credit Lenders on
                              the books and records of the Administrative Agent. Each Revolving
                              Credit Lender shall fund its respective Revolving Credit Commitment
                              Percentage of Revolving Credit Loans as required to repay Swingline
                              Loans outstanding to the Swingline Lender upon demand by the Swingline
                              Lender but in no event later than 1:00 p.m. on the next succeeding
                              Business Day after such demand is made. No Revolving Credit Lender’s
                              obligation to fund its respective Revolving Credit Commitment
                              Percentage of a Swingline Loan shall be affected by any other Revolving
                              Credit Lender’s failure to fund its Revolving Credit Commitment
                              Percentage of a Swingline Loan, nor shall any Revolving Credit Lender’s
                              Revolving Credit Commitment Percentage be increased as a result of any
                              such failure of any other Revolving Credit Lender to fund its Revolving
                              Credit Commitment Percentage of a Swingline Loan.

                                      (ii)    The Borrowers shall pay to the Swingline Lender on
                              demand the amount of such Swingline Loans to the extent amounts
                              received from the Revolving Credit Lenders are not sufficient to repay in
                              full the outstanding Swingline Loans requested or required to be refunded.
                              In addition, each Borrower hereby authorizes the Administrative Agent to
                              charge any account maintained by such Borrower with the Swingline
                              Lender (up to the amount available therein) in order to immediately pay
                              the Swingline Lender the amount of such Swingline Loans to the extent
                              amounts received from the Revolving Credit Lenders are not sufficient to
                              repay in full the outstanding Swingline Loans requested or required to be
                              refunded. If any portion of any such amount paid to the Swingline Lender
                              shall be recovered by or on behalf of any Borrower from the Swingline
                              Lender in bankruptcy or otherwise, the loss of the amount so recovered
                              shall be ratably shared among all the Revolving Credit Lenders in
                              accordance with their respective Revolving Credit Commitment
                              Percentages (unless the amounts so recovered by or on behalf of such
                              Borrower pertain to a Swingline Loan extended after the occurrence and
                              during the continuance of an Event of Default of which the Administrative
                              Agent has received notice in the manner required pursuant to Section 11.3
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                              and which such Event of Default has not been waived by the Required
                              Lenders or the Lenders, as applicable).

                                       (iii) Each Revolving Credit Lender acknowledges and agrees
                              that its obligation to refund Swingline Loans in accordance with the terms
                              of this Section 2.2(b)(iii) is absolute and unconditional and shall not be
                              affected by any circumstance whatsoever, including, without limitation,
                              non-satisfaction of the conditions set forth in Article V. Further, each
                              Revolving Credit Lender agrees and acknowledges that if prior to the
                              refunding of any outstanding Swingline Loans pursuant to this Section
                              2.2(b)(iii), one of the events described in Section 9.1(i) or (j) shall have
                              occurred, each Revolving Credit Lender will, on the date the applicable
                              Revolving Credit Loan would have been made, purchase an undivided
                              participating interest in the Swingline Loan to be refunded in an amount
                              equal to its Revolving Credit Commitment Percentage of the aggregate
                              amount of such Swingline Loan. Each Revolving Credit Lender will
                              immediately transfer to the Swingline Lender, in immediately available
                              funds, the amount of its participation and upon receipt thereof the
                              Swingline Lender will deliver to such Revolving Credit Lender a
                              certificate evidencing such participation dated the date of receipt of such
                              funds and for such amount. Whenever, at any time after the Swingline
                              Lender has received from any Revolving Credit Lender such Revolving
                              Credit Lender’s participating interest in a Swingline Loan, the Swingline
                              Lender receives any payment on account thereof, the Swingline Lender
                              will distribute to such Revolving Credit Lender its participating interest in
                              such amount (appropriately adjusted, in the case of interest payments, to
                              reflect the period of time during which such Revolving Credit Lender’s
                              participating interest was outstanding and funded).

                           (c)     Defaulting Lenders. Notwithstanding anything to the contrary
                    contained in this Agreement, this Section 2.2 shall be subject to the terms and
                    conditions of Section 4.14 and Section 4.15.

          SECTION 2.3                Procedure for Advances of Revolving Credit Loans and Swingline
Loans

                    .

                            (a)    Requests for Borrowing.        The Borrowers shall give the
                    Administrative Agent irrevocable prior written notice substantially in the form of
                    Exhibit B (a “Notice of Borrowing”) not later than 11:00 a.m. (i) on the same
                    Business Day as each Base Rate Loan and each Swingline Loan and (ii) at least
                    three (3) Business Days before each LIBOR Rate Loan, of its intention to borrow,
                    specifying (A) the date of such borrowing, which shall be a Business Day, (B) the
                    amount of such borrowing, which shall be, (x) with respect to Base Rate Loans
                    (other than Swingline Loans) in an aggregate principal amount of $1,000,000 or a
                    whole multiple of $500,000 in excess thereof, (y) with respect to LIBOR Rate

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                    Loans in an aggregate principal amount of $2,000,000 or a whole multiple of
                    $500,000 in excess thereof and (z) with respect to Swingline Loans in an
                    aggregate principal amount of $100,000 or a whole multiple of $100,000 in
                    excess thereof, (C) whether such Loan is to be a Revolving Credit Loan or
                    Swingline Loan, (D) in the case of a Revolving Credit Loan whether the Loans
                    are to be LIBOR Rate Loans or Base Rate Loans, and (E) in the case of a LIBOR
                    Rate Loan, the duration of the Interest Period applicable thereto. A Notice of
                    Borrowing received after 11:00 a.m. shall be deemed received on the next
                    Business Day. The Administrative Agent shall promptly notify the Revolving
                    Credit Lenders of each Notice of Borrowing.

                           (b)      Disbursement of Revolving Credit and Swingline Loans. Not later
                    than 1:00 p.m. on the proposed borrowing date, (i) each Revolving Credit Lender
                    will make available to the Administrative Agent, for the account of the
                    Borrowers, at the office of the Administrative Agent in funds immediately
                    available to the Administrative Agent, such Revolving Credit Lender’s Revolving
                    Credit Commitment Percentage of the Revolving Credit Loans to be made on
                    such borrowing date and (ii) the Swingline Lender will make available to the
                    Administrative Agent, for the account of the Borrowers, at the office of the
                    Administrative Agent in funds immediately available to the Administrative
                    Agent, the Swingline Loans to be made on such borrowing date. Each Borrower
                    hereby irrevocably authorizes the Administrative Agent to disburse the proceeds
                    of each borrowing requested pursuant to this Section 2.3(b) in immediately
                    available funds by crediting or wiring such proceeds to the deposit account of any
                    Borrower identified in the most recent notice substantially in the form attached as
                    Exhibit C (a “Notice of Account Designation”) delivered by the Borrowers to the
                    Administrative Agent or as may be otherwise agreed upon by the Borrowers and
                    the Administrative Agent from time to time. Subject to Section 4.7 hereof, during
                    any period in which there is more than one Revolving Credit Lender under this
                    Agreement, the Administrative Agent shall not be obligated to disburse the
                    portion of the proceeds of any Revolving Credit Loan requested pursuant to this
                    Section 2.3(b) to the extent that any Revolving Credit Lender has not made
                    available to the Administrative Agent its Revolving Credit Commitment
                    Percentage of such Loan. Revolving Credit Loans to be made for the purpose of
                    refunding Swingline Loans shall be made by the Revolving Credit Lenders as
                    provided in Section 2.2(b).

          SECTION 2.4              Repayment and Prepayment of Revolving Credit and Swingline
Loans.

                           (a)     Repayment on Termination Date. (i) The Borrowers hereby agree
                    to repay the outstanding principal amount of (i) all Revolving Credit Loans in full
                    on the Revolving Credit Maturity Date, and (ii) all Swingline Loans in
                    accordance with Section 2.2(b) (but, in any event, no later than the Revolving
                    Credit Maturity Date), together, in each case, with all accrued but unpaid interest
                    thereon.

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                                     (ii) Repayment Equal to Weekly Excess Cash Balances. The
                              Borrowers agree to repay, or cause to be repaid, Loans as required in
                              Section 7.20(a).

                            (b)     Mandatory Prepayments. If at any time the Revolving Credit
                    Outstandings exceed the Revolving Credit Commitment, the Borrowers agree to
                    repay immediately upon notice from the Administrative Agent, by payment to the
                    Administrative Agent for the account of the Revolving Credit Lenders,
                    Extensions of Credit in an amount equal to such excess with each such repayment
                    applied first, to the principal amount of outstanding Swingline Loans, second to
                    the principal amount of outstanding Revolving Credit Loans and third, with
                    respect to any Letters of Credit then outstanding, a payment of Cash Collateral
                    into a Cash Collateral account opened by the Administrative Agent, for the
                    benefit of the Revolving Credit Lenders, in an amount equal to such excess (such
                    Cash Collateral to be applied in accordance with Section 9.2(b)).

                            (c)     Optional Prepayments. The Borrowers may at any time and from
                    time to time prepay Revolving Credit Loans and Swingline Loans, in whole or in
                    part, with irrevocable prior written notice to the Administrative Agent
                    substantially in the form attached as Exhibit D (a “Notice of Prepayment”) given
                    not later than 11:00 a.m. (i) on the same Business Day as each Base Rate Loan
                    and each Swingline Loan and (ii) at least three (3) Business Days before each
                    LIBOR Rate Loan, specifying the date and amount of prepayment and whether
                    the prepayment is of LIBOR Rate Loans, Base Rate Loans, Swingline Loans or a
                    combination thereof, and, if of a combination thereof, the amount allocable to
                    each. Upon receipt of such notice, the Administrative Agent shall promptly
                    notify each Revolving Credit Lender. If any such notice is given, the amount
                    specified in such notice shall be due and payable on the date set forth in such
                    notice. Partial prepayments shall be in an aggregate amount of $1,000,000 or a
                    whole multiple of $500,000 in excess thereof with respect to Base Rate Loans
                    (other than Swingline Loans), $2,000,000 or a whole multiple of $500,000 in
                    excess thereof with respect to LIBOR Rate Loans and $100,000 or a whole
                    multiple of $100,000 in excess thereof with respect to Swingline Loans. A Notice
                    of Prepayment received after 11:00 a.m. shall be deemed received on the next
                    Business Day. Each such repayment shall be accompanied by any amount
                    required to be paid pursuant to Section 4.9 hereof.

                           (d)    Prepayment of Excess Proceeds. The amount of such excess
                    proceeds shall be used on the date of the required prepayment to prepay the
                    outstanding principal amount of the Revolving Credit Loans, without a
                    corresponding reduction of the Revolving Credit Commitment, with the
                    remaining proceeds, if any, being refunded to the Borrowers.

                            (e)    Limitation on Prepayment of LIBOR Rate Loans. The Borrowers
                    may not prepay any LIBOR Rate Loan on any day other than on the last day of
                    the Interest Period applicable thereto unless such prepayment is accompanied by
                    any amount required to be paid pursuant to Section 4.9 hereof.
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                           (f)     Hedge Agreements. No repayment or prepayment pursuant to this
                    Section 2.4(f) shall affect any of the Borrowers’ obligations under any Hedge
                    Agreement.

          SECTION 2.5              Permanent Reduction of the Revolving Credit Commitment.

                            (a)     Voluntary Reduction. The Borrowers shall have the right at any
                    time and from time to time, upon at least five (5) Business Days prior written
                    notice to the Administrative Agent, to permanently reduce, without premium or
                    penalty, (i) the entire Revolving Credit Commitment at any time or (ii) portions of
                    the Revolving Credit Commitment, from time to time, in an aggregate principal
                    amount not less than $3,000,000 or any whole multiple of $1,000,000 in excess
                    thereof. Any reduction of the Revolving Credit Commitment shall be applied to
                    the Revolving Credit Commitment of each Revolving Credit Lender according to
                    its Revolving Credit Commitment Percentage. All commitment fees accrued until
                    the effective date of any termination of the Revolving Credit Commitment shall
                    be paid on the effective date of such termination.

                           (b)      Corresponding Payment. Each permanent reduction permitted or
                    required pursuant to this Section 2.5(b) shall be accompanied by a payment of
                    principal sufficient to reduce the aggregate outstanding Revolving Credit Loans,
                    Swingline Loans and L/C Obligations, as applicable, after such reduction to the
                    Revolving Credit Commitment as so reduced and if the aggregate amount of all
                    outstanding Letters of Credit exceeds the Revolving Credit Commitment as so
                    reduced, the Borrowers shall be required to deposit Cash Collateral in a Cash
                    Collateral account opened by the Administrative Agent in an amount equal to
                    such excess. Such Cash Collateral shall be applied in accordance with Section
                    9.2(b). Any reduction of the Revolving Credit Commitment to zero shall be
                    accompanied by payment of all outstanding Revolving Credit Loans and
                    Swingline Loans (and furnishing of Cash Collateral satisfactory to the
                    Administrative Agent for all L/C Obligations) and shall result in the termination
                    of the Revolving Credit Commitment and the Swingline Commitment and the
                    Revolving Credit Facility. If the reduction of the Revolving Credit Commitment
                    requires the repayment of any LIBOR Rate Loan, such repayment shall be
                    accompanied by any amount required to be paid pursuant to Section 4.9 hereof.

                           (c)   Reduction Equal to Month-End Excess Cash Balances. The
                    Borrowers agree to repay, or cause to be repaid, Loans as required in Section
                    7.20(b).

        SECTION 2.6           Termination of Revolving Credit Facility; Cash Collateral for
Letters of Credit. The Revolving Credit Facility and the Revolving Credit Commitments shall
terminate on the Revolving Credit Maturity Date. Borrowers covenant and agree that they shall
Cash Collateralize all L/C Obligations in an amount not less than 102% of all such L/C
Obligations by not later than the fifth (5th) Business Day prior to the Revolving Credit Maturity
Date. After all such Letters of Credit shall have expired or been fully drawn upon, the
Reimbursement Obligation shall have been satisfied and all other Obligations shall have been

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paid in full in accordance with the terms of this Agreement, the balance, if any, in such Cash
Collateral account shall be returned to the Borrowers.

        SECTION 2.7           Treasury Management. Each Borrower and Swingline Lender may
from time to time enter into a Cash Management Agreement whereby borrowings of Swingline
Loans are to be authorized by such Borrower to occur automatically or via website/on-line
authorization on any business day, and the Borrowers are permitted to borrow under Section 2.3,
prepay under Section 2.4, and reborrow under Section 2.3 pursuant to the terms of such Cash
Management Agreements; provided that such Swingline Loans shall be subject to Section
4.1(a)(ii).

                                           Article III
                                   LETTER OF CREDIT FACILITY

          SECTION 3.1              L/C Commitment.

                            (a)     Availability. Subject to the terms and conditions hereof, the
                    Issuing Lender, in reliance on the agreements of the other Lenders set forth in
                    Section 3.4(a), agrees to issue letters of credit (the “Letters of Credit”) for the
                    account of the Borrowers or any Subsidiary thereof on any Business Day from the
                    Closing Date through but not including the fifth (5th) Business Day prior to the
                    Revolving Credit Maturity Date in such form as may be approved from time to
                    time by the Issuing Lender; provided, that the Issuing Lender shall have no
                    obligation to issue any Letter of Credit if, after giving effect to such issuance, (i)
                    the L/C Obligations would exceed the L/C Commitment or (ii) the Revolving
                    Credit Outstandings would exceed the Revolving Credit Commitment. Each
                    Letter of Credit shall (i) be denominated in Dollars in a minimum amount of
                    $100,000, (or such lesser amount as agreed to by the Issuing Lender), (ii) be a
                    letter of credit issued to support obligations of any Borrower or any of its
                    Subsidiaries, contingent or otherwise, incurred in the ordinary course of business,
                    (iii) expire on a date no later than the fifth (5th) Business Day prior to the
                    Revolving Credit Maturity Date, and (iv) be subject to the Uniform Customs
                    and/or ISP98, as set forth in the Letter of Credit Application or as determined by
                    the Issuing Lender and, to the extent not inconsistent therewith, the laws of the
                    State of Texas. The Issuing Lender shall not at any time be obligated to issue any
                    Letter of Credit hereunder if such issuance would conflict with, or cause the
                    Issuing Lender or any L/C Participant to exceed any limits imposed by, any
                    Applicable Law. References herein to “issue” and derivations thereof with
                    respect to Letters of Credit shall also include extensions or modifications of any
                    outstanding Letters of Credit, unless the context otherwise requires. As of the
                    Closing Date, each of the Existing Letters of Credit shall constitute, for all
                    purposes of this Agreement and the other Loan Documents, a Letter of Credit
                    issued and outstanding hereunder.

                           (b)     Defaulting Lenders. Notwithstanding anything to the contrary
                    contained in this Agreement, Article III shall be subject to the terms and
                    conditions of Section 4.14 and Section 4.15.
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        SECTION 3.2            Procedure for Issuance of Letters of Credit. The Borrowers may
from time to time request that the Issuing Lender issue a Letter of Credit by delivering to the
Issuing Lender at the Administrative Agent’s Office a Letter of Credit Application therefor,
completed to the satisfaction of the Issuing Lender, and such other certificates, documents and
other papers and information as the Issuing Lender may request. Upon receipt of any Letter of
Credit Application, the Issuing Lender shall process such Letter of Credit Application and the
certificates, documents and other papers and information delivered to it in connection therewith
in accordance with its customary procedures and shall, subject to Section 3.1 and Article V,
promptly issue the Letter of Credit requested thereby (but in no event shall the Issuing Lender be
required to issue any Letter of Credit earlier than three (3) Business Days after its receipt of the
Letter of Credit Application therefor and all such other certificates, documents and other papers
and information relating thereto) by issuing the original of such Letter of Credit to the
beneficiary thereof or as otherwise may be agreed by the Issuing Lender and the Borrowers. The
Issuing Lender shall promptly furnish to the Borrowers a copy of such Letter of Credit and
promptly notify each Revolving Credit Lender of the issuance and upon request by any
Revolving Credit Lender, furnish to such Lender a copy of such Revolving Credit Letter of
Credit and the amount of such Revolving Credit Lender’s participation therein.

          SECTION 3.3                Commissions and Other Charges.

                              (a)    Letter of Credit Commissions.

                                      (i)     Subject to Section 4.15(a)(iii)(B), the Borrowers shall pay
                              to the Administrative Agent, for the account of the Issuing Lender and the
                              L/C Participants, a letter of credit commission with respect to each
                              standby Letter of Credit in the amount equal to the daily amount available
                              to be drawn under such Letter of Credit times the Applicable Margin with
                              respect to Revolving Credit Loans that are LIBOR Rate Loans
                              (determined on a per annum basis). Such commission shall be payable
                              quarterly in arrears on the last Business Day of each calendar quarter, on
                              the Revolving Credit Maturity Date and thereafter on demand of the
                              Administrative Agent.

                                     (ii)    Subject to Section 4.15(a)(iii)(B), the Borrowers shall pay
                              to the Administrative Agent, for the account of the Issuing Lender, a
                              commission with respect to each commercial Letter of Credit in the
                              amount equal to the daily amount available to be drawn under such Letter
                              of Credit times 0.125% (determined on a per annum basis); provided that,
                              the amount of each such commission may not be less than $150.

                                      (iii) The Administrative Agent shall, promptly following its
                              receipt thereof, distribute to the Issuing Lender and the L/C Participants
                              all commissions received pursuant to this Section 3.3(a) in accordance
                              with their respective Revolving Credit Commitment Percentages.

                           (b)     Issuance Fees. The Borrowers shall pay to the Administrative
                    Agent, for the account of the Issuing Lender, standard bank fees and charges of

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                    the Issuing Lender for the issuance of each Letter of Credit. Such issuance fees
                    and charges shall be payable quarterly in arrears on the last Business Day of each
                    calendar quarter commencing with the first such date to occur after the issuance
                    of such Letter of Credit, on the Revolving Credit Maturity Date and thereafter on
                    demand of the Administrative Agent.

                            (c)     Other Costs. In addition to the foregoing fees and commissions,
                    the Borrowers shall pay or reimburse the Issuing Lender for such normal and
                    customary costs and expenses as are incurred or charged by the Issuing Lender in
                    issuing, effecting payment under, amending or otherwise administering any Letter
                    of Credit.

          SECTION 3.4              L/C Participations.

                            (a)     The Issuing Lender irrevocably agrees to grant and hereby grants
                    to each L/C Participant, and, to induce the Issuing Lender to issue Letters of
                    Credit hereunder, each L/C Participant irrevocably agrees to accept and purchase
                    and hereby accepts and purchases from the Issuing Lender, on the terms and
                    conditions hereinafter stated, for such L/C Participant’s own account and risk an
                    undivided interest equal to such L/C Participant’s Revolving Credit Commitment
                    Percentage in the Issuing Lender’s obligations and rights under and in respect of
                    each Letter of Credit issued hereunder and the amount of each draft paid by the
                    Issuing Lender thereunder. Each L/C Participant unconditionally and irrevocably
                    agrees with the Issuing Lender that, if a draft is paid under any Letter of Credit
                    for which the Issuing Lender is not reimbursed in full by the Borrowers through a
                    Revolving Credit Loan or otherwise in accordance with the terms of this
                    Agreement, such L/C Participant shall pay to the Issuing Lender upon demand at
                    the Issuing Lender’s address for notices specified herein an amount equal to such
                    L/C Participant’s Revolving Credit Commitment Percentage of the amount of
                    such draft, or any part thereof, which is not so reimbursed.

                            (b)     Upon becoming aware of any amount required to be paid by any
                    L/C Participant to the Issuing Lender pursuant to Section 3.4(a) in respect of any
                    unreimbursed portion of any payment made by the Issuing Lender under any
                    Letter of Credit, the Issuing Lender shall notify each L/C Participant of the
                    amount and due date of such required payment and such L/C Participant shall pay
                    to the Issuing Lender the amount specified on the applicable due date. If any such
                    amount is paid to the Issuing Lender after the date such payment is due, such L/C
                    Participant shall pay to the Issuing Lender on demand, in addition to such
                    amount, the product of (i) such amount, times (ii) the daily average Federal Funds
                    Rate as determined by the Administrative Agent during the period from and
                    including the date such payment is due to the date on which such payment is
                    immediately available to the Issuing Lender, times (iii) a fraction the numerator of
                    which is the number of days that elapse during such period and the denominator
                    of which is 360. A certificate of the Issuing Lender with respect to any amounts
                    owing under this Section 3.4(b) shall be conclusive in the absence of manifest
                    error. With respect to payment to the Issuing Lender of the unreimbursed

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                    amounts described in this Section 3.4(b), if the L/C Participants receive notice
                    that any such payment is due (A) prior to 1:00 p.m. on any Business Day, such
                    payment shall be due that Business Day, and (B) after 1:00 p.m. on any Business
                    Day, such payment shall be due on the following Business Day.

                            (c)     Whenever, at any time after the Issuing Lender has made payment
                    under any Letter of Credit and has received from any L/C Participant its
                    Revolving Credit Commitment Percentage of such payment in accordance with
                    this Section 3.4(c), the Issuing Lender receives any payment related to such Letter
                    of Credit (whether directly from the Borrowers or otherwise), or any payment of
                    interest on account thereof, the Issuing Lender will distribute to such L/C
                    Participant its pro rata share thereof; provided, that in the event that any such
                    payment received by the Issuing Lender shall be required to be returned by the
                    Issuing Lender, such L/C Participant shall return to the Issuing Lender the portion
                    thereof previously distributed by the Issuing Lender to it.

        SECTION 3.5           Reimbursement Obligation of the Borrowers. In the event of any
drawing under any Letter of Credit, the Borrowers agree to reimburse (either with the proceeds
of a Revolving Credit Loan as provided for in this Section 3.5 or with funds from other sources),
in same day funds, the Issuing Lender on each date on which the Issuing Lender notifies the
Borrowers of the date and amount of a draft paid under any Letter of Credit for the amount of (a)
such draft so paid and (b) any amounts referred to in Section 3.3(c) incurred by the Issuing
Lender in connection with such payment. Unless the Borrowers shall immediately notify the
Issuing Lender that the Borrowers intend to reimburse the Issuing Lender for such drawing from
other sources or funds, the Borrowers shall be deemed to have timely given a Notice of
Borrowing to the Administrative Agent requesting that the Revolving Credit Lenders make a
Revolving Credit Loan bearing interest at the Base Rate on such date in the amount of (a) such
draft so paid and (b) any amounts referred to in Section 3.3(c) incurred by the Issuing Lender in
connection with such payment, and the Revolving Credit Lenders shall make a Revolving Credit
Loan bearing interest at the Base Rate in such amount, the proceeds of which shall be applied to
reimburse the Issuing Lender for the amount of the related drawing and costs and expenses.
Each Revolving Credit Lender acknowledges and agrees that its obligation to fund a Revolving
Credit Loan in accordance with this Section 3.5 to reimburse the Issuing Lender for any draft
paid under a Letter of Credit is absolute and unconditional and shall not be affected by any
circumstance whatsoever, including, without limitation, non-satisfaction of the conditions set
forth in Section 2.3(a) or Article V. If the Borrowers have elected to pay the amount of such
drawing with funds from other sources and shall fail to reimburse the Issuing Lender as provided
above, the unreimbursed amount of such drawing shall bear interest at the rate which would be
payable on any outstanding Base Rate Loans which were then overdue from the date such
amounts become payable (whether at stated maturity, by acceleration or otherwise) until
payment in full.

        SECTION 3.6           Obligations Absolute. Each Borrower’s obligations under this
Article III (including, without limitation, the Reimbursement Obligation) shall be absolute and
unconditional under any and all circumstances and irrespective of any set off, counterclaim or
defense to payment which any Borrower may have or have had against the Issuing Lender or any
beneficiary of a Letter of Credit or any other Person. Each Borrower also agrees that the Issuing
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Lender and the L/C Participants shall not be responsible for, and each Borrower’s
Reimbursement Obligation under Section 3.5 shall not be affected by, among other things, the
validity or genuineness of documents or of any endorsements thereon, even though such
documents shall in fact prove to be invalid, fraudulent or forged, or any dispute between or
among any Borrower and any beneficiary of any Letter of Credit or any other party to which
such Letter of Credit may be transferred or any claims whatsoever of any Borrower against any
beneficiary of such Letter of Credit or any such transferee. The Issuing Lender shall not be
liable for any error, omission, interruption or delay in transmission, dispatch or delivery of any
message or advice, however transmitted, in connection with any Letter of Credit, except for
errors or omissions caused by the Issuing Lender’s gross negligence or willful misconduct, as
determined by a court of competent jurisdiction by final nonappealable judgment. Each
Borrower agrees that any action taken or omitted by the Issuing Lender under or in connection
with any Letter of Credit or the related drafts or documents, if done in the absence of gross
negligence or willful misconduct shall be binding on each Borrower and shall not result in any
liability of the Issuing Lender or any L/C Participant to any Borrower. The responsibility of the
Issuing Lender to the Borrowers in connection with any draft presented for payment under any
Letter of Credit shall, in addition to any payment obligation expressly provided for in such Letter
of Credit, be limited to determining that the documents (including each draft) delivered under
such Letter of Credit in connection with such presentment are in conformity with such Letter of
Credit.

       SECTION 3.7              Effect of Letter of Credit Application. To the extent that any
provision of any Letter of Credit Application related to any Letter of Credit is inconsistent with
the provisions of this Article III, the provisions of this Article III shall apply.

                                             Article IV
                                      GENERAL LOAN PROVISIONS

          SECTION 4.1                Interest.

                              (a)    Interest Rate Options.

                                      (i)     Subject to the provisions of this Section 4.1, at the election
                              of the Borrowers, (i) Revolving Credit Loans shall bear interest at (A) the
                              Base Rate plus the Applicable Margin or (B) the LIBOR Rate plus the
                              Applicable Margin (provided that the LIBOR Rate shall not be available
                              until three (3) Business Days after the Closing Date unless the Borrowers
                              have delivered to the Administrative Agent a letter in form and substance
                              reasonably satisfactory to the Administrative Agent indemnifying the
                              Lenders in the manner set forth in Section 4.9 of this Agreement) and (ii)
                              any Swingline Loan shall bear interest at the LIBOR Market Index Rate
                              plus the Applicable Margin. The Borrowers shall select the rate of interest
                              and Interest Period, if any, applicable to any Loan at the time a Notice of
                              Borrowing is given or at the time a Notice of Conversion/Continuation is
                              given pursuant to Section 4.2. Any Loan or any portion thereof as to
                              which the Borrowers have not duly specified an interest rate as provided
                              herein shall be deemed a Base Rate Loan.
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                                      (ii)   If a Cash Management Agreement is in effect and includes
                              a cash management arrangement under which borrowing under, and
                              repayment of, the Revolving Credit Facility is settled each day based on
                              debits and credits to the applicable deposit accounts, then the Revolving
                              Credit Loans during such time shall bear interest at the LIBOR Market
                              Index Rate plus the Applicable Margin for LIBOR Rate Loans. The
                              LIBOR Market Index Rate is a daily index rate to which Interest Periods
                              are not applicable.

                           (b)     Interest Periods. In connection with each LIBOR Rate Loan, the
                    Borrowers, by giving notice at the times described in Section 2.3 or 4.2, as
                    applicable, shall elect an interest period (each, an “Interest Period”) to be
                    applicable to such Loan, which Interest Period shall be a period of one (1) or three
                    (3) months; provided that:

                                      (i)    the Interest Period shall commence on the date of advance
                              of or conversion to any LIBOR Rate Loan and, in the case of immediately
                              successive Interest Periods, each successive Interest Period shall
                              commence on the date on which the immediately preceding Interest Period
                              expires;

                                      (ii)   if any Interest Period would otherwise expire on a day that
                              is not a Business Day, such Interest Period shall expire on the next
                              succeeding Business Day; provided, that if any Interest Period with
                              respect to a LIBOR Rate Loan would otherwise expire on a day that is not
                              a Business Day but is a day of the month after which no further Business
                              Day occurs in such month, such Interest Period shall expire on the
                              immediately preceding Business Day;

                                     (iii) any Interest Period with respect to a LIBOR Rate Loan that
                              begins on the last Business Day of a calendar month (or on a day for
                              which there is no numerically corresponding day in the calendar month at
                              the end of such Interest Period) shall end on the last Business Day of the
                              relevant calendar month at the end of such Interest Period;

                                     (iv)   no Interest Period shall extend beyond the Revolving
                              Credit Maturity Date, and Interest Periods shall be selected by the
                              Borrowers so as to permit the Borrowers to make payments without
                              payment of any amounts pursuant to Section 4.9; and

                                      (v)     there shall be no more than five (5) Interest Periods in
                              effect at any time.

                            (c)     Default Rate. Subject to Section 9.3, (i) immediately upon the
                    occurrence and during the continuance of an Event of Default under Section
                    9.1(a), (b), (j) or (k), or (ii) at the election of the Required Lenders, upon the
                    occurrence and during the continuance of any other Event of Default, (A) the

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                    Borrowers shall no longer have the option to request LIBOR Rate Loans,
                    Swingline Loans or Letters of Credit, (B) all outstanding LIBOR Rate Loans shall
                    bear interest at a rate per annum of two percent (2%) in excess of the rate
                    (including the Applicable Margin) then applicable to LIBOR Rate Loans until the
                    end of the applicable Interest Period and thereafter at a rate equal to two percent
                    (2%) in excess of the rate (including the Applicable Margin) then applicable to
                    Base Rate Loans, (C) all outstanding Base Rate Loans and other Obligations
                    arising hereunder or under any other Loan Document shall bear interest at a rate
                    per annum equal to two percent (2%) in excess of the rate (including the
                    Applicable Margin) then applicable to Base Rate Loans or such other Obligations
                    arising hereunder or under any other Loan Document, (D) all outstanding LIBOR
                    Market index Rate Loans shall bear interest at a rate per annum of three percent
                    (3%) in excess of the rate (including the Applicable Margin) then applicable to
                    LIBOR Market Index Rate Loans, and (E) all accrued and unpaid interest shall be
                    due and payable on demand of the Administrative Agent. Interest shall continue
                    to accrue on the Obligations after the filing by or against any Borrower of any
                    petition seeking any relief in bankruptcy or under any act or law pertaining to
                    insolvency or debtor relief, whether state, federal or foreign.

                           (d)     Interest Payment and Computation. Interest on each Base Rate
                    Loan shall be due and payable in arrears on the last Business Day of each month
                    commencing October 31, 2015, interest on each LIBOR Market Index Rate Loan
                    shall be due and payable in arrears on the last Business Day of each month
                    commencing October 31, 2015; and interest on each LIBOR Rate Loan shall be
                    due and payable on the last day of each Interest Period applicable thereto, and if
                    such Interest Period extends over three (3) months, at the end of each three (3)
                    month interval during such Interest Period. All computations of interest for Base
                    Rate Loans when the Base Rate is determined by the Prime Rate shall be made on
                    the basis of a year of 365 or 366 days, as the case may be, and actual days
                    elapsed. All other computations of fees and interest provided hereunder shall be
                    made on the basis of a 360-day year and actual days elapsed (which results in
                    more fees or interest, as applicable, being paid than if computed on the basis of a
                    365/366-day year).

                            (e)     Maximum Rate. In no contingency or event whatsoever shall the
                    aggregate of all amounts deemed interest under this Agreement charged or
                    collected pursuant to the terms of this Agreement exceed the highest rate
                    permissible under any Applicable Law which a court of competent jurisdiction
                    shall, in a final determination, deem applicable hereto. In the event that such a
                    court determines that the Lenders have charged or received interest hereunder in
                    excess of the highest applicable rate, the rate in effect hereunder shall
                    automatically be reduced to the maximum rate permitted by Applicable Law and
                    the Lenders shall at the Administrative Agent’s option (i) promptly refund to the
                    Borrowers any interest received by the Lenders in excess of the maximum lawful
                    rate or (ii) apply such excess to the principal balance of the Obligations on a pro
                    rata basis. It is the intent hereof that the Borrowers not pay or contract to pay,
                    and that neither the Administrative Agent nor any Lender receive or contract to
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                    receive, directly or indirectly in any manner whatsoever, interest in excess of that
                    which may be paid by the Borrowers under Applicable Law.

        SECTION 4.2            Notice and Manner of Conversion or Continuation of Loans.
Provided that no Default or Event of Default has occurred and is then continuing, the Borrowers
shall have the option to (a) convert at any time following the third Business Day after the
Closing Date all or any portion of any outstanding Base Rate Loans (other than Swingline
Loans) in a principal amount equal to $1,000,000 or any whole multiple of $100,000 in excess
thereof into one or more LIBOR Rate Loans and (b) upon the expiration of any Interest Period,
(i) convert all or any part of its outstanding LIBOR Rate Loans in a principal amount equal to
$2,000,000 or a whole multiple of $500,000 in excess thereof into Base Rate Loans (other than
Swingline Loans) or (ii) continue such LIBOR Rate Loans as LIBOR Rate Loans. Whenever the
Borrowers desire to convert or continue Loans as provided above, the Borrowers shall give the
Administrative Agent irrevocable prior written notice in the form attached as Exhibit E (a
“Notice of Conversion/Continuation”) not later than 11:00 a.m. three (3) Business Days before
the day on which a proposed conversion or continuation of such Loan is to be effective
specifying (A) the Loans to be converted or continued, and, in the case of any LIBOR Rate Loan
to be converted or continued, the last day of the Interest Period therefor, (B) the effective date of
such conversion or continuation (which shall be a Business Day), (C) the principal amount of
such Loans to be converted or continued, and (D) the Interest Period to be applicable to such
converted or continued LIBOR Rate Loan. The Administrative Agent shall promptly notify the
affected Lenders of such Notice of Conversion/Continuation.

          SECTION 4.3              Fees.

                            (a)   Commitment Fee. Commencing on the Closing Date, subject to
                    Section 4.15(a)(iii)(A), the Borrowers shall pay to the Administrative Agent, for
                    the account of the Revolving Credit Lenders, a non-refundable commitment fee
                    (the “Commitment Fee”) at a rate per annum equal to the Applicable Margin on
                    the average daily unused portion of the Revolving Credit Commitment of the
                    Revolving Credit Lenders (other than the Defaulting Lenders, if any); provided,
                    that the amount of outstanding Swingline Loans shall not be considered usage of
                    the Revolving Credit Commitment for the purpose of calculating the Commitment
                    Fee. The Commitment Fee shall be payable in arrears on the last Business Day of
                    each calendar quarter during the term of this Agreement commencing December
                    31, 2015, and ending on the Revolving Credit Maturity Date. Such Commitment
                    Fee shall be distributed by the Administrative Agent to the Revolving Credit
                    Lenders (other than any Defaulting Lender) pro rata in accordance with such
                    Revolving Credit Lenders’ respective Revolving Credit Commitment
                    Percentages.

                           (b)    Other Fees. The Borrowers shall pay to the Lenders such fees as
                    shall have been separately agreed upon in writing by the Borrowers and the
                    Administrative Agent in the amounts and at the times so specified, including,
                    without limitation, standard annual administrative fees charged by the
                    Administrative Agent for administering this Agreement for more than one Lender.


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          SECTION 4.4             Manner of Payment.

                            (a)     Sharing of Payments. Each payment by the Borrowers on account
                    of the principal of or interest on the Loans or of any fee, commission or other
                    amounts (including the Reimbursement Obligation) payable to the Lenders under
                    this Agreement shall be made not later than 1:00 p.m. on the date specified for
                    payment under this Agreement to the Administrative Agent at the Administrative
                    Agent’s Office for the account of the Lenders entitled to such payment in Dollars,
                    in immediately available funds and shall be made without any set off,
                    counterclaim or deduction whatsoever. Any payment received after such time but
                    before 2:00 p.m. on such day shall be deemed a payment on such date for the
                    purposes of Section 9.1, but for all other purposes shall be deemed to have been
                    made on the next succeeding Business Day. Any payment received after 2:00
                    p.m. shall be deemed to have been made on the next succeeding Business Day for
                    all purposes. Upon receipt by the Administrative Agent of each such payment,
                    the Administrative Agent shall distribute to each such Lender at its address for
                    notices set forth herein its Commitment Percentage in respect of the relevant
                    Credit Facility (or other applicable share as provided herein) of such payment and
                    shall wire advice of the amount of such credit to each Lender. Each payment to
                    the Administrative Agent on account of the principal of or interest on the
                    Swingline Loans or of any fee, commission or other amounts payable to the
                    Swingline Lender shall be made in like manner, but for the account of the
                    Swingline Lender. Each payment to the Administrative Agent of the Issuing
                    Lender’s fees or L/C Participants’ commissions shall be made in like manner, but
                    for the account of the Issuing Lender or the L/C Participants, as the case may be.
                    Each payment to the Administrative Agent of Administrative Agent’s fees or
                    expenses shall be made for the account of the Administrative Agent and any
                    amount payable to any Lender under Sections 4.9, 4.10, 4.11 or 11.3 shall be paid
                    to the Administrative Agent for the account of the applicable Lender. Subject to
                    Section 4.1(b)(ii), if any payment under this Agreement shall be specified to be
                    made upon a day which is not a Business Day, it shall be made on the next
                    succeeding day which is a Business Day and such extension of time shall in such
                    case be included in computing any interest if payable along with such payment.

                           (b)    Defaulting Lenders. Notwithstanding the foregoing clause (a), if
                    there exists a Defaulting Lender each payment by the Borrowers to such
                    Defaulting Lender hereunder shall be applied in accordance with Section
                    4.15(a)(ii).

          SECTION 4.5             Evidence of Indebtedness.

                           (a)     Extensions of Credit. The Extensions of Credit made by each
                    Lender shall be evidenced by one or more accounts or records maintained by such
                    Lender and by the Administrative Agent in the ordinary course of business. The
                    accounts or records maintained by the Administrative Agent and each Lender
                    shall be conclusive absent manifest error of the amount of the Extensions of
                    Credit made by the Lenders to the Borrowers and the interest and payments
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                    thereon. Any failure to so record or any error in doing so shall not, however,
                    limit or otherwise affect the obligation of the Borrowers hereunder to pay any
                    amount owing with respect to the Obligations. In the event of any conflict
                    between the accounts and records maintained by any Lender and the accounts and
                    records of the Administrative Agent in respect of such matters, the accounts and
                    records of the Administrative Agent shall control in the absence of manifest error.
                    Upon the request of any Lender made through the Administrative Agent, the
                    Borrowers shall execute and deliver to such Lender (through the Administrative
                    Agent) a Revolving Credit Note, and/or Swingline Note, as applicable, which
                    shall evidence such Lender’s Revolving Credit Loans and/or Swingline Loans, as
                    applicable, in addition to such accounts or records. Each Lender may attach
                    schedules to its Notes and endorse thereon the date, amount and maturity of its
                    Loans and payments with respect thereto.

                            (b)    Participations. In addition to the accounts and records referred to
                    in subsection (a), each Revolving Credit Lender and the Administrative Agent
                    shall maintain in accordance with its usual practice accounts or records
                    evidencing the purchases and sales by such Revolving Credit Lender of
                    participations in Letters of Credit and Swingline Loans. In the event of any
                    conflict between the accounts and records maintained by the Administrative
                    Agent and the accounts and records of any Revolving Credit Lender in respect of
                    such matters, the accounts and records of the Administrative Agent shall control
                    in the absence of manifest error.

        SECTION 4.6           Adjustments. If any Lender shall, by exercising any right of setoff
or counterclaim or otherwise, obtain payment in respect of any principal of or interest on any of
its Loans or other obligations hereunder resulting in such Lender’s receiving payment of a
proportion of the aggregate amount of its Loans and accrued interest thereon or other such
obligations (other than pursuant to Sections 4.9, 4.10, 4.11 or 11.3) greater than its pro rata share
thereof as provided herein, then the Lender receiving such greater proportion shall (a) notify the
Administrative Agent of such fact, and (b) purchase (for cash at face value) participations in the
Loans and such other obligations of the other Lenders, or make such other adjustments as shall
be equitable, so that the benefit of all such payments shall be shared by the Lenders ratably in
accordance with the aggregate amount of principal of and accrued interest on their respective
Loans and other amounts owing them; provided that

                                     (i)     if any such participations are purchased and all or any
                              portion of the payment giving rise thereto is recovered, such participations
                              shall be rescinded and the purchase price restored to the extent of such
                              recovery, without interest, and

                                      (ii)    the provisions of this paragraph shall not be construed to
                              apply to (A) any payment made by the Borrowers pursuant to and in
                              accordance with the express terms of this Agreement, (B) the application
                              of Cash Collateral provided for in Section 4.14 or (C) any payment
                              obtained by a Lender as consideration for the assignment of or sale of a
                              participation in any of its Loans or participations in Swingline Loans and

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                              Letters of Credit to any assignee or participant, other than to any Borrower
                              or any of a Borrower’s Subsidiaries (as to which the provisions of this
                              paragraph shall apply).

Each Credit Party consents to the foregoing and agrees, to the extent it may effectively do so
under Applicable Law, that any Lender acquiring a participation pursuant to the foregoing
arrangements may exercise against each Credit Party rights of setoff and counterclaim with
respect to such participation as fully as if such Lender were a direct creditor of each Credit Party
in the amount of such participation.

          SECTION 4.7                Obligations of Lenders.

                            (a)     Funding by Lenders; Presumption by Administrative Agent.
                    Unless the Administrative Agent shall have received notice from a Lender prior to
                    the proposed date of any borrowing that such Lender will not make available to
                    the Administrative Agent such Lender’s share of such borrowing, the
                    Administrative Agent may assume that such Lender has made such share
                    available on such date in accordance with Section 2.3(b) and may, in reliance
                    upon such assumption, make available to the Borrowers a corresponding amount.
                    In such event, if a Lender has not in fact made its share of the applicable
                    borrowing available to the Administrative Agent, then the applicable Lender and
                    the Borrowers severally agree to pay to the Administrative Agent forthwith on
                    demand such corresponding amount with interest thereon, for each day from and
                    including the date such amount is made available to the Borrowers to but
                    excluding the date of payment to the Administrative Agent, at (i) in the case of a
                    payment to be made by such Lender, the greater of the daily average Federal
                    Funds Rate and a rate determined by the Administrative Agent in accordance with
                    banking industry rules on interbank compensation and (ii) in the case of a
                    payment to be made by the Borrowers, the interest rate applicable to Base Rate
                    Loans. If the Borrowers and such Lender shall pay such interest to the
                    Administrative Agent for the same or an overlapping period, the Administrative
                    Agent shall promptly remit to the Borrowers the amount of such interest paid by
                    the Borrowers for such period. If such Lender pays its share of the applicable
                    borrowing to the Administrative Agent, then the amount so paid shall constitute
                    such Lender’s Loan included in such borrowing. Any payment by the Borrowers
                    shall be without prejudice to any claim the Borrowers may have against a Lender
                    that shall have failed to make such payment to the Administrative Agent.

                            (b)     Nature of Obligations of Lenders Regarding Extensions of Credit.
                    The obligations of the Lenders under this Agreement to make the Loans and issue
                    or participate in Letters of Credit are several and are not joint or joint and several.
                    The failure of any Lender to make available its Commitment Percentage of any
                    Loan requested by the Borrowers shall not relieve it or any other Lender of its
                    obligation, if any, hereunder to make its Commitment Percentage of such Loan
                    available on the borrowing date, but no Lender shall be responsible for the failure
                    of any other Lender to make its Commitment Percentage of such Loan available
                    on the borrowing date.

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          SECTION 4.8             Changed Circumstances.

                             (a)     Circumstances Affecting LIBOR Rate Availability. In connection
                    with any request for a LIBOR Rate Loan or any Base Rate Loan as to which the
                    interest rate is determined with reference to LIBOR or a conversion to or
                    continuation thereof, if for any reason (i) the Administrative Agent shall
                    determine (which determination shall be conclusive and binding absent manifest
                    error) that Dollar deposits are not being offered to banks in the London interbank
                    Eurodollar market for the applicable amount and Interest Period of such Loan, (ii)
                    the Administrative Agent shall determine (which determination shall be
                    conclusive and binding absent manifest error) that reasonable and adequate means
                    do not exist for ascertaining the LIBOR Rate for such Interest Period with respect
                    to a proposed LIBOR Rate Loan or any Base Rate Loan as to which the interest
                    rate is determined with reference to LIBOR or (iii) the Required Lenders shall
                    determine (which determination shall be conclusive and binding absent manifest
                    error) that the LIBOR Rate does not adequately and fairly reflect the cost to such
                    Lenders of making or maintaining such Loans during such Interest Period, then
                    the Administrative Agent shall promptly give notice thereof to the Borrowers.
                    Thereafter, until the Administrative Agent notifies the Borrowers that such
                    circumstances no longer exist, the obligation of the Lenders to make LIBOR Rate
                    Loans or Base Rate Loan as to which the interest rate is determined with
                    reference to LIBOR and the right of the Borrowers to convert any Loan to or
                    continue any Loan as a LIBOR Rate Loan or a Base Rate Loan as to which the
                    interest rate is determined with reference to LIBOR shall be suspended, and (i) in
                    the case of LIBOR Rate Loans, the Borrowers shall either (A) repay in full (or
                    cause to be repaid in full) the then outstanding principal amount of each such
                    LIBOR Rate Loan together with accrued interest thereon (subject to Section
                    4.1(d)), on the last day of the then current Interest Period applicable to such
                    LIBOR Rate Loan; or (B) convert the then outstanding principal amount of each
                    such LIBOR Rate Loan to a Base Rate Loan as to which the interest rate is not
                    determined by reference to LIBOR as of the last day of such Interest Period; or
                    (ii) in the case of Base Rate Loans as to which the interest rate is determined by
                    reference to LIBOR, the Borrowers shall convert the then outstanding principal
                    amount of each such Loan to a Base Rate Loan as to which the interest rate is not
                    determined by reference to LIBOR as of the last day of such Interest Period.

                            (b)    Laws Affecting LIBOR Rate Availability. If, after the date hereof,
                    the introduction of, or any change in, any Applicable Law or any change in the
                    interpretation or administration thereof by any Governmental Authority, central
                    bank or comparable agency charged with the interpretation or administration
                    thereof, or compliance by any of the Lenders (or any of their respective Lending
                    Offices) with any request or directive (whether or not having the force of law) of
                    any such Governmental Authority, central bank or comparable agency, shall make
                    it unlawful or impossible for any of the Lenders (or any of their respective
                    Lending Offices) to honor its obligations hereunder to make or maintain any
                    LIBOR Rate Loan or any Base Rate Loan as to which the interest rate is
                    determined by reference to LIBOR, such Lender shall promptly give notice
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                    thereof to the Administrative Agent and the Administrative Agent shall promptly
                    give notice to the Borrowers and the other Lenders. Thereafter, until the
                    Administrative Agent notifies the Borrowers that such circumstances no longer
                    exist, (i) the obligations of the Lenders to make LIBOR Rate Loans or Base Rate
                    Loans as to which the interest rate is determined by reference to LIBOR, and the
                    right of the Borrowers to convert any Loan to a LIBOR Rate Loan or continue
                    any Loan as a LIBOR Rate Loan or a Base Rate Loan as to which the interest rate
                    is determined by reference to LIBOR shall be suspended and thereafter the
                    Borrowers may select only Base Rate Loans as to which the interest rate is not
                    determined by reference to LIBOR hereunder, (ii) all Base Rate Loans shall cease
                    to be determined by reference to LIBOR and (iii) if any of the Lenders may not
                    lawfully continue to maintain a LIBOR Rate Loan to the end of the then current
                    Interest Period applicable thereto, the applicable Loan shall immediately be
                    converted to a Base Rate Loan as to which the interest rate is not determined by
                    reference to LIBOR for the remainder of such Interest Period.

        SECTION 4.9           Indemnity. The Borrowers hereby indemnify each of the Lenders
against any loss or expense (including any loss or expense arising from the liquidation or
reemployment of funds obtained by it to maintain a LIBOR Rate Loan or from fees payable to
terminate the deposits from which such funds were obtained) which may arise or be attributable
to each Lender’s obtaining, liquidating or employing deposits or other funds acquired to effect,
fund or maintain any Loan (a) as a consequence of any failure by the Borrowers to make any
payment when due of any amount due hereunder in connection with a LIBOR Rate Loan, (b) due
to any failure of the Borrowers to borrow, continue or convert on a date specified therefor in a
Notice of Borrowing or Notice of Conversion/Continuation or (c) due to any payment,
prepayment or conversion of any LIBOR Rate Loan on a date other than the last day of the
Interest Period therefor. The amount of such loss or expense shall be determined, in the
applicable Lender’s sole discretion, based upon the assumption that such Lender funded its
Commitment Percentage of the LIBOR Rate Loans in the London interbank market and using
any reasonable attribution or averaging methods which such Lender deems appropriate and
practical. A certificate of such Lender setting forth the basis for determining such amount or
amounts necessary to compensate such Lender shall be forwarded to the Borrowers through the
Administrative Agent and shall be conclusively presumed to be correct save for manifest error.

          SECTION 4.10               Increased Costs.

                              (a)    Increased Costs Generally. If any Change in Law shall:

                                      (i)    impose, modify or deem applicable any reserve, special
                              deposit, compulsory loan, insurance charge or similar requirement against
                              assets of, deposits with or for the account of, or advances, loans or other
                              credit extended or participated in by, any Lender (except any reserve
                              requirement reflected in the LIBOR Rate) or the Issuing Lender;

                                      (ii)    subject any Lender or the Issuing Lender to any tax of any
                              kind whatsoever with respect to this Agreement, any Letter of Credit, any
                              participation in a Letter of Credit or any LIBOR Rate Loan made by it, or

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                              change the basis of taxation of payments to such Lender or the Issuing
                              Lender in respect thereof (except for Indemnified Taxes or Other Taxes
                              covered by Section 4.11 and the imposition of, or any change in the rate of
                              any Excluded Tax payable by such Lender or the Issuing Lender); or

                                     (iii) impose on any Lender or the Issuing Lender or the London
                              interbank market any other condition, cost or expense affecting this
                              Agreement or LIBOR Rate Loans made by such Lender or any Letter of
                              Credit or participation therein;

and the result of any of the foregoing shall be to increase the cost to such Lender of making,
converting into or maintaining any LIBOR Rate Loan (or of maintaining its obligation to make
any such Loan), or to increase the cost to such Lender or the Issuing Lender of participating in,
issuing or maintaining any Letter of Credit (or of maintaining its obligation to participate in or to
issue any Letter of Credit), or to reduce the amount of any sum received or receivable by such
Lender or the Issuing Lender hereunder (whether of principal, interest or any other amount) then,
upon written request of such Lender or the Issuing Lender, the Borrowers shall promptly pay to
any such Lender or the Issuing Lender, as the case may be, such additional amount or amounts as
will compensate such Lender or the Issuing Lender, as the case may be, for such additional costs
incurred or reduction suffered.

                            (b)    Capital Requirements. If any Lender or the Issuing Lender
                    determines that any Change in Law affecting such Lender or the Issuing Lender
                    or any lending office of such Lender or such Lender’s or the Issuing Lender’s
                    holding company, if any, regarding capital requirements has or would have the
                    effect of reducing the rate of return on such Lender’s or the Issuing Lender’s
                    capital or on the capital of such Lender’s or the Issuing Lender’s holding
                    company, if any, as a consequence of this Agreement, the Revolving Credit
                    Commitment of such Lender or the Loans made by, or participations in Letters of
                    Credit held by, such Lender, or the Letters of Credit issued by the Issuing Lender,
                    to a level below that which such Lender or the Issuing Lender or such Lender’s or
                    the Issuing Lender’s holding company could have achieved but for such Change
                    in Law (taking into consideration such Lender’s or the Issuing Lender’s policies
                    and the policies of such Lender’s or the Issuing Lender’s holding company with
                    respect to capital adequacy), then from time to time upon written request of such
                    Lender or such Issuing Lender the Borrowers shall promptly pay to such Lender
                    or the Issuing Lender, as the case may be, such additional amount or amounts as
                    will compensate such Lender or the Issuing Lender or such Lender’s or the
                    Issuing Lender’s holding company for any such reduction suffered.

                            (c)   Certificates for Reimbursement. A certificate of a Lender or the
                    Issuing Lender setting forth the amount or amounts necessary to compensate such
                    Lender or the Issuing Lender or its holding company, as the case may be, as
                    specified in paragraph (a) or (b) of this Section 4.10 and delivered to the
                    Borrowers shall be conclusive absent manifest error. The Borrowers shall pay
                    such Lender or the Issuing Lender, as the case may be, the amount shown as due
                    on any such certificate within ten (10) days after receipt thereof.

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                            (d)    Delay in Requests. Failure or delay on the part of any Lender or
                    the Issuing Lender to demand compensation pursuant to this Section 4.10 shall
                    not constitute a waiver of such Lender’s or the Issuing Lender’s right to demand
                    such compensation; provided that the Borrowers shall not be required to
                    compensate a Lender or the Issuing Lender pursuant to this Section 4.10 for any
                    increased costs incurred or reductions suffered more than nine (9) months prior to
                    the date that such Lender or the Issuing Lender, as the case may be, notifies the
                    Borrowers of the Change in Law giving rise to such increased costs or reductions
                    and of such Lender’s or the Issuing Lender’s intention to claim compensation
                    therefor (except that if the Change in Law giving rise to such increased costs or
                    reductions is retroactive, then the nine-month period referred to above shall be
                    extended to include the period of retroactive effect thereof).

          SECTION 4.11            Taxes.

                          (a)     Defined Terms. For purposes of this Section 4.11, the term
                    “Lender” includes the Issuing Lender and the term “Applicable Law” includes
                    FATCA.

                           (b)     Payments Free of Taxes. Any and all payments by or on account
                    of any obligation of the Borrowers under any Loan Document shall be made
                    without deduction or withholding for any Taxes, except as required by Applicable
                    Law. If any Applicable Law (as determined in the good faith discretion of an
                    applicable Withholding Agent) requires the deduction or withholding of any Tax
                    from any such payment by a Withholding Agent, then the applicable Withholding
                    Agent shall be entitled to make such deduction or withholding and shall timely
                    pay the full amount deducted or withheld to the relevant Governmental Authority
                    in accordance with Applicable Law and, if such Tax is an Indemnified Tax, then
                    the sum payable by the Borrowers shall be increased as necessary so that, after
                    such deduction or withholding has been made (including such deductions and
                    withholdings applicable to additional sums payable under this Section), the
                    applicable Recipient receives an amount equal to the sum it would have received
                    had no such deduction or withholding been made.

                           (c)     Payment of Other Taxes by the Borrowers. The Borrowers shall
                    timely pay to the relevant Governmental Authority in accordance with Applicable
                    Law, or at the option of the Administrative Agent timely reimburse it for the
                    payment of, any Other Taxes.

                            (d)     Indemnification by the Borrowers. The Borrowers shall jointly
                    and severally indemnify each Recipient, within ten (10) days after demand
                    therefor, for the full amount of any Indemnified Taxes (including Indemnified
                    Taxes imposed or asserted on or attributable to amounts payable under this
                    Section) payable or paid by such Recipient or required to be withheld or deducted
                    from a payment to such Recipient and any reasonable expenses arising therefrom
                    or with respect thereto, whether or not such Indemnified Taxes were correctly or
                    legally imposed or asserted by the relevant Governmental Authority. A certificate

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                    as to the amount of such payment or liability delivered to the Borrower by a
                    Recipient (with a copy to the Administrative Agent), or by the Administrative
                    Agent on its own behalf or on behalf of a Recipient, shall be conclusive absent
                    manifest error.

                             (e)   Indemnification by the Lenders. Each Lender shall severally
                    indemnify the Administrative Agent, within ten (10) days after demand therefor,
                    for (i) any Indemnified Taxes attributable to such Lender (but only to the extent
                    that the Borrowers have not already indemnified the Administrative Agent for
                    such Indemnified Taxes and without limiting the obligation of the Borrowers to
                    do so), (ii) any Taxes attributable to such Lender’s failure to comply with the
                    provisions of Section 11.10 relating to the maintenance of a Participant Register
                    and (iii) any Excluded Taxes attributable to such Lender, in each case, that are
                    payable or paid by the Administrative Agent in connection with any Loan
                    Document, and any reasonable expenses arising therefrom or with respect thereto,
                    whether or not such Taxes were correctly or legally imposed or asserted by the
                    relevant Governmental Authority. A certificate as to the amount of such payment
                    or liability delivered to any Lender by the Administrative Agent shall be
                    conclusive absent manifest error.         Each Lender hereby authorizes the
                    Administrative Agent to set off and apply any and all amounts at any time owing
                    to such Lender under any Loan Document or otherwise payable by the
                    Administrative Agent to the Lender from any other source against any amount
                    due to the Administrative Agent under this paragraph (e).

                            (f)     Evidence of Payments. As soon as practicable after any payment
                    of Taxes by any of the Borrowers to a Governmental Authority pursuant to this
                    Section 4.11, such Borrower shall deliver to the Administrative Agent the original
                    or a certified copy of a receipt issued by such Governmental Authority evidencing
                    such payment, a copy of the return reporting such payment or other evidence of
                    such payment reasonably satisfactory to the Administrative Agent.

                              (g)    Status of Lenders.

                                      (i)    Any Lender that is entitled to an exemption from or
                              reduction of withholding Tax with respect to payments made under any
                              Loan Document shall deliver to the Borrower and the Administrative
                              Agent, at the time or times reasonably requested by the Borrower or the
                              Administrative Agent, such properly completed and executed
                              documentation reasonably requested by the Borrower or the
                              Administrative Agent as will permit such payments to be made without
                              withholding or at a reduced rate of withholding. In addition, any Lender,
                              if reasonably requested by the Borrower or the Administrative Agent,
                              shall deliver such other documentation prescribed by Applicable Law or
                              reasonably requested by the Borrower or the Administrative Agent as will
                              enable the Borrower or the Administrative Agent to determine whether or
                              not such Lender is subject to backup withholding or information reporting
                              requirements. Notwithstanding anything to the contrary in the preceding

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                              two sentences, the completion, execution and submission of such
                              documentation (other than such documentation set forth in Section
                              4.11(g)(ii)(A), (ii)(B) and (ii)(D) below) shall not be required if in the
                              Lender’s reasonable judgment such completion, execution or submission
                              would subject such Lender to any material unreimbursed cost or expense
                              or would materially prejudice the legal or commercial position of such
                              Lender.

                                     (ii)   Without limiting the generality of the foregoing:

                                             (A)     Any Lender that is a U.S. Person shall deliver to the
                                     Borrowers and the Administrative Agent on or prior to the date on
                                     which such Lender becomes a Lender under this Agreement (and
                                     from time to time thereafter upon the reasonable request of any of
                                     the Borrowers or the Administrative Agent), executed originals of
                                     IRS Form W-9 certifying that such Lender is exempt from United
                                     States federal backup withholding tax;

                                             (B)     any Foreign Lender shall, to the extent it is legally
                                     entitled to do so, deliver to the Borrowers and the Administrative
                                     Agent (in such number of copies as shall be requested by the
                                     recipient) on or prior to the date on which such Foreign Lender
                                     becomes a Lender under this Agreement (and from time to time
                                     thereafter upon the reasonable request of any of the Borrowers or
                                     the Administrative Agent), whichever of the following is
                                     applicable:

                                                    (1)     in the case of a Foreign Lender claiming the
                                            benefits of an income tax treaty to which the United States
                                            is a party (x) with respect to payments of interest under any
                                            Loan Document, executed originals of IRS Form W-8BEN
                                            establishing an exemption from, or reduction of, United
                                            States federal withholding Tax pursuant to the “interest”
                                            article of such tax treaty and (y) with respect to any other
                                            applicable payments under any Loan Document, IRS Form
                                            W-8BEN establishing an exemption from, or reduction of,
                                            United States federal withholding Tax pursuant to the
                                            “business profits” or “other income” article of such tax
                                            treaty;

                                                    (2)     executed originals of IRS Form W-8ECI;

                                                    (3)   in the case of a Foreign Lender claiming the
                                            benefits of the exemption for portfolio interest under
                                            Section 881(c) of the Code, (x) a certificate substantially in
                                            the form of Exhibit H-1 to the effect that such Foreign
                                            Lender is not a “bank” within the meaning of Section

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                                     881(c)(3)(A) of the Code, a “10 percent shareholder” of the
                                     Borrower within the meaning of Section 881(c)(3)(B) of
                                     the Code, or a “controlled foreign corporation” described in
                                     Section 881(c)(3)(C) of the Code (a “U.S. Tax Compliance
                                     Certificate”) and (y) executed originals of IRS Form
                                     W-8BEN; or

                                             (4)    to the extent a Foreign Lender is not the
                                     beneficial owner, executed originals of IRS Form
                                     W-8IMY, accompanied by IRS Form W-8ECI, IRS Form
                                     W-8BEN, a U.S. Tax Compliance Certificate substantially
                                     in the form of Exhibit H-2 or Exhibit H-3, IRS Form W-9,
                                     and/or other certification documents from each beneficial
                                     owner, as applicable; provided that if the Foreign Lender is
                                     a partnership and one or more direct or indirect partners of
                                     such Foreign Lender are claiming the portfolio interest
                                     exemption, such Foreign Lender may provide a U.S. Tax
                                     Compliance Certificate substantially in the form of Exhibit
                                     H-4 on behalf of each such direct and indirect partner;

                                      (C)    any Foreign Lender shall, to the extent it is legally
                              entitled to do so, deliver to the Borrower and the Administrative
                              Agent (in such number of copies as shall be requested by the
                              recipient) on or prior to the date on which such Foreign Lender
                              becomes a Lender under this Agreement (and from time to time
                              thereafter upon the reasonable request of the Borrower or the
                              Administrative Agent), executed originals of any other form
                              prescribed by Applicable Law as a basis for claiming exemption
                              from or a reduction in United States federal withholding Tax, duly
                              completed, together with such supplementary documentation as
                              may be prescribed by Applicable Law to permit the Borrower or
                              the Administrative Agent to determine the withholding or
                              deduction required to be made; and

                                     (D)     if a payment made to a Lender under any Loan
                              Document would be subject to United States federal withholding
                              Tax imposed by FATCA if such Lender were to fail to comply
                              with the applicable reporting requirements of FATCA (including
                              those contained in Section 1471(b) or 1472(b) of the Code, as
                              applicable), such Lender shall deliver to the Borrower and the
                              Administrative Agent at the time or times prescribed by law and at
                              such time or times reasonably requested by the Borrower or the
                              Administrative Agent such documentation prescribed by
                              Applicable Law (including as prescribed by Section
                              1471(b)(3)(C)(i) of the Code) and such additional documentation
                              reasonably requested by the Borrower or the Administrative Agent
                              as may be necessary for the Borrower and the Administrative
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                                   Agent to comply with their obligations under FATCA and to
                                   determine that such Lender has complied with such Lender’s
                                   obligations under FATCA or to determine the amount to deduct
                                   and withhold from such payment. Solely for purposes of this
                                   clause (D), “FATCA” shall include any amendments made to
                                   FATCA after the date of this Agreement.

                            Each Lender agrees that if any form or certification it previously delivered
                    expires or becomes obsolete or inaccurate in any respect, it shall update such form
                    or certification or promptly notify the Borrower and the Administrative Agent in
                    writing of its legal inability to do so.

                            (h)    Treatment of Certain Refunds. If any party determines, in its sole
                    discretion exercised in good faith, that it has received a refund of any Taxes as to
                    which it has been indemnified pursuant to this Section 4.11 (including by the
                    payment of additional amounts pursuant to this Section 4.11), it shall pay to the
                    indemnifying party an amount equal to such refund (but only to the extent of
                    indemnity payments made under this Section with respect to the Taxes giving rise
                    to such refund), net of all out-of-pocket expenses (including Taxes) of such
                    indemnified party and without interest (other than any interest paid by the
                    relevant Governmental Authority with respect to such refund).                  Such
                    indemnifying party, upon the request of such indemnified party, shall repay to
                    such indemnified party the amount paid over pursuant to this paragraph (h) (plus
                    any penalties, interest or other charges imposed by the relevant Governmental
                    Authority) in the event that such indemnified party is required to repay such
                    refund to such Governmental Authority. Notwithstanding anything to the
                    contrary in this paragraph (h), in no event will the indemnified party be required
                    to pay any amount to an indemnifying party pursuant to this paragraph (h) the
                    payment of which would place the indemnified party in a less favorable net
                    after-Tax position than the indemnified party would have been in if the Tax
                    subject to indemnification and giving rise to such refund had not been deducted,
                    withheld or otherwise imposed and the indemnification payments or additional
                    amounts with respect to such Tax had never been paid. This paragraph shall not
                    be construed to require any indemnified party to make available its Tax returns
                    (or any other information relating to its Taxes that it deems confidential) to the
                    indemnifying party or any other Person.

                           (i)    Survival. Each party’s obligations under this Section 4.11 shall
                    survive the resignation or replacement of the Administrative Agent or any
                    assignment of rights by, or the replacement of, a Lender, the termination of the
                    Commitments and the repayment, satisfaction or discharge of all obligations
                    under any Loan Document.

          SECTION 4.12             Mitigation Obligations; Replacement of Lenders.

                          (a)    Designation of a Different Lending Office. If any Lender requests
                    compensation under Section 4.10, or requires any Borrower to pay any additional

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                    amount to any Lender or any Governmental Authority for the account of any
                    Lender pursuant to Section 4.11, then such Lender shall use reasonable efforts to
                    designate a different lending office for funding or booking its Loans hereunder or
                    to assign its rights and obligations hereunder to another of its offices, branches or
                    affiliates, if, in the judgment of such Lender, such designation or assignment (i)
                    would eliminate or reduce amounts payable pursuant to Section 4.10 or Section
                    4.11, as the case may be, in the future and (ii) would not subject such Lender to
                    any unreimbursed cost or expense and would not otherwise be disadvantageous to
                    such Lender. The Borrowers hereby agree to pay all reasonable costs and
                    expenses incurred by any Lender in connection with any such designation or
                    assignment.

                            (b)      Replacement of Lenders. If any Lender requests compensation
                    under Section 4.10, or if any Borrower is required to pay any additional amount
                    to any Lender or any Governmental Authority for the account of any Lender
                    pursuant to Section 4.11, or if any Lender is a Defaulting Lender hereunder or
                    becomes a Non-Consenting Lender, then the Borrowers may, at their sole expense
                    and effort, upon notice to such Lender and the Administrative Agent, require such
                    Lender to assign and delegate, without recourse (in accordance with and subject
                    to the restrictions contained in, and consents required by, Section 11.10), all of its
                    interests, rights and obligations under this Agreement and the related Loan
                    Documents to an assignee that shall assume such obligations (which assignee may
                    be another Lender, if a Lender accepts such assignment); provided that:

                                      (i)   the Borrowers shall have paid to the Administrative Agent
                              the assignment fee specified in Section 11.10;

                                      (ii)    such Lender shall have received payment of an amount
                              equal to the outstanding principal of its Loans and participations in Letters
                              of Credit, accrued interest thereon, accrued fees and all other amounts
                              payable to it hereunder and under the other Loan Documents (including
                              any amounts under Section 4.9) from the assignee (to the extent of such
                              outstanding principal and accrued interest and fees) or the Borrowers (in
                              the case of all other amounts);

                                     (iii) in the case of any such assignment resulting from a claim
                              for compensation under Section 4.10 or payments required to be made
                              pursuant to Section 4.11, such assignment will result in a reduction in
                              such compensation or payments thereafter; and

                                     (iv)    such assignment does not conflict with Applicable Law.

        A Lender shall not be required to make any such assignment or delegation if, prior
thereto, as a result of a waiver by such Lender or otherwise, the circumstances entitling the
Borrowers to require such assignment and delegation cease to apply.

          SECTION 4.13               Incremental Loans[Reserved]

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          SECTION 4.14               Cash Collateral.

                            (a)    At any time following the Closing Date, the Borrowers may by
                    written notice to the Administrative Agent elect to request the establishment of
                    one or more increases in the Revolving Credit Commitments (each, an
                    “Incremental Revolving Credit Commitment”) to make incremental revolving
                    credit loans (any such increase, an “Incremental Revolving Credit Increase”);
                    provided that (i) the total aggregate amount for all such Incremental Revolving
                    Credit Commitments shall not (as of any date of incurrence thereof) exceed
                    $10,000,000, and (ii) the Borrowers may not make more than three (3) such
                    requests. Each such notice shall specify the date (each, an “Increased Amount
                    Date”) on which the Borrowers propose that any Incremental Revolving Credit
                    Commitment shall be effective, which shall be a date not less than ten (10)
                    Business Days after the date on which such notice is delivered to Administrative
                    Agent. The Borrowers may invite any Lender, any Affiliate of any Lender and/or
                    any Approved Fund, and/or any other Person reasonably satisfactory to the
                    Administrative Agent, to provide an Incremental Revolving Credit Commitment
                    (any such Person, an “Incremental Lender”). Any Lender or any Incremental
                    Lender offered or approached to provide all or a portion of any Incremental
                    Revolving Credit Commitment may elect or decline, in its sole discretion, to
                    provide such Incremental Revolving Credit Commitment. Any Incremental
                    Revolving Credit Commitment shall become effective as of such Increased
                    Amount Date; provided that:

                                    (i)    no Default or Event of Default shall exist on such Increased
                              Amount Date before or after giving effect to (1) any Incremental
                              Revolving Credit Commitment;

                                      (ii)    the Administrative Agent and the Lenders shall have
                              received from the Borrowers an Officer’s Compliance Certificate
                              demonstrating that the Borrowers will be in compliance on a pro forma
                              basis with the financial covenants set forth in Section 8.14 both before and
                              after giving effect to (1) any Incremental Revolving Credit Commitment
                              and (2) the making of any Incremental Revolving Credit Increase pursuant
                              thereto;

                                     (iii) the proceeds of any Incremental Revolving Credit Increase
                              shall be used for general corporate purposes of the Borrowers and any
                              Subsidiaries;

                                     (iv)    each Incremental Revolving Credit Commitment (and the
                              Incremental Revolving Credit Increase made thereunder) shall constitute
                              Obligations of the Borrowers and shall be secured and guaranteed with the
                              other Extensions of Credit on a pari passu basis;


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                                     (v)   in the case of each Incremental Revolving Credit Increase
                              (the terms of which shall be set forth the relevant Lender Joinder
                              Agreement):

                                             (A)     such Incremental Revolving Credit Increase shall
                                     mature on the Revolving Credit Maturity Date, shall bear interest
                                     at the rate applicable to the Revolving Credit Loans;

                                             (B)     the outstanding Revolving Credit Loans and
                                     Revolving Credit Commitment Percentages of Swingline Loans
                                     and L/C Obligations will be reallocated by the Administrative
                                     Agent on the applicable Increased Amount Date among the
                                     Revolving Credit Lenders (including the Incremental Lenders
                                     providing such Incremental Revolving Credit Increase) in
                                     accordance with their revised Revolving Credit Commitment
                                     Percentages (and the Revolving Credit Lenders (including the
                                     Incremental Lenders providing such Incremental Revolving Credit
                                     Increase) agree to make all payments and adjustments necessary to
                                     effect such reallocation and the Borrowers shall pay any and all
                                     costs required pursuant to Section 4.9 in connection with such
                                     reallocation as if such reallocation were a repayment); and

                                            (C)     except as provided above, all of the other terms and
                                     conditions applicable to such Incremental Revolving Credit
                                     Increase shall, except to the extent otherwise provided in this
                                     Section 4.13, be identical to the terms and conditions applicable to
                                     the Revolving Credit Facility;

                                      (vi)   any Incremental Lender with an Incremental Revolving
                              Credit Increase shall be entitled to the same voting rights as the existing
                              Revolving Credit Lenders under the Revolving Credit Facility and any
                              Extensions of Credit made in connection with each Incremental Revolving
                              Credit Increase shall receive proceeds of prepayments on the same basis as
                              the other Revolving Credit Loans made hereunder;

                                      (vii) such Incremental Revolving Credit Commitments shall be
                              effected pursuant to one or more Lender Joinder Agreements executed and
                              delivered by the Borrowers, the Administrative Agent and the applicable
                              Incremental Lenders (which Lender Joinder Agreement may, without the
                              consent of any other Lenders, effect such amendments to this Agreement
                              and the other Loan Documents as may be necessary or appropriate, in the
                              opinion of the Administrative Agent, to effect the provisions of this
                              Section 4.13); and(viii)       the Borrowers shall deliver or cause to be
                              delivered any customary legal opinions or other documents (including,
                              without limitation, a resolution duly adopted by the board of directors (or
                              equivalent governing body) of each Credit Party authorizing such


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                              Incremental Revolving Credit Increase) reasonably requested by
                              Administrative Agent in connection with any such transaction.

                           (b)    The Incremental Lenders shall be included in any determination of
                    the Required Lenders or Required Revolving Credit Lenders, as applicable, and
                    the Incremental Lenders will not constitute a separate voting class for any
                    purposes under this Agreement.

                           (c)    On any Increased Amount Date on which any Incremental
                    Revolving Credit Increase becomes effective, subject to the foregoing terms and
                    conditions, each Incremental Lender with an Incremental Revolving Credit
                    Commitment shall become a Revolving Credit Lender hereunder with respect to
                    such Incremental Revolving Credit Commitment.

        SECTION 4.14           Cash Collateral. At any time that there shall exist a Defaulting
Lender, within one Business Day following the written request of the Administrative Agent, the
Issuing Lender or the Swingline Lender (with a copy to the Administrative Agent), the
Borrowers shall Cash Collateralize the Fronting Exposure of the Issuing Lender and/or the
Swingline Lender, as applicable, with respect to such Defaulting Lender (determined after giving
effect to Section 4.15(a)(iv) and any Cash Collateral provided by such Defaulting Lender) in an
amount not less than the Minimum Collateral Amount.

                            (a)     Grant of Security Interest. The Borrowers, and to the extent
                    provided by any Defaulting Lender, such Defaulting Lender, hereby grants to the
                    Administrative Agent, for the benefit of the Issuing Lender and the Swingline
                    Lender, and agrees to maintain, a first priority security interest in all such Cash
                    Collateral as security for the Defaulting Lender’s obligation to fund participations
                    in respect of L/C Obligations and Swingline Loans, to be applied pursuant to
                    subsection (b) below. If at any time the Administrative Agent determines that
                    Cash Collateral is subject to any right or claim of any Person other than the
                    Administrative Agent, the Issuing Lender and the Swingline Lender as herein
                    provided (other than any applicable Permitted Liens), or that the total amount of
                    such Cash Collateral is less than the Minimum Collateral Amount, the Borrower
                    will, promptly upon demand by the Administrative Agent, pay or provide to the
                    Administrative Agent additional Cash Collateral in an amount sufficient to
                    eliminate such deficiency (after giving effect to any Cash Collateral provided by
                    the Defaulting Lender).

                            (b)     Application. Notwithstanding anything to the contrary contained
                    in this Agreement, Cash Collateral provided under this Section 4.14 or Section
                    4.15 in respect of Letters of Credit and Swingline Loans shall be applied to the
                    satisfaction of the Defaulting Lender’s obligation to fund participations in respect
                    of L/C Obligations and Swingline Loans (including, as to Cash Collateral
                    provided by a Defaulting Lender, any interest accrued on such obligation) for
                    which the Cash Collateral was so provided, prior to any other application of such
                    property as may otherwise be provided for herein.


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                            (c)     Termination of Requirement. Cash Collateral (or the appropriate
                    portion thereof) provided to reduce the Fronting Exposure of the Issuing Lender
                    and/or the Swingline Lender, as applicable, shall no longer be required to be held
                    as Cash Collateral pursuant to this Section 4.14 following (i) the elimination of
                    the applicable Fronting Exposure (including by the termination of Defaulting
                    Lender status of the applicable Lender), or (ii) the determination by the
                    Administrative Agent, the Issuing Lender and the Swingline Lender that there
                    exists excess Cash Collateral; provided that, subject to Section 4.15, the Person
                    providing Cash Collateral, the Issuing Lender and the Swingline Lender may
                    agree that Cash Collateral shall be held to support future anticipated Fronting
                    Exposure or other obligations; and provided further that to the extent that such
                    Cash Collateral was provided by the Borrowers, such Cash Collateral shall remain
                    subject to the security interest granted pursuant to the Loan Documents.

          SECTION 4.15               Defaulting Lenders.

                            (a)    Defaulting Lender Adjustments. Notwithstanding anything to the
                    contrary contained in this Agreement, if any Lender becomes a Defaulting
                    Lender, then, until such time as such Lender is no longer a Defaulting Lender, to
                    the extent permitted by Applicable Law:

                                      (i)   Waivers and Amendments. Such Defaulting Lender’s right
                              to approve or disapprove any amendment, waiver or consent with respect
                              to this Agreement shall be restricted as set forth in the definition of
                              Required Lenders and Section 11.2.

                                      (ii)    Defaulting Lender Waterfall. Any payment of principal,
                              interest, fees or other amounts received by the Administrative Agent for
                              the account of such Defaulting Lender (whether voluntary or mandatory,
                              at maturity, pursuant to Article IX or otherwise) or received by the
                              Administrative Agent from a Defaulting Lender pursuant to Section 11.4
                              shall be applied at such time or times as may be determined by the
                              Administrative Agent as follows: first, to the payment of any amounts
                              owing by such Defaulting Lender to the Administrative Agent hereunder;
                              second, to the payment on a pro rata basis of any amounts owing by such
                              Defaulting Lender to the Issuing Lender and the Swingline Lender
                              hereunder; third, to Cash Collateralize the Fronting Exposure of the
                              Issuing Lender and the Swingline Lender with respect to such Defaulting
                              Lender in accordance with Section 4.14; fourth, as the Borrower may
                              request (so long as no Default or Event of Default exists), to the funding
                              of any Loan or funded participation in respect of which such Defaulting
                              Lender has failed to fund its portion thereof as required by this
                              Agreement, as determined by the Administrative Agent; fifth, if so
                              determined by the Administrative Agent and the Borrower, to be held in a
                              deposit account and released pro rata in order to (A) satisfy such
                              Defaulting Lender’s potential future funding obligations with respect to
                              Loans and funded participations under this Agreement and (B) Cash
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                              Collateralize the Issuing Lender’s future Fronting Exposure with respect
                              to such Defaulting Lender with respect to future Letters of Credit and
                              Swingline Loans issued under this Agreement, in accordance with Section
                              4.14; sixth, to the payment of any amounts owing to the Lenders, the
                              Issuing Lender or the Swingline Lender as a result of any judgment of a
                              court of competent jurisdiction obtained by any Lender, the Issuing
                              Lender or the Swingline Lender against such Defaulting Lender as a result
                              of such Defaulting Lender’s breach of its obligations under this
                              Agreement; seventh, so long as no Default or Event of Default exists, to
                              the payment of any amounts owing to the Borrower as a result of any
                              judgment of a court of competent jurisdiction obtained by the Borrower
                              against such Defaulting Lender as a result of such Defaulting Lender's
                              breach of its obligations under this Agreement; and eighth, to such
                              Defaulting Lender or as otherwise directed by a court of competent
                              jurisdiction; provided that if (1) such payment is a payment of the
                              principal amount of any Loans or funded participations in Letters of Credit
                              or Swingline Loans in respect of which such Defaulting Lender has not
                              fully funded its appropriate share, and (2) such Loans were made or the
                              related Letters of Credit or Swingline Loans were issued at a time when
                              the conditions set forth in Section 5.2 were satisfied or waived, such
                              payment shall be applied solely to pay the Loans of, and funded
                              participations in Letters of Credit or Swingline Loans owed to, all
                              Non-Defaulting Lenders on a pro rata basis prior to being applied to the
                              payment of any Loans of, or funded participations in Letters of Credit or
                              Swingline Loans owed to, such Defaulting Lender until such time as all
                              Loans and funded and unfunded participations in L/C Obligations and
                              Swingline Loans are held by the Lenders pro rata in accordance with the
                              Revolving Credit Commitments under the applicable Revolving Credit
                              Facility without giving effect to Section 4.15(a)(iv). Any payments,
                              prepayments or other amounts paid or payable to a Defaulting Lender that
                              are applied (or held) to pay amounts owed by a Defaulting Lender or to
                              post Cash Collateral pursuant to this Section 4.15(a)(ii) shall be deemed
                              paid to and redirected by such Defaulting Lender, and each Lender
                              irrevocably consents hereto.

                                     (iii)   Certain Fees.

                                             (A)    No Defaulting Lender shall be entitled to receive
                                     any Commitment Fee for any period during which that Lender is a
                                     Defaulting Lender (and the Borrower shall not be required to pay
                                     any such fee that otherwise would have been required to have been
                                     paid to that Defaulting Lender).

                                             (B)      Each Defaulting Lender shall be entitled to receive
                                     letter of credit commissions pursuant to Section 3.3 for any period
                                     during which that Lender is a Defaulting Lender only to the extent
                                     allocable to its Revolving Credit Commitment Percentage of the
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                                     stated amount of Letters of Credit for which it has provided Cash
                                     Collateral pursuant to Section 4.14.

                                            (C)     With respect to any Commitment Fee or letter of
                                     credit commission not required to be paid to any Defaulting
                                     Lender pursuant to clause (A) or (B) above, the Borrower shall (1)
                                     pay to each Non-Defaulting Lender that portion of any such fee
                                     otherwise payable to such Defaulting Lender with respect to such
                                     Defaulting Lender’s participation in L/C Obligations or Swingline
                                     Loans that has been reallocated to such Non-Defaulting Lender
                                     pursuant to clause (iv) below, (2) pay to each Issuing Lender and
                                     Swingline Lender, as applicable, the amount of any such fee
                                     otherwise payable to such Defaulting Lender to the extent
                                     allocable to such Issuing Lender’s or Swingline Lender’s Fronting
                                     Exposure to such Defaulting Lender, and (3) not be required to pay
                                     the remaining amount of any such fee.

                                      (iv)   Reallocation of Participations to Reduce Fronting
                              Exposure. All or any part of such Defaulting Lender’s participation in
                              L/C Obligations and Swingline Loans shall be reallocated among the
                              Non-Defaulting Lenders in accordance with their respective Revolving
                              Credit Commitment Percentages (calculated without regard to such
                              Defaulting Lender’s Revolving Credit Commitment) but only to the extent
                              that (x) the conditions set forth in Section 5.2 are satisfied at the time of
                              such reallocation (and, unless the Borrower shall have otherwise notified
                              the Administrative Agent at such time, the Borrower shall be deemed to
                              have represented and warranted that such conditions are satisfied at such
                              time), and (y) such reallocation does not cause the aggregate Revolving
                              Credit Exposure of any Non-Defaulting Lender to exceed such
                              Non-Defaulting Lender’s Revolving Credit Commitment. No reallocation
                              hereunder shall constitute a waiver or release of any claim of any party
                              hereunder against a Defaulting Lender arising from that Lender having
                              become a Defaulting Lender, including any claim of a Non-Defaulting
                              Lender as a result of such Non-Defaulting Lender’s increased exposure
                              following such reallocation.

                                      (v)     Cash Collateral, Repayment of Swingline Loans. If the
                              reallocation described in clause (iv) above cannot, or can only partially, be
                              effected, the Borrower shall, without prejudice to any right or remedy
                              available to it hereunder or under law, (x) first, prepay Swingline Loans in
                              an amount equal to the Swingline Lender’s Fronting Exposure and (y)
                              second, Cash Collateralize the Issuing Lender’s Fronting Exposure in
                              accordance with the procedures set forth in Section 4.14.

                           (b)     Defaulting Lender Cure. If the Borrower, the Administrative
                    Agent, the Issuing Lender and the Swingline Lender agree in writing that a
                    Lender is no longer a Defaulting Lender, the Administrative Agent will so notify

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                    the parties hereto, whereupon as of the effective date specified in such notice and
                    subject to any conditions set forth therein (which may include arrangements with
                    respect to any Cash Collateral), such Lender will, to the extent applicable,
                    purchase at par that portion of outstanding Loans of the other Lenders or take
                    such other actions as the Administrative Agent may determine to be necessary to
                    cause the Loans and funded and unfunded participations in Letters of Credit and
                    Swingline Loans to be held pro rata by the Lenders in accordance with the
                    Commitments under the applicable Credit Facility (without giving effect to
                    Section 4.15(a)(iv)), whereupon such Lender will cease to be a Defaulting
                    Lender; provided that no adjustments will be made retroactively with respect to
                    fees accrued or payments made by or on behalf of the Borrower while that Lender
                    was a Defaulting Lender; and provided, further, that except to the extent
                    otherwise expressly agreed by the affected parties, no change hereunder from
                    Defaulting Lender to Lender will constitute a waiver or release of any claim of
                    any party hereunder arising from that Lender’s having been a Defaulting Lender.

                                             Article V
                              CONDITIONS OF CLOSING AND BORROWING

        SECTION 5.1             Conditions to Closing and Initial Extensions of Credit. This
Agreement shall become effective as of the date of this Agreement once signed by the
Borrowers, the Administrative Agent, and Lenders. The obligation of the Lenders to close this
Agreement and to make the initial Loan or issue or participate in the initial Letter of Credit, if
any, is subject to the satisfaction of each of the following conditions on or prior to the Closing
Date:

                            (a)     Executed Loan Documents. This Agreement, a Revolving Credit
                    Note in favor of each Lender requesting a Revolving Credit Note, a Swingline
                    Note in favor of the Swingline Lender (if requested thereby) and the Security
                    Documents, together with any other applicable Loan Documents, shall have been
                    duly authorized, executed and delivered to the Administrative Agent by the
                    parties thereto, shall be in full force and effect and no Default or Event of Default
                    shall exist hereunder or thereunder.

                           (b)    Closing Certificates; Etc. The Administrative Agent shall have
                    received each of the following in form and substance reasonably satisfactory to
                    the Administrative Agent:

                                      (i)     Officer’s Certificate. A certificate from a Responsible
                              Officer of each Borrower to the effect that (A) all representations and
                              warranties of the Credit Parties contained in this Agreement and the other
                              Loan Documents are true, correct and complete in all respects (except to
                              the extent any such representation and warranty is qualified by materiality
                              or reference to Material Adverse Effect, in which case, such representation
                              and warranty shall be true, correct and complete in all respects); (B) none
                              of the Credit Parties is in violation of any of the covenants contained in
                              this Agreement and the other Loan Documents; (C) after giving effect to

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                              the Transactions, no Default or Event of Default has occurred and is
                              continuing; (D) since January 31, 2015, no event has occurred or
                              condition arisen, either individually or in the aggregate, that could
                              reasonably be expected to have a Material Adverse Effect; and (E) each of
                              the Credit Parties, as applicable, has satisfied each of the conditions set
                              forth in Section 5.1 and Section 5.2.

                                      (ii)    Certificate of Secretary of each Credit Party. A certificate
                              of a Responsible Officer of each Credit Party certifying as to the
                              incumbency and genuineness of the signature of each officer of such
                              Credit Party executing Loan Documents to which it is a party and
                              certifying that attached thereto is a true, correct and complete copy of (A)
                              the articles or certificate of incorporation or formation of such Credit
                              Party and all amendments thereto, certified as of a recent date by the
                              appropriate Governmental Authority in its jurisdiction of incorporation or
                              formation, (B) the bylaws or other governing document of such Credit
                              Party as in effect on the Closing Date, (C) resolutions duly adopted by the
                              board of directors (or other governing body) of such Credit Party
                              authorizing and approving the transactions contemplated hereunder and
                              the execution, delivery and performance of this Agreement and the other
                              Loan Documents to which it is a party, and (D) each certificate required to
                              be delivered pursuant to Section 5.1(b)(iii).

                                      (iii)   Certificates of Good Standing. Certificates as of a recent
                              date of the good standing of each Credit Party under the laws of its
                              jurisdiction of organization and, to the extent requested by the
                              Administrative Agent, each other jurisdiction where such Credit Party is
                              qualified to do business and, to the extent available, a certificate of the
                              relevant taxing authorities of such jurisdictions certifying that such Credit
                              Party has filed required tax returns and owes no delinquent taxes.

                              (c)    Personal Property Collateral.

                                      (i)     Filings and Recordings. The Administrative Agent shall
                              have received all filings and recordations that are necessary to perfect the
                              security interests of the Administrative Agent, on behalf of the Secured
                              Parties, in the Collateral and the Administrative Agent shall have received
                              evidence reasonably satisfactory to the Administrative Agent that upon
                              such filings and recordations such security interests constitute valid and
                              perfected first priority Liens thereon.

                                     (ii)   Pledged Collateral. The Administrative Agent shall have
                              received each original promissory note pledged pursuant to the Security
                              Documents together with an undated endorsement for each such
                              promissory note duly executed in blank by the holder thereof.



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                                       (iii) Lien Search. The Administrative Agent shall have received
                              the results of a Lien search (including a search as to judgments, pending
                              litigation, bankruptcy, tax and intellectual property matters), in form and
                              substance reasonably satisfactory thereto, made against the Credit Parties
                              under the Uniform Commercial Code (or applicable judicial docket) as in
                              effect in each jurisdiction in which filings or recordations under the
                              Uniform Commercial Code should be made to evidence or perfect security
                              interests in all assets of such Credit Party, indicating among other things
                              that the assets of each such Credit Party are free and clear of any Lien
                              (except for Permitted Liens).

                                       (iv)   Hazard and Liability Insurance. The Administrative Agent
                              shall have received evidence of property hazard, business interruption and
                              liability insurance, evidence of payment of all insurance premiums for the
                              current policy year of each (with appropriate endorsements naming the
                              Administrative Agent as lender’s loss payee and mortgagee, as applicable)
                              on all policies for property hazard insurance and as additional insured on
                              all policies for liability insurance, and if requested by the Administrative
                              Agent, copies of such insurance policies .

                              (d)    Consents; Defaults.

                                      (i)    Governmental and Third Party Approvals. The Credit
                              Parties shall have received all material governmental, shareholder and
                              third party consents and approvals necessary (or any other material
                              consents as determined in the reasonable discretion of the Administrative
                              Agent) in connection with the transactions contemplated by this
                              Agreement and the other Loan Documents and the other transactions
                              contemplated hereby and all applicable waiting periods shall have expired
                              without any action being taken by any Person that could reasonably be
                              expected to restrain, prevent or impose any material adverse conditions on
                              any of the Credit Parties or such other transactions or that could seek or
                              threaten any of the foregoing, and no law or regulation shall be applicable
                              which in the reasonable judgment of the Administrative Agent could
                              reasonably be expected to have such effect.

                                      (ii)    No Injunction, Etc. No action, proceeding, investigation,
                              regulation or legislation shall have been instituted, threatened or proposed
                              before any Governmental Authority to enjoin, restrain, or prohibit, or to
                              obtain substantial damages in respect of, or which is related to or arises
                              out of this Agreement or the other Loan Documents or the consummation
                              of the transactions contemplated hereby or thereby, or which, in the
                              Administrative Agent’s sole discretion, would make it inadvisable to
                              consummate the transactions contemplated by this Agreement or the other
                              Loan Documents or the consummation of the transactions contemplated
                              hereby or thereby.


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                              (e)    Financial Matters.

                                     (i)     Financial Statements. The Administrative Agent shall have
                              received (A) the audited Consolidated balance sheet of LII and its
                              Subsidiaries as of January 31, 2015 and the related audited statements of
                              income and retained earnings and cash flows for the Fiscal Year then
                              ended and (B) unaudited Consolidated balance sheet of Parent and its
                              Subsidiaries as of June 30, 2015 and related unaudited interim statements
                              of income.

                                      (ii)   Payment at Closing. The Borrowers shall have paid (A) to
                              the Administrative Agent, the Arranger and the Lenders the fees set forth
                              or referenced in Section 4.3 and any other accrued and unpaid fees or
                              commissions due hereunder, (B) all fees, charges and disbursements of
                              counsel to the Administrative Agent (directly to such counsel if requested
                              by the Administrative Agent) to the extent accrued and unpaid prior to or
                              on the Closing Date, plus such additional amounts of such fees, charges
                              and disbursements as shall constitute its reasonable estimate of such fees,
                              charges and disbursements incurred or to be incurred by it through the
                              closing proceedings (provided that such estimate shall not thereafter
                              preclude a final settling of accounts between the Borrowers and the
                              Administrative Agent) and (C) to any other Person such amount as may be
                              due thereto in connection with the transactions contemplated hereby,
                              including all taxes, fees and other charges in connection with the
                              execution, delivery, recording, filing and registration of any of the Loan
                              Documents.

                              (f)    Miscellaneous.

                                     (i)    Notice of Borrowing. The Administrative Agent shall have
                              received a Notice of Borrowing from the Borrowers in accordance with
                              Section 2.3(a), and a Notice of Account Designation specifying the
                              account or accounts to which the proceeds of any Loans made on or after
                              the Closing Date are to be disbursed.

                                      (ii)    Due Diligence. The Administrative Agent shall have
                              completed, to its satisfaction, all legal, tax, environmental, business and
                              other due diligence with respect to the business, assets, liabilities,
                              operations and condition (financial or otherwise) of each Credit Party in
                              scope and determination satisfactory to the Administrative Agent in its
                              sole discretion.

                                     (iii) Existing Indebtedness. All existing Indebtedness of each
                              Credit Party (excluding Indebtedness permitted pursuant to Section 8.1)
                              shall be repaid in full and terminated and all collateral security therefor
                              shall be released, and the Administrative Agent shall have received
                              pay-off letters in form and substance satisfactory to it evidencing such

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                              repayment, termination and release. Any existing Indebtedness permitted
                              pursuant to Section 8.1 shall be on terms and conditions reasonably
                              satisfactory to the Administrative Agent.

                                    (iv)    PATRIOT Act. Each Borrower and each of the Subsidiary
                              Guarantors shall have provided to the Administrative Agent and the
                              Lenders the documentation and other information requested by the
                              Administrative Agent in order to comply with requirements of the
                              PATRIOT Act.

                                     (v)     Other Documents. All opinions, certificates and other
                              instruments and all proceedings in connection with the transactions
                              contemplated by this Agreement shall be satisfactory in form and
                              substance to the Administrative Agent. The Administrative Agent shall
                              have received copies of all other documents, certificates and instruments
                              reasonably requested thereby, with respect to the transactions
                              contemplated by this Agreement.

        SECTION 5.2           Conditions to All Extensions of Credit. The obligations of the
Lenders to make or participate in any Extensions of Credit (including the initial Extension of
Credit), convert or continue any Loan and/or the Issuing Lender to issue or extend any Letter of
Credit are subject to the satisfaction of the following conditions precedent on the relevant
borrowing, continuation, conversion, issuance or extension date:

                            (a)      Continuation of Representations and Warranties.               The
                    representations and warranties contained in Article VI shall be true and correct in
                    all material respects, except for any representation and warranty that is qualified
                    by materiality or reference to Material Adverse Effect, which such representation
                    and warranty shall be true and correct in all respects on and as of such borrowing,
                    continuation, conversion, issuance or extension date with the same effect as if
                    made on and as of such date, (except for any such representation and warranty
                    that by its terms is made only as of an earlier date, which representation and
                    warranty shall remain true and correct in all material respects, except for any
                    representation and warranty that is qualified by materiality or reference to
                    Material Adverse Effect, which such representation and warranty shall be true and
                    correct in all respects as of such earlier date.

                            (b)    No Existing Default. No Default or Event of Default shall have
                    occurred and be continuing (i) on the borrowing, continuation or conversion date
                    with respect to such Loan or after giving effect to the Loans to be made,
                    continued or converted on such date or (ii) on the issuance or extension date with
                    respect to such Letter of Credit or after giving effect to the issuance or extension
                    of such Letter of Credit on such date.

                          (c)     Notices. The Administrative Agent shall have received a Notice of
                    Borrowing or Notice of Conversion/Continuation, as applicable, from the
                    Borrowers in accordance with Section 2.3(a), or Section 4.2, as applicable.

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                           (d)     Additional Documents. The Administrative Agent shall have
                    received each additional document, instrument, or other item reasonably
                    requested by it.

                           (e)      No Excess Consolidated Cash Balances. At the time of, and after
                    giving effect to, the requested Loan or Letter of Credit, the Credit Parties shall be
                    in compliance with Section 7.20.

                                Article VI
           REPRESENTATIONS AND WARRANTIES OF THE CREDIT PARTIES

        To induce the Administrative Agent and Lenders to enter into this Agreement and to
induce the Lenders to make Extensions of Credit, the Credit Parties hereby represent and warrant
to the Administrative Agent and the Lenders both before and after giving effect to the
transactions contemplated hereunder, which representations and warranties shall be deemed
made on the Closing Date, the Second Amendment Effective Date and as otherwise set forth in
Section 5.2, that:

        SECTION 6.1             Organization; Power; Qualification. Each Credit Party and each
Subsidiary thereof (a) is duly organized, validly existing and in good standing under the laws of
the jurisdiction of its incorporation or formation, (b) has the power and authority to own its
Properties and to carry on its business as now being and hereafter proposed to be conducted and
(c) is duly qualified and authorized to do business in each jurisdiction in which the character of
its Properties or the nature of its business requires such qualification and authorization except in
jurisdictions where the failure to be so qualified under this clause (c) could not reasonably be
expected to result in a Material Adverse Effect. The jurisdictions in which each Credit Party and
each Subsidiary thereof are organized and qualified to do business as of the Closing Date are
described on Schedule 6.1.

        SECTION 6.2            Ownership. An ownership chart of Parent and its Subsidiaries, and
of Borrowers, LHI and their Affiliates, as of the Closing Date is attached as Schedule 6.2. As of
the Closing Date, the capitalization of each Credit Party and its Subsidiaries consists of the
number of shares, authorized, issued and outstanding, of such classes and series, with or without
par value, described on Schedule 6.2. All outstanding shares have been duly authorized and
validly issued and are fully paid and nonassessable and not subject to any preemptive or similar
rights, except as described in Schedule 6.2. The shareholders or other owners, as applicable, of
each Credit Party and its Subsidiaries and the number of shares owned by each as of the
ClosingSecond Amendment Effective Date are described on Schedule 6.2. As of the
ClosingSecond Amendment Effective Date, there are no outstanding stock purchase warrants,
subscriptions, options, securities, instruments or other rights of any type or nature whatsoever,
which are convertible into, exchangeable for or otherwise provide for or require the issuance of
Capital Stock of any Credit Party or any Subsidiary thereof, except as described on Schedule
6.2.

       SECTION 6.3             Authorization Enforceability.    Each Credit Party and each
Subsidiary thereof has the right, power and authority and has taken all necessary corporate and
other action to authorize the execution, delivery and performance of this Agreement and each of

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the other Loan Documents to which it is a party in accordance with their respective terms. This
Agreement and each of the other Loan Documents have been duly executed and delivered by the
duly authorized officers of each Credit Party and each Subsidiary thereof that is a party thereto,
and each such document constitutes the legal, valid and binding obligation of each Credit Party
and each Subsidiary thereof that is a party thereto, enforceable in accordance with its terms,
except as such enforceability may be limited by bankruptcy, insolvency, reorganization,
moratorium or similar state or federal debtor relief laws from time to time in effect which affect
the enforcement of creditors’ rights in general and the availability of equitable remedies.

        SECTION 6.4            Compliance of Agreement, Loan Documents and Borrowing with
Laws, Etc. The execution, delivery and performance by each Credit Party and each Subsidiary
thereof of the Loan Documents to which each such Person is a party, in accordance with their
respective terms, the Extensions of Credit hereunder and the transactions contemplated hereby
do not and will not, by the passage of time, the giving of notice or otherwise, (a) require any
Governmental Approval or violate any Applicable Law relating to any Credit Party or any
Subsidiary thereof where the failure to obtain such Governmental Approval or such violation
could reasonably be expected to have a Material Adverse Effect, (b) conflict with, result in a
breach of or constitute a default under the articles of incorporation, bylaws or other
organizational documents of any Credit Party or any Subsidiary thereof, (c) conflict with, result
in a breach of or constitute a default under any indenture, agreement or other instrument to
which such Person is a party or by which any of its properties may be bound or any
Governmental Approval relating to such Person, which could, individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect, (d) result in or require the creation or
imposition of any Lien upon or with respect to any property now owned or hereafter acquired by
such Person other than Permitted Liens or (e) require any consent or authorization of, filing with,
or other act in respect of, an arbitrator or Governmental Authority and no consent of any other
Person is required in connection with the execution, delivery, performance, validity or
enforceability of this Agreement other than (i) consents, authorizations, filings or other acts or
consents for which the failure to obtain or make could not, individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect, (ii) consents or filings under the UCC
and (iii) filings with the United States Copyright Office and/or the United States Patent and
Trademark Office.

        SECTION 6.5            Compliance with Law; Governmental Approvals. Each Credit
Party and each Subsidiary thereof (a) has all Governmental Approvals required by any
Applicable Law for it to conduct its business, each of which is in full force and effect, is final
and not subject to review on appeal and is not the subject of any pending or, to its knowledge,
threatened attack by direct or collateral proceeding, (b) is in compliance with each Governmental
Approval applicable to it and in compliance with all other Applicable Laws relating to it or any
of its respective properties (including Anti-Corruption Laws and Anti-Terrorism Laws) and (c)
has timely filed all material reports, documents and other materials required to be filed by it
under all Applicable Laws with any Governmental Authority and has retained all material
records and documents required to be retained by it under Applicable Law except in each case
under clause (a), (b) or (c) where the failure to have, comply or file could not reasonably be
expected to have a Material Adverse Effect.



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        SECTION 6.6             Tax Returns and Payments. Each Credit Party and each Subsidiary
thereof has duly filed or caused to be filed all federal, state, local and other tax returns required
by Applicable Law to be filed, and has paid, or made adequate provision for the payment of, all
federal, state, local and other taxes, assessments and governmental charges or levies upon it and
its property, income, profits and assets which are due and payable (other than any amount the
validity of which is currently being contested in good faith by appropriate proceedings and with
respect to which reserves in conformity with GAAP have been provided for on the books of the
relevant Credit Party). Such returns accurately reflect in all material respects all liability for
taxes of any Credit Party or any Subsidiary thereof for the periods covered thereby. There is no
ongoing audit or examination or, to the knowledge of each Borrower, other investigation by any
Governmental Authority of the tax liability of any Credit Party or any Subsidiary thereof. No
Governmental Authority has asserted any Lien or other claim against any Credit Party or any
Subsidiary thereof with respect to unpaid taxes which has not been discharged or resolved (other
than (a) any amount the validity of which is currently being contested in good faith by
appropriate proceedings and with respect to which reserves in conformity with GAAP have been
provided for on the books of the relevant Credit Party and (b) Permitted Liens). The charges,
accruals and reserves on the books of each Credit Party and each Subsidiary thereof in respect of
federal, state, local and other taxes for all Fiscal Years and portions thereof since the
organization of any Credit Party or any Subsidiary thereof are in the judgment of the Borrowers
adequate, and the Borrowers do not anticipate any additional taxes or assessments for any of
such years.

        SECTION 6.7             Intellectual Property Matters. Each Credit Party and each
Subsidiary thereof owns or possesses rights to use all material franchises, licenses, copyrights,
copyright applications, patents, patent rights or licenses, patent applications, trademarks,
trademark rights, service mark, service mark rights, trade names, trade name rights, copyrights
and other rights with respect to the foregoing which are reasonably necessary to conduct its
business. No event has occurred which permits, or after notice or lapse of time or both would
permit, the revocation or termination of any such rights, and no Credit Party nor any Subsidiary
thereof is liable to any Person for infringement under Applicable Law with respect to any such
rights as a result of its business operations except as could not reasonably be expected to have a
Material Adverse Effect.

          SECTION 6.8             Environmental Matters.

                           (a)    The properties owned, leased or operated by each Credit Party and
                    each Subsidiary thereof now or in the past do not contain, and to their knowledge
                    have not previously contained, any Hazardous Materials in amounts or
                    concentrations which constitute or constituted a violation of applicable
                    Environmental Laws;

                           (b)    To the knowledge of each Borrower and each Subsidiary thereof,
                    each Credit Party and each Subsidiary thereof and such properties and all
                    operations conducted in connection therewith are in compliance, and have been in
                    compliance, with all applicable Environmental Laws, and there is no
                    contamination at, under or about such properties or such operations which could


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                    interfere with the continued operation of such properties or impair the fair
                    saleable value thereof;

                           (c)     No Credit Party nor any Subsidiary thereof has received any
                    written notice of violation, alleged violation, non-compliance, liability or
                    potential liability regarding environmental matters, Hazardous Materials, or
                    compliance with Environmental Laws, nor does any Credit Party or any
                    Subsidiary thereof have knowledge or reason to believe that any such notice will
                    be received or is being threatened;

                             (d)    To the knowledge of the each Borrower and each Subsidiary
                    thereof, Hazardous Materials have not been transported or disposed of to or from
                    the properties owned, leased or operated by any Credit Party or any Subsidiary
                    thereof in violation of, or in a manner or to a location which could give rise to
                    liability under, Environmental Laws, nor have any Hazardous Materials been
                    generated, treated, stored or disposed of at, on or under any of such properties in
                    violation of, or in a manner that could give rise to liability under, any applicable
                    Environmental Laws;

                           (e)     No judicial proceedings or governmental or administrative action
                    is pending, or, to the knowledge of each Borrower, threatened, under any
                    Environmental Law to which any Credit Party or any Subsidiary thereof is or will
                    be named as a potentially responsible party with respect to such properties or
                    operations conducted in connection therewith, nor are there any consent decrees
                    or other decrees, consent orders, administrative orders or other orders, or other
                    administrative or judicial requirements outstanding under any Environmental Law
                    with respect to any Credit Party, any Subsidiary thereof or such properties or such
                    operations that could reasonably be expected, individually or in the aggregate, to
                    have a Material Adverse Effect; and

                            (f)    There has been no release, or to the best of each Borrower’s
                    knowledge, threat of release, of Hazardous Materials at or from properties owned,
                    leased or operated by any Credit Party or any Subsidiary, now or in the past, in
                    violation of or in amounts or in a manner that could give rise to liability under
                    Environmental Laws that could reasonably be expected, individually or in the
                    aggregate, to have a Material Adverse Effect.

          SECTION 6.9              Employee Benefit Matters.

                           (a)     As of the Closing Date, no Credit Party nor any ERISA Affiliate
                    maintains or contributes to, or has any obligation under, any Employee Benefit
                    Plans other than those identified on Schedule 6.9;

                            (b)     Each Credit Party and each ERISA Affiliate is in compliance with
                    all applicable provisions of ERISA, the Code and the regulations and published
                    interpretations thereunder with respect to all Employee Benefit Plans except for
                    any required amendments for which the remedial amendment period as defined in

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                    Section 401(b) of the Code has not yet expired and except where a failure to so
                    comply could not reasonably be expected to have a Material Adverse Effect.
                    Each Employee Benefit Plan that is intended to be qualified under Section 401(a)
                    of the Code has been determined by the IRS to be so qualified, and each trust
                    related to such plan has been determined to be exempt under Section 501(a) of the
                    Code except for such plans that have not yet received determination letters but for
                    which the remedial amendment period for submitting a determination letter has
                    not yet expired. No liability has been incurred by any Credit Party or any ERISA
                    Affiliate which remains unsatisfied for any taxes or penalties assessed with
                    respect to any Employee Benefit Plan or any Multiemployer Plan except for a
                    liability that could not reasonably be expected to have a Material Adverse Effect;

                            (c)    As of the Closing Date, no Pension Plan has been terminated, nor
                    has any Pension Plan become subject to funding based benefit restrictions under
                    Section 436 of the Code, nor has any funding waiver from the IRS been received
                    or requested with respect to any Pension Plan, nor has any Credit Party or any
                    ERISA Affiliate failed to make any contributions or to pay any amounts due and
                    owing as required by Sections 412 or 430 of the Code, Section 302 of ERISA or
                    the terms of any Pension Plan prior to the due dates of such contributions under
                    Sections 412 or 430 of the Code or Section 302 of ERISA, nor has there been any
                    event requiring any disclosure under Section 4041(c)(3)(C) or 4063(a) of ERISA
                    with respect to any Pension Plan;

                            (d)      Except where the failure of any of the following representations to
                    be correct could not reasonably be expected to have a Material Adverse Effect, no
                    Credit Party nor any ERISA Affiliate has: (i) engaged in a nonexempt prohibited
                    transaction described in Section 406 of the ERISA or Section 4975 of the Code,
                    (ii) incurred any liability to the PBGC which remains outstanding other than the
                    payment of premiums and there are no premium payments which are due and
                    unpaid, (iii) failed to make a required contribution or payment to a Multiemployer
                    Plan, or (iv) failed to make a required installment or other required payment under
                    Sections 412 or 430 of the Code;

                              (e)   No Termination Event has occurred or is reasonably expected to
                    occur;

                            (f)      Except where the failure of any of the following representations to
                    be correct in all material respects could not reasonably be expected to have a
                    Material Adverse Effect, no proceeding, claim (other than a benefits claim in the
                    ordinary course of business), lawsuit and/or investigation is existing or, to the
                    best of the knowledge of each Borrower after due inquiry, threatened concerning
                    or involving (i) any employee welfare benefit plan (as defined in Section 3(1) of
                    ERISA) currently maintained or contributed to by any Credit Party or any ERISA
                    Affiliate, (ii) any Pension Plan or (iii) any Multiemployer Plan.

                           (g)     No Credit Party nor any Subsidiary thereof is a party to any
                    contract, agreement or arrangement that could, solely as a result of the delivery of

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                    this Agreement or the consummation of transactions contemplated hereby, result
                    in the payment of any “excess parachute payment” within the meaning of Section
                    280G of the Code.

        SECTION 6.10          Margin Stock. No Credit Party nor any Subsidiary thereof is
engaged principally or as one of its activities in the business of extending credit for the purpose
of “purchasing” or “carrying” any “margin stock” (as each such term is defined or used, directly
or indirectly, in Regulation U of the Board of Governors of the Federal Reserve System). No
part of the proceeds of any of the Loans or Letters of Credit will be used for purchasing or
carrying margin stock or for any purpose which violates, or which would be inconsistent with,
the provisions of Regulation T, U or X of such Board of Governors. Following the application
of the proceeds of each Extension of Credit, not more than twenty-five percent (25%) of the
value of the assets (of the Parent and its Subsidiaries on a Consolidated basis) subject to the
provisions of Section 8.2 or Section 8.5 or subject to any restriction contained in any agreement
or instrument between the Borrowers and any Lender or any Affiliate of any Lender relating to
Indebtedness in excess of the Threshold Amount will be “margin stock”. If requested by any
Lender (through the Administrative Agent) or the Administrative Agent, the Borrowers will
furnish to the Administrative Agent and each Lender a statement to the foregoing effect in
conformity with the requirements of FR Form G-3 or FR Form U 1 referred to in Regulation U.

        SECTION 6.11         Government Regulation. No Credit Party nor any Subsidiary
thereof is an “investment company” or a company “controlled” by an “investment company” (as
each such term is defined or used in the Investment Company Act of 1940, as amended) and no
Credit Party nor any Subsidiary thereof is, or after giving effect to any Extension of Credit will
be, subject to regulation under the Interstate Commerce Act, as amended, or any other
Applicable Law which limits its ability to incur or consummate the transactions contemplated
hereby.

        SECTION 6.12           Material Contracts. Schedule 6.12 sets forth a complete and
accurate list of all Material Contracts of each Credit Party and each Subsidiary thereof in effect
as of the Closing Date. Other than as set forth in Schedule 6.12, each such Material Contract is,
and after giving effect to the consummation of the transactions contemplated by the Loan
Documents will be, in full force and effect in accordance with the terms thereof. To the extent
requested by the Administrative Agent, each Credit Party and each Subsidiary thereof has
delivered to the Administrative Agent a true and complete copy of each Material Contract
required to be listed on Schedule 6.12 or any other Schedule hereto. No Credit Party nor any
Subsidiary thereof (nor, to the knowledge of each Borrower, any other party thereto) is in breach
of or in default under any Material Contract in any material respect.

       SECTION 6.13           Employee Relations. No Credit Party or any Subsidiary thereof is
party to any collective bargaining agreement or has any labor union been recognized as the
representative of its employees except as set forth on Schedule 6.13. No Borrower knows of any
pending, threatened or contemplated strikes, work stoppage or other collective labor disputes
involving its employees or those of its Subsidiaries.

       SECTION 6.14           Burdensome Provisions. The Credit Parties and their respective
Subsidiaries do not presently anticipate that future expenditures needed to meet the provisions of

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any statutes, orders, rules or regulations of a Governmental Authority will be so burdensome as
to have a Material Adverse Effect. No Subsidiary is party to any agreement or instrument or
otherwise subject to any restriction or encumbrance that restricts or limits its ability to make
dividend payments or other distributions in respect of its Capital Stock to any Borrower or any
Subsidiary or to transfer any of its assets or properties to any Borrower or any other Subsidiary
in each case other than existing under or by reason of the Loan Documents or Applicable Law.

       SECTION 6.15            Financial Statements. The audited and unaudited financial
statements delivered pursuant to Section 5.1(f)(i) are complete and correct and fairly present on
a Consolidated basis the assets, liabilities and financial position of the Parent and its Subsidiaries
as at such dates, and the results of the operations and changes of financial position for the
periods then ended (other than customary year-end adjustments for unaudited financial
statements). All such financial statements, including the related schedules and notes thereto,
have been prepared in accordance with GAAP. Such financial statements show all material
indebtedness and other material liabilities, direct or contingent, of the Parent and its Subsidiaries
as of the date thereof, including material liabilities for taxes, material commitments, and
Indebtedness, in each case, to the extent required to be disclosed under GAAP.

        SECTION 6.16           No Material Adverse Change. Since January 31, 2015, there has
been no material adverse change in the properties, business, operations, prospects, or condition
(financial or otherwise) of the Parent and its Subsidiaries and no event has occurred or condition
arisen, either individually or in the aggregate, that could reasonably be expected to have a
Material Adverse Effect.

       SECTION 6.17            Solvency.    Each Credit Party and each Subsidiary thereof is
Solvent.

        SECTION 6.18            Titles to Properties. As of the Closing Date, the real property
listed on Schedule 6.18 constitutes all of the real property that is owned, leased, subleased or
used by any Credit Party or any of its Subsidiaries. Each Credit Party and each Subsidiary
thereof has such title to the real property owned or leased by it as is necessary or desirable to the
conduct of its business and valid and legal title to all of its personal property and assets, except
those which have been disposed of by the Credit Parties and their Subsidiaries subsequent to
such date which dispositions have been in the ordinary course of business or as otherwise
expressly permitted hereunder.

        SECTION 6.19          Litigation. Except for matters existing on the Closing Date and set
forth on Schedule 6.19, there are no actions, suits or proceedings pending nor, to the knowledge
of each Borrower, threatened against or in any other way relating adversely to or affecting any
Credit Party or any Subsidiary thereof or any of their respective properties in any court or before
any arbitrator of any kind or before or by any Governmental Authority that could reasonably be
expected to have a Material Adverse Effect.

       SECTION 6.20           Absence of Defaults. No event has occurred or is continuing (a)
which constitutes a Default or an Event of Default, or (b) which constitutes, or which with the
passage of time or giving of notice or both would constitute, a default or event of default by any
Credit Party or any Subsidiary thereof under any Material Contract or judgment, decree or order

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to which any Credit Party or any Subsidiary thereof is a party or by which any Credit Party or
any Subsidiary thereof or any of their respective properties may be bound or which would
require any Credit Party or any Subsidiary thereof to make any payment thereunder prior to the
scheduled maturity date therefore that, in any case under this clause (b), could, either
individually or in the aggregate, reasonably be expected to have a Material Adverse Effect.

       SECTION 6.21            Senior Indebtedness Status. The Obligations of each Credit Party
and each Subsidiary thereof under this Agreement and each of the other Loan Documents ranks
and shall continue to rank at least senior in priority of payment to all Subordinated Indebtedness
and all senior unsecured Indebtedness of each such Person and is designated as “Senior
Indebtedness” under all instruments and documents, now or in the future, relating to all
Subordinated Indebtedness and all senior unsecured Indebtedness of such Person.

        SECTION 6.22          Investment Bankers’ and Similar Fees. No Credit Party has any
obligation to any Person in respect of any finders’, brokers’, investment banking or other similar
fee in connection with any of the Transactions.

         SECTION 6.23        Disclosure. Each Borrower and/or its Subsidiaries have disclosed
to the Administrative Agent and the Lenders all agreements, instruments and corporate or other
restrictions to which any Credit Party and any Subsidiary thereof are subject, and all other
matters known to them, that, individually or in the aggregate, could reasonably be expected to
result in a Material Adverse Effect. No financial statement, material report, material certificate
or other material information furnished (whether in writing or orally) by or on behalf of any
Credit Party or any Subsidiary thereof to the Administrative Agent or any Lender in connection
with the transactions contemplated hereby and the negotiation of this Agreement or delivered
hereunder (as modified or supplemented by other information so furnished), taken together as a
whole, contains any untrue statement of a material fact or omits to state any material fact
necessary to make the statements therein, in the light of the circumstances under which they
were made, not misleading; provided that, with respect to projected financial information, pro
forma financial information, estimated financial information and other projected or estimated
information, such information was prepared in good faith based upon assumptions believed to be
reasonable at the time.

      SECTION 6.24         EEA Financial Institutions. None of the Credit Parties is, or will
become, an EEA Financial Institution.

        SECTION 6.25           Anti-Terrorism; Anti-Money Laundering; Etc. No Credit Party nor
Guarantor nor any of its Subsidiaries or, to their knowledge, any of their Affiliates (i) is an
“enemy” or an “ally of the enemy” within the meaning of Section 2 of the Trading with the
Enemy Act of the United States (50 U.S.C. App. §§ 1 et seq.), (ii) is in violation of (A) the
Trading with the Enemy Act, (B) any of the foreign assets control regulations of the United
States Treasury Department (31 CFR, Subtitle B, Chapter V) or any enabling legislation or
executive order relating thereto or, (C) the PATRIOT Act (collectively, the “Anti-Terrorism
Laws”), or (D) any Anti-Corruption Laws, (iii) is, or is controlled or owned by a Sanctioned
Entity or other Persons that are, the subject of Sanctions or (i) is, or is controlled or owned by a
Sanctioned Entity or other Persons that are, located, organized or resident in a country or
territory that is, or whose government is, the subject of Sanctions. No part of the proceeds of any

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Loan or Letter of Credit hereunder will be unlawfully used directly or indirectly to fund any
operations in, finance any investments or activities in or make any payments to, a Sanctioned
Entity or other Person that is the subject of Sanctions or a Sanctioned Country, or in any other
manner that will result in any violation by any Person (including any Lender, the Arranger, the
Administrative Agent or an LC Issuer) of any Anti-Terrorism Laws or any Sanctions.

                                            Article VII
                                     AFFIRMATIVE COVENANTS

        Beginning on the Closing Date and continuing until all of the Obligations (other than
contingent indemnification obligations not then due) have been paid and satisfied in full in cash,
all Letters of Credit have been terminated or expired (or been Cash Collateralized) and the
Commitments terminated, each Credit Party will, and will cause each of its Subsidiaries to:

       SECTION 7.1            Financial Statements and Budgets. Deliver to the Administrative
Agent, in form and detail satisfactory to the Administrative Agent (which shall promptly make
such information available to the Lenders in accordance with its customary practice):

                            (a)     Annual Financial Statements. As soon as practicable and in any
                    event within one hundred-fifty (150) days after the end of each Fiscal Year:
                    commencing with the Fiscal Year ending January 31, 2016, an audited
                    Consolidated balance sheet of the Parent and its Subsidiaries as of the close of
                    such Fiscal Year and audited Consolidated statements of income, retained
                    earnings and cash flows including the notes thereto, all of the statements provided
                    in reasonable detail setting forth in comparative form the corresponding figures as
                    of the end of and for the preceding Fiscal Year and prepared in accordance with
                    GAAP and, if applicable, containing disclosure of the effect on the financial
                    position or results of operations of any change in the application of accounting
                    principles and practices during the year. Such annual financial statements shall
                    be audited by an independent certified public accounting firm reasonably
                    acceptable to the Administrative Agent, and accompanied by a report and opinion
                    thereon by such certified public accountants prepared in accordance with
                    generally accepted auditing standards that is not subject to any “going concern” or
                    similar qualification or exception or any qualification as to the scope of such audit
                    or with respect to accounting principles followed by the Parent or any of its
                    Subsidiaries not in accordance with GAAP.

                            (b)     Monthly Financial Statements. As soon as practicable and in any
                    event within sixty (60) days after the end of each fiscal month of each Fiscal Year
                    (commencing with the fiscal month ending July 31, 2015), an unaudited
                    Consolidated and consolidating balance sheet of the Parent and its Subsidiaries as
                    of the close of such fiscal month and unaudited Consolidated and consolidating
                    statements of income, all in reasonable detail setting forth in comparative form
                    the corresponding figures as of the end of and for the corresponding period in the
                    preceding Fiscal Year and prepared by the Borrowers in accordance with GAAP
                    and, if applicable, containing disclosure of the effect on the financial position or
                    results of operations of any change in the application of accounting principles and

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                    practices during the period, and certified by a Responsible Officer of each
                    Borrower to present fairly in all material respects the financial condition of Parent
                    and its Subsidiaries on a Consolidated and consolidating basis as of their
                    respective dates and the results of operations of Parent and its Subsidiaries for the
                    respective periods then ended, subject to normal year-end adjustments and the
                    absence of footnotes.

                            (c)    Annual Business Plan and Other Information. As soon as
                    practicable and in any event within sixty (60) days after the end of each Fiscal
                    Year, a business plan and operating and capital budget of Parent and its
                    Subsidiaries for the ensuing four (4) fiscal quarters, such plan to be prepared in
                    accordance with GAAP and to include, on a quarterly basis, the following: a
                    business plan, a backlog/booking report, and a projected income statement.

                            (d)    13-Week Cash Flow. Until such time as the Lenders receive a
                    Compliance Certificate reflecting that the Consolidated Leverage Ratio is less
                    than 3.50 to 1.0, (i) on or before the Second Amendment Effective Date and on or
                    before Wednesday of each week thereafter, a 13-Week Budget (updated after the
                    first such 13-Week Budget) in form and substance reasonably acceptable to the
                    Administrative Agent which shall reflect the good faith projection of the
                    Borrowers of all weekly cash receipts and disbursements in connection with the
                    operation of the Credit Parties' and their respective Subsidiaries' business during
                    such thirteen-week period, including but not limited to, collections, payroll,
                    capital expenditures and other major cash outlays, (ii) a variance report in form
                    and substance reasonably acceptable to the Administrative Agent comparing the
                    Credit Parties' actual receipts and disbursements for the immediately preceding
                    week with the projected receipts and disbursements for such week as reflected in
                    the most recently delivered 13-Week Budget, and (iii) on Wednesday of each
                    week, a weekly cash flow report for the immediately preceding week in form and
                    substance satisfactory to the Administrative Agent and with a certification of
                    Consolidated Cash Balances on the last Business Day of such preceding week.

       SECTION 7.2         Certificates; Other Reports. Deliver to the Administrative Agent
(which shall promptly make such information available to the Lenders in accordance with its
customary practice):

                            (a)     (i)   with respect to the Consolidated Asset Coverage Ratio,
                    forty-five (45) days after the end of each fiscal month of each Fiscal Year, an
                    accounts receivable aging report of each Borrower and a duly completed Officer’s
                    Compliance Certificate signed by a Responsible Officer of each Borrower
                    certifying as to compliance by Parent and its Subsidiaries with the Consolidated
                    Asset Coverage Ratio, together with a detailed listing of accounts receivable that
                    comprise Eligible Foreign Trade Accounts Receivable.

                                     (ii)    at each time financial statements are delivered pursuant to
                              Sections 7.1(a) or (b) and at such other times as the Administrative Agent
                              shall reasonably request, a duly completed Officer’s Compliance

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                              Certificate signed by a Responsible Officer of each Borrower; provided
                              that, with respect to each Officer’s Compliance Certificate delivered to
                              Administrative Agent pursuant to Section 7.1(b), the Borrowers shall only
                              be required to certify as to compliance by Parent and its Subsidiaries with
                              respect to all financial covenants contained in Sections 8.13 and 8.14
                              (other than the Consolidated Asset Coverage Ratio), for the fiscal months
                              ending January 31, April 30, July 31, and October 31 of each Fiscal Year.

                           (b)    promptly upon receipt thereof, copies of all reports, if any,
                    submitted to any Credit Party, any Subsidiary thereof or any of their respective
                    boards of directors by their respective independent public accountants in
                    connection with their auditing function, including, without limitation, any
                    management report and any management responses thereto;

                           (c)     promptly after the furnishing thereof, copies of any statement or
                    report furnished to any holder of Indebtedness of any Credit Party or any
                    Subsidiary thereof in excess of the Threshold Amount pursuant to the terms of
                    any indenture, loan or credit or similar agreement;

                            (d)    promptly after the assertion or occurrence thereof, notice of any
                    action or proceeding against or of any noncompliance by any Credit Party or any
                    Subsidiary thereof with any Environmental Law that could reasonably be
                    expected to have a Material Adverse Effect;

                           (e)     promptly upon the request thereof, such other information and
                    documentation required by bank regulatory authorities under applicable “know
                    your customer” and Anti-Money Laundering rules and regulations (including,
                    without limitation, the PATRIOT Act), as from time to time reasonably requested
                    by the Administrative Agent or any Lender; and

                           (f)    such other information regarding the operations, business affairs
                    and financial condition of any Credit Party or any Subsidiary thereof as the
                    Administrative Agent or any Lender may reasonably request; and

                            (g)    not later than April 30, 2017, the forensic accountant's report being
                    prepared for the Borrowers or their counsel by Cummings & Houston, LLP or
                    other forensic accountants reasonably satisfactory to the Administrative Agent.

        Each Borrower hereby acknowledges that (a) the Administrative Agent and/or the
Arranger will make available to the Lenders and the Issuing Lender materials and/or information
provided by or on behalf of the Borrowers hereunder (collectively, “Borrower Materials”) by
posting the Borrower Materials on SyndTrak Online or another similar electronic system (the
“Platform”) and (b) certain of the Lenders may be “public-side” Lenders (i.e., Lenders that do
not wish to receive material non-public information with respect to Parent and its Subsidiaries or
their respective securities) (each, a “Public Lender”). Each Borrower hereby agrees that it will
use commercially reasonable efforts to identify that portion of the Borrower Materials that may
be distributed to the Public Lenders and that (w) all such Borrower Materials shall be clearly and

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conspicuously marked “PUBLIC” which, at a minimum, shall mean that the word “PUBLIC”
shall appear prominently on the first page thereof; (x) by marking Borrower Materials
“PUBLIC,” the Borrowers shall be deemed to have authorized the Administrative Agent, the
Arranger, the Issuing Lender and the Lenders to treat such Borrower Materials as not containing
any material non-public information (although it may be sensitive and proprietary) with respect
to Parent and its Subsidiaries or their respective securities for purposes of United States Federal
and state securities laws (provided, however, that to the extent such Borrower Materials
constitute Information, they shall be treated as set forth in Section 11.11); (y) all Borrower
Materials marked “PUBLIC” are permitted to be made available through a portion of the
Platform designated “Public Investor;” and (z) the Administrative Agent and the Arranger shall
be entitled to treat any Borrower Materials that are not marked “PUBLIC” as being suitable only
for posting on a portion of the Platform not designated “Public Investor.” Notwithstanding the
foregoing, the Borrowers shall be under no Obligation to mark any Borrower Materials
“PUBLIC”.

        SECTION 7.3           Notice of Litigation and Other Matters. Promptly (but in no event
later than ten (10) days after any Responsible Officer of any Credit Party obtains knowledge
thereof) notify the Administrative Agent in writing of (which shall promptly make such
information available to the Lenders in accordance with its customary practice):

                              (a)   the occurrence of any Default or Event of Default;

                            (b)    the commencement of all proceedings and investigations by or
                    before any Governmental Authority and all actions and proceedings in any court
                    or before any arbitrator against or involving any Credit Party or any Subsidiary
                    thereof or any of their respective properties, assets or businesses;

                            (c)     any notice of any violation received by any Credit Party or any
                    Subsidiary thereof from any Governmental Authority including, without
                    limitation, any notice of violation of Environmental Laws ;

                            (d)     any labor controversy that has resulted in, or threatens to result in,
                    a strike or other work action against any Credit Party or any Subsidiary thereof;

                           (e)     any attachment, judgment, lien, levy or order exceeding the
                    Threshold Amount that may be assessed against or threatened against any Credit
                    Party or any Subsidiary thereof;

                           (f)     any event which constitutes or which with the passage of time or
                    giving of notice or both would constitute a default or event of default under any
                    Material Contract to which Parent or any of its Subsidiaries is a party or by which
                    any Borrower or any Subsidiary thereof or any of their respective properties may
                    be bound;

                           (g)       (i) any unfavorable determination letter from the IRS regarding
                    the qualification of an Employee Benefit Plan under Section 401(a) of the Code
                    (along with a copy thereof), (ii) all notices received by any Credit Party or any

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                    ERISA Affiliate of the PBGC’s intent to terminate any Pension Plan or to have a
                    trustee appointed to administer any Pension Plan, (iii) all notices received by any
                    Credit Party or any ERISA Affiliate from a Multiemployer Plan sponsor
                    concerning the imposition or amount of withdrawal liability pursuant to Section
                    4202 of ERISA and (iv) any Borrower obtaining knowledge or reason to know
                    that any Credit Party or any ERISA Affiliate has filed or intends to file a notice of
                    intent to terminate any Pension Plan under a distress termination within the
                    meaning of Section 4041(c) of ERISA; and

                            (h)     any event which makes any of the representations set forth in
                    Article VI that is subject to materiality or Material Adverse Effect qualifications
                    inaccurate in any respect or any event which makes any of the representations set
                    forth in Article VI that is not subject to materiality or Material Adverse Effect
                    qualifications inaccurate in any material respect.

        Each notice pursuant to Section 7.3 shall be accompanied by a statement of a
Responsible Officer of the Borrowers setting forth details of the occurrence referred to therein
and stating what action the Borrowers has taken and proposes to take with respect thereto. Each
notice pursuant to Section 7.3(a) shall describe with particularity any and all provisions of this
Agreement and any other Loan Document that have been breached.

        SECTION 7.4           Preservation of Corporate Existence and Related Matters. Except
as permitted by Section 8.4, preserve and maintain its separate corporate existence and all rights,
franchises, licenses and privileges necessary to the conduct of its business, and qualify and
remain qualified as a foreign corporation or other entity and authorized to do business in each
jurisdiction where the nature and scope of its activities require it to so qualify under Applicable
Law.

          SECTION 7.5              Maintenance of Property and Licenses.

                            (a)     In addition to the requirements of any of the Security Documents,
                    protect and preserve all Properties necessary in and material to its business,
                    including copyrights, patents, trade names, service marks and trademarks;
                    maintain in good working order and condition, ordinary wear and tear excepted,
                    all buildings, equipment and other tangible real and personal property; and from
                    time to time make or cause to be made all material repairs, renewals and
                    replacements thereof and additions to such Property reasonably necessary for the
                    conduct of its business, so that the business carried on in connection therewith
                    may be conducted in a commercially reasonable manner.

                           (b)    Maintain, in full force and effect in all material respects, each and
                    every material license, permit, certification, qualification, approval or franchise
                    issued by any Governmental Authority (each, a “License”) required for each of
                    them to conduct their respective businesses as presently conducted.

       SECTION 7.6         Insurance.     Maintain insurance with financially sound and
reputable insurance companies against at least such risks and in at least such amounts as are

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customarily maintained by similar businesses and as may be required by Applicable Law and as
are required by any Security Documents (including, without limitation, hazard and business
interruption insurance). All such insurance shall, (a) provide that no cancellation or material
modification thereof shall be effective until at least 30 days after receipt by the Administrative
Agent of written notice thereof, (b) name the Administrative Agent as an additional insured party
thereunder and (c) in the case of each casualty insurance policy, name the Administrative Agent
as lender’s loss payee. On the Closing Date and from time to time thereafter deliver to the
Administrative Agent upon its request information in reasonable detail as to the insurance then in
effect, stating the names of the insurance companies, the amounts and rates of the insurance, the
dates of the expiration thereof and the properties and risks covered thereby.

       SECTION 7.7           Accounting Methods and Financial Records. Maintain a system of
accounting, and keep proper books, records and accounts (which shall be true and complete in all
material respects) as may be required or as may be necessary to permit the preparation of
financial statements in accordance with GAAP and in compliance with the regulations of any
Governmental Authority having jurisdiction over it or any of its Properties.

        SECTION 7.8           Payment of Taxes and Other Obligations. Pay and perform (a) all
taxes, assessments and other governmental charges that may be levied or assessed upon it or any
of its Property and (b) all other indebtedness, obligations and liabilities in accordance with
customary trade practices; provided, that the Borrowers or such Subsidiary may contest any item
described in clause (a) of this Section 7.8 in good faith so long as adequate reserves are
maintained with respect thereto in accordance with GAAP.

        SECTION 7.9             Compliance with Laws and Approvals. Observe and remain in
compliance in all material respects with all Applicable Laws and maintain in full force and effect
all Governmental Approvals, in each case applicable to the conduct of its business except where
the failure to do so could not reasonably be expected to have a Material Adverse Effect.

        SECTION 7.10          Environmental Laws. In addition to and without limiting the
generality of Section 7.9, (a) substantially comply with, and ensure such compliance by all
tenants and subtenants with all applicable Environmental Laws and obtain and substantially
comply with and maintain, and ensure that all tenants and subtenants, if any, obtain and comply
with and maintain, any and all licenses, approvals, notifications, registrations or permits required
by applicable Environmental Laws, (b) conduct and complete all investigations, studies,
sampling and testing, and all remedial, removal and other actions required under Environmental
Laws, and promptly comply with all lawful orders and directives of any Governmental Authority
regarding Environmental Laws, and (c) defend, indemnify and hold harmless the Administrative
Agent and the Lenders, and their respective parents, Subsidiaries, Affiliates, employees, agents,
officers and directors, from and against any claims, demands, penalties, fines, liabilities,
settlements, damages, costs and expenses of whatever kind or nature known or unknown,
contingent or otherwise, arising out of, or in any way relating to the presence of Hazardous
Materials, or the violation of, noncompliance with or liability under any Environmental Laws
applicable to the operations of any Borrower or any such Subsidiary, or any orders, requirements
or demands of Governmental Authorities related thereto, including, without limitation,
reasonable attorney’s and consultant’s fees, investigation and laboratory fees, response costs,
court costs and litigation expenses, except to the extent that any of the foregoing directly result

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from the gross negligence or willful misconduct of the party seeking indemnification therefor, as
determined by a court of competent jurisdiction by final nonappealable judgment.

         SECTION 7.11          Compliance with ERISA. In addition to and without limiting the
generality of Section 7.9, (a) except where the failure to so comply could not, individually or in
the aggregate, reasonably be expected to have a Material Adverse Effect, (i) comply with
applicable provisions of ERISA, the Code and the regulations and published interpretations
thereunder with respect to all Employee Benefit Plans, (ii) not take any action or fail to take
action the result of which could reasonably be expected to result in a liability to the PBGC or to
a Multiemployer Plan, (iii) not participate in any prohibited transaction that could result in any
civil penalty under ERISA or tax under the Code and (iv) operate each Employee Benefit Plan in
such a manner that will not incur any tax liability under Section 4980B of the Code or any
liability to any qualified beneficiary as defined in Section 4980B of the Code and (b) furnish to
the Administrative Agent upon the Administrative Agent’s request such additional information
about any Employee Benefit Plan as may be reasonably requested by the Administrative Agent.

        SECTION 7.12           Compliance with Agreements. Comply in all material respects
with each term, condition and provision of all leases, agreements and other instruments entered
into in the conduct of its business including, without limitation, any Material Contract; provided,
that each Borrower or any such Subsidiary may contest any such lease, agreement or other
instrument in good faith through applicable proceedings so long as adequate reserves are
maintained in accordance with GAAP.

        SECTION 7.13            Visits; Inspections and Field Examinations. Permit representatives
of the Administrative Agent or any Lender, from time to time upon prior reasonable notice and at
such times during normal business hours, all at the expense of the Borrowers, to visit and inspect
its properties; inspect, audit and make extracts from its books, records and files, including, but
not limited to, management letters prepared by independent accountants; conduct field
examinations or collateral audits; and discuss with its principal officers, and its independent
accountants, its business, assets, liabilities, financial condition, results of operations and business
prospects; provided that excluding any such visits and inspections during the continuation of an
Event of Default, the Administrative Agent and Lenders shall not exercise such rights more often
than one timetwo times during any calendar year (and a field examination is required to be
conducted on at least an a semi-annual basis) and such inspections and visits shall be at the
Borrowers’ expense; provided further that upon the occurrence and during the continuance of an
Event of Default, the Administrative Agent and Lenders may make such visits and inspections at
any time, such inspections and visits shall be at the expense of the Borrowers, and the
Administrative Agent or any Lender may do any of the foregoing without advance notice. Upon
the request of the Administrative Agent or the Required Lenders, participate in a meeting of the
Administrative Agent and Lenders once during each Fiscal Year, which meeting will be held at
the Borrowers’ corporate offices (or such other location as may be agreed to by the Borrowers
and the Administrative Agent) at such time as may be agreed by the Borrowers and the
Administrative Agent.

          SECTION 7.14         Additional Subsidiaries and Real Property.



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                            (a)     Additional Domestic Subsidiaries. Notify the Administrative
                    Agent of the creation or acquisition of any Domestic Subsidiary and promptly
                    thereafter (and in any event within thirty (30) days after such creation or
                    acquisition), cause such Person to (i) become a Subsidiary Guarantor by
                    delivering to the Administrative Agent a duly executed Guaranty Agreement or
                    such other document as the Administrative Agent shall deem appropriate for such
                    purpose, (ii) grant a security interest in all Collateral (subject to the exceptions
                    specified in the Collateral Agreement) owned by such Subsidiary by delivering to
                    the Administrative Agent a duly executed supplement to each Security Document
                    or such other document as the Administrative Agent shall deem appropriate for
                    such purpose and comply with the terms of each Security Document, (iii) deliver
                    to the Administrative Agent such documents and certificates referred to in
                    Section 5.1 as may be reasonably requested by the Administrative Agent, (iv)
                    deliver to the Administrative Agent such original Capital Stock or other
                    certificates and stock or other transfer powers evidencing the Capital Stock of
                    such Person, (v) deliver to the Administrative Agent such updated Schedules to
                    the Loan Documents as requested by the Administrative Agent with respect to
                    such Person, and (vi) deliver to the Administrative Agent such other documents
                    as may be reasonably requested by the Administrative Agent, all in form, content
                    and scope reasonably satisfactory to the Administrative Agent.

                            (b)    Additional Foreign Subsidiaries. Notify the Administrative Agent
                    at the time that any Person becomes a First Tier Foreign Subsidiary, and at the
                    request of the Administrative Agent, promptly thereafter (and in any event within
                    forty-five (45) days after such request), cause (i) the applicable Credit Party to
                    deliver to the Administrative Agent Security Documents pledging sixty-six
                    percent (66%) of the total outstanding voting Capital Stock (and one hundred
                    percent (100%) of the non-voting Capital Stock) of any such new First Tier
                    Foreign Subsidiary and a consent thereto executed by such new First Tier Foreign
                    Subsidiary (including, without limitation, if applicable, original stock certificates
                    (or the equivalent thereof pursuant to the Applicable Laws and practices of any
                    relevant foreign jurisdiction) evidencing the Capital Stock of such new First Tier
                    Foreign Subsidiary, together with an appropriate undated stock power for each
                    certificate duly executed in blank by the registered owner thereof), (ii) such
                    Person to deliver to the Administrative Agent such documents and certificates
                    referred to in Section 5.1 as may be reasonably requested by the Administrative
                    Agent, (iii) such Person to deliver to the Administrative Agent such updated
                    Schedules to the Loan Documents as requested by the Administrative Agent with
                    regard to such Person and (iv) such Person to deliver to the Administrative Agent
                    such other documents as may be reasonably requested by the Administrative
                    Agent, all in form, content and scope reasonably satisfactory to the
                    Administrative Agent.

                            (c)     Real Property Collateral. Notify the Administrative Agent, within
                    ten (10) days after the acquisition of any owned real property by any Credit Party
                    that is not subject to the existing Security Documents, and within sixty (60) days
                    of such acquisition, deliver such mortgages, deeds of trust, title insurance
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                    policies, environmental reports, surveys and other documents reasonably
                    requested by the Administrative Agent in connection with granting and perfecting
                    a first priority Lien, other than Permitted Liens, on such real property in favor of
                    the Administrative Agent, for the ratable benefit of the Secured Parties, all in
                    form and substance acceptable to the Administrative Agent.

                             (d)     Merger Subsidiaries. Notwithstanding the foregoing, to the extent
                    any new Subsidiary is created solely for the purpose of consummating a merger
                    transaction pursuant to a Permitted Acquisition, and such new Subsidiary at no
                    time holds any assets or liabilities other than any merger consideration
                    contributed to it contemporaneously with the closing of such merger transaction,
                    such new Subsidiary shall not be required to take the actions set forth in Section
                    7.14(a) or (b), as applicable, until the consummation of such Permitted
                    Acquisition (at which time, the surviving entity of the respective merger
                    transaction shall be required to so comply with Section 7.14(a) or (b), as
                    applicable, within ten (10) Business Days of the consummation of such Permitted
                    Acquisition, as such time period may be extended by the Administrative Agent in
                    its sole discretion).

                            (e)    Exclusions. The provisions of this Section 7.14 shall not apply to
                    assets as to which the Administrative Agent and the Borrowers shall reasonably
                    determine that the costs and burdens of obtaining a security interest therein or
                    perfection thereof outweigh the value of the security afforded thereby.

        SECTION 7.15          Use of Proceeds. The Borrowers shall use the proceeds of the
Extensions of Credit for working capital and general corporate purposes of any Borrower and its
Subsidiaries to the extent permitted under this Agreement, including the payment of certain fees
and expenses incurred in connection with the Transactions and this Agreement. The Borrowers
shall use the proceeds of any Incremental Revolving Credit Increase as permitted pursuant to
Section 4.13, as applicable.

       SECTION 7.16           Corporate Governance. (a) Maintain entity records and books of
account separate from those of any other entity which is an Affiliate of such entity, (b) not
commingle its funds or assets with those of any other entity which is an Affiliate of such entity
(except pursuant to cash management systems reasonably acceptable to the Administrative
Agent) and (c) provide that its board of directors (or equivalent governing body) will hold all
appropriate meetings to authorize and approve such entity’s actions, which meetings will be
separate from those of any other entity which is an Affiliate of such entity.

        SECTION 7.17          Further Assurances. Maintain the security interests created by the
Security Documents in accordance with the provisions thereof, subject to the rights of the Credit
Parties to dispose of the Collateral pursuant to the Loan Documents; and make, execute and
deliver all such additional and further acts, things, deeds, instruments and documents as the
Administrative Agent or the Required Lenders (through the Administrative Agent) may
reasonably require for the purposes of implementing or effectuating the provisions of this
Agreement and the other Loan Documents, or of renewing the rights of the Secured Parties with
respect to the Collateral as to which the Administrative Agent, for the ratable benefit of the

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Secured Parties, has a perfected Lien pursuant hereto or thereto, including, without limitation,
filing any financing or continuation statements under the UCC (or other similar laws) in effect in
any jurisdiction with respect to the security interests created hereby or by the other Loan
Documents.

       SECTION 7.18           Post Closing Matters. Execute and deliver the documents and
complete the tasks set forth on Schedule 7.18, in each case within the time limits specified on
such schedule.

        SECTION 7.19           Keepwell. If it is a Qualified ECP Loan Party, then jointly and
severally, together with each other Qualified ECP Loan Party, hereby absolutely unconditionally
and irrevocably (a) guarantees the prompt payment and performance of all Secured Hedge
Liabilities owing by each Non-Qualifying Party (it being understood and agreed that this
guarantee is a guaranty of payment and not of collection), and (b) undertakes to provide such
funds or other support as may be needed from time to time by any Non-Qualifying Party to
honor all of such Non-Qualifying Party’s obligations under this Agreement or any other Loan
Document in respect of Secured Hedge Liabilities (provided that, each Qualified ECP Loan
Party shall only be liable under this Section 7.19 for the maximum amount of such liability that
can be hereby incurred without rendering its obligations under this Section 7.19, or otherwise
under this Agreement or any other Loan Document, voidable under Applicable Law, including
fraudulent conveyance or fraudulent transfer laws, and not for any greater amount). The
obligations of each Qualified ECP Loan Party under this Section 7.19 shall remain in full force
and effect until payment in full of the Obligations and termination of this Agreement and the
other Loan Documents. Each Qualified ECP Loan Party intends that this Section 7.19
constitute, and this Section 7.19 shall be deemed to constitute, a guarantee of the obligations of,
and a “keepwell, support, or other agreement” for the benefit of a Credit Party for all purposes of
Section 1a(18(A)(v)(II) of the Commodity Exchange Act.

          SECTION 7.20            Consolidated Cash Balances.

                           (a)     To the extent any Loans or Letters of Credit are outstanding as of
                    the end of the last Business Day of each week, the Credit Parties will not permit
                    the aggregate amount of Consolidated Cash Balances held by them and their
                    Subsidiaries as of such Business Day to exceed $5,000,000. If, as of the end of
                    any such Business Day, any Loans or Letters of Credit are outstanding and the
                    aggregate amount of Consolidated Cash Balances exceeds such amount, then on
                    such Business Day, the Borrower shall, to the extent of such excess, prepay to the
                    Administrative Agent for the ratable benefit of the Lenders the outstanding
                    principal amount of the Loans or Cash Collateralized Letters of Credit.

                           (b)     To the extent any Loans or Letters of Credit are outstanding as of
                    the end of the last Business Day of each month, the Credit Parties will not permit
                    the aggregate amount of Consolidated Cash Balances held by them and their
                    Subsidiaries as of such Business Day to exceed $10,000,000. If, as of the end of
                    any such Business Day when the aggregate Revolving Credit Commitment of all
                    Lenders is greater than $55,000,000, any Loans or Letters of Credit are
                    outstanding and the aggregate amount of Consolidated Cash Balances exceeds

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                    such amount, then on such Business Day, the Borrower shall, to the extent of such
                    excess, prepay (with a concurrent Commitment reduction) to the Administrative
                    Agent for the ratable benefit of the Lenders the outstanding principal amount of
                    the Loans or Cash Collateralized Letters of Credit.

                             (c)    To effect the payments required under paragraphs (a) and (b)
                    above, the Credit Parties hereby irrevocably authorize each Lender, in its capacity
                    as a depository bank, to, upon written notice from the Administrative Agent,
                    initiate debit entries to any and all such accounts held by any Credit Party or any
                    Subsidiary thereof with such bank and to debit the amounts set forth in such
                    written notice (which, for the avoidance of doubt, shall be an amount not to
                    exceed the lesser of (a) the outstanding principal amount of the Loans and (b)
                    such excess amount from such accounts. The foregoing authorizations to initiate
                    debit entries shall remain in full force and effect until the Administrative Agent
                    terminates such respective arrangement. The Credit Parties represent that such
                    Credit Party or a Subsidiary thereof, or anyone or more of them, is and will be the
                    owner(s) of all funds held in such accounts. Each of the Administrative Agent
                    and each Credit Party, for itself and its Subsidiaries, acknowledges that (x) such
                    debit entries may cause an overdraft of such accounts which may result in the
                    bank's refusal to honor items drawn on such accounts until adequate deposits are
                    made in such account, (y) such bank is under no duty or obligation to initiate any
                    debit entry for any purpose, and (z) if the debit is not made, the payment may be
                    late or past due.

        SECTION 7.21         Third-Party Consultant.      Continue to engage a third-party
consultant reasonably acceptable to Administrative Agent until the later of (a) July 31, 2017 and
(b) three (3) months after the hiring of a permanent chief financial officer, such third-party
consultant's duties to include (a) review of the forensic accountant's report, audit reports,
13-Week Cash Flow Reports, inventory reports with special attention to inventory aged over 365
days and monthly financial statements, borrowing base certificates and compliance certificates.

                                            Article VIII
                                       NEGATIVE COVENANTS

        Beginning on the Closing Date and continuing until all of the Obligations (other than
contingent, indemnification obligations not then due) have been paid and satisfied in full in cash,
all Letters of Credit have been terminated or expired (or been Cash Collateralized) and the
Commitments terminated, the Credit Parties will not, and will not permit any of their respective
Subsidiaries to.:

       SECTION 8.1                  Indebtedness.      Create, incur, assume or suffer to exist any
Indebtedness except:

                              (a)   the Obligations;




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                           (b)      Indebtedness and obligations owing under Hedge Agreements
                    entered into in order to manage existing or anticipated interest rate, exchange rate
                    or commodity price risks and not for speculative purposes;

                           (c)    Indebtedness existing on the ClosingSecond Amendment Effective
                    Date and listed on Schedule 8.1, and the renewal, refinancing, extension and
                    replacement (but not the increase in the aggregate principal amount) thereof;

                            (d)    Indebtedness incurred in connection with Capital Leases and
                    purchase money Indebtedness in an aggregate amount not to exceed $10,000,000
                    at any time outstanding;[Reserved];

                           (e)     Indebtedness of a Person existing at the time such Person became a
                    Subsidiary or assets were acquired from such Person in connection with an
                    Investment permitted pursuant to Section 8.3(g), to the extent that (i) such
                    Indebtedness was not incurred in connection with, or in contemplation of, such
                    Person becoming a Subsidiary or the acquisition of such assets, (ii) none of the
                    Credit Parties (other than such Person or any other Person that such Person
                    merges with or that acquires the assets of such Person) shall have any liability or
                    other obligation with respect to such Indebtedness and (iii) after giving pro forma
                    effect to the incurrence of such Indebtedness, the Borrowers shall be in
                    compliance with all financial covenants set forth in Section 8.14;[Reserved];

                           (f)     Guaranty Obligations with respect to Indebtedness permitted
                    pursuant to subsections (a) through (d) of this Section 8.1, and Guaranty
                    Obligations arising under the WF Aviation Guaranty; [First Amendment]

                            (g)     unsecured intercompany Indebtedness (i) owed by any Credit Party
                    to another Credit Party, (ii) owed by any Non-Guarantor Subsidiary to any Credit
                    Party in an aggregate principal amount not to exceed the Threshold Amount at
                    any time outstanding provided that any Indebtedness owed by such
                    Non-Guarantor Subsidiary or Affiliate to any Credit Party pursuant to this clause
                    (ii) shall be evidenced by a demand note in form and substance reasonably
                    satisfactory to the Administrative Agent and shall be pledged and delivered to the
                    Administrative Agent pursuant to the Security Documents, and (iii and (ii) owed
                    by any Credit Party to any Non-Guarantor Subsidiary or Affiliate provided, that
                    such Indebtedness shall be subordinated to the Obligations in a manner
                    reasonably satisfactory to the Administrative Agent;

                            (h)     Indebtedness arising from the honoring by a bank or other
                    financial institution of a check, draft or other similar instrument drawn against
                    insufficient funds in the ordinary course of business;

                           (i)    Subordinated Indebtedness of the Borrowers and the Subsidiary
                    Guarantors; provided, that in the case of each incurrence of such Subordinated
                    Indebtedness, (i) no Default or Event of Default shall have occurred and be
                    continuing or would be caused by the incurrence of such Subordinated

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                    Indebtedness, and (ii) the Administrative Agent shall have received satisfactory
                    written evidence that Parent and its Subsidiaries would be in compliance with the
                    financial covenants set forth in Section 8.14 after giving pro forma effect to the
                    issuance of any such Subordinated Indebtedness existing on the Second
                    Amendment Effective Date; and provided, further that with respect to the LHI
                    Intercompany Note, the outstanding principal balance of the LHI Intercompany
                    Note shall not exceed $8,000,000 at any time unless and until the Administrative
                    Agent provides written consent to any increase;

                           (j)   Indebtedness under performance bonds, surety bonds, release,
                    appeal and similar bonds, statutory obligations or with respect to workers’
                    compensation claims, in each case incurred in the ordinary course of business,
                    and reimbursement obligations in respect of any of the foregoing; and

                            (k)    Indebtedness of any Credit Party or any Subsidiary thereof not
                    otherwise permitted pursuant to this Section 8.1 in an aggregate principal amount
                    not to exceed $10,000,000 at any time outstanding.[Reserved].

        SECTION 8.2             Liens. Create, incur, assume or suffer to exist, any Lien on or with
respect to any of its Property, whether now owned or hereafter acquired, except:

                           (a)     (i) Liens created pursuant to the Loan Documents and (ii) Liens on
                    cash or deposits granted in favor of the Swingline Lender or the Issuing Lender to
                    Cash Collateralize any Defaulting Lender’s participation in Letters of Credit or
                    Swingline Loans;

                            (b)    Liens in existence on the Closing Date and described on Schedule
                    8.2, including Liens incurred in connection with any refinancing, refunding,
                    renewal or extension of Indebtedness pursuant to Section 8.1(c) (solely to the
                    extent that such Liens were in existence on the Closing Date and described on
                    Schedule 8.2); provided that the scope of any such Lien shall not be increased, or
                    otherwise expanded, to cover any additional property or type of asset, as
                    applicable, beyond that in existence on the Closing Date, except for products and
                    proceeds of the foregoing;

                            (c)    Liens for taxes, assessments and other governmental charges or
                    levies (excluding any Lien imposed pursuant to any of the provisions of ERISA or
                    Environmental Laws) (i) not yet due or as to which the period of grace (not to
                    exceed thirty (30) days), if any, related thereto has not expired or (ii) which are
                    being contested in good faith and by appropriate proceedings if adequate reserves
                    are maintained to the extent required by GAAP;

                            (d)    the claims of materialmen, mechanics, carriers, warehousemen,
                    processors or landlords for labor, materials, supplies or rentals incurred in the
                    ordinary course of business, which (i) are not overdue for a period of more than
                    thirty (30) days, or if more than thirty (30) days overdue, no action has been taken
                    to enforce such Liens and such Liens are being contested in good faith and by

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                    appropriate proceedings if adequate reserves are maintained to the extent required
                    by GAAP and (ii) do not, individually or in the aggregate, materially impair the
                    use thereof in the operation of the business of any Borrower or any of its
                    Subsidiaries;

                            (e)     deposits or pledges made in the ordinary course of business in
                    connection with, or to secure payment of, obligations under workers’
                    compensation, unemployment insurance and other types of social security or
                    similar legislation, or to secure the performance of bids, trade contracts and leases
                    (other than Indebtedness), statutory obligations, surety bonds (other than bonds
                    related to judgments or litigation), performance bonds and other obligations of a
                    like nature incurred in the ordinary course of business, in each case, so long as no
                    foreclosure sale or similar proceeding has been commenced with respect to any
                    portion of the Collateral on account thereof;

                            (f)      encumbrances in the nature of zoning restrictions, easements and
                    rights or restrictions of record on the use of real property, which in the aggregate
                    are not substantial in amount and which do not, in any case, detract from the value
                    of such property or impair the use thereof in the ordinary conduct of business;

                           (g)     Liens arising from the filing of precautionary UCC financing
                    statements relating solely to personal property leased pursuant to operating leases
                    entered into in the ordinary course of business of any Borrower and its
                    Subsidiaries;

                            (h)     Liens securing Indebtedness permitted under Section 8.1(d);
                    provided that (i) such Liens shall be created substantially simultaneously with the
                    acquisition, repair, improvement or lease, as applicable, of the related Property,
                    (ii) such Liens do not at any time encumber any property other than the Property
                    financed by such Indebtedness, (iii) the amount of Indebtedness secured thereby
                    is not increased and (iv) the principal amount of Indebtedness secured by any
                    such Lien shall at no time exceed one hundred percent (100%) of the original
                    price for the purchase, repair improvement or lease amount (as applicable) of such
                    Property at the time of purchase, repair, improvement or lease (as applicable);

                            (i)    Liens securing judgments for the payment of money not
                    constituting an Event of Default under Section 9.1(m) or securing appeal or other
                    surety bonds relating to such judgments;

                            (j)    Liens on Property of any Subsidiary which are in existence at the
                    time that such Subsidiary is acquired pursuant to a Permitted Acquisition;
                    provided that, (A) such Liens are not incurred in connection with, or in
                    anticipation of, such Permitted Acquisition, purchase or other acquisition, (B)
                    such Liens are applicable only to specific Property, (C) such Liens are not
                    “blanket” or all asset Liens, (D) such Liens do not attach to any other Property of
                    any Borrower or any of its Subsidiaries and (E) the Indebtedness secured by such
                    Liens is permitted under Section 8.1(e) of this Agreement;

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                            (k)     Liens on assets of Foreign Subsidiaries; provided that (i) such
                    Liens do not extend to, or encumber, assets that constitute Collateral, the Capital
                    Stock of any Borrower or any of the Subsidiaries, or any trade accounts
                    receivable or inventory of such Foreign Subsidiary, and (ii) such Liens extending
                    to the assets of any Foreign Subsidiary secure only Indebtedness incurred by such
                    Foreign Subsidiary pursuant to Section 8.1(k);

                            (l)     (i) Liens of a collecting bank arising in the ordinary course of
                    business under Section 4-210 of the UCC in effect in the relevant jurisdiction and
                    (ii) Liens of any depositary bank in connection with statutory, common law and
                    contractual rights of set-off and recoupment with respect to any deposit account
                    of any Borrower or any Subsidiary thereof;

                            (m)     (i) contractual or statutory Liens of landlords to the extent relating
                    to the property and assets relating to any lease agreements with such landlord, and
                    (ii) contractual Liens of suppliers (including sellers of goods) or customers
                    granted in the ordinary course of business to the extent limited to the property or
                    assets relating to such contract;

                           (n)     any interest or title of a licensor, sublicensor, lessor or sublessor
                    with respect to any assets under any license or lease agreement entered into in the
                    ordinary course of business which do not (i) interfere in any material respect with
                    the business of any Borrower or its Subsidiaries or materially detract from the
                    value of the relevant assets of any Borrower or its Subsidiaries or (ii) secure any
                    Indebtedness; and

                           (o)     Liens not otherwise permitted hereunder on assets other than the
                    Collateral securing Indebtedness or other obligations in the aggregate principal
                    amount not to exceed $5,000,000 at any time outstanding.[Reserved].

        SECTION 8.3            Investments. Purchase, own, invest in or otherwise acquire (in one
transaction or a series of transactions), directly or indirectly, any Capital Stock, interests in any
partnership or joint venture (including, without limitation, the creation or capitalization of any
Subsidiary), evidence of Indebtedness or other obligation or security, substantially all or a
portion of the business or assets of any other Person or any other investment or interest
whatsoever in any other Person, or make or permit to exist, directly or indirectly, any loans,
advances or extensions of credit to, or any investment in cash or by delivery of Property in, any
Person (all the foregoing, “Investments”) except:

                            (a)    (i) Investments existing on the Closing Date in Subsidiaries
                    existing on the Closing Date, (ii) Investments existing on the Closing Date (other
                    than Investments in Subsidiaries existing on the Closing Date) and described on
                    Schedule 8.3, (iii) Investments made after the Closing Date by any Credit Party in
                    any other Credit Party and (iv) Investments made after the Closing Date by any
                    Non-Guarantor Subsidiary in any other Non-Guarantor Subsidiary;

                              (b)   Investments in cash and Cash Equivalents;

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                           (c)    Investments by the Parent or any of its Subsidiaries in the form of
                    Capital Expenditures permitted pursuant to this Agreement;

                           (d)    deposits made in the ordinary course of business to secure the
                    performance of leases or other obligations as permitted by Section 8.2;

                              (e)   Hedge Agreements permitted pursuant to Section 8.1;

                              (f)   purchases of assets in the ordinary course of business;

                           (g)     Investments by the Borrower or any Subsidiary thereof in the form
                    of Permitted Acquisitions to the extent that any Person or Property acquired in
                    such acquisition becomes a part of the Borrower or a Subsidiary Guarantor or
                    becomes (whether or not such Person is a Wholly-Owned Subsidiary) a
                    Subsidiary Guarantor in the manner contemplated by Section 7.14;

                           (h)    Investments in the form of loans and advances to officers, directors
                    and employees in the ordinary course of business in an aggregate amount not to
                    exceed $1,000,000 at any time outstanding (determined without regard to any
                    write-downs or write-offs of such loans or advances);

                           (i)     Investments in the form of intercompany Indebtedness permitted
                    pursuant to Section 8.1(g);

                           (j)    Investments (including, but not limited to, the 12/4/2015 Note)
                    made after the Closing Date in any Non-Guarantor Subsidiary or Affiliate,
                    provided that the aggregate amount of all such Investments shall not exceed
                    $10,000,000 at any time; [First Amendment]

                              (k)   Guaranty Obligations permitted pursuant to Section 8.1;

                           (l)      Investments made after the Closing Date in joint ventures,
                    provided, that the aggregate amount of all such Investments in joint ventures shall
                    not exceed $2,000,000 at any time; and

                            (m)    Investments not otherwise permitted pursuant to this Section 8.3 in
                    an aggregate amount not to exceed $2,000,000 at any time outstanding; provided
                    that, immediately before and immediately after giving pro forma effect to any
                    such Investments, Borrowers are in compliance with the financial covenants set
                    forth in Section 8.14 and no Default or Event of Default shall have occurred and
                    be continuing.

        For purposes of determining the amount of any Investment outstanding for purposes of
this Section 8.3, such amount shall be deemed to be the amount of such Investment when made,
purchased or acquired (without adjustment for subsequent increases or decreases in the value of
such Investment) less any amount realized in respect of such Investment upon the sale, collection
or return of capital (not to exceed the original amount invested).


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        SECTION 8.4            Fundamental Changes. Merge, consolidate or enter into any
similar combination with any other Person or liquidate, wind-up or dissolve itself (or suffer any
liquidation or dissolution) except:

                            (a)    (i) any Wholly-Owned Subsidiary of any Borrower may be
                    merged, amalgamated or consolidated with or into such Borrower (provided that
                    such Borrower shall be the continuing or surviving entity) or (ii) any
                    Wholly-Owned Subsidiary of any Borrower may be merged, amalgamated or
                    consolidated with or into any Subsidiary Guarantor (provided that the Subsidiary
                    Guarantor shall be the continuing or surviving entity or simultaneously with such
                    transaction, the continuing or surviving entity shall become a Subsidiary
                    Guarantor and the Borrowers shall comply with Section 7.14 in connection
                    therewith);

                          (b)    any Non-Guarantor Subsidiary that is a Foreign Subsidiary may be
                    merged, amalgamated or consolidated with or into, or be liquidated into, any other
                    Non-Guarantor Subsidiary;

                            (c)    any Subsidiary may dispose of all or substantially all of its assets
                    (upon voluntary liquidation, dissolution, winding up or otherwise) to any
                    Borrower or any Subsidiary Guarantor; provided that, with respect to any such
                    disposition by any Non-Guarantor Subsidiary, the consideration for such
                    disposition shall not exceed the fair value of such assets;

                            (d)    any Non-Guarantor Subsidiary that is a Foreign Subsidiary may
                    dispose of all or substantially all of its assets (upon voluntary liquidation,
                    dissolution, winding up or otherwise) to any other Non-Guarantor Subsidiary;

                              (e)   dispositions permitted by Section 8.5;

                            (f)    any Wholly-Owned Subsidiary of any Borrower may merge with
                    or into the Person such Wholly-Owned Subsidiary was formed to acquire in
                    connection with any acquisition permitted hereunder (including, without
                    limitation, any Permitted Acquisition permitted pursuant to Section 9.3(g));
                    provided that in the case of any merger involving a Wholly-Owned Subsidiary
                    that is a Domestic Subsidiary, (i) a Subsidiary Guarantor shall be the continuing
                    or surviving entity or (ii) simultaneously with such transaction, the continuing or
                    surviving entity shall become a Subsidiary Guarantor and the Borrowers shall
                    comply with Section 7.14 in connection therewith; and

                           (g)     any Person may merge into any Borrower or any of its
                    Wholly-Owned Subsidiaries in connection with a Permitted Acquisition permitted
                    pursuant to Section 8.3(g); provided that (i) in the case of a merger involving any
                    Borrower or a Subsidiary Guarantor, the continuing or surviving Person shall be
                    such Borrower or such Subsidiary Guarantor and (ii) the continuing or surviving
                    Person shall be a Borrower or a Wholly-Owned Subsidiary of a Borrower.


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          SECTION 8.5             Asset Dispositions. Make any Asset Disposition except:

                            (a)    the sale of obsolete, worn-out or surplus assets no longer used or
                    usable in the business of Parent or any of its Subsidiaries;

                            (b)    non-exclusive licenses and sublicenses of intellectual property
                    rights in the ordinary course of business not interfering, individually or in the
                    aggregate, in any material respect with the conduct of the business of Parent or
                    any of its Subsidiaries;

                           (c)     leases, subleases, licenses or sublicenses of real or personal
                    property granted by any Borrower or any of its Subsidiaries to others in the
                    ordinary course of business not interfering in any material respect with the
                    business of such Borrower or any of its Subsidiaries;

                           (d)    dispositions in connection with Insurance and Condemnation
                    Events;

                           (e)     dispositions of Capital Stock of Foreign Subsidiaries domiciled
                    under the laws of Italy as a result of the Italy Restructuring; and

                            (f)     Asset Dispositions not otherwise permitted pursuant to this
                    Section; provided that (i) at the time of such Asset Disposition, no Default or
                    Event of Default shall exist or would result from such Asset Disposition, and (ii)
                    the aggregate fair market value of all property disposed of in reliance on this
                    clause (f) shall not exceed $5,000,000 in any Fiscal Year.

        SECTION 8.6              Restricted Payments. Declare or pay any dividend on, or make any
payment or other distribution on account of, or purchase, redeem, retire or otherwise acquire
(directly or indirectly), or set apart assets for a sinking or other analogous fund for the purchase,
redemption, retirement or other acquisition of, any class of Capital Stock of any Credit Party or
any Subsidiary thereof, or make any distribution of cash, property or assets to the holders of
shares of any Capital Stock of any Credit Party or any Subsidiary thereof (all of the foregoing,
the “Restricted Payments”) provided that:

                           (a)      each Borrower or any Subsidiary thereof may pay dividends in
                    shares of its own Qualified Capital Stock;

                          (b)     any Subsidiary of any Borrower may pay cash dividends to such
                    Borrower or any Subsidiary Guarantor; and

                           (c)     each Borrower may declare and then pay dividends ratably to all
                    holders of its outstanding Capital Stock if both before and after giving effect to
                    such cash dividend, no Event of Default shall have occurred and be continuing or
                    would be caused by giving effect to such cash dividend.Permitted Tax
                    Distributions.



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        SECTION 8.7            Transactions with Affiliates. Directly or indirectly enter into any
transaction, including, without limitation, any purchase, sale, lease or exchange of Property, the
rendering of any service or the payment of any management, advisory or similar fees, with (a)
any officer, director, holder of any Capital Stock in, or other Affiliate of, any Borrower or any of
its Subsidiaries, or (b) any Affiliate of any such officer, director or holder other than:

                                     (i)    transactions permitted by Sections 8.1, 8.3, 8.4, 8.5, 8.6
                              and 8.13;

                                    (ii)    transactions existing on the Closing Date and described on
                              Schedule 8.7;

                                     (iii) other transactions in the ordinary course of business on
                              terms as favorable as would be obtained by it on a comparable
                              arm’s-length transaction with an independent, unrelated third party as
                              determined in good faith by the board of directors (or equivalent
                              governing body) of each Borrower;

                                      (iv)    employment and severance arrangements (including equity
                              incentive plans and employee benefit plans and arrangements) with their
                              respective officers and employees in the ordinary course of business; and

                                     (v)     payment of customary fees and reasonable out of pocket
                              costs to, and indemnities for the benefit of, directors, officers and
                              employees of each Borrower and its Subsidiaries in the ordinary course of
                              business to the extent attributable to the ownership or operation of each
                              Borrower and its Subsidiaries.

          SECTION 8.8                Accounting Changes; Organizational Documents.

                            (a)    Change its Fiscal Year end, or make (without the consent of the
                    Administrative Agent) any material change in its accounting treatment and
                    reporting practices except as required by GAAP.

                             (b)     Amend, modify or change its articles of incorporation (or
                    corporate charter or other similar organizational documents) or amend, modify or
                    change its bylaws (or other similar documents) in any manner materially adverse
                    to the rights or interests of the Lenders.

          SECTION 8.9                No Further Negative Pledges; Restrictive Agreements.

                            (a)     Enter into, assume or be subject to any agreement prohibiting or
                    otherwise restricting the creation or assumption of any Lien upon its properties or
                    assets, whether now owned or hereafter acquired, or requiring the grant of any
                    security for such obligation if security is given for some other obligation, except
                    (i) pursuant to this Agreement and the other Loan Documents, (ii) pursuant to any
                    document or instrument governing Indebtedness incurred pursuant to Section
                    8.1(d); provided, that any such restriction contained therein relates only to the
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                    asset or assets acquired in connection therewith, (iii) restrictions contained in the
                    organizational documents of any Credit Party as of the Closing Date and (iv)
                    restrictions in connection with any Permitted Lien or any document or instrument
                    governing any Permitted Lien (provided, that any such restriction contained
                    therein relates only to the asset or assets subject to such Permitted Lien).

                             (b)     Create or otherwise cause or suffer to exist or become effective
                    any consensual encumbrance or restriction on the ability of any Credit Party or
                    any Subsidiary thereof to (i) pay dividends or make any other distributions to any
                    Credit Party or any Subsidiary on its Capital Stock or with respect to any other
                    interest or participation in, or measured by, its profits, (ii) pay any Indebtedness
                    or other obligation owed to any Borrower or any Subsidiary Guarantor, (iii) make
                    loans or advances to any Borrower or any Subsidiary Guarantor, (iv) sell, lease or
                    transfer any of its properties or assets to any Borrower or any Subsidiary
                    Guarantor or (v) act as a Guarantor pursuant to the Loan Documents or any
                    renewals, refinancings, exchanges, refundings or extension thereof, except (in
                    respect of any of the matters referred to in clauses (i) through (v) above) for such
                    encumbrances or restrictions existing under or by reason of (A) this Agreement
                    and the other Loan Documents, (B) Applicable Law, (C) any document or
                    instrument governing Indebtedness incurred pursuant to Section 8.1(d) (provided,
                    that any such restriction contained therein relates only to the asset or assets
                    acquired in connection therewith), (D) any Permitted Lien or any document or
                    instrument governing any Permitted Lien (provided, that any such restriction
                    contained therein relates only to the asset or assets subject to such Permitted
                    Lien), (E) obligations that are binding on a Subsidiary at the time such Subsidiary
                    first becomes a Subsidiary of a Borrower, so long as such obligations are not
                    entered into in contemplation of such Person becoming a Subsidiary, (F)
                    customary restrictions contained in an agreement related to the sale of Property
                    (to the extent such sale is permitted pursuant to Section 8.5) that limit the transfer
                    of such Property pending the consummation of such sale, (G) customary
                    restrictions in leases, subleases, licenses and sublicenses or asset sale agreements
                    otherwise permitted by this Agreement so long as such restrictions relate only to
                    the assets subject thereto and (H) customary provisions restricting assignment of
                    any agreement entered into in the ordinary course of business.

       SECTION 8.10            Nature of Business. Engage in any business other than the
business conducted by Parent and its Subsidiaries as of the Closing Date and business activities
reasonably related or ancillary thereto.

        SECTION 8.11           Amendments of Other Documents. Amend, modify, waive or
supplement (or permit modification, amendment, waiver or supplement of) any of the terms or
provisions of any Material Contract, in any respect which would materially and adversely affect
the rights or interests of the Administrative Agent and the Lenders hereunder, in each, without
the prior written consent of the Administrative Agent.

        SECTION 8.12          Sale Leasebacks. Directly or indirectly become or remain liable as
lessee or as guarantor or other surety with respect to any lease, whether an operating lease or a

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Capital Lease, of any Property (whether real, personal or mixed), whether now owned or
hereafter acquired, (a) which any Credit Party or any Subsidiary thereof has sold or transferred
or is to sell or transfer to a Person which is not another Credit Party or Subsidiary of a Credit
Party or (b) which any Credit Party or any Subsidiary of a Credit Party intends to use for
substantially the same purpose as any other Property that has been sold or is to be sold or
transferred by such Credit Party or such Subsidiary to another Person which is not another Credit
Party or Subsidiary of a Credit Party in connection with such lease.

       SECTION 8.13          Capital Expenditures. Permit the aggregate amount of all
non-financed Capital Expenditures in any Fiscal Year to exceed $5,000,000750,000 in the
aggregate for such Fiscal Year.

          SECTION 8.14             Financial Covenants.

                            (a)    Consolidated Total Liabilities to Consolidated Tangible Net
                    Worth. Permit the ratio of Consolidated Total Liabilities to Consolidated
                    Tangible Net Worth to be greater than 2.50 to 1.00. The foregoing ratio of
                    Consolidated Total Liabilities to Consolidated Tangible Net Worth shall be
                    calculated and tested quarterly as of the last day of each fiscal quarter, beginning
                    with the quarter ending July 31, 2015.Minimum EBITDA. Permit Consolidated
                    EBITDA to be less than the corresponding amount as in the table below:

                                                                      Minimum
                                        Period                   Consolidated EBITDA
                                   3 months ended 4/30/2017      $      1,000,000
                                   4 months ended 5/31/2017      $      1,000,000
                                   5 months ended 6/30/2017      $      1,000,000
                                   6 months ended 7/31/2017      $      5,000,000
                                   7 months ended 8/31/2017      $      5,000,000
                                   8 months ended 9/30/2017      $      5,000,000
                                  9 months ended 10/31/2017      $      9,500,000
                                 10 months ended 11/30/2017      $      9,500,000
                                 11 months ended 12/31/2017      $      9,500,000
                                  12 months ended 1/31/2018      $    12,500,000
                                  12 months ended 2/28/2018      $    12,500,000
                                  12 months ended 3/31/2018      $    12,500,000
                                  12 months ended 4/30/2018      $    15,000,000
                                  12 months ended 5/31/2018      $    15,000,000
                                  12 months ended 6/30/2018      $    15,000,000
                                  12 months ended 7/31/2018      $    17,500,000
                                  12 months ended 8/31/2018      $    17,500,000


                            (b)   Consolidated Net Income. Permit the Consolidated Net Income
                    (after taxes but before extraordinary items acceptable to the Administrative
                    Agent) for the four fiscal quarter period then ending to be less than $1,000,000.
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                    The foregoing covenant to maintain such minimum amount of Consolidated Net
                    Income shall be calculated and tested quarterly as of the last day of each fiscal
                    quarter, beginning with the quarter ending July 31, 2015.2017 Fiscal Year
                    Restructuring Charges. Permit restructuring charges in Fiscal Year 2017 to
                    exceed $3,400,000 in the aggregate.

                            (c)     Consolidated Asset Coverage Ratio. Permit the Consolidated
                    Asset Coverage Ratio at month-end to be less than 1.50 to 1.00.the corresponding
                    ratio set forth on the table below. The foregoing Consolidated Asset Coverage
                    Ratio shall be calculated and tested monthly as of the last day of each month,
                    beginning with the month ending July 31, 2015. February 27, 2017.

                                                      Minimum Consolidated
                                 Month Ending         Asset Coverage Ratios
                                  2/28/2017                   1.10
                                  3/31/2017                   1.10
                                  4/30/2017                   1.10
                                  5/31/2017                   1.10
                                  6/30/2017                   1.25
                                  7/31/2017                   1.25
                                  8/31/2017                   1.25
                                  9/30/2017                   1.25
                                  10/31/2017                  1.35
                                  11/30/2017                  1.35
                                  12/31/2017                  1.35
                                  1/31/2018                   1.40
                                  2/28/2018                   1.40
                                  3/31/2018                   1.40
                                  4/30/2018                   1.50
                                  5/31/2018                   1.50
                                  6/30/2018                   1.50
                                  7/31/2018                   1.50
                                  8/31/2018                   1.50


       SECTION 8.15          Disposal of Subsidiary Interests. No Borrower will permit any
Domestic Subsidiary to beBe a non-Wholly-Owned Subsidiary except (a) as a result of or in
connection with a dissolution, merger, amalgamation, consolidation or disposition permitted by
Section 8.4 or 8.5 or (b) so long as such Domestic Subsidiary continues to be a Subsidiary
Guarantor.

       SECTION 8.16         Payment of Subordinated Indebtedness. Pay any Subordinated
Indebtedness unless the Consolidated Leverage Ratio is less than 3.50 to 1.0.


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                                           Article IX
                                     DEFAULT AND REMEDIES

       SECTION 9.1                 Events of Default. Each of the following shall constitute an Event
of Default:

                           (a)     Default in Payment of Principal of Loans and Reimbursement
                    Obligations. Any Borrower shall default in any payment of principal of any Loan
                    or Reimbursement Obligation when and as due (whether at maturity, by reason of
                    acceleration or otherwise).

                            (b)     Other Payment Default. Any Borrower or any other Credit Party
                    shall default in the payment when and as due (whether at maturity, by reason of
                    acceleration or otherwise) of interest on any Loan or Reimbursement Obligation
                    or the payment of any other Obligation and such default shall continue for a
                    period of three (3) Business Days.

                            (c)     Misrepresentation. Any representation, warranty, certification or
                    statement of fact made or deemed made by or on behalf of any Credit Party or any
                    Subsidiary thereof, or LHI, in this Agreement, in any other Loan Document, or in
                    any document delivered in connection herewith or therewith that is subject to
                    materiality or Material Adverse Effect qualifications, shall be incorrect or
                    misleading in any respect when made or deemed made or any representation,
                    warranty, certification or statement of fact made or deemed made by or on behalf
                    of any Credit Party or any Subsidiary thereof, or LHI, in this Agreement, any
                    other Loan Document, or in any document delivered in connection herewith or
                    therewith that is not subject to materiality or Material Adverse Effect
                    qualifications, shall be incorrect or misleading in any material respect when made
                    or deemed made.

                            (d)    Default in Performance of Certain Covenants. Any Credit Party
                    shall default in the performance or observance of any covenant or agreement
                    contained in Sections 7.1, 7.2, 7.3, 7.4, 7.13, 7.14, 7.15, 7.16, 7.17, 7.18, or
                    Article VIII.

                           (e)     Default in Performance of Other Covenants and Conditions. Any
                    Credit Party or any Subsidiary thereof, or LHI, shall default in the performance or
                    observance of any term, covenant, condition or agreement contained in this
                    Agreement (other than as specifically provided for in this Section 9.1) or any
                    other Loan Document and such default shall continue for a period of thirty (30)
                    days.

                            (f)     Indebtedness Cross-Default. Any Credit Party or any Subsidiary
                    thereof shall (i) default in the payment of any Indebtedness (other than the Loans
                    or any Reimbursement Obligation) the aggregate outstanding amount of which
                    Indebtedness is in excess of the Threshold Amount beyond the period of grace if
                    any, provided in the instrument or agreement under which such Indebtedness was

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                    created, or (ii) default in the observance or performance of any other agreement or
                    condition relating to any Indebtedness (other than the Loans, any Reimbursement
                    Obligation) the aggregate outstanding amount (or, with respect to any Hedge
                    Agreement, the Hedge Termination Value) of which Indebtedness is in excess of
                    the Threshold Amount or contained in any instrument or agreement evidencing,
                    securing or relating thereto or any other event shall occur or condition exist, the
                    effect of which default or other event or condition is to cause, or to permit the
                    holder or holders of such Indebtedness (or a trustee or agent on behalf of such
                    holder or holders) to cause, with the giving of notice and/or lapse of time, if
                    required, any such Indebtedness to become due prior to its stated maturity (any
                    applicable grace period having expired).

                            (g)     Other Cross-Defaults. Any Credit Party or any Subsidiary thereof
                    shall default in the payment when due, or in the performance or observance, of
                    any obligation or condition of any Material Contract unless, but only as long as,
                    the existence of any such default is being contested by such Credit Party or any
                    such Subsidiary in good faith by appropriate proceedings and adequate reserves in
                    respect thereof have been established on the books of the Borrowers or such
                    Credit Party to the extent required by GAAP.

                              (h)   Change in Control. Any Change in Control shall occur.

                            (i)     Voluntary Bankruptcy Proceeding. Any Credit Party or any
                    Subsidiary thereof, or LHI, shall (i) commence a voluntary case under the federal
                    bankruptcy laws (as now or hereafter in effect), (ii) file a petition seeking to take
                    advantage of any other laws, domestic or foreign, relating to bankruptcy,
                    insolvency, reorganization, winding up or composition for adjustment of debts,
                    (iii) consent to or fail to contest in a timely and appropriate manner any petition
                    filed against it in an involuntary case under such bankruptcy laws or other laws,
                    (iv) apply for or consent to, or fail to contest in a timely and appropriate manner,
                    the appointment of, or the taking of possession by, a receiver, custodian, trustee,
                    or liquidator of itself or of a substantial part of its property, domestic or foreign,
                    (v) admit in writing its inability to pay its debts as they become due, (vi) make a
                    general assignment for the benefit of creditors, or (vii) take any corporate action
                    for the purpose of authorizing any of the foregoing.

                            (j)     Involuntary Bankruptcy Proceeding. A case or other proceeding
                    shall be commenced against any Credit Party or any Subsidiary thereof, or LHI, in
                    any court of competent jurisdiction seeking (i) relief under the federal bankruptcy
                    laws (as now or hereafter in effect) or under any other laws, domestic or foreign,
                    relating to bankruptcy, insolvency, reorganization, winding up or adjustment of
                    debts, or (ii) the appointment of a trustee, receiver, custodian, liquidator or the
                    like for any Credit Party or any Subsidiary thereof, or LHI, or for all or any
                    substantial part of their respective assets, domestic or foreign, and such case or
                    proceeding shall continue without dismissal or stay for a period of sixty (60)
                    consecutive days, or an order granting the relief requested in such case or


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                    proceeding (including, but not limited to, an order for relief under such federal
                    bankruptcy laws) shall be entered.

                           (k)     Failure of Agreements. Any provision of this Agreement or any
                    provision of any other Loan Document shall for any reason cease to be valid and
                    binding on any Credit Party or any Subsidiary thereof party thereto, or LHI, or
                    any such Person shall so state in writing, or any Loan Document shall for any
                    reason cease to create a valid and perfected first priority Lien (subject to
                    Permitted Liens) on, or security interest in, any of the Collateral purported to be
                    covered thereby, in each case other than in accordance with the express terms
                    hereof or thereof.

                           (l)     ERISA Events. The occurrence of any of the following events: (i)
                    any Credit Party or any ERISA Affiliate fails to make full payment when due of
                    all amounts which, under the provisions of any Pension Plan or Sections 412 or
                    430 of the Code, any Credit Party or any ERISA Affiliate is required to pay as
                    contributions thereto and are in excess of the Threshold Amount, (ii) a
                    Termination Event or (iii) any Credit Party or any ERISA Affiliate as employers
                    under one or more Multiemployer Plans makes a complete or partial withdrawal
                    from any such Multiemployer Plan and the plan sponsor of such Multiemployer
                    Plans notifies such withdrawing employer that such employer has incurred a
                    withdrawal liability requiring payments in an amount exceeding the Threshold
                    Amount.

                            (m)    Judgment. A judgment or order for the payment of money which
                    causes the aggregate amount of all such judgments or orders (net of any amounts
                    paid or fully covered by independent third party insurance as to which the
                    relevant insurance company does not dispute coverage) to exceed the Threshold
                    Amount shall be entered against any Credit Party or any Subsidiary thereof, or
                    LHI, by any court and such judgment or order shall continue without having been
                    discharged, vacated or stayed for a period of thirty (30) consecutive days after the
                    entry thereof.

                           (n)      LHI Credit Agreement. An event of default occurs under, and as
                    defined in, the LHI Credit Agreement.

                           (o)    Thomas Lockwood Subordination Agreement. AOther than in
                    respect of the Thomas Lockwood Non-Compete Consideration, a default or
                    breach of any agreement or covenant by Thomas Lockwood, LII, or LHI under
                    the Thomas Lockwood Subordination Agreement occurs or has occurred.

                           (p)     Restatement of Prior Period Financial Statements. Any financial
                    statements delivered pursuant to Section 7.1 for periods ending after December
                    31, 2014 shall be restated after issuance.




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       SECTION 9.2         Remedies. Upon the occurrence of an Event of Default, with the
consent of the Required Lenders, the Administrative Agent may, or upon the request of the
Required Lenders, the Administrative Agent shall, by notice to the Borrowers:

                            (a)    Acceleration; Termination of Credit Facility. Terminate the
                    Revolving Credit Commitment and declare the principal of and interest on the
                    Loans and the Reimbursement Obligations at the time outstanding, and all other
                    amounts owed to the Lenders and to the Administrative Agent under this
                    Agreement or any of the other Loan Documents (including, without limitation, all
                    L/C Obligations, whether or not the beneficiaries of the then outstanding Letters
                    of Credit shall have presented or shall be entitled to present the documents
                    required thereunder) and all other Obligations, to be forthwith due and payable,
                    whereupon the same shall immediately become due and payable without
                    presentment, demand, protest or other notice of any kind, all of which are
                    expressly waived by each Credit Party, anything in this Agreement or the other
                    Loan Documents to the contrary notwithstanding, and terminate the Credit
                    Facility and any right of the Borrowers to request borrowings or Letters of Credit
                    thereunder; provided, that upon the occurrence of an Event of Default specified in
                    Section 9.1(i) or (j), the Credit Facility shall be automatically terminated and all
                    Obligations shall automatically become due and payable without presentment,
                    demand, protest or other notice of any kind, all of which are expressly waived by
                    each Credit Party, anything in this Agreement or in any other Loan Document to
                    the contrary notwithstanding.

                            (b)    Letters of Credit. With respect to all Letters of Credit with respect
                    to which presentment for honor shall not have occurred at the time of an
                    acceleration pursuant to the preceding paragraph, the Borrowers shall at such time
                    deposit in a Cash Collateral account opened by the Administrative Agent an
                    amount equal to the aggregate then undrawn and unexpired amount of such
                    Letters of Credit. Amounts held in such Cash Collateral account shall be applied
                    by the Administrative Agent to the payment of drafts drawn under such Letters of
                    Credit, and the unused portion thereof after all such Letters of Credit shall have
                    expired or been fully drawn upon, if any, shall be applied to repay the other
                    Obligations on a pro rata basis. After all such Letters of Credit shall have expired
                    or been fully drawn upon, the Reimbursement Obligation shall have been satisfied
                    and all other Obligations shall have been paid in full, the balance, if any, in such
                    Cash Collateral account shall be returned to the Borrowers.

                            (c)     General Remedies. Exercise on behalf of the Secured Parties all of
                    its other rights and remedies under this Agreement, the other Loan Documents
                    and Applicable Law, in order to satisfy all of the Obligations.

       SECTION 9.3            Rights and Remedies Cumulative; Non-Waiver; etc.                The
enumeration of the rights and remedies of the Administrative Agent and the Lenders set forth in
this Agreement is not intended to be exhaustive and the exercise by the Administrative Agent
and the Lenders of any right or remedy shall not preclude the exercise of any other rights or
remedies, all of which shall be cumulative, and shall be in addition to any other right or remedy

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given hereunder or under the other Loan Documents or that may now or hereafter exist at law or
in equity or by suit or otherwise. No delay or failure to take action on the part of the
Administrative Agent or any Lender in exercising any right, power or privilege shall operate as a
waiver thereof, nor shall any single or partial exercise of any such right, power or privilege
preclude any other or further exercise thereof or the exercise of any other right, power or
privilege or shall be construed to be a waiver of any Event of Default. No course of dealing
between the Borrowers, the Administrative Agent and the Lenders or their respective agents or
employees shall be effective to change, modify or discharge any provision of this Agreement or
any of the other Loan Documents or to constitute a waiver of any Event of Default.

       SECTION 9.4          Crediting of Payments and Proceeds. In the event that the
Obligations have been accelerated pursuant to Section 9.2 or the Administrative Agent or any
Lender has exercised any remedy set forth in this Agreement or any other Loan Document, all
payments received by the Lenders upon the Secured Obligations and all net proceeds from the
enforcement of the Secured Obligations shall be applied:

       First, to payment of that portion of the Secured Obligations constituting fees,
indemnities, expenses and other amounts, including attorney fees, payable to the Administrative
Agent in its capacity as such, the Issuing Lender in its capacity as such and the Swingline Lender
in its capacity as such, ratably among the Administrative Agent, the Issuing Lender and
Swingline Lender in proportion to the respective amounts described in this clause First payable
to them;

        Second, to payment of that portion of the Secured Obligations constituting fees,
indemnities and other amounts (other than principal and interest) payable to the Lenders under
the Loan Documents, including attorney fees, ratably among the Lenders in proportion to the
respective amounts described in this clause Second payable to them;

       Third, to payment of that portion of the Secured Obligations constituting accrued and
unpaid interest on the Loans and Reimbursement Obligations, ratably among the Lenders in
proportion to the respective amounts described in this clause Third payable to them;

        Fourth, to payment of that portion of the Secured Obligations constituting unpaid
principal of the Loans, Reimbursement Obligations and payment obligations then owing under
Secured Hedge Agreements and Secured Cash Management Agreements, ratably among the
Lenders, the Issuing Lender, the Hedge Banks and the Cash Management Banks in proportion to
the respective amounts described in this clause Fourth held by them;

       Fifth, to the Administrative Agent for the account of the Issuing Lender, to Cash
Collateralize any L/C Obligations then outstanding; and

         Last, the balance, if any, after all of the Secured Obligations have been indefeasibly paid
in full, to the Borrowers or as otherwise required by Applicable Law.

       Notwithstanding the foregoing, Secured Obligations arising under Secured Cash
Management Agreements and Secured Hedge Agreements shall be excluded from the application
described above if the Administrative Agent has not received written notice thereof, together

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with such supporting documentation as the Administrative Agent may request, from the
applicable Cash Management Bank or Hedge Bank, as the case may be. Each Cash Management
Bank or Hedge Bank not a party to this Agreement that has given the notice contemplated by the
preceding sentence shall, by such notice, be deemed to have acknowledged and accepted the
appointment of the Administrative Agent pursuant to the terms of Article X for itself and its
Affiliates as if a “Lender” party hereto.

        SECTION 9.5          Administrative Agent May File Proofs of Claim. In case of the
pendency of any receivership, insolvency, liquidation, bankruptcy, reorganization, arrangement,
adjustment, composition or other judicial proceeding relative to any Credit Party, the
Administrative Agent (irrespective of whether the principal of any Loan or L/C Obligation shall
then be due and payable as herein expressed or by declaration or otherwise and irrespective of
whether the Administrative Agent shall have made any demand on the Borrowers) shall be
entitled and empowered, by intervention in such proceeding or otherwise:

                            (a)    to file and prove a claim for the whole amount of the principal and
                    interest owing and unpaid in respect of the Loans, L/C Obligations and all other
                    Obligations arising under the Loan Document that are owing and unpaid and to
                    file such other documents as may be necessary or advisable in order to have the
                    claims of the Lenders and the Administrative Agent (including any claim for the
                    reasonable compensation, expenses, disbursements and advances of the Lenders
                    and the Administrative Agent and their respective agents and counsel and all
                    other amounts due the Lenders and the Administrative Agent under Sections 3.3,
                    4.3 and 11.3) allowed in such judicial proceeding; and

                           (b)     to collect and receive any monies or other property payable or
                    deliverable on any such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Lender to make such payments to the
Administrative Agent and, in the event that the Administrative Agent shall consent to the making
of such payments directly to the Lenders, to pay to the Administrative Agent any amount due for
the reasonable compensation, expenses, disbursements and advances of the Administrative
Agent and its agents and counsel, and any other amounts due the Administrative Agent under
Sections 3.3, 4.3 and 11.3.

Nothing contained herein shall be deemed to authorize the Administrative Agent to authorize or
consent to or accept or adopt on behalf of any Lender any plan of reorganization, arrangement,
adjustment or composition affecting the Obligations or the rights of any Lender or to authorize
the Administrative Agent to vote in respect of the claim of any Lender in any such proceeding.

          SECTION 9.6              Credit Bidding.

                            (a)     The Administrative Agent, on behalf of itself and the Lenders,
                    shall have the right to credit bid and purchase for the benefit of the Administrative
                    Agent and the Lenders all or any portion of Collateral at any sale thereof
                    conducted by the Administrative Agent under the provisions of the UCC,

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                    including pursuant to Sections 9-610 or 9-620 of the UCC, at any sale thereof
                    conducted under the provisions of the United States Bankruptcy Code, including
                    Section 363 thereof, or a sale under a plan of reorganization, or at any other sale
                    or foreclosure conducted by the Administrative Agent (whether by judicial action
                    or otherwise) in accordance with Applicable Law.

                            (b)    Each Lender hereby agrees that, except as otherwise provided in
                    any Loan Documents or with the written consent of the Administrative Agent and
                    the Required Lenders, it will not take any enforcement action, accelerate
                    obligations under any Loan Documents, or exercise any right that it might
                    otherwise have under applicable law to credit bid at foreclosure sales, UCC sales
                    or other similar dispositions of Collateral.

                                          Article X
                                  THE ADMINISTRATIVE AGENT

        SECTION 10.1            Appointment and Authority. Each of the Lenders and the Issuing
Lender hereby irrevocably designates and appoints Wells Fargo to act on its behalf as the
Administrative Agent hereunder and under the other Loan Documents and authorizes the
Administrative Agent to take such actions on its behalf and to exercise such powers as are
delegated to the Administrative Agent by the terms hereof or thereof, together with such actions
and powers as are reasonably incidental thereto. The provisions of this Article X are solely for
the benefit of the Administrative Agent, the Lenders and the Issuing Lender, and no Borrower
nor any Subsidiary thereof shall have rights as a third party beneficiary of any of such
provisions. The Administrative Agent shall also act as the “collateral agent” under the Loan
Documents, and each of the Lenders (including in its capacity as a potential Hedge Bank or Cash
Management Bank) and the Issuing Lender hereby irrevocably appoints and authorizes the
Administrative Agent to act as the agent of such Lender and the Issuing Lender for purposes of
acquiring, holding and enforcing any and all Liens on Collateral granted by any of the Credit
Parties to secure any of the Secured Obligations, together with such powers and discretion as are
reasonably incidental thereto. In this connection, the Administrative Agent, as “collateral agent”
and any co-agents, sub-agents and attorneys-in-fact appointed by the Administrative Agent
pursuant to this Article X for purposes of holding or enforcing any Lien on the Collateral (or any
portion thereof) granted under the Security Documents, or for exercising any rights and remedies
thereunder at the direction of the Administrative Agent), shall be entitled to the benefits of all
provisions of this Article X and Article XI (including Section 11.3, as though such co-agents,
sub-agents and attorneys-in-fact were the “collateral agent” under the Loan Documents) as if set
forth in full herein with respect thereto.

        SECTION 10.2            Rights as a Lender. The Person serving as the Administrative
Agent hereunder shall have the same rights and powers in its capacity as a Lender as any other
Lender and may exercise the same as though it were not the Administrative Agent and the term
“Lender” or “Lenders” shall, unless otherwise expressly indicated or unless the context
otherwise requires, include the Person serving as the Administrative Agent hereunder in its
individual capacity. Such Person and its Affiliates may accept deposits from, lend money to, act
as the financial advisor or in any other advisory capacity for and generally engage in any kind of


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business with any Borrower or any Subsidiary or other Affiliate thereof as if such Person were
not the Administrative Agent hereunder and without any duty to account therefor to the Lenders.

      SECTION 10.3         Exculpatory Provisions. The Administrative Agent shall not have
any duties or obligations except those expressly set forth herein and in the other Loan
Documents. Without limiting the generality of the foregoing, the Administrative Agent:

                           (a)     shall not be subject to any fiduciary or other implied duties,
                    regardless of whether a Default has occurred and is continuing;

                           (b)     shall not have any duty to take any discretionary action or exercise
                    any discretionary powers, except discretionary rights and powers expressly
                    contemplated hereby or by the other Loan Documents that the Administrative
                    Agent is required to exercise as directed in writing by the Required Lenders (or
                    such other number or percentage of the Lenders as shall be expressly provided for
                    herein or in the other Loan Documents), provided that the Administrative Agent
                    shall not be required to take any action that, in its opinion or the opinion of its
                    counsel, may expose the Administrative Agent to liability or that is contrary to
                    any Loan Document or Applicable Law; and

                            (c)    shall not, except as expressly set forth herein and in the other Loan
                    Documents, have any duty to disclose, and shall not be liable for the failure to
                    disclose, any information relating to the Borrowers or any of their respective
                    Affiliates that is communicated to or obtained by the Person serving as the
                    Administrative Agent or any of its Affiliates in any capacity.

The Administrative Agent shall not be liable for any action taken or not taken by it (i) with the
consent or at the request of the Required Lenders (or such other number or percentage of the
Lenders as shall be necessary, or as the Administrative Agent shall believe in good faith shall be
necessary, under the circumstances as provided in Section 11.2 and Section 6.2) or (ii) in the
absence of its own gross negligence or willful misconduct as determined by a court of competent
jurisdiction by final nonappealable judgment. The Administrative Agent shall be deemed not to
have knowledge of any Default unless and until notice describing such Default is given to the
Administrative Agent by any Borrower, a Lender or the Issuing Lender.

The Administrative Agent shall not be responsible for or have any duty to ascertain or inquire
into (i) any statement, warranty or representation made in or in connection with this Agreement
or any other Loan Document, (ii) the contents of any certificate, report or other document
delivered hereunder or thereunder or in connection herewith or therewith, (iii) the performance
or observance of any of the covenants, agreements or other terms or conditions set forth herein
or therein or the occurrence of any Default, (iv) the validity, enforceability, effectiveness or
genuineness of this Agreement, any other Loan Document or any other agreement, instrument or
document or (v) the satisfaction of any condition set forth in Article V or elsewhere herein, other
than to confirm receipt of items expressly required to be delivered to the Administrative Agent.

       SECTION 10.4          Reliance by the Administrative Agent. The Administrative Agent
shall be entitled to rely upon, and shall not incur any liability for relying upon, any notice,

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request, certificate, consent, statement, instrument, document or other writing (including any
electronic message, Internet or intranet website posting or other distribution) believed by it to be
genuine and to have been signed, sent or otherwise authenticated by a Responsible Officer. The
Administrative Agent also may rely upon any statement made to it orally or by telephone and
believed by it to have been made by a Responsible Officer, and shall not incur any liability for
relying thereon. In determining compliance with any condition hereunder to the making of a
Loan, or the issuance of a Letter of Credit, that by its terms must be fulfilled to the satisfaction of
a Lender or the Issuing Lender, the Administrative Agent may presume that such condition is
satisfactory to such Lender or the Issuing Lender unless the Administrative Agent shall have
received notice to the contrary from such Lender or the Issuing Lender prior to the making of
such Loan or the issuance of such Letter of Credit. The Administrative Agent may consult with
legal counsel (who may be counsel for the Borrowers), independent accountants and other
experts selected by it, and shall not be liable for any action taken or not taken by it in accordance
with the advice of any such counsel, accountants or experts.

       SECTION 10.5           Delegation of Duties. The Administrative Agent may perform any
and all of its duties and exercise its rights and powers hereunder or under any other Loan
Document by or through any one or more sub agents appointed by the Administrative Agent.
The Administrative Agent and any such sub agent may perform any and all of its duties and
exercise its rights and powers by or through their respective Related Parties. The exculpatory
provisions of this Article X shall apply to any such sub agent and to the Related Parties of the
Administrative Agent and any such sub agent, and shall apply to their respective activities in
connection with the syndication of the Credit Facility as well as activities as Administrative
Agent.

          SECTION 10.6             Resignation of Administrative Agent.

                            (a)     The Administrative Agent may at any time give notice of its
                    resignation to the Lenders, the Issuing Lender and the Borrowers. Upon receipt
                    of any such notice of resignation, the Required Lenders shall have the right, in
                    consultation with the Borrowers and subject to the consent of the Borrowers
                    (provided no Event of Default has occurred and is continuing at the time of such
                    resignation), to appoint a successor, which shall be a bank with an office in the
                    United States, or an Affiliate of any such bank with an office in the United States.
                    If no such successor shall have been so appointed by the Required Lenders and
                    shall have accepted such appointment within 30 days after the retiring
                    Administrative Agent gives notice of its resignation, then the retiring
                    Administrative Agent may on behalf of the Lenders and the Issuing Lender,
                    appoint a successor Administrative Agent meeting the qualifications set forth
                    above provided that if the Administrative Agent shall notify the Borrowers and
                    the Lenders that no qualifying Person has accepted such appointment, then such
                    resignation shall nonetheless become effective in accordance with such notice and
                    (i) the retiring Administrative Agent shall be discharged from its duties and
                    obligations hereunder and under the other Loan Documents (except that in the
                    case of any collateral security held by the Administrative Agent on behalf of the
                    Lenders or the Issuing Lender under any of the Loan Documents, the retiring
                    Administrative Agent shall continue to hold such collateral security until such
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                    time as a successor Administrative Agent is appointed) and (ii) all payments,
                    communications and determinations provided to be made by, to or through the
                    Administrative Agent shall instead be made by or to each Lender and the Issuing
                    Lender directly, until such time as the Required Lenders appoint a successor
                    Administrative Agent as provided for above in this paragraph. Upon the
                    acceptance of a successor’s appointment as Administrative Agent hereunder, such
                    successor shall succeed to and become vested with all of the rights, powers,
                    privileges and duties of the retiring (or retired) Administrative Agent, and the
                    retiring Administrative Agent shall be discharged from all of its duties and
                    obligations hereunder or under the other Loan Documents (if not already
                    discharged therefrom as provided above in this paragraph). The fees payable by
                    the Borrowers to a successor Administrative Agent shall be the same as those
                    payable to its predecessor unless otherwise agreed between the Borrowers and
                    such successor. After the retiring Administrative Agent’s resignation hereunder
                    and under the other Loan Documents, the provisions of this Article X and Section
                    12.3 shall continue in effect for the benefit of such retiring Administrative Agent,
                    its sub-agents and their respective Related Parties in respect of any actions taken
                    or omitted to be taken by any of them while the retiring Administrative Agent was
                    acting as Administrative Agent.

                            (b)     Any resignation by Wells Fargo as Administrative Agent pursuant
                    to this Section 10.6 shall also constitute its resignation as Issuing Lender and
                    Swingline Lender. Upon the acceptance of a successor’s appointment as
                    Administrative Agent hereunder, (i) such successor shall succeed to and become
                    vested with all of the rights, powers, privileges and duties of the retiring Issuing
                    Lender and Swingline Lender, (ii) the retiring Issuing Lender and Swingline
                    Lender shall be discharged from all of their respective duties and obligations
                    hereunder or under the other Loan Documents, and (iii) the successor Issuing
                    Lender shall issue letters of credit in substitution for the Letters of Credit, if any,
                    outstanding at the time of such succession or make other arrangement satisfactory
                    to the retiring Issuing Lender to effectively assume the obligations of the retiring
                    Issuing Lender with respect to such Letters of Credit.

        SECTION 10.7          Non-Reliance on Administrative Agent and Other Lenders. Each
Lender and the Issuing Lender acknowledges that it has, independently and without reliance
upon the Administrative Agent or any other Lender or any of their Related Parties and based on
such documents and information as it has deemed appropriate, made its own credit analysis and
decision to enter into this Agreement. Each Lender and the Issuing Lender also acknowledges
that it will, independently and without reliance upon the Administrative Agent or any other
Lender or any of their Related Parties and based on such documents and information as it shall
from time to time deem appropriate, continue to make its own decisions in taking or not taking
action under or based upon this Agreement, any other Loan Document or any related agreement
or any document furnished hereunder or thereunder.

       SECTION 10.8         No Other Duties, etc.        Anything herein to the contrary
notwithstanding, none of the syndication agents, documentation agents, co-agents, book
managers, lead managers, arrangers, lead arrangers or co-arrangers listed on the cover page or
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signature pages hereof shall have any powers, duties or responsibilities under this Agreement or
any of the other Loan Documents, except in its capacity, as applicable, as the Administrative
Agent, a Lender or the Issuing Lender hereunder.

        SECTION 10.9             Collateral and Guaranty Matters. Each of the Lenders (including
in its or any of its Affiliate’s capacities as a potential Hedge Bank or Cash Management Bank)
irrevocably authorize the Administrative Agent, at its option and in its discretion:

                            (a)     to release any Lien on any Collateral granted to or held by the
                    Administrative Agent, for the ratable benefit of the Secured Parties, under any
                    Loan Document (i) upon the termination of the Revolving Credit Commitment
                    and payment in full of all Secured Obligations (other than (A) contingent
                    indemnification obligations and (B) obligations and liabilities under Secured Cash
                    Management Agreements or Secured Hedge Agreements as to which
                    arrangements satisfactory to the applicable Cash Management Bank or Hedge
                    Bank shall have been made) and the expiration or termination of all Letters of
                    Credit, (ii) that is sold or to be sold as part of or in connection with any sale
                    permitted hereunder or under any other Loan Document, or (iii) if approved,
                    authorized or ratified in writing in accordance with Section 11.2;

                            (b)    to release any Subsidiary Guarantor from its obligations under any
                    Loan Documents if such Person ceases to be a Subsidiary as a result of a
                    transaction permitted hereunder; and

                           (c)    to subordinate or release any Lien on any Collateral granted to or
                    held by the Administrative Agent under any Loan Document to the holder of any
                    Permitted Lien.

Upon request by the Administrative Agent at any time, the Required Lenders will confirm in
writing the Administrative Agent’s authority to release or subordinate its interest in particular
types or items of property, or to release any Subsidiary Guarantor from its obligations under a
Guaranty Agreement pursuant to this Section 10.9. In each case as specified in this Section
10.9, the Administrative Agent will, at the Borrowers’ expense, execute and deliver to the
applicable Credit Party such documents as such Credit Party may reasonably request to evidence
the release of such item of Collateral from the assignment and security interest granted under the
Security Documents or to subordinate its interest in such item, or to release such Guarantor from
its obligations under a Guaranty Agreement, in each case in accordance with the terms of the
Loan Documents and this Section 10.9. In the case of any such sale, transfer or disposal of any
property constituting Collateral in a transaction constituting an Asset Disposition permitted
pursuant to Section 8.5, the Liens created by any of the Security Documents on such property
shall be automatically released without need for further action by any person.

        SECTION 10.10         Secured Hedge Agreements and Secured Cash Management
Agreements. No Cash Management Bank or Hedge Bank that obtains the benefits of Section 9.4
or any Collateral by virtue of the provisions hereof or of any Security Document shall have any
right to notice of any action or to consent to, direct or object to any action hereunder or under
any other Loan Document or otherwise in respect of the Collateral (including the release or

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impairment of any Collateral) other than in its capacity as a Lender and, in such case, only to the
extent expressly provided in the Loan Documents. Notwithstanding any other provision of this
Article X to the contrary, the Administrative Agent shall not be required to verify the payment
of, or that other satisfactory arrangements have been made with respect to, Secured Cash
Management Agreements and Secured Hedge Agreements unless the Administrative Agent has
received written notice of such Secured Cash Management Agreements and Secured Hedge
Agreements, together with such supporting documentation as the Administrative Agent may
request, from the applicable Cash Management Bank or Hedge Bank, as the case may be.

                                             Article XI
                                          MISCELLANEOUS

          SECTION 11.1            Notices.

                            (a)    Notices Generally. Except in the case of notices and other
                    communications expressly permitted to be given by telephone (and except as
                    provided in paragraph (b) below), all notices and other communications provided
                    for herein shall be in writing and shall be delivered by hand or overnight courier
                    service, mailed by certified or registered mail or sent by telecopier as follows:

If to the Borrowers:              Lockwood Enterprises, Inc.
                                  10060 Windfern Road
                                  Building B
                                  Houston, Texas 77064
                                  Attention of: Ricardo Ibarra
                                  Telephone No.: (713) 670-5233
                                  Telecopy No.: (713) 670-3974
                                  E-mail: riIbarra@lockwoodei.com

With copies to:                   Zimmerman, Axelrad, Meyer Stern & Wise, P.C.
                                  3040 Post Oak Blvd., 13th Floor
                                  Houston, Texas 77056
                                  Attention of: Mark E. Wise
                                  Telephone No.: (713) 212-2631
                                  Telecopy No.: (713) 212-2730

If to Wells Fargo as
Administrative
Agent:                            Wells Fargo Bank, National Association
                                  2500 CityWest Blvd.5080 Spectrum Drive, Suite 1100400
                                  HoustonAddison, Texas 7704275225
                                  Attention of: Michelle C. TaborJennifer L. Norris
                                  Telephone No.: (713972) 273-8522419-3119
                                  Telecopy No.: (713866) 273-8536968-4862

With copies to:                   Porter Hedges LLPWinstead PC
                                  1000 Main Street, 36th Floor600 Travis, Suite 1100

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                                     Houston, Texas 77002
                                     Attention of: Joyce Kao SolimanMichael W. Hilliard
                                     Telephone No.: (713) 226-6685650-2727
                                     Telecopy No.: (713) 226-6285650-2400

If to any Lender:             To the address set forth on the Register.

Notices sent by hand or overnight courier service, or mailed by certified or registered mail, shall
be deemed to have been given when received; notices sent by telecopier shall be deemed to have
been given when sent (except that, if not given before 5:00 p.m. it shall be deemed to have been
given at the opening of business on the next Business Day). Notices delivered through electronic
communications to the extent provided in paragraph (b) below, shall be effective as provided in
said paragraph (b).

                             (b)     Electronic Communications. Notices and other communications to
                    the Lenders and the Issuing Lender hereunder may be delivered or furnished by
                    electronic communication (including e-mail and Internet or intranet websites)
                    pursuant to procedures approved by the Administrative Agent, provided that the
                    foregoing shall not apply to notices to any Lender or the Issuing Lender pursuant
                    to Article II if such Lender or the Issuing Lender, as applicable, has notified the
                    Administrative Agent that is incapable of receiving notices under such Article by
                    electronic communication. The Administrative Agent or the Borrowers may, in
                    its discretion, agree to accept notices and other communications to it hereunder by
                    electronic communications pursuant to procedures approved by it, provided that
                    approval of such procedures may be limited to particular notices or
                    communications. Unless the Administrative Agent otherwise prescribes, (i)
                    notices and other communications sent to an e-mail address shall be deemed
                    received upon the sender’s receipt of an acknowledgement from the intended
                    recipient (such as by the “return receipt requested” function, as available, return
                    e-mail or other written acknowledgement), provided that if such notice or other
                    communication is not sent before 5:00 p.m., such notice or communication shall
                    be deemed to have been sent at the opening of business on the next business day
                    for the recipient, and (ii) notices or communications posted to an Internet or
                    intranet website shall be deemed received upon the deemed receipt by the
                    intended recipient at its e-mail address as described in the foregoing clause (i) of
                    notification that such notice or communication is available and identifying the
                    website address therefor.

                            (c)    Administrative Agent’s Office. The Administrative Agent hereby
                    designates its office located at the address set forth above, or any subsequent
                    office which shall have been specified for such purpose by written notice to the
                    Borrowers and Lenders, as the Administrative Agent’s Office referred to herein,
                    to which payments due are to be made and at which Loans will be disbursed and
                    Letters of Credit requested




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                            (d)     Change of Address, Etc. Any party hereto may change its address
                    or telecopier number for notices and other communications hereunder by notice to
                    the other parties hereto.

                            (e)    Private Side Designation.     Each Public Lender agrees to cause
                    at least one individual at or on behalf of such Public Lender to at all times have
                    selected the “Private Side Information” or similar designation on the content
                    declaration screen of the Platform in order to enable such Public Lender or its
                    delegate, in accordance with such Public Lender’s compliance procedures and
                    Applicable Law, including United States Federal and state securities Applicable
                    Laws, to make reference to Borrower Materials that are not made available
                    through the “Public Side Information” portion of the Platform and that may
                    contain material non-public information with respect to the Borrowers or its
                    securities for purposes of United States Federal or state securities Applicable
                    Laws.

       SECTION 11.2           Amendments, Waivers and Consents. Except as set forth below or
as specifically provided in any Loan Document, any term, covenant, agreement or condition of
this Agreement or any of the other Loan Documents may be amended or waived by the Lenders,
and any consent given by the Lenders, if, but only if, such amendment, waiver or consent is in
writing signed by the Required Lenders (or by the Administrative Agent with the consent of the
Required Lenders) and delivered to the Administrative Agent and, in the case of an amendment,
signed by the Borrowers; provided, that no amendment, waiver or consent shall:

                           (a)     without the prior written consent of the Required Revolving Credit
                    Lenders, amend, modify or waive (i) Section 5.2 or any other provision of this
                    Agreement if the effect of such amendment, modification or waiver is to require
                    the Revolving Credit Lenders (pursuant to, in the case of any such amendment to
                    a provision hereof other than Section 5.2, any substantially concurrent request by
                    the Borrowers for a borrowing of Revolving Credit Loans) to make Revolving
                    Credit Loans when such Revolving Credit Lenders would not otherwise be
                    required to do so, (ii) the amount of the Swingline Commitment or (iii) the
                    amount of the L/C Commitment;

                           (b)     increase the Revolving Credit Commitment of any Revolving
                    Credit Lender (or reinstate any Revolving Credit Commitment terminated
                    pursuant to Section 9.2) or the amount of Loans of any Lender, in any case,
                    without the written consent of such Revolving Credit Lender;

                            (c)    waive, extend or postpone any date fixed by this Agreement or any
                    other Loan Document for any payment or mandatory prepayment of principal,
                    interest, fees or other amounts due to the Lenders (or any of them) or any
                    scheduled or mandatory reduction of the Revolving Credit Commitment
                    hereunder or under any other Loan Document without the written consent of each
                    Lender directly and adversely affected thereby;



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                            (d)     reduce the principal of, or the rate of interest specified herein on,
                    any Loan or Reimbursement Obligation, or (subject to clause (iv) of the second
                    proviso to this Section 11.2) any fees or other amounts payable hereunder or
                    under any other Loan Document without the written consent of each Lender
                    directly and adversely affected thereby; provided that only the consent of the
                    Required Lenders shall be necessary (i) to waive any obligation of the Borrowers
                    to pay interest at the rate set forth in Section 4.1(c) during the continuance of an
                    Event of Default or (ii) to amend any financial covenant hereunder (or any
                    defined term used therein) even if the effect of such amendment would be to
                    reduce the rate of interest on any Loan or L/C Obligation or to reduce any fee
                    payable hereunder;

                            (e)    change Section 4.6 or Section 9.4 in a manner that would alter the
                    pro rata sharing of payments required thereby without the written consent of each
                    Lender directly and adversely affected thereby;

                            (f)    except as otherwise permitted by this Section 11.2 change any
                    provision of this Section 11.2 or reduce the percentages specified in the
                    definitions of “Required Lenders,” or “Required Revolving Credit Lenders” or
                    any other provision hereof specifying the number or percentage of Lenders
                    required to amend, waive or otherwise modify any rights hereunder or make any
                    determination or grant any consent hereunder, without the written consent of each
                    Lender directly affected thereby;

                            (g)    consent to the assignment or transfer by any Credit Party of such
                    Credit Party’s rights and obligations under any Loan Document to which it is a
                    party (except as permitted pursuant to Section 8.4), in each case, without the
                    written consent of each Lender;

                            (h)    release (i) all of the Subsidiary Guarantors or (ii) Subsidiary
                    Guarantors comprising substantially all of the credit support for the Secured
                    Obligations, in any case, from any Guaranty Agreement (other than as authorized
                    in Section 10.9), without the written consent of each Lender; or

                            (i)    release all or substantially all of the Collateral or release any
                    Security Document (other than as authorized in Section 10.9 or as otherwise
                    specifically permitted or contemplated in this Agreement or the applicable
                    Security Document) without the written consent of each Lender;

provided further, that (i) no amendment, waiver or consent shall, unless in writing and signed by
the Issuing Lender in addition to the Lenders required above, affect the rights or duties of the
Issuing Lender under this Agreement or any Letter of Credit Application relating to any Letter of
Credit issued or to be issued by it; (ii) no amendment, waiver or consent shall, unless in writing
and signed by the Swingline Lender in addition to the Lenders required above, affect the rights
or duties of the Swingline Lender under this Agreement; (iii) no amendment, waiver or consent
shall, unless in writing and signed by the Administrative Agent in addition to the Lenders
required above, affect the rights or duties of the Administrative Agent under this Agreement or

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any other Loan Document; (iv) any waiver, amendment or modification of this Agreement that
by its terms affects the rights or duties under this Agreement of Lenders holding Loans or
Commitments of a particular Class (but not the Lenders holding Loans or Commitments of any
other Class) may be effected by an agreement or agreements in writing entered into by the
Borrowers and the requisite percentage in interest of the affected Class of Lenders that would be
required to consent thereto under this Section 11.2 if such Class of Lenders were the only Class
of Lenders hereunder at the time, and (v) the Administrative Agent and the Borrowers shall be
permitted to amend any provision of the Loan Documents (and such amendment shall become
effective without any further action or consent of any other party to any Loan Document) if the
Administrative Agent and the Borrowers shall have jointly identified an obvious error or any
error or omission of a technical or immaterial nature in any such provision. Notwithstanding
anything to the contrary herein, no Defaulting Lender shall have any right to approve or
disapprove any amendment, waiver or consent hereunder, except that the Revolving Credit
Commitment of such Lender may not be increased or extended without the consent of such
Lender.

Notwithstanding anything in this Agreement to the contrary, each Lender hereby irrevocably
authorizes the Administrative Agent on its behalf, and without further consent, to enter into
amendments or modifications to this Agreement (including, without limitation, amendments to
this Section 11.2) or any of the other Loan Documents or to enter into additional Loan
Documents as the Administrative Agent reasonably deems appropriate in order to effectuate the
terms of Section 4.13 (including, without limitation, as applicable, (1) to permit the Incremental
Revolving Credit Increases to share ratably in the benefits of this Agreement and the other Loan
Documents and (2) to include the Incremental Revolving Credit Increase and outstanding
Incremental Revolving Credit Increase in any determination of (i) Required Lenders or (ii)
similar required lender terms applicable thereto); provided that no amendment or modification
shall result in any increase in the amount of any Lender’s Commitment or any increase in any
Lender’s Commitment Percentage, in each case, without the written consent of such affected
Lender.

          SECTION 11.3             Expenses; Indemnity.

                            (a)     Costs and Expenses. Each Borrower and any other Credit Party,
                    jointly and severally, shall pay (i) all reasonable out of pocket expenses incurred
                    by the Administrative Agent and its Affiliates (including the reasonable fees,
                    charges and disbursements of counsel for the Administrative Agent), and shall
                    pay all fees and time charges and disbursements for attorneys who may be
                    employees of the Administrative Agent, in connection with the syndication of the
                    credit facilities provided for herein, the preparation, negotiation, execution,
                    delivery and administration of this Agreement and the other Loan Documents or
                    any amendments, modifications or waivers of the provisions hereof or thereof
                    (whether or not the transactions contemplated hereby or thereby shall be
                    consummated), (ii) all reasonable out of pocket expenses incurred by the Issuing
                    Lender in connection with the issuance, amendment, renewal or extension of any
                    Letter of Credit or any demand for payment thereunder and (iii) all out of pocket
                    expenses incurred by the Administrative Agent, any Lender or the Issuing Lender
                    (including the fees, charges and disbursements of any counsel for the
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                    Administrative Agent, any Lender or the Issuing Lender), and shall pay all fees
                    and time charges for attorneys who may be employees of the Administrative
                    Agent, any Lender or the Issuing Lender, in connection with the enforcement or
                    protection of its rights (A) in connection with this Agreement and the other Loan
                    Documents, including its rights under this Section 11.3, or (B) in connection with
                    the Loans made or Letters of Credit issued hereunder, including all such out of
                    pocket expenses incurred during any workout, restructuring or negotiations in
                    respect of such Loans or Letters of Credit.

                             (b)    Indemnification by the Borrowers. The Borrowers shall, jointly
                    and severally, indemnify the Administrative Agent (and any sub-agent thereof),
                    each Lender and the Issuing Lender, and each Related Party of any of the
                    foregoing Persons (each such Person being called an “Indemnitee”) against, and
                    hold each Indemnitee harmless from, and shall pay or reimburse any such
                    Indemnitee for, any and all losses, claims (including, without limitation, any
                    Environmental Claims), damages, liabilities and related expenses (including the
                    fees, charges and disbursements of any counsel for any Indemnitee), and shall
                    indemnify and hold harmless, each Indemnitee from, and shall pay or reimburse
                    any such Indemnitee for, all fees and time charges and disbursements for
                    attorneys who may be employees of any Indemnitee, incurred by any Indemnitee
                    or asserted against any Indemnitee by any third party or by any Borrower or any
                    other Credit Party arising out of, in connection with, or as a result of (i) the
                    execution or delivery of this Agreement, any other Loan Document or any
                    agreement or instrument contemplated hereby or thereby, the performance by the
                    parties hereto of their respective obligations hereunder or thereunder or the
                    consummation of the transactions contemplated hereby or thereby (including,
                    without limitation, the Transactions), (ii) any Loan or Letter of Credit or the use
                    or proposed use of the proceeds therefrom (including any refusal by the Issuing
                    Lender to honor a demand for payment under a Letter of Credit if the documents
                    presented in connection with such demand do not strictly comply with the terms
                    of such Letter of Credit), (iii) any actual or alleged presence or Release of
                    Hazardous Materials on or from any property owned or operated by any Credit
                    Party or any Subsidiary thereof, or any Environmental Claim related in any way
                    to any Credit Party or any Subsidiary, (iv) any actual or prospective claim,
                    litigation, investigation or proceeding relating to any of the foregoing, whether
                    based on contract, tort or any other theory, whether brought by a third party or by
                    any Credit Party or any Subsidiary thereof, and regardless of whether any
                    Indemnitee is a party thereto, or (v) any claim (including, without limitation, any
                    Environmental Claims), investigation, litigation or other proceeding (whether or
                    not the Administrative Agent or any Lender is a party thereto) and the prosecution
                    and defense thereof, arising out of or in any way connected with the Loans, this
                    Agreement, any other Loan Document, or any documents contemplated by or
                    referred to herein or therein or the transactions contemplated hereby or thereby,
                    including without limitation, reasonable attorneys and consultant’s fees, provided
                    that such indemnity shall not, as to any Indemnitee, be available to the extent that
                    such losses, claims, damages, liabilities or related expenses (x) are determined by
                    a court of competent jurisdiction by final and nonappealable judgment to have
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                    resulted from the gross negligence or willful misconduct of such Indemnitee or
                    (y) result from a claim brought by any Credit Party or any Subsidiary thereof
                    against an Indemnitee for breach in bad faith of such Indemnitee’s obligations
                    hereunder or under any other Loan Document, if such Credit Party or such
                    Subsidiary has obtained a final and nonappealable judgment in its favor on such
                    claim as determined by a court of competent jurisdiction.

                            (c)     Reimbursement by Lenders. To the extent that the Borrowers for
                    any reason fail to indefeasibly pay any amount required under clause (a) or (b) of
                    this Section 11.3 to be paid by it to the Administrative Agent (or any sub-agent
                    thereof), the Issuing Lender, the Swingline Lender or any Related Party of any of
                    the foregoing, each Lender severally agrees to pay to the Administrative Agent
                    (or any such sub-agent), the Issuing Lender, the Swingline Lender or such Related
                    Party, as the case may be, such Lender’s Commitment Percentage (determined as
                    of the time that the applicable unreimbursed expense or indemnity payment is
                    sought) of such unpaid amount, provided that the unreimbursed expense or
                    indemnified loss, claim, damage, liability or related expense, as the case may be,
                    was incurred by or asserted against the Administrative Agent (or any such
                    sub-agent), the Issuing Lender or the Swingline Lender in its capacity as such, or
                    against any Related Party of any of the foregoing acting for the Administrative
                    Agent (or any such sub-agent), Issuing Lender or the Swingline Lender in
                    connection with such capacity. The obligations of the Lenders under this clause
                    (c) are subject to the provisions of Section 4.7.

                             (d)     Waiver of Consequential Damages, Etc. To the fullest extent
                    permitted by Applicable Law, the Borrowers and each other Credit Party shall not
                    assert, and hereby waives, any claim against any Indemnitee, on any theory of
                    liability, for special, indirect, consequential or punitive damages (as opposed to
                    direct or actual damages) arising out of, in connection with, or as a result of, this
                    Agreement, any other Loan Document or any agreement or instrument
                    contemplated hereby, the transactions contemplated hereby or thereby, any Loan
                    or Letter of Credit or the use of the proceeds thereof. No Indemnitee referred to
                    in clause (b) above shall be liable for any damages arising from the use by
                    unintended recipients of any information or other materials distributed by it
                    through telecommunications, electronic or other information transmission systems
                    in connection with this Agreement or the other Loan Documents or the
                    transactions contemplated hereby or thereby.

                           (e)   Payments. All amounts due under this Section 11.3 shall be
                    payable promptly after demand therefor.

        SECTION 11.4          Right of Set Off. If an Event of Default shall have occurred and be
continuing, each Lender, the Issuing Lender, the Swingline Lender and each of their respective
Affiliates is hereby authorized at any time and from time to time, to the fullest extent permitted
by Applicable Law, to set off and apply any and all deposits (general or special, time or demand,
provisional or final, in whatever currency) at any time held and other obligations (in whatever
currency) at any time owing by such Lender, the Issuing Lender, the Swingline Lender or any
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such Affiliate to or for the credit or the account of any Borrower or any other Credit Party
against any and all of the obligations of any Borrower or any other Credit Party now or hereafter
existing under this Agreement or any other Loan Document to such Lender, the Issuing Lender
or the Swingline Lender, irrespective of whether or not such Lender, the Issuing Lender or the
Swingline Lender shall have made any demand under this Agreement or any other Loan
Document and although such obligations of such Borrower or such Credit Party may be
contingent or unmatured or are owed to a branch or office of such Lender, the Issuing Lender or
the Swingline Lender different from the branch or office holding such deposit or obligated on
such indebtedness. The rights of each Lender, the Issuing Lender, the Swingline Lender and
their respective Affiliates under this Section 11.4 are in addition to other rights and remedies
(including other rights of setoff) that such Lender, the Issuing Lender, the Swingline Lender or
their respective Affiliates may have. Each Lender, the Issuing Lender and the Swingline Lender
agrees to notify the Borrowers and the Administrative Agent promptly after any such setoff and
application; provided that the failure to give such notice shall not affect the validity of such
setoff and application.

          SECTION 11.5             Governing Law; Jurisdiction, Etc.

                            (a)    Governing Law. This Agreement and the other Loan Documents,
                    unless expressly set forth therein, shall be governed by, construed and enforced in
                    accordance with, the law of the State of Texas, without reference to conflicts or
                    choice of law principles thereof.

                            (b)     Submission to Jurisdiction. Each Borrower and each other Credit
                    Party irrevocably and unconditionally submits, for itself and its property, to the
                    nonexclusive jurisdiction of the courts of the State of Texas sitting in Harris
                    County and of the United States District Court for the Southern District of Texas,
                    and any appellate court from any thereof, in any action or proceeding arising out
                    of or relating to this Agreement or any other Loan Document, or for recognition
                    or enforcement of any judgment, and each of the parties hereto irrevocably and
                    unconditionally agrees that all claims in respect of any such action or proceeding
                    may be heard and determined in such Texas state court or, to the fullest extent
                    permitted by Applicable Law, in such Federal court. Each of the parties hereto
                    agrees that a final judgment in any such action or proceeding shall be conclusive
                    and may be enforced in other jurisdictions by suit on the judgment or in any other
                    manner provided by law. Nothing in this Agreement or in any other Loan
                    Document shall affect any right that the Administrative Agent, any Lender or the
                    Issuing Lender may otherwise have to bring any action or proceeding relating to
                    this Agreement or any other Loan Document against each Borrower or any Credit
                    Party or their respective properties in the courts of any jurisdiction.

                           (c)    Waiver of Venue. Each Borrower and each other Credit Party
                    irrevocably and unconditionally waives, to the fullest extent permitted by
                    Applicable Law, any objection that it may now or hereafter have to the laying of
                    venue of any action or proceeding arising out of or relating to this Agreement or
                    any other Loan Document in any court referred to in paragraph (b) of this
                    Section 11.5. Each of the parties hereto hereby irrevocably waives, to the fullest

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                    extent permitted by Applicable Law, the defense of an inconvenient forum to the
                    maintenance of such action or proceeding in any such court.

                            (d)    Service of Process. Each party hereto irrevocably consents to
                    service of process in the manner provided for notices in Section 11.1. Nothing in
                    this Agreement will affect the right of any party hereto to serve process in any
                    other manner permitted by Applicable Law.

      SECTION 11.6    Waiver of Jury Trial. EACH PARTY HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING
DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT
OR ANY OTHER LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY OR THEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER
THEORY). EACH PARTY HERETO (A) CERTIFIES THAT NO REPRESENTATIVE,
AGENT OR ATTORNEY OF ANY OTHER PERSON HAS REPRESENTED, EXPRESSLY
OR OTHERWISE, THAT SUCH OTHER PERSON WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND CONSENT AND (B)
ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS
BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN
THIS SECTION 11.6.

       SECTION 11.7             Reversal of Payments. To the extent any Credit Party makes a
payment or payments to the Administrative Agent for the ratable benefit of the Lenders or the
Administrative Agent receives any payment or proceeds of the Collateral which payments or
proceeds or any part thereof are subsequently invalidated, declared to be fraudulent or
preferential, set aside and/or required to be repaid to a trustee, receiver or any other party under
any bankruptcy law, state or federal law, common law or equitable cause, then, to the extent of
such payment or proceeds repaid, the Obligations or part thereof intended to be satisfied shall be
revived and continued in full force and effect as if such payment or proceeds had not been
received by the Administrative Agent.

        SECTION 11.8          Injunctive Relief. The Borrowers recognize that, in the event any
Borrower fails to perform, observe or discharge any of its obligations or liabilities under this
Agreement, any remedy of law may prove to be inadequate relief to the Lenders. Therefore, each
Borrower agrees that the Lenders, at the Administrative Agent and the Lenders’ option, shall be
entitled to seek temporary and permanent injunctive relief in any such case without the necessity
of proving actual damages.

        SECTION 11.9           Accounting Matters. If at any time any change in GAAP would
affect the computation of any financial ratio or requirement set forth in any Loan Document, and
either the Borrowers or the Required Lenders shall so request, the Administrative Agent, the
Lenders and the Borrowers shall negotiate in good faith to amend such ratio or requirement to
preserve the original intent thereof in light of such change in GAAP (subject to the approval of
the Required Lenders); provided that, until so amended, (i) such ratio or requirement shall
continue to be computed in accordance with GAAP prior to such change therein and (ii) the

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Borrowers shall provide to the Administrative Agent and the Lenders financial statements and
other documents required under this Agreement or as reasonably requested hereunder setting
forth a reconciliation between calculations of such ratio or requirement made before and after
giving effect to such change in GAAP.

          SECTION 11.10           Successors and Assigns; Participations.

                            (a)     Successors and Assigns Generally. The provisions of this
                    Agreement shall be binding upon and inure to the benefit of the parties hereto and
                    their respective successors and assigns permitted hereby, except that no Borrower
                    nor any other Credit Party may assign or otherwise transfer any of its rights or
                    obligations hereunder without the prior written consent of the Administrative
                    Agent and each Lender and no Lender may assign or otherwise transfer any of its
                    rights or obligations hereunder except (i) to an assignee in accordance with the
                    provisions of paragraph (b) of this Section 11.10, (ii) by way of participation in
                    accordance with the provisions of paragraph (d) of this Section 11.0 or (iii) by
                    way of pledge or assignment of a security interest subject to the restrictions of
                    paragraph (f) of this Section 11.10 (and any other attempted assignment or
                    transfer by any party hereto shall be null and void). Nothing in this Agreement,
                    expressed or implied, shall be construed to confer upon any Person (other than the
                    parties hereto, their respective successors and assigns permitted hereby,
                    Participants to the extent provided in paragraph (d) of this Section 11.10 and, to
                    the extent expressly contemplated hereby, the Related Parties of each of the
                    Administrative Agent and the Lenders) any legal or equitable right, remedy or
                    claim under or by reason of this Agreement.

                            (b)     Assignments by Lenders. Any Lender may at any time assign to
                    one or more assignees all or a portion of its rights and obligations under this
                    Agreement (including all or a portion of its Revolving Credit Commitment and
                    the Loans at the time owing to it); provided that any such assignment shall be
                    subject to the following conditions:

                                  (i)     Minimum Amounts.

                                         (A)    in the case of an assignment of the entire remaining
                                  amount of the assigning Lender’s Revolving Credit Commitment
                                  and the Loans at the time owing to it or in the case of an
                                  assignment to a Lender, an Affiliate of a Lender or an Approved
                                  Fund, no minimum amount need be assigned; and

                                          (B)     in any case not described in paragraph (b)(i)(A) of
                                  this Section 11.10, the aggregate amount of the Revolving Credit
                                  Commitment (which for this purpose includes Loans outstanding
                                  thereunder) or, if the applicable Revolving Credit Commitment is
                                  not then in effect, the principal outstanding balance of the Loans of
                                  the assigning Lender subject to each such assignment (determined
                                  as of the date the Assignment and Assumption with respect to such

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                                     assignment is delivered to the Administrative Agent or, if “Trade
                                     Date” is specified in the Assignment and Assumption, as of the
                                     Trade Date) shall not be less than $5,000,000, in the case of any
                                     assignment in respect of the Revolving Credit Facility, unless each
                                     of the Administrative Agent and, so long as no Event of Default
                                     has occurred and is continuing, the Borrowers otherwise consent
                                     (each such consent not to be unreasonably withheld or delayed);
                                     provided that the Borrowers shall be deemed to have given their
                                     consent five (5) Business Days after the date written notice thereof
                                     has been delivered by the assigning Lender (through the
                                     Administrative Agent) unless such consent is expressly refused by
                                     the Borrowers prior to such fifth (5th) Business Day;

                                     (ii)    Proportionate Amounts. Each partial assignment shall be
                              made as an assignment of a proportionate part of all the assigning
                              Lender’s rights and obligations under this Agreement with respect to the
                              Loan or the Revolving Credit Commitment assigned;

                                     (iii) Required Consents. No consent shall be required for any
                              assignment except to the extent required by paragraph (b)(i)(B) of this
                              Section 11.10 and, in addition:

                                             (A)    the consent of the Borrowers (such consent not to
                                     be unreasonably withheld) shall be required unless (x) an Event of
                                     Default has occurred and is continuing at the time of such
                                     assignment or (y) such assignment is to a Lender, an Affiliate of a
                                     Lender or an Approved Fund; provided, that the Borrowers shall
                                     be deemed to have consented to any such assignment unless it shall
                                     object thereto by written notice to the Administrative Agent within
                                     5 Business Days after having received notice thereof;

                                             (B)     the consent of the Administrative Agent (such
                                     consent not to be unreasonably withheld or delayed) shall be
                                     required for assignments in respect of the Revolving Credit
                                     Facility if such assignment is to a Person that is not a Lender with
                                     a Revolving Credit Commitment, an Affiliate of such Lender or an
                                     Approved Fund with respect to such Lender; and

                                             (C)    the consents of the Issuing Lender and the
                                     Swingline Lender (such consents not to be unreasonably withheld
                                     or delayed) shall be required for any assignment that increases the
                                     obligation of the assignee to participate in exposure under one or
                                     more Letters of Credit (whether or not then outstanding) or for any
                                     assignment in respect of the Revolving Credit Facility.

                                     (iv)  Assignment and Assumption.       The parties to each
                              assignment shall execute and deliver to the Administrative Agent an

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                              Assignment and Assumption, together with a processing and recordation
                              fee of $3,500 for each assignment (provided, that only one such fee will be
                              payable in connection with simultaneous assignments to two or more
                              Approved Funds by a Lender), and the assignee, if it is not a Lender, shall
                              deliver to the Administrative Agent an Administrative Questionnaire.

                                     (v)    No Assignment to Certain Persons. No such assignment
                              shall be made to any Borrower or any of the Borrower’s Affiliates or
                              Subsidiaries.

                                      (vi)   No Assignment to Natural Persons. No such assignment
                              shall be made to a natural person.

Subject to acceptance and recording thereof by the Administrative Agent pursuant to paragraph
(c) of this Section 11.10, from and after the effective date specified in each Assignment and
Assumption, the assignee thereunder shall be a party to this Agreement and, to the extent of the
interest assigned by such Assignment and Assumption, have the rights and obligations of a
Lender under this Agreement, and the assigning Lender thereunder shall, to the extent of the
interest assigned by such Assignment and Assumption, be released from its obligations under
this Agreement (and, in the case of an Assignment and Assumption covering all of the assigning
Lender’s rights and obligations under this Agreement, such Lender shall cease to be a party
hereto) but shall continue to be entitled to the benefits of Sections 4.8, 4.9, 4.10, 4.11 and 11.3
with respect to facts and circumstances occurring prior to the effective date of such assignment.
Any assignment or transfer by a Lender of rights or obligations under this Agreement that does
not comply with this paragraph shall be treated for purposes of this Agreement as a sale by such
Lender of a participation in such rights and obligations in accordance with paragraph (d) of this
Section 11.10.

                            (c)    Register. The Administrative Agent, acting solely for this purpose
                    as an agent of the Borrowers, shall maintain at one of its offices in Charlotte,
                    North Carolina, a copy of each Assignment and Assumption and each Lender
                    Joinder Agreement delivered to it and a register for the recordation of the names
                    and addresses of the Lenders, and the Revolving Credit Commitment of, and
                    principal amounts of the Loans owing to, each Lender pursuant to the terms
                    hereof from time to time (the “Register”). The entries in the Register shall be
                    conclusive, and the Borrowers, the Administrative Agent and the Lenders may
                    treat each Person whose name is recorded in the Register pursuant to the terms
                    hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding
                    notice to the contrary. The Register shall be available for inspection by the
                    Borrowers and any Lender (but only to the extent of entries in the Register that
                    are applicable to such Lender), at any reasonable time and from time to time upon
                    reasonable prior notice.

                            (d)     Participations. Any Lender may at any time, without the consent
                    of, or notice to, the Borrowers or the Administrative Agent, sell participations to
                    any Person (other than a natural person or any Borrower or any of the Borrower’s
                    Affiliates or Subsidiaries) (each, a “Participant”) in all or a portion of such

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                    Lender’s rights and/or obligations under this Agreement (including all or a
                    portion of its Revolving Credit Commitment and/or the Loans owing to it);
                    provided that (i) such Lender’s obligations under this Agreement shall remain
                    unchanged, (ii) such Lender shall remain solely responsible to the other parties
                    hereto for the performance of such obligations and (iii) the Borrowers, the
                    Administrative Agent, Issuing Lender, Swingline Lender and the other Lenders
                    shall continue to deal solely and directly with such Lender in connection with
                    such Lender’s rights and obligations under this Agreement.

         Any agreement or instrument pursuant to which a Lender sells such a participation shall
provide that such Lender shall retain the sole right to enforce this Agreement and to approve any
amendment, modification or waiver of any provision of this Agreement; provided that such
agreement or instrument may provide that such Lender will not, without the consent of the
Participant, agree to any amendment, modification or waiver or modification described in
Section 11.2 that directly affects such Participant and could not be affected by a vote of the
Required Lenders. Subject to paragraph (e) of this Section 11.10, the Borrowers agree that each
Participant shall be entitled to the benefits of Sections 4.8, 4.9, 4.10 and 4.11 to the same extent
as if it were a Lender and had acquired its interest by assignment pursuant to paragraph (b) of
this Section 11.10. To the extent permitted by law, each Participant also shall be entitled to the
benefits of Section 11.4 as though it were a Lender, provided such Participant agrees to be
subject to Section 4.6 as though it were a Lender.

                            (e)     Limitations upon Participant Rights. A Participant shall not be
                    entitled to receive any greater payment under Sections 4.10 and 4.11 than the
                    applicable Lender would have been entitled to receive with respect to the
                    participation sold to such Participant, unless the sale of the participation to such
                    Participant is made with the Borrowers’ prior written consent. No Participant
                    shall be entitled to the benefits of Section 4.11 unless the Borrowers are notified
                    of the participation sold to such Participant and such Participant agrees, for the
                    benefit of the Borrowers, to comply with Section 4.11(g) as though it were a
                    Lender.

                            (f)     Certain Pledges. Any Lender may at any time pledge or assign a
                    security interest in all or any portion of its rights under this Agreement to secure
                    obligations of such Lender, including without limitation any pledge or assignment
                    to secure obligations to a Federal Reserve Bank; provided that no such pledge or
                    assignment shall release such Lender from any of its obligations hereunder or
                    substitute any such pledgee or assignee for such Lender as a party hereto.

        SECTION 11.11          Confidentiality. Each of the Administrative Agent, the Lenders
and the Issuing Lender agrees to maintain the confidentiality of the Information (as defined
below), except that Information may be disclosed (a) to its Affiliates and to its and its Affiliates’
respective partners, directors, officers, employees, agents, advisors and other representatives (it
being understood that the Persons to whom such disclosure is made will be informed of the
confidential nature of such Information and instructed to keep such Information confidential), (b)
to the extent requested by, or required to be disclosed to, any rating agency, or regulatory or
similar authority purporting to have jurisdiction over it (including any self-regulatory authority,
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such as the National Association of Insurance Commissioners), (c) to the extent required by
Applicable Laws or regulations or by any subpoena or similar legal process, (d) to any other
party hereto, (e) in connection with the exercise of any remedies under this Agreement, under
any other Loan Document or under any Secured Hedge Agreement or Secured Cash
Management Agreement, or any action or proceeding relating to this Agreement, any other Loan
Document or any Secured Hedge Agreement or Secured Cash Management Agreement, or the
enforcement of rights hereunder or thereunder, (f) subject to an agreement containing provisions
substantially the same as those of this Section 11.11, to (i) any assignee of or Participant in, or
any prospective assignee of or Participant in, any of its rights or obligations under this
Agreement, Participant or proposed Participant, (ii) any actual or prospective counterparty (or its
advisors) to any swap or derivative transaction relating to the Borrowers and their obligations,
(iii) to an investor or prospective investor in an Approved Fund that also agrees that Information
shall be used solely for the purpose of evaluating an investment in such Approved Fund, (iv) to a
trustee, collateral manager, servicer, backup servicer, noteholder or secured party in an
Approved Fund in connection with the administration, servicing and reporting on the assets
serving as collateral for an Approved Fund, or (v) to a nationally recognized rating agency that
requires access to information regarding the Borrowers and their Subsidiaries, the Loans and the
Loan Documents in connection with ratings issued with respect to an Approved Fund, (g) with
the consent of the Borrowers, (h) to Gold Sheets and other similar bank trade publications, such
information to consist of deal terms and other information customarily found in such
publications, or (i) to the extent such Information (x) becomes publicly available other than as a
result of a breach of this Section 11.11 or (y) becomes available to the Administrative Agent,
any Lender, the Issuing Lender or any of their respective Affiliates on a nonconfidential basis
from a source other than the Borrowers or (j) to governmental regulatory authorities in
connection with any regulatory examination of the Administrative Agent or any Lender or in
accordance with the Administrative Agent’s or any Lender’s regulatory compliance policy if the
Administrative Agent or such Lender deems necessary for the mitigation of claims by those
authorities against the Administrative Agent or such Lender or any of its subsidiaries or
affiliates. For purposes of this Section 11.11, “Information” means all information received
from any Credit Party or any Subsidiary thereof relating to any Credit Party or any Subsidiary
thereof or any of their respective businesses, other than any such information that is available to
the Administrative Agent, any Lender or the Issuing Lender on a nonconfidential basis prior to
disclosure by any Credit Party or any Subsidiary thereof; provided that, in the case of
information received from a Credit Party or any Subsidiary thereof after the date hereof, such
information is clearly identified at the time of delivery as confidential. Any Person required to
maintain the confidentiality of Information as provided in this Section 11.11 shall be considered
to have complied with its obligation to do so if such Person has exercised the same degree of
care to maintain the confidentiality of such Information as such Person would accord to its own
confidential information.

        SECTION 11.12          Performance of Duties. Each of the Credit Party’s obligations
under this Agreement and each of the other Loan Documents shall be performed by such Credit
Party at its sole cost and expense.

       SECTION 11.13        All Powers Coupled with Interest. All powers of attorney and
other authorizations granted to the Lenders, the Administrative Agent and any Persons
designated by the Administrative Agent or any Lender pursuant to any provisions of this
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Agreement or any of the other Loan Documents shall be deemed coupled with an interest and
shall be irrevocable so long as any of the Obligations remain unpaid or unsatisfied, any of the
Commitments remain in effect or the Credit Facility has not been terminated.

          SECTION 11.14            Survival.

                            (a)     All representations and warranties set forth in Article VI and all
                    representations and warranties contained in any certificate, or any of the Loan
                    Documents (including, but not limited to, any such representation or warranty
                    made in or in connection with any amendment thereto) shall constitute
                    representations and warranties made under this Agreement. All representations
                    and warranties made under this Agreement shall be made or deemed to be made at
                    and as of the Closing Date (except those that are expressly made as of a specific
                    date), shall survive the Closing Date and shall not be waived by the execution and
                    delivery of this Agreement, any investigation made by or on behalf of the Lenders
                    or any borrowing hereunder.

                           (b)     Notwithstanding any termination of this Agreement, the
                    indemnities to which the Administrative Agent and the Lenders are entitled under
                    the provisions of this Article XI and any other provision of this Agreement and
                    the other Loan Documents shall continue in full force and effect and shall protect
                    the Administrative Agent and the Lenders against events arising after such
                    termination as well as before.

        SECTION 11.15          Titles and Captions. Titles and captions of Articles, Sections and
subsections in, and the table of contents of, this Agreement are for convenience only, and neither
limit nor amplify the provisions of this Agreement.

        SECTION 11.16           Severability of Provisions. Any provision of this Agreement or
any other Loan Document which is prohibited or unenforceable in any jurisdiction shall, as to
such jurisdiction, be ineffective only to the extent of such prohibition or unenforceability without
invalidating the remainder of such provision or the remaining provisions hereof or thereof or
affecting the validity or enforceability of such provision in any other jurisdiction.

          SECTION 11.17            Counterparts; Integration; Effectiveness; Electronic Execution.

                            (a)     Counterparts; Integration; Effectiveness. This Agreement may be
                    executed in counterparts (and by different parties hereto in different counterparts),
                    each of which shall constitute an original, but all of which when taken together
                    shall constitute a single contract. Delivery of an executed signature page of this
                    Agreement by facsimile transmission shall be effective as delivery of a manually
                    executed counterparty hereof. This Agreement and the other Loan Documents,
                    and any separate letter agreements with respect to fees payable to the
                    Administrative Agent, constitute the entire contract among the parties relating to
                    the subject matter hereof and supersede any and all previous agreements and
                    understandings, oral or written, relating to the subject matter hereof. In the event
                    of any conflict between the provisions of this Agreement and those of any other

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                    Loan Document, the provisions of this Agreement shall control; provided that the
                    inclusion of supplemental rights or remedies in favor of the Administrative Agent
                    or the Lenders in any other Loan Document shall not be deemed a conflict with
                    this Agreement. Each Loan Document was drafted with the joint participation of
                    the respective parties thereto and shall be construed neither against nor in favor of
                    any party, but rather in accordance with the fair meaning thereof. Except as
                    provided in Section 5.1, this Agreement shall become effective when it shall have
                    been executed by the Administrative Agent and when the Administrative Agent
                    shall have received counterparts hereof that, when taken together, bear the
                    signatures of each of the other parties hereto.

                            (b)     Electronic Execution of Assignments. The words “execution,”
                    “signed,” “signature,” and words of like import in any Assignment and
                    Assumption shall be deemed to include electronic signatures or the keeping of
                    records in electronic form, each of which shall be of the same legal effect, validity
                    or enforceability as a manually executed signature or the use of a paper-based
                    recordkeeping system, as the case may be, to the extent and as provided for in any
                    applicable law, including the Federal Electronic Signatures in Global and
                    National Commerce Act, the New York State Electronic Signatures and Records
                    Act, or any other similar state laws based on the Uniform Electronic Transactions
                    Act.

        SECTION 11.18          Term of Agreement. This Agreement shall remain in effect from
the Closing Date through and including the date upon which all Obligations (other than
contingent indemnification obligations not then due) arising hereunder or under any other Loan
Document shall have been indefeasibly and irrevocably paid and satisfied in full, all Letters of
Credit have been terminated or expired (or been Cash Collateralized) and the Revolving Credit
Commitment has been terminated. No termination of this Agreement shall affect the rights and
obligations of the parties hereto arising prior to such termination or in respect of any provision of
this Agreement which survives such termination.

        SECTION 11.19         USA PATRIOT Act and OFAC.(a)          The Administrative Agent
and each Lender hereby notifies each Borrower that pursuant to the requirements of the
PATRIOT Act, it is required to obtain, verify and record information that identifies each
Borrower and the Subsidiary Guarantors, which information includes the name and address of
each Borrower and each Subsidiary Guarantor and other information that will allow such Lender
to identify each Borrower or such Subsidiary Guarantor in accordance with the PATRIOT Act.

                             (b)     No Credit Party or any Affiliate of a Credit Party (i) is a
                    Sanctioned Entity, (ii) has a more than 10% of its assets located in Sanctioned
                    Entities, or (iii) derives more than 10% of its operating income from investments
                    in, or transactions with Sanctioned Entities. The proceeds of any Loan will not be
                    used and have not been used to fund any operations in, finance any investments or
                    activities in or make any payments to, a Sanctioned Entity. No Credit Party or
                    any Affiliate of a Credit Party are in violation of and shall not violate any of the
                    country or list based economic and trade sanctions administered and enforced by
                    OFAC            that        are      described        or        referenced        at

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                    http://www.ustreas.gov/offices/enforcement/ofac/ or as otherwise published from
                    time to time.

        SECTION 11.20          Independent Effect of Covenants. The Borrowers expressly
acknowledge and agree that each covenant contained in Articles VII or VIII hereof shall be
given independent effect. Accordingly, the Borrowers shall not engage in any transaction or
other act otherwise permitted under any covenant contained in Articles VII or VIII, before or
after giving effect to such transaction or act, if any Borrower shall or would be in breach of any
other covenant contained in Articles VII or VIII.

        SECTION 11.21           Amendment and Restatement; No Novation. This Agreement
constitutes an amendment and restatement of the Existing Credit Agreement, effective from and
after the Closing Date. The execution and delivery of this Agreement shall not constitute a
novation of any indebtedness or other obligations owing to the Lenders or the Administrative
Agent under the Existing Credit Agreement based on facts or events occurring or existing prior
to the execution and delivery of this Agreement. On the Closing Date, the credit facilities
described in the Existing Credit Agreement, shall be amended, supplemented, modified and
restated in their entirety by the facilities described herein, and all loans and other obligations of
LII outstanding as of such date under the Existing Credit Agreement, shall be deemed to be loans
and obligations outstanding under the corresponding facilities described herein, without any
further action by any Person, except that the Administrative Agent shall make such transfers of
funds as are necessary in order that the outstanding balance of such Loans, together with any
Loans funded on the Closing Date, reflect the respective Revolving Credit Commitment of the
Lenders hereunder.

         SECTION 11.22       Inconsistencies with Other Documents. In the event there is a
conflict or inconsistency between this Agreement and any other Loan Document, the terms of
this Agreement shall control; provided that any provision of the Security Documents which
imposes additional burdens on the Borrowers or any of their respective Subsidiaries or further
restricts the rights of Borrowers or any of their respective Subsidiaries or gives the
Administrative Agent or Lenders additional rights shall not be deemed to be in conflict or
inconsistent with this Agreement and shall be given full force and effect.



                                        [Signature pages follow]




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
under seal by their duly authorized officers, all as of the day and year first written above.

                                          LOCKWOOD ENTERPRISES, INC.


                                          By:
                                                  Ricardo Ibarra
                                                  Senior Vice President and Chief Financial
                                                  Officer


                                          LOCKWOOD INTERNATIONAL, INC.


                                          By:
                                                  Ricardo Ibarra
                                                  Senior Vice President and Chief Financial
                                                  Officer


                                          LMG MANUFACTURING, INC.


                                          By:
                                                  Ricardo Ibarra
                                                  Senior Vice President and Chief Financial
                                                  Officer


                                          PIPING COMPONENTS, INC.


                                          By:
                                                  Ricardo Ibarra
                                                  Senior Vice President and Chief Financial
                                                  Officer




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                                     AGENT AND LENDERS:

                                     WELLS FARGO BANK, NATIONAL
                                     ASSOCIATION, as Administrative Agent,
                                     Swingline Lender, Issuing Lender and Lender


                                     By:
                                            Michelle C. TaborJennifer L. Norris
                                            Senior Vice President




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                                           TRUSTMARK BANK, as a Lender


                                           By:
                                                  Michael R. Quiray
                                                  Senior Vice President




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                                        EXHIBIT A-1

                                REVOLVING CREDIT NOTE

$___________                                                                  __________, 2015

        FOR VALUE RECEIVED, the undersigned, LOCKWOOD ENTERPRISES, INC., a
Texas corporation, LOCKWOOD INTERNATIONAL, INC., a Texas corporation, LMG
MANUFACTURING, INC., a Texas corporation, and PIPING COMPONENTS, INC., a Texas
corporation (each a “Borrower” and collectively, “Borrowers”), promise to pay to WELLS
FARGO BANK, NATIONAL ASSOCIATION (the “Lender”), at the place and times provided
in the Credit Agreement referred to below, the principal sum of ____________
($____________) or, if less, the unpaid principal amount of all Revolving Credit Loans made by
the Lender from time to time pursuant to that certain Amended and Restated Credit Agreement
dated as of September 30, 2015 (as amended, restated, supplemented or otherwise modified from
time to time, the “Credit Agreement”) by and among Borrowers, the lenders who are or may
become a party thereto, and Wells Fargo Bank, National Association, as Administrative Agent,
Swingline Lender and Issuing Lender. Capitalized terms used herein and not defined herein
shall have the meanings assigned thereto in the Credit Agreement.

        The unpaid principal amount of this Revolving Credit Note from time to time outstanding
is subject to mandatory repayment from time to time as provided in the Credit Agreement and
shall bear interest as provided in Section 4.1 of the Credit Agreement. All payments of principal
and interest on this Revolving Credit Note shall be payable in lawful currency of the United
States in immediately available funds to the account designated in the Credit Agreement.

        This Revolving Credit Note is entitled to the benefits of, and evidences Obligations
incurred under, the Credit Agreement, to which reference is made for a description of the
security for this Revolving Credit Note and for a statement of the terms and conditions on which
Borrowers are permitted and required to make prepayments and repayments of principal of the
Obligations evidenced by this Revolving Credit Note and on which such Obligations may be
declared to be immediately due and payable.

     THIS REVOLVING CREDIT NOTE SHALL BE GOVERNED BY, CONSTRUED
AND ENFORCED IN ACCORDANCE WITH THE LAWS OF THE STATE OF TEXAS,
WITHOUT REFERENCE TO CONFLICTS OR CHOICE OF LAW PRINCIPLES THEREOF.

        The Indebtedness evidenced by this Revolving Credit Note is senior in right of payment
to all Subordinated Indebtedness referred to in the Credit Agreement.

        Each Borrower hereby waives all requirements as to diligence, presentment, demand of
payment, protest and (except as required by the Credit Agreement) notice of any kind with
respect to this Revolving Credit Note.

                                   [Signature page follows.]




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        IN WITNESS WHEREOF, the undersigned has executed this Revolving Credit Note as
of the day and year first above written.

                                       LOCKWOOD ENTERPRISES, INC.


                                       By:
                                       Name:
                                       Title:


                                       LOCKWOOD INTERNATIONAL, INC.


                                       By:
                                       Name:
                                       Title:


                                       LMG MANUFACTURING, INC.


                                       By:
                                       Name:
                                       Title:


                                       PIPING COMPONENTS, INC.


                                       By:
                                       Name:
                                       Title:




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                                         EXHIBIT A-2

                                      SWINGLINE NOTE

$5,000,000                                                                     __________, 2015

        FOR VALUE RECEIVED, the undersigned, LOCKWOOD ENTERPRISES, INC., a
Texas corporation, LOCKWOOD INTERNATIONAL, INC., a Texas corporation, LMG
MANUFACTURING, INC., a Texas corporation, and PIPING COMPONENTS, INC., a Texas
corporation (each a “Borrower” and collectively, “Borrowers”), promise to pay to WELLS
FARGO BANK, NATIONAL ASSOCIATION (the “Lender”), at the place and times provided
in the Credit Agreement referred to below, the principal sum of FIVE MILLION DOLLARS
($5,000,000) or, if less, the principal amount of all Swingline Loans made by the Lender from
time to time pursuant to that certain Amended and Restated Credit Agreement dated as of
September 30, 2015 (as amended, restated, supplemented or otherwise modified from time to
time, the “Credit Agreement”) by and among Borrowers, the lenders who are or may become a
party thereto, and Wells Fargo Bank, National Association, as Administrative Agent, Swingline
Lender and Issuing Lender. Capitalized terms used herein and not defined herein shall have the
meanings assigned thereto in the Credit Agreement.

        The unpaid principal amount of this Swingline Note from time to time outstanding is
subject to mandatory repayment from time to time as provided in the Credit Agreement and shall
bear interest as provided in Section 4.1 of the Credit Agreement. Swingline Loans refunded as
Revolving Credit Loans in accordance with Section 2.2(b) of the Credit Agreement shall be
payable by Borrowers as Revolving Credit Loans pursuant to the Revolving Credit Notes, and
shall not be payable under this Swingline Note as Swingline Loans. All payments of principal
and interest on this Swingline Note shall be payable in lawful currency of the United States in
immediately available funds to the account designated in the Credit Agreement.

        This Swingline Note is entitled to the benefits of, and evidences Obligations incurred
under, the Credit Agreement, to which reference is made for a description of the security for this
Swingline Note and for a statement of the terms and conditions on which Borrowers are
permitted and required to make prepayments and repayments of principal of the Obligations
evidenced by this Swingline Note and on which such Obligations may be declared to be
immediately due and payable.

     THIS SWINGLINE NOTE SHALL BE GOVERNED BY, CONSTRUED AND
ENFORCED IN ACCORDANCE WITH THE LAWS OF TEXAS, WITHOUT REFERENCE
TO CONFLICTS OR CHOICE OF LAW PRINCIPLES THEREOF.

      The Indebtedness evidenced by this Swingline Note is senior in right of payment to all
Subordinated Indebtedness referred to in the Credit Agreement.

        Each Borrower hereby waives all requirements as to diligence, presentment, demand of
payment, protest and (except as required by the Credit Agreement) notice of any kind with
respect to this Swingline Note.




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       IN WITNESS WHEREOF, the undersigned has executed this Swingline Note as of the
day and year first above written.

                                        LOCKWOOD ENTERPRISES, INC.


                                        By:
                                        Name:
                                        Title:


                                        LOCKWOOD INTERNATIONAL, INC.


                                        By:
                                        Name:
                                        Title:


                                        LMG MANUFACTURING, INC.


                                        By:
                                        Name:
                                        Title:


                                        PIPING COMPONENTS, INC.


                                        By:
                                        Name:
                                        Title:




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                                                 EXHIBIT B

                                        NOTICE OF BORROWING

                                        Dated as of: _____________

Wells Fargo Bank, National Association,
as Administrative Agent
2500 CityWest Blvd., Suite 1100
Houston, Texas 77042
Attention: Michelle C. Tabor

Ladies and Gentlemen:

        This irrevocable Notice of Borrowing is delivered to you pursuant to Section 2.3(a) of
the Amended and Restated Credit Agreement dated as of September 30, 2015 (as amended,
restated, supplemented or otherwise modified from time to time, the “Credit Agreement”), by
and among Lockwood Enterprises, Inc., a Texas corporation, Lockwood International, Inc., a
Texas corporation, LMG Manufacturing, Inc., a Texas corporation, and Piping Components,
Inc., a Texas corporation (each a “Borrower” and collectively, “Borrowers”), the lenders who
are or may become party thereto, and Wells Fargo Bank, National Association, as Administrative
Agent, Swingline Lender and Issuing Lender. Capitalized terms used herein and not defined
herein shall have the meanings assigned thereto in the Credit Agreement.

A.        Revolving Credit Loan/Swingline Loan

       1.    Borrowers hereby request that the Lenders make [a Revolving Credit Loan] [a
Swingline Loan] to Borrowers in the aggregate principal amount of $___________. (Complete
with an amount in accordance with Section 2.3(a) of the Credit Agreement.)

       2.     Borrowers hereby request that such Loan be made on the following Business Day:
_____________________. (Complete with a Business Day in accordance with Section 2.3(a) of
the Credit Agreement for Revolving Credit Loans or Swingline Loans).

        3.      Borrowers hereby request that such Loan bear interest at the following interest
rate, plus the Applicable Margin, as set forth below:

                                                                                     Termination Date for
        Component                                            Interest Period            Interest Period
         of Loan                    Interest Rate          (LIBOR Rate only)            (if applicable)

                              [Base Rate, LIBOR
                              Rate, LIBOR Market
                              Index Rate]1


1
    Complete with the Base Rate, LIBOR Rate or the LIBOR Market Index Rate for Revolving Credit Loans or
    Swingline Loans.


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        4.     The aggregate principal amount of all Loans and L/C Obligations outstanding as
of the date hereof (including the Loan requested herein) does not exceed the maximum amount
permitted to be outstanding pursuant to the terms of the Credit Agreement.

       5.     All of the conditions applicable to the Loan requested herein as set forth in the
Credit Agreement have been satisfied as of the date hereof and will remain satisfied to the date
of such Loan.

                                   [Signature page follows.]




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       IN WITNESS WHEREOF, the undersigned has executed this Notice of Borrowing as of
the day and year first written above.

                                       LOCKWOOD ENTERPRISES, INC.


                                       By:
                                       Name:
                                       Title:


                                       LOCKWOOD INTERNATIONAL, INC.


                                       By:
                                       Name:
                                       Title:


                                       LMG MANUFACTURING, INC.


                                       By:
                                       Name:
                                       Title:


                                       PIPING COMPONENTS, INC.


                                       By:
                                       Name:
                                       Title:




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                                          EXHIBIT C

                          NOTICE OF ACCOUNT DESIGNATION

                                    Dated as of: _________

Wells Fargo Bank, National Association,
as Administrative Agent
2500 CityWest Blvd., Suite 1100
Houston, Texas 77042
Attention: Michelle C. Tabor

Ladies and Gentlemen:

        This Notice of Account Designation is delivered to you pursuant to Section 2.3(b) of the
Amended and Restated Credit Agreement dated as of September 30, 2015 (as amended, restated,
supplemented or otherwise modified from time to time, the “Credit Agreement”), by and among
Lockwood Enterprises, Inc., a Texas corporation, Lockwood International, Inc., a Texas
corporation, LMG Manufacturing, Inc., a Texas corporation, and Piping Components, Inc., a
Texas corporation (each a “Borrower” and collectively, “Borrowers”), the lenders who are or
may become party thereto, and Wells Fargo Bank, National Association, as Administrative
Agent, Swingline Lender and Issuing Lender. Capitalized terms used herein and not defined
herein shall have the meanings assigned thereto in the Credit Agreement.

        1.      The Administrative Agent is hereby authorized to disburse all Loan proceeds
related to the Revolving Credit Loans and the Swingline Loans, into the following account(s):

                             Bank Name: Wells Fargo Bank, N.A.
                             ABA Routing Number: 121000248
                             Account Number: 4123511933
                             Account Name: Lockwood International, Inc.

       2.     This authorization shall remain in effect until revoked or until a subsequent
Notice of Account Designation is provided to the Administrative Agent.

                                   [Signature page follows.]




                                           Exhibit C
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      IN WITNESS WHEREOF, the undersigned have executed this Notice of Account
Designation as of the day and year first written above.

                                       LOCKWOOD ENTERPRISES, INC.


                                       By:
                                       Name:
                                       Title:


                                       LOCKWOOD INTERNATIONAL, INC.


                                       By:
                                       Name:
                                       Title:


                                       LMG MANUFACTURING, INC.


                                       By:
                                       Name:
                                       Title:


                                       PIPING COMPONENTS, INC.


                                       By:
                                       Name:
                                       Title:




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                                          EXHIBIT D

                                NOTICE OF PREPAYMENT

                                 Dated as of: _____________

Wells Fargo Bank, National Association,
as Administrative Agent
2500 CityWest Blvd., Suite 1100
Houston, Texas 77042
Attention: Michelle C. Tabor

Ladies and Gentlemen:

        This irrevocable Notice of Prepayment is delivered to you pursuant to Section 2.4(c) of
the Amended and Restated Credit Agreement dated as of September 30, 2015 (as amended,
restated, supplemented or otherwise modified from time to time, the “Credit Agreement”), by
and among Lockwood Enterprises, Inc., a Texas corporation, Lockwood International, Inc., a
Texas corporation, LMG Manufacturing, Inc., a Texas corporation, and Piping Components,
Inc., a Texas corporation (each a “Borrower” and collectively, “Borrowers”), the lenders who
are or may become party thereto, and Wells Fargo Bank, National Association, as Administrative
Agent, Swingline Lender and Issuing Lender. Capitalized terms used herein and not defined
herein shall have the meanings assigned thereto in the Credit Agreement.

       1.      The Borrowers hereby provide notice to the Administrative Agent that they shall
repay the following [Base Rate Loans] [LIBOR Rate Loans] and/or [LIBOR Market Index Rate
Loans]: _______________. (Complete with an amount in accordance with Section 2.4(c) of the
Credit Agreement.)

       2.     The Loan to be prepaid is [check each applicable box]

              □      a Swingline Loan

              □      a Revolving Credit Loan

        3.     The Borrowers shall repay the above-referenced Loans no later than 11:00 a.m.
on the following Business Day: _______________. (Complete with a date no earlier than (i) the
same Business Day as of the date of this Notice of Prepayment with respect to any Swingline
Loan, Base Rate Loan, or LIBOR Market Index Rate Loan and (ii) three (3) Business Days
subsequent to date of this Notice of Prepayment with respect to any LIBOR Rate Loan.)

                                  [Signature page follows.]




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        IN WITNESS WHEREOF, the undersigned have executed this Notice of Prepayment as
of the day and year first written above.

                                        LOCKWOOD ENTERPRISES, INC.


                                        By:
                                        Name:
                                        Title:


                                        LOCKWOOD INTERNATIONAL, INC.


                                        By:
                                        Name:
                                        Title:


                                        LMG MANUFACTURING, INC.


                                        By:
                                        Name:
                                        Title:


                                        PIPING COMPONENTS, INC.


                                        By:
                                        Name:
                                        Title:




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                                                EXHIBIT E

                              NOTICE OF CONVERSION/CONTINUATION

                                       Dated as of: _____________

Wells Fargo Bank, National Association,
as Administrative Agent
2500 CityWest Blvd., Suite 1100
Houston, Texas 77042
Attention: Michelle C. Tabor

Ladies and Gentlemen:

        This irrevocable Notice of Conversion/Continuation (this “Notice”) is delivered to you
pursuant to Section 4.2 of the Amended and Restated Credit Agreement dated as of September
30, 2015 (as amended, restated, supplemented or otherwise modified from time to time, the
“Credit Agreement”), by and among Lockwood Enterprises, Inc., a Texas corporation,
Lockwood International, Inc., a Texas corporation, LMG Manufacturing, Inc., a Texas
corporation, and Piping Components, Inc., a Texas corporation (each a “Borrower” and
collectively, “Borrowers”), the lenders who are or may become party thereto, and Wells Fargo
Bank, National Association, as Administrative Agent, Swingline Lender and Issuing Lender.
Capitalized terms used herein and not defined herein shall have the meanings assigned thereto in
the Credit Agreement.

          1.        The Loan to which this Notice relates is a Revolving Credit Loan.

       2.      This Notice is submitted for the purpose of: (Check one and complete applicable
information in accordance with the Credit Agreement.)

          □         Converting all or a portion of a Base Rate Loan into a LIBOR Rate Loan

                    Outstanding principal balance:                             $

                    Principal amount to be converted:                          $

                    Requested effective date of conversion:

                    Requested new Interest Period:

          □         Converting a portion of LIBOR Rate Loan into a Base Rate Loan

                    Outstanding principal balance:                             $

                    Principal amount to be converted:                          $

                    Last day of the current Interest Period:




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          Requested effective date of conversion:




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       □      Continuing all or a portion of a LIBOR Rate Loan as a LIBOR Rate Loan

              Outstanding principal balance:                           $

              Principal amount to be continued:                        $

              Last day of the current Interest Period:

              Requested effective date of continuation:

              Requested new Interest Period:

        3.     The aggregate principal amount of all Loans and L/C Obligations outstanding as
of the date hereof does not exceed the maximum amount permitted to be outstanding pursuant to
the terms of the Credit Agreement.

                                   [Signature page follows.]




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      IN WITNESS WHEREOF, the undersigned have executed                 this   Notice   of
Conversion/Continuation as of the day and year first written above.

                                       LOCKWOOD ENTERPRISES, INC.


                                       By:
                                       Name:
                                       Title:


                                       LOCKWOOD INTERNATIONAL, INC.


                                       By:
                                       Name:
                                       Title:


                                       LMG MANUFACTURING, INC.


                                       By:
                                       Name:
                                       Title:


                                       PIPING COMPONENTS, INC.


                                       By:
                                       Name:
                                       Title:




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                                           EXHIBIT F

                          OFFICER’S COMPLIANCE CERTIFICATE

        The undersigned officers, on behalf of Lockwood Enterprises, Inc., a Texas corporation,
Lockwood International, Inc., a Texas corporation, LMG Manufacturing, Inc., a Texas
corporation, and Piping Components, Inc., a Texas corporation (each a “Borrower” and
collectively, “Borrowers”), hereby certify to the Administrative Agent and the Lenders, each as
defined in the Credit Agreement referred to below, as follows:

        1.     This certificate is delivered to you pursuant to Section 7.2(a) of the Amended and
Restated Credit Agreement dated as of September 30, 2015 (as amended, restated, supplemented
or otherwise modified from time to time, the “Credit Agreement”), by and among Borrowers, the
lenders who are or may become party thereto, and Wells Fargo Bank, National Association, as
Administrative Agent, Swingline Lender and Issuing Lender. Capitalized terms used herein and
not defined herein shall have the meanings assigned thereto in the Credit Agreement.

       2.      I have reviewed the consolidated financial statements of Parent and its
Subsidiaries dated as of _______________ and for the _______________ period[s] then ended
and such statements fairly present in all material respects the financial condition of Parent and its
Subsidiaries as of the dates indicated and the results of their operations and cash flows for the
period[s] indicated.

        3.      I have reviewed the terms of the Credit Agreement, and the related Loan
Documents and have made, or caused to be made under my supervision, a review in reasonable
detail of the transactions and the condition of Parent and its Subsidiaries during the accounting
period covered by the financial statements referred to in Paragraph 2 above. Such review has not
disclosed the existence during or at the end of such accounting period of any condition or event
that constitutes a Default or an Event of Default, nor do I have any knowledge of the existence of
any such condition or event as at the date of this certificate [except, if such condition or event
existed or exists, describe the nature and period of existence thereof and what action the
Borrowers have taken, is taking and proposes to take with respect thereto.]

        4.     The Applicable Margin and the calculations determining such figures are set forth
on the attached Schedule 1.

       5.      Parent and its Subsidiaries are in compliance with the financial covenants
contained in Sections 8.14(a) (Minimum Consolidated Total Liabilities to Consolidated Tangible
Net WorthEBITDA), 8.14(b) (Consolidated Net IncomeMaximum Restructuring Charges), and
8.14(c) (Consolidated Asset Coverage Ratio) of the Credit Agreement as shown on attached
Schedule 1.

       6.     Parent and its Subsidiaries are in compliance with the financial covenants
contained in Section 8.13 (Capital Expenditures) of the Credit Agreement as shown on attached
Schedule 1, and with the other covenants and restrictions contained in the Credit Agreement.

                                     [Signature page follows.]



                                             Exhibit F
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WITNESS the following signature as of the day and year first written above.

                                           LOCKWOOD ENTERPRISES, INC.


                                           By:
                                           Name:
                                           Title:


                                           LOCKWOOD INTERNATIONAL, INC.


                                           By:
                                           Name:
                                           Title:


                                           LMG MANUFACTURING, INC.


                                           By:
                                           Name:
                                           Title:


                                           PIPING COMPONENTS, INC.


                                           By:
                                           Name:
                                           Title:




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                                              Schedule 1
                                                  to
                                   Officer’s Compliance Certificate

I.        Section 8.13 – Capital Expenditures

          A.      Capital Expenditures of Credit Parties:                    $

          B.      Maximum allowed per fiscal year:                           $5,000,000750,000

          In Compliance?                                                     YES or NO

II.  Section 8.14(a) – Minimum Consolidated Total Liabilities to Consolidated Tangible
Net WorthEBITDA

       A.
Period Ending:

          1. B.   Required Consolidated Total LiabilitiesEBITDA              $

                  2.     Subordinated Indebtedness                           $

                  3.     Line II A.1 - Line II.A.2:                          $


          B.      Consolidated Tangible Net Worth at Statement Date:

                  1.     Shareholders’ equity                                $

                  2.     Intangible Assets                                   $

                  3.     Subordinated Indebtedness                           $

                  4.     Accounts receivable due from Affiliates more than $
180                      days past due

                  5.     Line II B.1 - Line II. B.2 + Line II.B.3 – Line     $
II.B.4:

          C.      Ratio (Line II.A to Line II.B.5):                          ____ to 1.00


      Maximum Permitted Consolidated Total Liabilities to Tangible           2.50 to 1.00
Net Worth:

          In Compliance?                                                     YES or NO



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III.   Section 8.14(b) Consolidated Net Income

        AC. Actual Consolidated Net Income of Credit                     $
Parties:EBITDA

       B.    Minimum required for each four fiscal quarter period        $1,000,000

       In Compliance?                                                    YES or NO

III.   Section 8.14(b) Maximum Restructuring Charges

       A.    Maximum Restructuring Charges in FY 2017:                   $3,400,000

       B.    Actual Restructuring Charges to date:                       $

       In Compliance?                                                    YES or NO

IV.    Section 8.14(c) –Consolidated Asset Coverage Ratio

       A.    Consolidated Asset Coverage Ratio

             1.     Aggregate amount of all Domestic Trade Accounts      $
                    Receivable on which Administrative Agent has a
                    perfected first priority lien
             2.     Aggregate amount of all Domestic Inventory on        $
                    which Administrative Agent has a perfected first
                    priority lien
             3.     Net book value of all Domestic Fixed Assets on       $
                    which Administrative Agent has a perfected first
                    priority lien
             4.     Aggregate amount of all Eligible Foreign Trade       $
                    Accounts Receivable
             5.     Aggregate amount of all LHI Pledged Equipment        $

             6.     Line IV.A.1+Line IV.A.2+Line IV.A.3+Line             $
                    IV.A.4+Line IV.A.5
             7.     Aggregate amount of all Foreign Trade Accounts       $
                    Receivable
             8.     Aggregate amount of all Foreign Inventory            $

             9.     Line IV.A.7 + Line IV.A.8                            $

             10.    Lesser of Line IV.A.9 and $7,500,000                 $

             11.    Line IV.A.6 + Line IV.A.10                           $



                        Schedule 1 to Officer’s Compliance Certificate
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          12.    Aggregate amount of L/C Obligations of Credit        $
                 Parties
          13.    Aggregate amount of outstanding Revolving            $
                 Credit Loans and Swingline Loans

          14.    Line IV.A.12 + Line IV.A.13                          $

    B.    Ratio (Line IV.A.11 to Line IV.A.14)                        ____ to 1.00

    Minimum Permitted Consolidated Asset Coverage Ratio:              1.50____ to 1.00

    In Compliance?                                                    YES or NO




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                                          EXHIBIT G

                             ASSIGNMENT AND ASSUMPTION

        This Assignment and Assumption (the “Assignment and Assumption”) is dated as of the
Effective Date set forth below and is entered into by and between [INSERT NAME OF
ASSIGNOR] (the “Assignor”) and the parties identified on the Schedules hereto and [the] [each]
Assignee identified on the Schedules hereto as “Assignee” or as “Assignees” (collectively, the
“Assignees” and each an “Assignee”). [It is understood and agreed that the rights and
obligations of [the Assignees][the Assignors] hereunder are several and not joint.] Capitalized
terms used but not defined herein shall have the meanings given to them in the Credit Agreement
identified below (as amended, restated, supplemented, or otherwise modified from time to time,
the “Credit Agreement”), receipt of a copy of which is hereby acknowledged by [the] [each]
Assignee. The Standard Terms and Conditions set forth in Annex 1 attached hereto are hereby
agreed to and incorporated herein by reference and made a part of this Assignment and
Assumption as if set forth herein in full.

        For an agreed consideration, the Assignor hereby irrevocably sells and assigns to [the
Assignee] [the respective Assignees], and [the] [each] Assignee hereby irrevocably purchases
and assumes from the Assignor, subject to and in accordance with the Standard Terms and
Conditions and the Credit Agreement, as of the Effective Date inserted by the Administrative
Agent as contemplated below (i) all of the Assignor’s rights and obligations in its capacity as a
Lender under the Credit Agreement and any other documents or instruments delivered pursuant
thereto to the extent related to the amount and percentage interest identified below of all of such
outstanding rights and obligations of the Assignor under the respective facilities identified below
(including without limitation any letters of credit, guarantees, and swingline loans included in
such facilities) and (ii) to the extent permitted to be assigned under applicable law, all claims,
suits, causes of action and any other right of the Assignor (in its capacity as a Lender) against
any Person, whether known or unknown, arising under or in connection with the Credit
Agreement, any other documents or instruments delivered pursuant thereto or the loan
transactions governed thereby or in any way based on or related to any of the foregoing,
including, but not limited to, contract claims, tort claims, malpractice claims, statutory claims
and all other claims at law or in equity related to the rights and obligations sold and assigned
pursuant to clause (i) above (the rights and obligations sold and assigned to [the] [any] Assignee
pursuant to clauses (i) and (ii) above being referred to herein collectively as, [the] [an]
“Assigned Interest”). Each such sale and assignment is without recourse to the Assignor and,
except as expressly provided in this Assignment and Assumption, without representation or
warranty by the Assignor.

1.       Assignor:                     [INSERT NAME OF ASSIGNOR]

2.       Assignee(s):                  See Schedules attached hereto

3.       Borrowers:                    Lockwood Enterprises, Inc., a Texas corporation;
                                       Lockwood International, Inc., a Texas corporation;
                                       LMG Manufacturing, Inc., a Texas corporation; and
                                       Piping Components, Inc., a Texas corporation (the


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                                               “Borrowers”)

4.         Administrative Agent                Wells Fargo Bank, National Association, as the
                                               Administrative Agent under the Credit Agreement

5.         Credit Agreement:                   The Amended and Restated Credit Agreement dated as
                                               of September 30, 2015, among the Borrowers, the
                                               lenders parties thereto, and Wells Fargo Bank, National
                                               Association, as Administrative Agent, Swingline Lender
                                               and Issuing Lender (as amended, restated, supplemented
                                               or otherwise modified)

6.         Assigned Interest:                  See Schedules attached hereto

[7.        Trade Date:                                          ]2



               [Remainder of Page Intentionally Left Blank; Signature Page Follows.]




2
    To be completed if the Assignor and the Assignees intend that the minimum assignment amount is to be
    determined as of the Trade Date.


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Effective Date: ____________ ___, 2____ [TO BE INSERTED BY THE
ADMINISTRATIVE AGENT AND WHICH SHALL BE THE EFFECTIVE DATE OF
RECORDATION OF TRANSFER IN THE REGISTER THEREFOR]

The terms set forth in this Assignment and Assumption are hereby agreed to:

                                           ASSIGNOR
                                           [NAME OF ASSIGNOR]


                                           By:
                                           Name:
                                           Title:


                                           ASSIGNEES

                                           See Schedules attached hereto




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[Consented to and]3 Accepted:

WELLS FARGO BANK, NATIONAL ASSOCIATION,
as Administrative Agent, Issuing Lender and Swingline Lender


By:
Name:
Title:


[Consented to:4

LOCKWOOD ENTERPRISES, INC.


By:
Name:
Title:

LOCKWOOD INTERNATIONAL, INC.


By:
Name:
Title:

LMG MANUFACTURING, INC.


By:
Name:
Title:

PIPING COMPONENTS, INC.


By:
Name:
Title:




3
  To be added only if the consent of the Administrative Agent and/or the Swingline Lender and Issuing Lender is
  required by the term of the Credit Agreement.
4
  To be added only if the consent of the Borrowers are required by the terms of the Credit Agreement


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                                             SCHEDULE 1
                                     To Assignment and Assumption

By its execution of this Schedule, the Assignee identified on the signature block below agrees to
the terms set forth in the attached Assignment and Assumption.

Assigned Interests:

      Facility              Aggregate           Amount of              Percentage           CUSIP Number
     Assigned5              Amount of          Commitment/             Assigned of
                           Commitment/        Loans Assigned7         Commitment /
                           Loans for all                                 Loans8
                             Lenders6
                       $                      $                                            %
                       $                      $                                            %
                       $                      $                                            %
                       $                      $                                            %

                                                   [NAME OF ASSIGNEE]
                                                   [and is an Affiliate/Approved Fund of [identify
                                                   Lender]]


                                                   By:
                                                   Name:
                                                   Title:




5
  Revolving Credit Facility
6
  Amount to be adjusted by the counterparties to take into account any payments or prepayments made between the
  Trade Date and the Effective Date.
7
  Amount to be adjusted by the counterparties to take into account any payments or prepayments made between the
  Trade Date and the Effective Date.
8
  Set forth, to at least 9 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.


                               Schedule 1 to Assignment and Assumption
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                                          ANNEX 1
                                 to Assignment and Assumption

                        STANDARD TERMS AND CONDITIONS FOR
                           ASSIGNMENT AND ASSUMPTION

       1.      Representations and Warranties.

               1.1      Assignor. The Assignor (a) represents and warrants that (i) it is the legal
and beneficial owner of the Assigned Interest, (ii) the Assigned Interest is free and clear of any
lien, encumbrance or other adverse claim and (iii) it has full power and authority, and has taken
all action necessary, to execute and deliver this Assignment and Assumption and to consummate
the transactions contemplated hereby; and (b) assumes no responsibility with respect to (i) any
statements, warranties or representations made in or in connection with the Credit Agreement or
any other Loan Document, (ii) the execution, legality, validity, enforceability, genuineness,
sufficiency or value of the Loan Documents or any collateral thereunder, (iii) the financial
condition of the Borrowers, any of their respective Subsidiaries or Affiliates or any other Person
obligated in respect of any Loan Document or (iv) the performance or observance by the
Borrowers, any of their respective Subsidiaries or Affiliates or any other Person of any of their
respective obligations under any Loan Document.

                1.2.     Assignee[s]. [The] [Each] Assignee (a) represents and warrants that (i) it
has full power and authority, and has taken all action necessary, to execute and deliver this
Assignment and Assumption and to consummate the transactions contemplated hereby and to
become a Lender under the Credit Agreement, (ii) it meets all the requirements to be an assignee
under [Section 11.10(b)(iii), (v) and (vi)] of the Credit Agreement (subject to such consents, if
any, as may be required under Section 11.10(b)(iii) of the Credit Agreement), (iii) from and after
the Effective Date, it shall be bound by the provisions of the Credit Agreement as a Lender
thereunder and, to the extent of [the] [the relevant] Assigned Interest, shall have the obligations
of a Lender thereunder, (iv) it is sophisticated with respect to decisions to acquire assets of the
type represented by the Assigned Interest and either it, or the person exercising discretion in
making its decision to acquire the Assigned Interest, is experienced in acquiring assets of such
type, (v) it has received a copy of the Credit Agreement, and has received or has been accorded
the opportunity to receive copies of the most recent financial statements delivered pursuant to
Section 7.1 thereof, as applicable, and such other documents and information as it deems
appropriate to make its own credit analysis and decision to enter into this Assignment and
Assumption and to purchase [the] [such] Assigned Interest, (vi) it has, independently and
without reliance upon the Administrative Agent, or any other Lender and based on such
documents and information as it has deemed appropriate, made its own credit analysis and
decision to enter into this Assignment and Assumption and to purchase [the] [such] Assigned
Interest, and (vii) if it is a Foreign Lender, attached to the Assignment and Assumption is any
documentation required to be delivered by it pursuant to the terms of the Credit Agreement, duly
completed and executed by the Assignee; and (b) agrees that (i) it will, independently and
without reliance on the Administrative Agent, [the] [any] the Assignor or any other Lender, and
based on such documents and information as it shall deem appropriate at the time, continue to
make its own credit decisions in taking or not taking action under the Loan Documents, and (ii)



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it will perform in accordance with their terms all of the obligations which by the terms of the
Loan Documents are required to be performed by it as a Lender.

        2.     Payments. From and after the Effective Date, the Administrative Agent shall
make all payments in respect of [the] [each] Assigned Interest (including payments of principal,
interest, fees and other amounts) to the Assignor for amounts which have accrued to but
excluding the Effective Date and to [the] [the relevant] Assignee for amounts which have
accrued from and after the Effective Date.

        3.      General Provisions. This Assignment and Assumption shall be binding upon, and
inure to the benefit of, the parties hereto and their respective successors and assigns. This
Assignment and Assumption may be executed in any number of counterparts, which together
shall constitute one instrument. Delivery of an executed counterpart of a signature page of this
Assignment and Assumption by telecopy shall be effective as delivery of a manually executed
counterpart of this Assignment and Assumption. This Assignment and Assumption shall be
governed by, and construed in accordance with, the law of the State of Texas.




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                                          EXHIBIT H-1

                 FORM OF U.S. TAX COMPLIANCE CERTIFICATE
 (For Foreign Lenders That Are Not Partnerships For U.S. Federal Income Tax Purposes)

        Reference is hereby made to the Amended and Restated Credit Agreement dated as of
September 30, 2015 (as amended, supplemented or otherwise modified from time to time, the
“Credit Agreement”), among Lockwood Enterprises, Inc., a Texas corporation, Lockwood
International, Inc., a Texas corporation, LMG Manufacturing, Inc., a Texas corporation, and
Piping Components, Inc., a Texas corporation (collectively, the “Borrowers”), Wells Fargo
Bank, National Association, as Administrative Agent for the Lenders (in such capacity, the
“Administrative Agent”), Swingline Lender and Issuing Lender, and the lenders from time to
time party thereto (the “Lenders”).

          Pursuant to the provisions of Section 4.11(g)(ii)(B) of the Credit Agreement, the
undersigned hereby certifies that (i) it is the sole record and beneficial owner of the Loan(s) (as
well as any Note(s) evidencing such Loan(s)) in respect of which it is providing this certificate,
(ii) it is not a “bank” within the meaning of Section 881(c)(3)(A) of the Code, (iii) it is not a “ten
percent shareholder” of any of the Borrowers within the meaning of Section 881(c)(3)(B) of the
Code and (iv) it is not a controlled foreign corporation related to any of the Borrowers as
described in Section 881(c)(3)(C) of the Code.

        The undersigned has furnished the Administrative Agent and the Borrowers with a
certificate of its non-U.S. Person status on IRS Form W-8BEN. By executing this certificate, the
undersigned agrees that (i) if the information provided on this certificate changes, the
undersigned shall promptly so inform the Borrowers and the Administrative Agent, and (ii) the
undersigned shall have at all times furnished the Borrowers and the Administrative Agent with a
properly completed and currently effective certificate in either the calendar year in which each
payment is to be made to the undersigned, or in either of the two (2) calendar years preceding
such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
shall have the meanings given to them in the Credit Agreement.

[NAME OF LENDER]


By:
        Name:
        Title:

Date:




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                                          EXHIBIT H-2

                    FORM OF U.S. TAX COMPLIANCE CERTIFICATE
                     (For Foreign Participants That Are Not Partnerships
                           For U.S. Federal Income Tax Purposes)

        Reference is hereby made to the Amended and Restated Credit Agreement dated as of
September 30, 2015 (as amended, supplemented or otherwise modified from time to time, the
“Credit Agreement”), among Lockwood Enterprises, Inc., a Texas corporation, Lockwood
International, Inc., a Texas corporation, LMG Manufacturing, Inc., a Texas corporation, and
Piping Components, Inc., a Texas corporation (collectively, the “Borrowers”), Wells Fargo
Bank, National Association, as Administrative Agent for the Lenders (in such capacity, the
“Administrative Agent”), Swingline Lender and Issuing Lender, and the lenders from time to
time party thereto (the “Lenders”).

       Pursuant to the provisions of Section 4.11(g)(ii)(B) of the Credit Agreement, the
undersigned hereby certifies that (i) it is the sole record and beneficial owner of the participation
in respect of which it is providing this certificate, (ii) it is not a “bank” within the meaning of
Section 881(c)(3)(A) of the Code, (iii) it is not a “ten percent shareholder” of any of the
Borrowers within the meaning of Section 881(c)(3)(B) of the Code, and (iv) it is not a controlled
foreign corporation related to any of the Borrowers as described in Section 881(c)(3)(C) of the
Code.

         The undersigned has furnished its participating Lender with a certificate of its non-U.S.
Person status on IRS Form W-8BEN. By executing this certificate, the undersigned agrees that
(i) if the information provided on this certificate changes, the undersigned shall promptly so
inform such Lender in writing, and (ii) the undersigned shall have at all times furnished such
Lender with a properly completed and currently effective certificate in either the calendar year in
which each payment is to be made to the undersigned, or in either of the two (2) calendar years
preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
shall have the meanings given to them in the Credit Agreement.

[NAME OF PARTICIPANT]


By:
        Name:
        Title:

Date:




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                                          EXHIBIT H-3

                 FORM OF U.S. TAX COMPLIANCE CERTIFICATE
 (For Foreign Participants That Are Partnerships For U.S. Federal Income Tax Purposes)

        Reference is hereby made to the Amended and Restated Credit Agreement dated as of
September 30, 2015 (as amended, supplemented or otherwise modified from time to time, the
“Credit Agreement”), among Lockwood Enterprises, Inc., a Texas corporation, Lockwood
International, Inc., a Texas corporation, LMG Manufacturing, Inc., a Texas corporation, and
Piping Components, Inc., a Texas corporation (collectively, the “Borrowers”), Wells Fargo
Bank, National Association, as Administrative Agent for the Lenders (in such capacity, the
“Administrative Agent”), Swingline Lender and Issuing Lender, and the lenders from time to
time party thereto (the “Lenders”).

        Pursuant to the provisions of Section 4.11(g)(ii)(B) of the Credit Agreement, the
undersigned hereby certifies that (i) it is the sole record owner of the participation in respect of
which it is providing this certificate, (ii) its direct or indirect partners/members are the sole
beneficial owners of such participation, (iii) with respect such participation, neither the
undersigned nor any of its direct or indirect partners/members is a “bank” extending credit
pursuant to a loan agreement entered into in the ordinary course of its trade or business within
the meaning of Section 881(c)(3)(A) of the Code, (iv) none of its direct or indirect
partners/members is a “ten percent shareholder” of any of the Borrowers within the meaning of
Section 881(c)(3)(B) of the Code and (v) none of its direct or indirect partners/members is a
controlled foreign corporation related to any of the Borrowers as described in Section
881(c)(3)(C) of the Code.

        The undersigned has furnished its participating Lender with IRS Form W-8IMY
accompanied by one of the following forms from each of its partners/members that is claiming
the portfolio interest exemption: (i) an IRS Form W-8BEN or (ii) an IRS Form W-8IMY
accompanied by an IRS Form W-8BEN from each of such partner’s/member’s beneficial owners
that is claiming the portfolio interest exemption. By executing this certificate, the undersigned
agrees that (x) if the information provided on this certificate changes, the undersigned shall
promptly so inform such Lender and (y) the undersigned shall have at all times furnished such
Lender with a properly completed and currently effective certificate in either the calendar year in
which each payment is to be made to the undersigned, or in either of the two (2) calendar years
preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
shall have the meanings given to them in the Credit Agreement.

[NAME OF PARTICIPANT]

By:
        Name:
        Title:

Date:


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                                          EXHIBIT H-4

                 FORM OF U.S. TAX COMPLIANCE CERTIFICATE
   (For Foreign Lenders That Are Partnerships For U.S. Federal Income Tax Purposes)

        Reference is hereby made to the Amended and Restated Credit Agreement dated as of
September 30, 2015 (as amended, supplemented or otherwise modified from time to time, the
“Credit Agreement”), among Lockwood Enterprises, Inc., a Texas corporation, Lockwood
International, Inc., a Texas corporation, LMG Manufacturing, Inc., a Texas corporation, and
Piping Components, Inc., a Texas corporation (collectively, the “Borrowers”), Wells Fargo
Bank, National Association, as Administrative Agent for the Lenders (in such capacity, the
“Administrative Agent”), Swingline Lender and Issuing Lender, and the lenders from time to
time party thereto (the “Lenders”).
        Pursuant to the provisions of Section 4.11(g)(ii)(B) of the Credit Agreement, the
undersigned hereby certifies that (i) it is the sole record owner of the Loan(s) (as well as any
Note(s) evidencing such Loan(s)) in respect of which it is providing this certificate, (ii) its direct
or indirect partners/members are the sole beneficial owners of such Loan(s) (as well as any
Note(s) evidencing such Loan(s)), (iii) with respect to the extension of credit pursuant to this
Credit Agreement or any other Loan Document, neither the undersigned nor any of its direct or
indirect partners/members is a “bank” extending credit pursuant to a loan agreement entered into
in the ordinary course of its trade or business within the meaning of Section 881(c)(3)(A) of the
Code, (iv) none of its direct or indirect partners/members is a “ten percent shareholder” of any of
the Borrowers within the meaning of Section 881(c)(3)(B) of the Code and (v) none of its direct
or indirect partners/members is a controlled foreign corporation related to any of the Borrowers
as described in Section 881(c)(3)(C) of the Code.
        The undersigned has furnished the Administrative Agent and the Borrowers with IRS
Form W-8IMY accompanied by one of the following forms from each of its partners/members
that is claiming the portfolio interest exemption: (i) an IRS Form W-8BEN or (ii) an IRS Form
W-8IMY accompanied by an IRS Form W-8BEN from each of such partner’s/member’s
beneficial owners that is claiming the portfolio interest exemption. By executing this certificate,
the undersigned agrees that (x) if the information provided on this certificate changes, the
undersigned shall promptly so inform the Borrowers and the Administrative Agent, and (y) the
undersigned shall have at all times furnished the Borrowers and the Administrative Agent with a
properly completed and currently effective certificate in either the calendar year in which each
payment is to be made to the undersigned, or in either of the two (2) calendar years preceding
such payments.
        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
shall have the meanings given to them in the Credit Agreement.
[NAME OF LENDER]

By:
        Name:
        Title:

Date:


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                                           SCHEDULE 1.1

                                     Lender Commitments


                                                      Maximum Aggregate Revolving Credit
                      Period                              Commitment of all Lenders
 February 27, 2017 through July 30, 2017                          $72,000,000*
 July 31, 2017 through October 30, 2017                           $67,000,000*
 October 31, 2017 through January 30, 2018                        $62,000,000*
 January 31, 2018 through April 29, 2018                          $57,000,000*
 April 30, 2018 through September 30, 2018                         $55,000,000



                                                           Revolving Credit Commitment
                     Lender                                         Percentage
 Wells Fargo Bank, National Association                     $70,000,000.0077.777778%
 Trustmark National Bank                                    $20,000,000.0022.222222%
 Total                                                         $90,000,000.00100%




* Subject to Sections 2.5(c) and 7.20(b)


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                               SCHEDULE 1.2

                               Existing Hedges

                                    None.




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                                  SCHEDULE 1.3

                  Existing Letters of Credit as of the Closing Date

    Beneficiary                        Amount                         Expiry Date

     ING Belgium                        $400,000.00                   01/18/2018

     CB and I UK Limited                $ 46,390.53                   02/01/2016

     CB and I UK Limited                $134,120.87                   07/01/2016

     Flour Limited UK                   $188,079.55                   11/30/2016

     Linde Engineering – USA            $ 23,188.47                   02/28/2019

     Daelim Industrial Co. Ltd          $ 68,498.85                   12/05/2016

     Sasol Chemicals, LLC               $123,517.05                   09/30/2017

     OMB SPA                            $250,000.00                   12/31/2015




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                                        SCHEDULE 6.1

            JURISDICTIONS OF ORGANIZATION AND QUALIFICATION

Each Borrower is incorporated in Texas.

Lockwood International, Inc. is qualified to do business in Illinois and Indiana. , Ohio,
Louisiana (not in good standing), Indiana, British Columbia, Canada, Alberta, Canada, and
Ontario, Canada.

Except as set forth herein, Borrowers have not obtained any other foreign qualifications.




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                                        SCHEDULE 6.2

                          SUBSIDIARIES AND CAPITALIZATION


Subsidiaries (direct ownership) of LEI:

Lockwood International, Inc.

Lockwood PVF Canada, Inc. (Alberta, Canada)

LMG Manufacturing, Inc.

Subsidiaries (direct ownership) of LII:

Vietnam Lockwood Co. Ltd.

Lockwood Valves SeaAsia, PTE (in process of winding down)

Lockwood Valve Thailand, LTD (in process of winding down)

Lockwood Valve Australia, PTY, LTD

Subsidiaries (direct ownership) of LMG:

Piping Components, Inc.

Subsidiaries (direct ownership) of PCI:

None

Other Equity Investments: None.

Owners of Equity Interests in Borrowers:

LEI’s Common Stock – 1,000 shares authorized for issuance, par value of $0.01 per share

       Michael F. Lockwood – issued 1,000 shares of common stock

LII’s Common Stock – 500,000 shares authorized for issuance, no par value per share

LEI – issued 340 shares of common stock

LII’s Preferred Stock – 7,200 shares authorized for issuance, par value of $100.00 per share

       None currently outstanding.



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LMG’s Common Stock – 1,000 shares authorized for issuance, par value of $0.01 per share

LEI – issued 1,000 shares of common stock

PCI’s Common Stock – 1,000 shares authorized for issuance, par value of $0.01 per share

LMG – issued 1,000 shares of common stock




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                                     SCHEDULE 6.9

                             EMPLOYEE BENEFIT PLANS


Group Medical, Insurance, and 401k Plans




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                                    SCHEDULE 6.12

                               MATERIAL CONTRACTS


That certain MC Goods with Incidental Services Agreement between LII and ExxonMobil
Global Services Company dated October 1, 2007, and expiring on September 30, 2014.
(Renewed)March 9, 2017

That certain Master Goods Agreement between LII, Invista S.a.r.l., a Luxembourg limited
liability company, and Invista Canada Company, dated July 21, 2006, and renewing on October
18, 2011. (Renewed September 24, 2015)(Evergreen)

That certain ME – Master Supply Agreement (Goods) between LII and Nova Chemicals
Corporation, dated May 1, 2007, and expiring on April 30, 2012.

That certain Global Pricing Agreement CW11237 between LII and Air Products and Chemicals,
Inc., dated May 20, 2009.That certain Revolving Promissory Note in the amount of up to
$15,000,000 made by LII payable to the order of LHI dated February 10, 2015 and related
agreements2017 (Out for Bid).

That certain Revolving Promissory Note in the amount of up to $2,000,000 made by Tomoe
USA, Inc. payable to the order of LII dated January 18, 2013 and related agreements.

Stock Purchase Agreement dated August 1, 2013 with Thomas W. Lockwood and related
Thomas Lockwood Note and Thomas Lockwood Security Agreement and related documents.

That certain Software License and Service Agreement by and between Team Total Solutions,
LLC and LII dated January 16, 2015 and related agreements.

That certain Service Agreement by and between LII and Van Leeuwen MRO and Services, LLC
dated February 1, 2015.

That certain Blanket Product Purchase Agreement by and between LII and Total Petrochemicals
and Refining USA, Inc. and related agreements.

That certain Independent Consultant Agreement between LII and Trade Skills Global, Inc.
(Canada) dated effective as of April 19, 2015 and related agreements.

E.I. du Pont de Nemours Maintenance, Repair, and Operating Supplies Agreement, #CW212652,
Master Agreement MA-00393-12, dated March 15, 2010, expriring March 15, 2018.

Kinder Morgan Contracting Services, LLC and Kinder Morgan Canada, Inc., Pricing and Supply
Agreement Number 98417, commencing January 1, 2017, expiring December 31, 2021.




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Total Petrochemicals & Refining USA, Blanket Product Purchase Agreement, commencing
April 27, 2015, ending April 27, 2018.

Imperial Oil, MC Goods Agreement Number A2391442, start date of March 1, 2017, ending
March 8, 2018.

Big Rivers Electric Corporation, Supply Agreement, starting August 1, 2016, ending August 1,
2019

Invista S.a.r.l, Master Goods Agreement date July 21, 2006, renewed September 24, 2015,
automatic renewal yearly, thereafter.

Van Leeuwen MRO and Services, LLC, Service Agreement dated February 1, 2015, ending
February 1, 2022

Contract with Energy Transfer

Contract with NNG (Northern Natural Gas)




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                               SCHEDULE 6.13

          LABOR AND COLLECTIVE BARGAINING AGREEMENTS

                                    None.




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                                        SCHEDULE 6.18

                                      REAL PROPERTY

LEI leased locations:

10002 Windfern Rd.
Houston, TX 77065

LII leased locations:

6802 Loehrlein Drive
Evansville, IN 47715

803 Wilson Rd.
Clute, TX 77531 (lease of this property is anticipated shortly after Closing Date)

901 Wilson Rd.
Clute, TX 77531 (lease of this property is anticipated shortly after Closing Date)

6000 Deakle Rd.
Theodore, AL 36582

20435 Tillman Avenue
Carson, CA 90746

214 Amendodge Drive (Pending sale; closing is anticipated in approximately 30 days)
Shorewood, IL 60431

4650 New Middle Road
Jeffersonville, IN

7000 Exchequer Drive
Baton Rouge, LA 70809

912 John Stine Road (Property is for sale)
Westlake, LA 70669

10103 Industriplex Ave.
Gonzales, LA 70737

3888 S. Sherwood Forest Blvd, Suite 3K
Baton Rouge, LA 70816

1035 Cerise Rd
Billings, MT 59101



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10203 Wallisville Rd.
Houston, TX 77013

900 South Business Park Drive
Port Arthur, TX 77640

15700 International Plaza
Houston, TX 77032

184 Turbo Drive
Sherwood Park, AB, Canada

499 Gladwish Drive
Sarnia, ONT, Canada

7015 Macleod Trial SW, Unit 605
Calgary, AB, Canada

15700 International Plaza Drive, Suites 100 & 150
Houston, TX 77032


LMG leased locations:

10060 Windfern Rd.
Houston, TX 77065

PCI leased locations:

None.




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                                  SCHEDULE 6.19

                                    LITIGATION

1. Ferguson Enterprises, Inc., Plaintiff, vs. Glenn Hollenkamp, Keith Rager, Steven Collins,
   Jason Wermitt, Robert Renn, et al., and Lockwood International, Inc.; C.A.N. 3:15 –
   CV-656-DJH in U.S. District Court for Western District of Kentucky


2. Lockwood International, Inc., Plaintiff vs. Creative Valve Solutions, Inc. Defendant;
   Cause No. 2015-08982 in the District Court of Harris County, Texas.

3. Employment law claim by former Ontario, Canada employee Ruth Boyling.

4. Claim against former employee Josh Parks for overpayment.
2. 5. EEOC Claim by former employee Christopher Seymour.


6. Claim by bankruptcy trustee of Hoku Corporation to recover amounts paid to LII by
   Hoku Corporation.
3. 7. Claim by creditor of Leading Edge Logistics, LLC that LII owes payment for services
   rendered by Leading Edge Logistics, LLC.


8. Claim by Piping and Equipment, Inc. against former employees of Piping and
   Equipment, Inc., now employees of LII, claiming breach of confidentiality and
   non-competition and non-solicitation obligations to Piping and Equipment, Inc.

9. Wage claim by former employee Rafael Soza.
4. 10. Claims relating to TY Valve Corporation’s pending bankruptcy proceeding.

5. Cowboy Industrial Sales, Inc. v. Ronald Sonnier and Lockwood International Inc., Cause
   No. E-0195688 in the 172nd Judicial District Court of Jefferson County, Texas.
   [Settlement discussions are on-going.]
6. Employment law claims by former California employee Wade Lestage who was
   terminated in a Reduction in Force. [Settlement discussions are on-going.]
7. Employment law claims by former employee Kerri Ramos [Claims were settled;
   Lockwood International, Inc. to pay $15,000 to Ramos and Ramos’ counsel in
   consideration for full release.]
8. Claim by a former Consultant for Lockwood International, Inc., Raymond Nava, for fees
   allegedly due prior to termination of Consulting Agreement. [Claim is for $10,900.00.
   Settlement discussions are on-going]
9. Claim by former Canadian employee John Fernandez [Claim settled; Lockwood
   International, Inc. to make remaining settlement payments on March 1, 2017 (in the
   amount of $50,000), April 1, 2017 (in the amount of $50,000), May 1, 2017 (in the
   amount of $50,000) and August 1, 2017 (in the amount of $100,000).]




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   10. Claims by CGCF and Signature Financial involving Lockwood International, Inc.’s
       seeking to terminate financing leases for JD Edwards/Oracle software and equipment
       that is not used by Lockwood. [Settlement discussions are on-going.]
   11. Business First Bank v. Darryl L. Boudreaux [a Lockwood International employee],
       Parish of East Baton Rouge, Louisiana [Garnishment discovery was answered by
       Lockwood; Motion for Judgment Pro Confesso filed by Garnishor; Lockwood
       International’s Louisiana counsel is negotiating with Garnishor’s counsel.]
   12. Lockwood International, Inc. v. Team Total Solutions, L.L.C. and William Boots v. Max
       Vallaro, Piping Components, Inc. and Lockwood Holdings, Inc. in the 333rd Judicial
       District Court of Harris County, Texas [Case settled; case abated; under the Settlement
       Agreement and Mutual Release effective December 30, 2016, Lockwood is to make
       settlement payments of $25,000 on or before March 15, 2017, April 15, 2017 and May
       15, 2017 and will pay $12,500.00 per month for each month Lockwood continues to
       utilize Team Total Solution’s 4U ERP software through June, 2017.]
   13. Claims by ADP in connection with termination of foreign payroll services no longer
       needed by Lockwood entities. [Settlement negotiations are on-going]
   14. Claim by former employee Ricardo Ibarra for severance under his Employment
       Agreement. [Letter from Ibarra’s counsel received January 9, 2017; Lockwood
       International, Inc. maintains no severance is due to Ibarra.]
   15. Claim by former employee Pam Gonzalez alleging wrongful termination. [Lockwood
       International, Inc.’s counsel investigated and found no indication of a wrongful
       termination.]
   16. EEOC Claim filed by former employee Stephanie Bourg. [Lockwood filed its Position
       Statement denying any discrimination or retaliation. Lockwood also responded to an
       EEOC Request for Information by letter dated October 27, 2016.]
   17. Claim by Bechtel relating to allegedly non-conforming valves supplied by Lockwood.
       [Bechtel and Lockwood are engaged in informal settlement discussions. Lockwood has
       sent a charge-back notice to O.M.B., the manufacturer of the subject valves.]
   18. Claim by AMEC/Foster Wheeler relating to allegedly non-conforming valves supplied in
       Canada. [AMEC/Foster Wheeler and Lockwood International, Inc. are reviewing the
       claim; Lockwood International, Inc. is working with Pentair, the manufacturer of the
       subject valves to effect resolution.]

*The foregoing list includes proceedings and other matters which are being (or have been
previously) disclosed under Section 7.3 of the Amended and Restated Credit Agreement as
amended by the Fourth Amendment to Amended and Restated Credit Agreement and Limited
Waiver of Defaults.




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                                    SCHEDULE 7.18

                              POST CLOSING MATTERS


LII will use its commercially reasonably efforts to obtain an executed Landlord Waiver from
LHI, as sublessor, and Dalfen America Corp., as prime landlord, in respect of the 10203
Wallisville Rd., Houston, TX 77013 location, within 3045 days after the Closing Date (which
date may be extended by Administrative Agent in its sole reasonable discretion).




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                                      SCHEDULE 8.1

                               EXISTING INDEBTEDNESS



Guarantees of LEI, LII, LMG and PCI in favor of Wells Fargo Bank, as lender to LHI, in respect
of the LHI Credit Agreement.




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                                      SCHEDULE 8.2

                                     EXISTING LIENS


Liens granted by LII under that certain Security Agreement dated as of August 1, 2013, executed
by LII in favor of Thomas W. Lockwood to secure the obligations of LII under the Thomas
Lockwood Note and in respect of the Thomas Lockwood Non-Compete Consideration, as such
agreement may be amended, restated, supplemented or otherwise modified from time to time.




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                                      SCHEDULE 8.3

                 EXISTING LOANS, ADVANCES AND INVESTMENTS



Certain intercompany advances by LHI to LII in the amount of $2,854,003.16 (balance as of
September 28, 2015) which has been advanced under the LHI Intercompany Note.

Certain advances by LII to Tomoe USA, Inc. in the amount of approximately $1,868,968
$1,724,057.73 (balance as of September 30, 2015February 24, 2017) under that certain
Revolving Promissory Note in the amount of up to $15,000,0002,000,000 made by Tomoe USA,
Inc. payable to the order of LII dated January 18, 2013 and related agreements.

Borrowers’ Guarantees of the indebtedness of LHI under that certain Amended and Restated
Credit Agreement dated as February 6, 2015 between LHI and Wells Fargo Bank, National
Association (as amended from time to time).

Guarantees by Lockwood Enterprises, Inc. and Lockwood International, Inc. of the indebtedness
of LH Aviation, LLC to Wells Fargo Equipment Finance, Inc. (the balance of LHI’s
indebtedness is $13,866,603.28 as of February 24, 2017).




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                                      SCHEDULE 8.7

                          TRANSACTIONS WITH AFFILIATES

See Schedule 6.18 (indicating leases between LHI and LII) and Schedule 8.3.




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                                REVOLVING CREDIT NOTE

$70,000,000                                                                  September 30, 2015

        FOR VALUE RECEIVED, the undersigned, LOCKWOOD ENTERPRISES, INC., a
Texas corporation, LOCKWOOD INTERNATIONAL, INC., a Texas corporation, LMG
MANUFACTURING, INC., a Texas corporation, and PIPING COMPONENTS, INC., a Texas
corporation (each a “Borrower” and collectively, “Borrowers”), promise to pay to WELLS
FARGO BANK, NATIONAL ASSOCIATION (the “Lender”), at the place and times provided
in the Credit Agreement referred to below, the principal sum of SEVENTY MILLION
DOLLARS ($70,000,000) or, if less, the unpaid principal amount of all Revolving Credit Loans
made by the Lender from time to time pursuant to that certain Amended and Restated Credit
Agreement dated as of September 30, 2015 (as amended, restated, supplemented or otherwise
modified from time to time, the “Credit Agreement”) by and among Borrowers, the lenders who
are or may become a party thereto, and Wells Fargo Bank, National Association, as
Administrative Agent, Swingline Lender and Issuing Lender. Capitalized terms used herein and
not defined herein shall have the meanings assigned thereto in the Credit Agreement.

        The unpaid principal amount of this Revolving Credit Note from time to time outstanding
is subject to mandatory repayment from time to time as provided in the Credit Agreement and
shall bear interest as provided in Section 4.1 of the Credit Agreement. All payments of principal
and interest on this Revolving Credit Note shall be payable in lawful currency of the United
States in immediately available funds to the account designated in the Credit Agreement.

        This Revolving Credit Note is entitled to the benefits of, and evidences Obligations
incurred under, the Credit Agreement, to which reference is made for a description of the
security for this Revolving Credit Note and for a statement of the terms and conditions on which
Borrowers are permitted and required to make prepayments and repayments of principal of the
Obligations evidenced by this Revolving Credit Note and on which such Obligations may be
declared to be immediately due and payable.

     THIS REVOLVING CREDIT NOTE SHALL BE GOVERNED BY, CONSTRUED
AND ENFORCED IN ACCORDANCE WITH THE LAWS OF THE STATE OF TEXAS,
WITHOUT REFERENCE TO CONFLICTS OR CHOICE OF LAW PRINCIPLES THEREOF.

        The Indebtedness evidenced by this Revolving Credit Note is senior in right of payment
to all Subordinated Indebtedness referred to in the Credit Agreement.

        Each Borrower hereby waives all requirements as to diligence, presentment, demand of
payment, protest and (except as required by the Credit Agreement) notice of any kind with
respect to this Revolving Credit Note.

                                   [Signature page follows.]




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                                REVOLVING CREDIT NOTE

$20,000,000                                                                  September 30, 2015

        FOR VALUE RECEIVED, the undersigned, LOCKWOOD ENTERPRISES, INC., a
Texas corporation, LOCKWOOD INTERNATIONAL, INC., a Texas corporation, LMG
MANUFACTURING, INC., a Texas corporation, and PIPING COMPONENTS, INC., a Texas
corporation (each a “Borrower” and collectively, “Borrowers”), promise to pay to
TRUSTMARK NATIONAL BANK (the “Lender”), at the place and times provided in the
Credit Agreement referred to below, the principal sum of TWENTY MILLION
DOLLARS ($20,000,000) or, if less, the unpaid principal amount of all Revolving Credit Loans
made by the Lender from time to time pursuant to that certain Amended and Restated Credit
Agreement dated as of September 30, 2015 (as amended, restated, supplemented or otherwise
modified from time to time, the “Credit Agreement”) by and among Borrowers, the lenders who
are or may become a party thereto, and Wells Fargo Bank, National Association, as
Administrative Agent, Swingline Lender and Issuing Lender. Capitalized terms used herein and
not defined herein shall have the meanings assigned thereto in the Credit Agreement.

        The unpaid principal amount of this Revolving Credit Note from time to time outstanding
is subject to mandatory repayment from time to time as provided in the Credit Agreement and
shall bear interest as provided in Section 4.1 of the Credit Agreement. All payments of principal
and interest on this Revolving Credit Note shall be payable in lawful currency of the United
States in immediately available funds to the account designated in the Credit Agreement.

        This Revolving Credit Note is entitled to the benefits of, and evidences Obligations
incurred under, the Credit Agreement, to which reference is made for a description of the
security for this Revolving Credit Note and for a statement of the terms and conditions on which
Borrowers are permitted and required to make prepayments and repayments of principal of the
Obligations evidenced by this Revolving Credit Note and on which such Obligations may be
declared to be immediately due and payable.

     THIS REVOLVING CREDIT NOTE SHALL BE GOVERNED BY, CONSTRUED
AND ENFORCED IN ACCORDANCE WITH THE LAWS OF THE STATE OF TEXAS,
WITHOUT REFERENCE TO CONFLICTS OR CHOICE OF LAW PRINCIPLES THEREOF.

        The Indebtedness evidenced by this Revolving Credit Note is senior in right of payment
to all Subordinated Indebtedness referred to in the Credit Agreement.

        Each Borrower hereby waives all requirements as to diligence, presentment, demand of
payment, protest and (except as required by the Credit Agreement) notice of any kind with
respect to this Revolving Credit Note.

                                   [Signature page follows.]




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                                                                        EXECUTION VERSION


                                         GUARANTY

                                       February 27, 2017



TO:     WELLS FARGO BANK, NATIONAL ASSOCIATION

        1.     GUARANTY; DEFINITIONS. In consideration of the credit or other financial
accommodation described herein and extended or made to LOCKWOOD ENTERPRISES, INC.,
a Texas corporation, LOCKWOOD INTERNATIONAL, INC., a Texas corporation, LMG
MANUFACTURING, INC., a Texas corporation, and PIPING COMPONENTS, INC., a Texas
corporation (collectively, “Borrower”), by WELLS FARGO BANK, NATIONAL
ASSOCIATION and TRUSTMARK BANK (collectively, “Bank”), and for other valuable
consideration, the undersigned MICHAEL F. LOCKWOOD (“Guarantor”), unconditionally
guarantees and promises to pay to Bank, or order, on demand in lawful money of the United
States of America and in immediately available funds, any and all Indebtedness of Borrower to
Bank in connection with that certain Amended and Restated Credit Agreement (as amended,
restated, supplemented, or otherwise modified from time to time, the “Credit Agreement”), dated
as of September 30, 2015, among Borrower, Bank and Wells Fargo Bank, National Association,
as administrative agent for Bank (the “Administrative Agent”), including the Obligation, under,
and as defined in, the Credit Agreement, which includes, but is not limited to, any Indebtedness
of Borrower to Bank under the Loans and Letters of Credit (as such terms are defined in the
Credit Agreement) and any Secured Hedge Liabilities other than Excluded Hedge Liabilities (as
such terms are defined in the Credit Agreement), together with all extensions, renewals and/or
modifications of any of the foregoing (which Indebtedness in connection with or relating to said
Credit Agreement and all such extensions, renewals and/or modifications shall be referred to
herein as the “Guaranteed Indebtedness”). The term “Indebtedness” is used herein in its most
comprehensive sense and includes any and all advances, debts, obligations and liabilities of
Borrower now or hereafter made, incurred or created, whether voluntary or involuntary and
however arising, whether due or not due, absolute or contingent, liquidated or unliquidated,
determined or undetermined, and whether Borrower may be liable individually or jointly with
others, or whether recovery upon such Indebtedness may be or hereafter becomes unenforceable.
This Guaranty is a guaranty of payment and not collection. In Guarantor’s judgment, the value
of the consideration received and to be received by Guarantor under the Loan Documents (as
defined in the Credit Agreement) is reasonably worth at least as much as Guarantor’s liability
and obligation under this Guaranty, and such liability and obligation may reasonably be expected
to benefit Guarantor directly or indirectly.

        2.     LIABILITY; OBLIGATION UNDER OTHER GUARANTIES. Any obligations
incurred or to be incurred by Borrower in addition to the Guaranteed Indebtedness shall not
modify or otherwise affect the obligations or liability of Guarantor hereunder. The obligations of
Guarantor hereunder shall be in addition to any obligations of Guarantor under any other
guaranties of any liabilities or obligations of Borrower or any other persons heretofore or
hereafter given to Bank unless said other guaranties are expressly modified or revoked in
writing; and this Guaranty shall not, unless expressly herein provided, affect or invalidate any
such other guaranties.



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        3.      SEPARATE ACTIONS; WAIVER OF STATUTE OF LIMITATIONS;
REINSTATEMENT OF LIABILITY. The obligations hereunder are independent of the
obligations of Borrower, and a separate action or actions may be brought and prosecuted against
Guarantor whether action is brought against Borrower or any other person, or whether Borrower
or any other person is joined in any such action or actions. Guarantor acknowledges that this
Guaranty is absolute and unconditional, there are no conditions precedent to the effectiveness of
this Guaranty, and this Guaranty is in full force and effect and is binding on Guarantor as of the
date set forth above, regardless of whether Bank obtains collateral or any guaranties from others
or takes any other action contemplated by Guarantor. Guarantor waives the benefit of any statute
of limitations affecting Guarantor’s liability hereunder or the enforcement thereof, and Guarantor
agrees that any payment of any Guaranteed Indebtedness or other act which shall toll any statute
of limitations applicable thereto shall similarly operate to toll such statute of limitations
applicable to Guarantor’s liability hereunder. The liability of Guarantor hereunder shall be
reinstated and revived and the rights of Bank shall continue if and to the extent that for any
reason any amount at any time paid on account of any Guaranteed Indebtedness guaranteed
hereby is rescinded or must otherwise be restored by Bank, whether as a result of any
proceedings in bankruptcy or reorganization or otherwise, all as though such amount had not
been paid. The determination as to whether any amount so paid must be rescinded or restored
shall be made by Bank in its sole discretion; provided however, that if Bank chooses to contest
any such matter at the request of Guarantor, Guarantor agrees to indemnify and hold Bank
harmless from and against all costs and expenses, including reasonable attorneys’ fees, expended
or incurred by Bank in connection therewith, including without limitation, in any litigation with
respect thereto.

         4.      AUTHORIZATIONS TO BANK. Guarantor authorizes Bank, without notice to
or demand on Guarantor, and without affecting Guarantor’s liability hereunder, from time to
time to: (a) alter, compromise, renew, extend, accelerate or otherwise change the time for
payment of, or otherwise change the terms of, the Guaranteed Indebtedness or any portion
thereof, including increase or decrease of the rate of interest thereon; (b) take and hold security
for the payment of this Guaranty or the Guaranteed Indebtedness or any portion thereof, and
exchange, enforce, waive, subordinate or release any such security; (c) apply such security and
direct the order or manner of sale thereof, including without limitation, a non-judicial sale
permitted by the terms of the controlling security agreement, mortgage or deed of trust, as Bank
in its discretion may determine; (d) release or substitute any one or more of the endorsers or any
other guarantors of the Guaranteed Indebtedness, or any portion thereof, or any other party
thereto; and (e) apply payments received by Bank from Borrower to any Indebtedness of
Borrower to Bank, in such order as Bank shall determine in its sole discretion, whether or not
such Indebtedness is covered by this Guaranty, and Guarantor hereby waives any provision of
law regarding application of payments which specifies otherwise. Bank may without notice
assign this Guaranty in whole or in part. Upon Administrative Agent’s request made from time
to time, Guarantor agrees to provide to Bank copies of Guarantor’s current financial statements
and most recently filed tax returns within 10 days of such request. In addition, Guarantor shall
deliver to Bank his 2015 federal tax return and a personal financial statement on a form supplied
by Bank by March 31, 2017 and his 2016 federal tax return by October 31, 2017.

      5.     REPRESENTATIONS AND WARRANTIES. Guarantor represents and warrants
to Bank that: (a) this Guaranty is executed at Borrower’s request; (b) Guarantor shall not,

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without Bank’s prior written consent, sell, lease, assign, encumber, hypothecate, transfer or
otherwise dispose of all or a substantial or material part of Guarantor’s assets other than in the
ordinary course of Guarantor’s business; (c) Bank has made no representation to Guarantor as to
the creditworthiness of Borrower; and (d) Guarantor has established adequate means of obtaining
from Borrower on a continuing basis financial and other information pertaining to Borrower’s
financial condition. Guarantor agrees to keep adequately informed from such means of any
facts, events or circumstances which might in any way affect Guarantor’s risks hereunder, and
Guarantor further agrees that Bank shall have no obligation to disclose to Guarantor any
information or material about Borrower which is acquired by Bank in any manner.

       6.      GUARANTOR’S WAIVERS.

                (a)    Guarantor waives any right to require Bank to: (i) proceed against
Borrower or any other person; (ii) marshal assets or proceed against or exhaust any security held
from Borrower or any other person; (iii) give notice of the terms, time and place of any public or
private sale or other disposition of personal property security held from Borrower or any other
person; (iv) take any other action or pursue any other remedy in Bank’s power; or (v) make any
presentment or demand for performance, or give any notices of any kind, including without
limitation, any notice of nonperformance, protest, notice of protest, notice of dishonor, notice of
intention to accelerate or notice of acceleration hereunder or in connection with any obligations
or evidences of indebtedness held by Bank as security for or which constitute in whole or in part
the Guaranteed Indebtedness guaranteed hereunder, or in connection with the creation of new or
additional Indebtedness.

                (b)     Guarantor waives any defense to its obligations hereunder based upon or
arising by reason of: (i) any disability or other defense of Borrower or any other person; (ii) the
cessation or limitation from any cause whatsoever, other than payment in full, of the Guaranteed
Indebtedness; (iii) any lack of authority of any officer, director, partner, agent or other person
acting or purporting to act on behalf of Borrower which is a corporation, partnership or other
type of entity, or any defect in the formation of Borrower; (iv) the application by Borrower of the
proceeds of the Guaranteed Indebtedness for purposes other than the purposes represented by
Borrower to, or intended or understood by, Bank or Guarantor; (v) any act or omission by Bank
which directly or indirectly results in or aids the discharge of Borrower or any portion of the
Guaranteed Indebtedness by operation of law or otherwise, or which in any way impairs or
suspends any rights or remedies of Bank against Borrower; (vi) any impairment of the value of
any interest in any security for the Guaranteed Indebtedness or any portion thereof, including
without limitation, the failure to obtain or maintain perfection or recordation of any interest in
any such security, the release of any such security without substitution, and/or the failure to
preserve the value of, or to comply with applicable law in disposing of, any such security;
(vii) any modification of the Guaranteed Indebtedness, in any form whatsoever, including
without limitation the renewal, extension, acceleration or other change in time for payment of, or
other change in the terms of, the Guaranteed Indebtedness or any portion thereof, including
increase or decrease of the rate of interest thereon; or (viii) any requirement that Bank give any
notice of acceptance of this Guaranty. Until all Guaranteed Indebtedness shall have been paid in
full, Guarantor shall have no right of subrogation, Guarantor waives any right to enforce any
remedy which Bank now has or may hereafter have against Borrower or any other person, and
waives any benefit of, or any right to participate in, any security now or hereafter held by Bank.

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Guarantor further waives all rights and defenses Guarantor may have arising out of (A) any
election of remedies by Bank, even though that election of remedies, such as a non-judicial
foreclosure with respect to any security for any portion of the Guaranteed Indebtedness, destroys
Guarantor’s rights of subrogation or Guarantor’s rights to proceed against Borrower for
reimbursement, or (B) any loss of rights Guarantor may suffer by reason of any rights, powers or
remedies of Borrower in connection with any anti-deficiency laws or any other laws limiting,
qualifying or discharging the Guaranteed Indebtedness, whether by operation of law or
otherwise, including any rights Guarantor may have to a fair market value hearing to determine
the size of a deficiency following any foreclosure sale or other disposition of any real property
security for any portion of the Guaranteed Indebtedness.

                (c)    By signing this Guaranty, Guarantor waives (i) each and every right to
which it may be entitled by virtue of any suretyship law, including without limitation, any rights
arising pursuant to Section 17.001 and Chapter 43 of the Texas Civil Practice and Remedies
Code and Rule 31 of the Texas Rules of Civil Procedure, as the same may be amended from time
to time, and (ii) without limiting any of the waivers set forth herein, any other fact or event that,
in the absence of this provision, would or might constitute or afford a legal or equitable
discharge or release of or defense to Guarantor.

        7.      BANK’S RIGHTS WITH RESPECT TO GUARANTOR’S PROPERTY IN
BANK’S POSSESSION. In addition to all liens upon and rights of setoff against the monies,
securities or other property of Guarantor given to Bank by law, Bank shall have a lien upon and a
right of setoff against all monies, securities and other property of Guarantor now or hereafter in
the possession of or on deposit with Bank, whether held in a general or special account or deposit
or for safekeeping or otherwise, and every such lien and right of setoff may be exercised without
demand upon or notice to Guarantor. No lien or right of setoff shall be deemed to have been
waived by any act or conduct on the part of Bank, or by any neglect to exercise such right of
setoff or to enforce such lien, or by any delay in so doing, and every right of setoff and lien shall
continue in full force and effect until such right of setoff or lien is specifically waived or released
by Bank in writing.

       8.       SUBORDINATION. Any Indebtedness of Borrower now or hereafter held by
Guarantor is hereby subordinated to the obligations of Borrower to Bank under the Guaranteed
Indebtedness. Such Indebtedness of Borrower to Guarantor is assigned to Bank as security for
this Guaranty and the Guaranteed Indebtedness and, if Bank requests, shall be collected and
received by Guarantor as trustee for Bank and paid over to Bank on account of the Guaranteed
Indebtedness but without reducing or affecting in any manner the liability of Guarantor under the
other provisions of this Guaranty. Any notes or other instruments now or hereafter evidencing
such Indebtedness of Borrower to Guarantor shall be marked with a legend that the same are
subject to this Guaranty and, if Bank so requests, shall be delivered to Bank. Bank is hereby
authorized in the name of Guarantor from time to time to file financing statements and
continuation statements and execute such other documents and take such other action as Bank
deems necessary or appropriate to perfect, preserve and enforce its rights hereunder.

       9.     REMEDIES; NO WAIVER. All rights, powers and remedies of Bank hereunder
are cumulative. No delay, failure or discontinuance of Bank in exercising any right, power or
remedy hereunder shall affect or operate as a waiver of such right, power or remedy; nor shall

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any single or partial exercise of any such right, power or remedy preclude, waive or otherwise
affect any other or further exercise thereof or the exercise of any other right, power or remedy.
Any waiver, permit, consent or approval of any kind by Bank of any breach of this Guaranty, or
any such waiver of any provisions or conditions hereof, must be in writing and shall be effective
only to the extent set forth in writing.

        10.    COSTS, EXPENSES AND ATTORNEYS’ FEES. Guarantor shall pay to Bank
immediately upon demand the full amount of all payments, advances, charges, costs and
expenses, including reasonable attorneys’ fees (to include outside counsel fees and all allocated
costs of Bank’s in-house counsel to the extent permissible), expended or incurred by Bank in
connection with the enforcement of any of Bank’s rights, powers or remedies and/or the
collection of any amounts which become due to Bank under this Guaranty, and the prosecution
or defense of any action in any way related to this Guaranty, whether incurred at the trial or
appellate level, in an arbitration proceeding or otherwise, and including any of the foregoing
incurred in connection with any bankruptcy proceeding (including without limitation, any
adversary proceeding, contested matter or motion brought by Bank or any other person) relating
to Guarantor or any other person or entity.

        11.      SUCCESSORS; ASSIGNMENT. This Guaranty shall be binding upon and inure
to the benefit of the heirs, executors, administrators, legal representatives, successors and assigns
of the parties; provided however, that Guarantor may not assign or transfer any of its interests or
rights hereunder without Bank’s prior written consent. Guarantor acknowledges that Bank has
the right to sell, assign, transfer, negotiate or grant participations in all or any part of, or any
interest in, the Guaranteed Indebtedness and any obligations with respect thereto, including this
Guaranty. In connection therewith, Bank may disclose all documents and information which
Bank now has or hereafter acquires relating to Guarantor and/or this Guaranty, whether furnished
by Borrower, Guarantor or otherwise. Guarantor further agrees that Bank may disclose such
documents and information to Borrower.

       12.    AMENDMENT. This Guaranty may be amended or modified only in writing
signed by Bank and Guarantor.

        13.    APPLICATION OF SINGULAR AND PLURAL. In all cases where there is but
a single Borrower, then all words used herein in the plural shall be deemed to have been used in
the singular where the context and construction so require; and when there is more than one
Borrower named herein, or when this Guaranty is executed by more than one Guarantor, the
word “Borrowers” and the word “Guarantor” respectively shall mean all or any one or more of
them as the context requires.

       14.      UNDERSTANDING WITH RESPECT TO WAIVERS; SEVERABILITY OF
PROVISIONS. Guarantor warrants and agrees that each of the waivers set forth herein is made
with Guarantor’s full knowledge of its significance and consequences, and that under the
circumstances, the waivers are reasonable and not contrary to public policy or law. If any waiver
or other provision of this Guaranty shall be held to be prohibited by or invalid under applicable
public policy or law, such waiver or other provision shall be ineffective only to the extent of such
prohibition or invalidity, without invalidating the remainder of such waiver or other provision or
any remaining provisions of this Guaranty.

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       15.    GOVERNING LAW. This Guaranty shall be governed by and construed in
accordance with the laws of the State of Texas.

       16.     ARBITRATION.

                 (a)     Arbitration. The parties hereto agree, upon demand by any party, to
submit to binding arbitration all claims, disputes and controversies between or among them (and
their respective employees, officers, directors, attorneys, and other agents), whether in tort,
contract or otherwise, in any way arising out of or relating to this Guaranty and its negotiation,
execution, collateralization, administration, repayment, modification, extension, substitution,
formation, inducement, enforcement, default or termination. In the event of a court ordered
arbitration, the party requesting arbitration shall be responsible for timely filing the demand for
arbitration and paying the appropriate filing fee within 30 days of the abatement order or the time
specified by the court. Failure to timely file the demand for arbitration as ordered by the court
will result in that party’s right to demand arbitration being automatically terminated.

               (b)      Governing Rules. Any arbitration proceeding will (i) proceed in a location
in Texas selected by the American Arbitration Association (“AAA”); (ii) be governed by the
Federal Arbitration Act (Title 9 of the United States Code), notwithstanding any conflicting
choice of law provision in any of the documents between the parties; and (iii) be conducted by
the AAA, or such other administrator as the parties shall mutually agree upon, in accordance
with the AAA’s commercial dispute resolution procedures, unless the claim or counterclaim is at
least $1,000,000.00 exclusive of claimed interest, arbitration fees and costs in which case the
arbitration shall be conducted in accordance with the AAA’s optional procedures for large,
complex commercial disputes (the commercial dispute resolution procedures or the optional
procedures for large, complex commercial disputes to be referred to, as applicable, as the
“Rules”). If there is any inconsistency between the terms hereof and the Rules, the terms and
procedures set forth herein shall control. Any party who fails or refuses to submit to arbitration
following a demand by any other party shall bear all costs and expenses incurred by such other
party in compelling arbitration of any dispute. Nothing contained herein shall be deemed to be a
waiver by any party that is a bank of the protections afforded to it under 12 U.S.C. §91 or any
similar applicable state law.

               (c)     No Waiver of Provisional Remedies, Self-Help and Foreclosure. The
arbitration requirement does not limit the right of any party to (i) foreclose against real or
personal property collateral; (ii) exercise self-help remedies relating to collateral or proceeds of
collateral such as setoff or repossession; or (iii) obtain provisional or ancillary remedies such as
replevin, injunctive relief, attachment or the appointment of a receiver, before during or after the
pendency of any arbitration proceeding. This exclusion does not constitute a waiver of the right
or obligation of any party to submit any dispute to arbitration or reference hereunder, including
those arising from the exercise of the actions detailed in sections (i), (ii) and (iii) of this
paragraph.

              (d)    Arbitrator Qualifications and Powers. Any arbitration proceeding in
which the amount in controversy is $5,000,000.00 or less will be decided by a single arbitrator
selected according to the Rules, and who shall not render an award of greater than
$5,000,000.00. Any dispute in which the amount in controversy exceeds $5,000,000.00 shall be

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decided by majority vote of a panel of three arbitrators; provided however, that all three
arbitrators must actively participate in all hearings and deliberations. The arbitrator will be a
neutral attorney licensed in the State of Texas with a minimum of ten years experience in the
substantive law applicable to the subject matter of the dispute to be arbitrated. The arbitrator
will determine whether or not an issue is arbitratable and will give effect to the statutes of
limitation in determining any claim. In any arbitration proceeding the arbitrator will decide (by
documents only or with a hearing at the arbitrator’s discretion) any pre-hearing motions which
are similar to motions to dismiss for failure to state a claim or motions for summary adjudication.
The arbitrator shall resolve all disputes in accordance with the substantive law of Texas and may
grant any remedy or relief that a court of such state could order or grant within the scope hereof
and such ancillary relief as is necessary to make effective any award. The arbitrator shall also
have the power to award recovery of all costs and fees, to impose sanctions and to take such
other action as the arbitrator deems necessary to the same extent a judge could pursuant to the
Federal Rules of Civil Procedure, the Texas Rules of Civil Procedure or other applicable law.
Judgment upon the award rendered by the arbitrator may be entered in any court having
jurisdiction. The institution and maintenance of an action for judicial relief or pursuit of a
provisional or ancillary remedy shall not constitute a waiver of the right of any party, including
the plaintiff, to submit the controversy or claim to arbitration if any other party contests such
action for judicial relief.

                (e)    Discovery. In any arbitration proceeding, discovery will be permitted in
accordance with the Rules. All discovery shall be expressly limited to matters directly relevant
to the dispute being arbitrated and must be completed no later than 20 days before the hearing
date. Any requests for an extension of the discovery periods, or any discovery disputes, will be
subject to final determination by the arbitrator upon a showing that the request for discovery is
essential for the party’s presentation and that no alternative means for obtaining information is
available.

               (f)     Class Proceedings and Consolidations. No party hereto shall be entitled to
join or consolidate disputes by or against others in any arbitration, except parties who have
executed this Guaranty or any other contract, instrument or document relating to any Guaranteed
Indebtedness, or to include in any arbitration any dispute as a representative or member of a
class, or to act in any arbitration in the interest of the general public or in a private attorney
general capacity.

              (g)     Payment Of Arbitration Costs And Fees. The arbitrator shall award all
costs and expenses of the arbitration proceeding.

               (h)     Miscellaneous. To the maximum extent practicable, the AAA, the
arbitrators and the parties shall take all action required to conclude any arbitration proceeding
within 180 days of the filing of the dispute with the AAA. No arbitrator or other party to an
arbitration proceeding may disclose the existence, content or results thereof, except for
disclosures of information by a party required in the ordinary course of its business or by
applicable law or regulation. If more than one agreement for arbitration by or between the
parties potentially applies to a dispute, the arbitration provision most directly related to the
documents between the parties or the subject matter of the dispute shall control. This arbitration


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provision shall survive termination, amendment or expiration of any of the documents or any
relationship between the parties.

               (i)     Small Claims Court. Notwithstanding anything herein to the contrary,
each party retains the right to pursue in a Justice of the Peace Court any Small Claims Case (as
defined in Rule 500.3 of the Texas Rules of Civil Procedure) within the jurisdictional limit
(excluding attorneys’ fees and costs) of a Small Claims Case.

NOTICE: THIS DOCUMENT AND ALL OTHER DOCUMENTS RELATING TO THE
GUARANTEED INDEBTEDNESS CONSTITUTE A WRITTEN LOAN AGREEMENT
WHICH REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND
MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS
OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE ARE NO
UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES RELATING TO THE
GUARANTEED INDEBTEDNESS.

                          [Signature appears on the following page.]




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                         PLEDGE AND SECURITY AGREEMENT


        THIS PLEDGE AND SECURITY AGREEMENT, dated as of September 30, 2015 (as
amended, modified, restated or supplemented from time to time, this “Agreement”), is by and
among the parties identified as “Grantors” on the signature pages hereto and such other parties as
may become Grantors hereunder after the date hereof (individually, a “Grantor” and,
collectively, the “Grantors”), and Wells Fargo Bank, National Association, as administrative
agent for the Secured Parties (in such capacity, together with any successor, the “Administrative
Agent”).

                                      WITNESSETH

        WHEREAS, a revolving line of credit has been established in favor of Lockwood
Enterprises, Inc., a Texas corporation, Lockwood International, Inc., a Texas corporation, LMG
Manufacturing, Inc., a Texas corporation, and Piping Components, Inc., a Texas corporation
(each a “Borrower” and collectively, “Borrowers”), pursuant to the terms of that certain
Amended and Restated Credit Agreement, dated as the date hereof (as amended, modified,
restated, supplemented or extended from time to time, the “Credit Agreement”), among the
Borrowers, the lenders from time to time party thereto (the “Lenders”), and the Administrative
Agent; and

        WHEREAS, pursuant to the terms of the Credit Agreement, the Lenders and the
Administrative Agent (collectively, the “Secured Parties”) have each required that the Grantors
enter into this Agreement;

       NOW, THEREFORE, in consideration of these premises and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
agree as follows:

        1.     Definitions.

       (a)     Capitalized terms used and not otherwise defined herein shall have the meanings
provided in the Credit Agreement.

       (b)    The following terms shall have the meanings assigned thereto in the
UCC: Accession, Account, As-Extracted Collateral, Chattel Paper, Commercial Tort Claim,
Commodity Account, Consumer Goods, Deposit Account, Document, Electronic Chattel Paper,
Equipment, Farm Products, Financial Asset, Fixtures, General Intangible, Goods, Instrument,
Inventory, Investment Property, Letters of Credit, Letter-of-Credit Right, Manufactured Home,
Proceeds, Promissory Notes, Securities Account, Security, Software, Standing Timber,
Supporting Obligation and Tangible Chattel Paper.

        (c)    As used herein, the following terms shall have the meanings set forth below:

       “Certificated Equipment” means any Equipment the ownership of which is required by
Applicable Law to be evidenced by a certificate of title.



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        “CFC” means a “controlled foreign corporation” within the meaning of Section 957 of the
Internal Revenue Code.

        “CFC Holdco” means a Domestic Subsidiary substantially all of the assets of which
consist of Equity Interests of CFCs.

        “Collateral” has the meaning provided in Section 2.

       “Contract Rights” means all rights of a Grantor under or in respect of a Contract,
including, without limitation, (a) all rights to payment, damages, liquidated damages, and
enforcement, (b) all rights to make elections, and (c) all rights to exercise remedies.

        “Contracts” means all contracts to which any Grantor now is, or hereafter will be bound,
or to which such Grantor is or hereafter will be a party, beneficiary or assignee, and all exhibits,
schedules and other attachments to such contracts, as the same may be amended, supplemented
or otherwise modified or replaced from time to time.

       “Copyright License” means any agreement, written or oral, providing for the grant by or
to any Grantor of any right under any Copyright.

        “Copyrights” means (a) all copyrights registered in the United States or any other country
in all works, now existing or hereafter created or acquired, all registrations and recordings
thereof, and all applications in connection therewith, including, without limitation, registrations,
recordings and applications in the United States Copyright Office or in any similar office or
agency of the United States, any state thereof or any other country or political subdivision
thereof, and (b) all renewals thereof.

        “Debtor Relief Laws” means the Bankruptcy Code of the United States, and all other
liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
rearrangement, receivership, insolvency, reorganization, or similar debtor relief Laws of the
United States or other applicable jurisdictions from time to time in effect and affecting the rights
of creditors generally.

        “DRE Holdco” means a Domestic Subsidiary treated as a disregarded entity for U.S.
federal income tax purposes holding the Equity Interests of one or more CFCs.

        “Equity Interests” means, with respect to any Person, all of the shares of Capital Stock
of (or other ownership or profit interests in) such Person, all of the warrants, options or other
rights for the purchase or acquisition from such Person of shares of Capital Stock of (or other
ownership or profit interests in) such Person, all of the securities convertible into or
exchangeable for shares of Capital Stock of (or other ownership or profit interests in) such
Person or warrants, rights or options for the purchase or acquisition from such Person of such
shares (or such other interests), and all of the other ownership or profit interests in such Person
(including partnership, member or trust interests therein), whether voting or nonvoting, and
whether or not such shares, warrants, options, rights or other interests are outstanding on any
date of determination.



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        “Governmental Approvals” means all governmental approvals, permits, licenses,
authorizations, consents, rulings, tariffs, rates, certifications, waivers, exemptions, filings,
claims, orders, judgments and decrees.

        “Patent License” means any agreement, whether written or oral, providing for the grant
by or to any Grantor of any right to manufacture, use or sell any invention covered by a Patent.

        “Patents” means (a) all letters patent of the United States or any other country or any
political subdivision thereof and all reissues and extensions thereof, and (b) all applications for
letters patent of the United States or any other country and all divisions, continuations and
continuations-in-part thereof.

       “Receivables” means the Accounts, Chattel Paper, Documents, Investment Property,
Instruments, or Commercial Tort Claims, and any other rights or claims to receive money which
are General Intangibles or which are otherwise included as Collateral, together with all of the
applicable Grantor’s rights, if any, in all Supporting Obligations related thereto.

        “Secured Obligations” has the meaning assigned to such term in the Credit Agreement.

       “Trademark License” means any agreement, written or oral, providing for the grant by or
to any Grantor of any right to use any Trademark.

       “Trademarks” means (a) all trademarks, trade names, corporate names, company names,
business names, fictitious business names, trade styles, service marks, logos and other source or
business identifiers, and the goodwill associated therewith, now existing or hereafter adopted or
acquired, all registrations and recordings thereof, and all applications in connection therewith,
whether in the United States Patent and Trademark Office or in any similar office or agency of
the United States or any other country, any state thereof or any political subdivision thereof, or
otherwise and (b) all renewals thereof.

        “UCC” means the Uniform Commercial Code as in effect from time to time in the
State of Texas.

        2.      Pledge and Grant of Security Interest in the Collateral. To secure the prompt
and unconditional payment and performance in full when due, whether by lapse of time,
acceleration, mandatory prepayment or otherwise, of the Secured Obligations, each Grantor
hereby grants, pledges and assigns to the Administrative Agent, for the benefit of the Secured
Parties, a continuing security interest in, and Lien on, any and all right, title and interest of such
Grantor in and to all of the following, whether now owned or existing or owned, acquired or
arising hereafter (collectively, the “Collateral”):

        (a)     all Accounts, including, but not limited to, (i) all accounts, receivables and
accounts receivable regardless of form (including all choses or things in action, trade names,
trademarks, patents, patents pending, infringement claims, service marks, licenses, copyrights,
blueprints, drawings, plans, diagrams, schematics, computer programs, computer tapes, computer
discs, reports, catalogs, customer lists, purchase orders, goodwill, route lists, monies due or
recoverable from pension funds, tax refunds and all rights to any of the foregoing), book debts,
contract rights and rights to payment no matter how evidenced; (ii) all notes, drafts, acceptances,

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payments under leases of equipment or sale of inventory, and other forms of obligations received
by or belonging to such Grantor for goods sold or leased and/or services rendered by such
Grantor; (iii) all purchase orders, instruments and other documents (including all documents of
title) evidencing obligations to such Grantor, including those for or representing obligations for
goods sold or leased and/or services rendered by such Grantor; (iv) all monies due or to become
due to such Grantor under all contracts, including those for the sale or lease of goods and/or
performance of services by such Grantor no matter how evidenced and whether or not earned by
performance; and (v) all accounts, receivables, accounts receivable, contract rights, and general
intangibles arising as a result of such Grantor having paid accounts payable (or having had goods
sold or leased to Debtor or services performed for such Grantor giving rise to accounts payable)
which accounts payable were paid for or were incurred by such Grantor on behalf of any third
parties pursuant to an agreement or otherwise;

        (b)    all money, cash, currency, and cash equivalents;

        (c)    all Chattel Paper, including, but not limited to, Tangible Chattel Paper;

        (d)    all Contracts and Contract Rights, including, but not limited to (i) (A) all policies
of insurance now or hereafter held by or on behalf of such Grantor, including casualty, liability,
key man life insurance, business interruption, foreign credit insurance and any title insurance,
(B) all proceeds of insurance, and (C) all rights, now or hereafter held by such Grantor to any
warranties of any manufacturer or contractor of any other Person, and (ii) all interest rate swap
agreements, interest rate cap agreements and interest rate collar agreements, and all other
agreements or arrangements designed to protect such Grantor against fluctuations in interest rates
or currency exchange rates and all commodity hedge, commodity swap, exchange, forward,
future, floor, collar or cap agreements, fixed price agreements and all other agreements or
arrangements designed to protect such Grantor against fluctuations in commodity prices;

        (e)    those Commercial Tort Claims identified on Schedule 2(e) attached hereto;

        (f)    all Copyrights and Copyright Licenses;

        (g)    all Deposit Accounts;

        (h)    all Documents, including, but not limited to, any bills of lading, dock warrants,
dock receipts, warehouse receipts or orders for delivery of goods and also any other document
which in the regular course of business or financing is treated as adequately evidencing that the
person in possession of it is entitled to receive, hold and dispose of such document and the goods
it covers;

        (i)     all Equipment, including, but not limited to, all present and future automobiles,
trucks, truck tractors, trailers, semi-trailers, or other motor vehicles or rolling stock;

        (j)    all Fixtures;

        (k)    all General Intangibles;

        (l)    all Goods;

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        (m)    all Government Approvals, to the extent a security interest may be granted
therein; provided that any Governmental Approval that by its terms or by operation of
Applicable Law would be void, voidable, terminable or revocable if mortgaged, pledged,
assigned or otherwise encumbered hereunder is expressly excepted and excluded from the Liens
and terms of this Agreement, including the grant of security interest in this Section 2;

        (n)    all Instruments and Promissory Notes;

        (o)    all Inventory, including, but not limited to, all goods, merchandise, raw materials,
work in process, finished goods, and other tangible personal property of whatever nature now
owned by such Grantor or hereafter from time to time existing or acquired, wherever located and
held for sale or lease, including those held for display or demonstration or out on lease or
consignment, or furnished or to be furnished under contracts of service or used or usable or
consumed or consumable in such Grantor’s business or which are finished or unfinished goods
and all accessions and appurtenances thereto, together with all warehouse receipts and other
documents evidencing any of the same and all containers, packing, packaging, shipping and
similar materials;

        (p)    all Investment Property;

        (q)    all Letters of Credit and Letter-of-Credit Rights;

        (r)    all Patents and Patent Licenses;

        (s)    all Software;

        (t)    all Supporting Obligations;

        (u)    all Trademarks and Trademark Licenses;

        (v)     (i) one hundred percent (100%) (or, if less, the full amount owned by such
Grantor) of the issued and outstanding Equity Interests owned by such Grantor of each Domestic
Subsidiary set forth on Schedule 2(v) attached hereto and (ii) sixty-five percent (65%) (or, if
less, the full amount owned by such Grantor) of the issued and outstanding Equity Interests
entitled to vote (within the meaning of Treas. Reg. Section 1.956-2(c)(2)) (“Voting Equity”) and
one hundred percent (100%) (or, if less, the full amount owned by such Grantor) of the issued
and outstanding Equity Interests not entitled to vote (within the meaning of Treas. Reg.
Section 1.956-2(c)(2)) (“Non-Voting Equity”) owned by such Grantor of each Foreign
Subsidiary (or CFC Holdco or DRE Holdco, as applicable) directly owned by such Grantor set
forth on Schedule 2(v) attached hereto, in each case together with the certificates (or other
agreements or instruments), if any, representing such Equity Interests, and all options and other
rights, contractual or otherwise, with respect thereto (collectively, together with the Equity
Interests described in Sections 2(w) and (z) below, the “Pledged Shares”), including, but not
limited to, the following:

               (i)     all shares, securities, membership interests and other Equity Interests or
        other property representing a dividend or other distribution (cash or otherwise) on or in
        respect of any of the Pledged Shares, or representing a distribution or return of capital

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        upon or in respect of the Pledged Shares, or resulting from a stock split, revision,
        rearrangements, reclassification or other exchange therefor, and any other dividends,
        distributions, subscriptions, warrants, cash, securities, instruments, rights, options,
        profits, income surplus, money, credit, claims, demands or other property (real or
        personal) issued to or received or receivable by the holder of, or otherwise in respect of,
        the Pledged Shares and revenues of any kind or character now or hereafter relating to,
        accruing or arising under or in respect of the Pledged Shares; and

                (ii)    without affecting the obligations of the Grantors under any provision
        prohibiting such action hereunder or under the Credit Agreement, in the event of any
        consolidation or merger involving the issuer of any Pledged Shares and in which such
        issuer is not the surviving entity, all Equity Interests of the successor entity formed by or
        resulting from such consolidation or merger;

         (w)     (i) one hundred percent (100%) (or, if less, the full amount owned by such
Grantor) of the issued and outstanding Equity Interests hereafter owned by such Grantor of any
Person that is not a Foreign Subsidiary or, if applicable, a CFC Holdco or DRE Holdco and
(ii) sixty-five percent (65%) (or, if less, the full amount owned by such Grantor) of the Voting
Equity and one hundred percent (100%) (or, if less, the full amount owned by such Grantor) of
the Non-Voting Equity owned by such Grantor of any Person that hereafter becomes a Foreign
Subsidiary or, if applicable, a CFC Holdco or DRE Holdco directly owned by such Grantor,
including, without limitation, the certificates (or other agreements or instruments) representing
such Equity Interests;

        (x)   (i) any and all Liens and security interests (together with the documents
evidencing such security interests) granted to such Grantor by an obligor to secure such obligor’s
obligations owing under any Instrument, Promissory Note, Chattel Paper or Contract that is
pledged hereunder or with respect to which a security interest in such Grantor’s rights in such
Instrument, Promissory Note, Chattel Paper or Contract is granted hereunder and (ii) any and all
guarantees given by any Person for the benefit of such Grantor which guarantees the obligations
of an obligor under any Instrument, Promissory Note, Chattel Paper or Contract which are
pledged hereunder;

        (y)     all books, correspondence, credit files, records, invoices, tapes, cards, computer
runs, writings, data bases, information in all forms, paper and documents and other property
relating to, used or useful in connection with, evidencing, embodying, incorporating or referring
to, any of the foregoing; and

       (z)     to the extent not otherwise included, all Accessions, substitutions, replacements,
products, rents, issues, profits, returns, income and Proceeds of any and all of the foregoing.

        Notwithstanding anything to the contrary contained herein, the security interests granted
under this Agreement shall not extend to, and the term Collateral (and each defined term used in
the definition of Collateral) shall be deemed not to include any of the following, (a) any General
Intangible, permit, lease, license, contract or other Instrument of a Grantor if the grant of a
security interest in such General Intangible, permit, lease, license, contract or other Instrument in
the manner contemplated by this Agreement, under the terms thereof or under Applicable Law, is


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prohibited and would result in the termination thereof or give the other parties thereto the right to
terminate, accelerate or otherwise alter such Grantor’s rights, titles and interests thereunder
(including upon the giving of notice or the lapse of time or both); provided that (i) any such
limitation described in this paragraph on the security interests granted hereunder shall only apply
to the extent that any such prohibition could not be rendered ineffective pursuant to the UCC or
any other Applicable Law (including Debtor Relief Laws) or principles of equity and (ii) in the
event of the termination or elimination of any such prohibition or the requirement for any
consent contained in any Applicable Law, General Intangible, permit, lease, license, contract or
other Instrument, to the extent sufficient to permit any such item to become Collateral hereunder,
or upon the granting of any such consent, or waiving or terminating any requirement for such
consent, a security interest in such General Intangible, permit, lease, license, contract or other
Instrument shall be automatically and simultaneously granted hereunder and shall be included as
Collateral hereunder; (b) any waste or other materials which have been or may be designated as
toxic or hazardous by the Administrative Agent; and (c) any United States intent-to-use
trademark applications for which an amendment to allege use has not been submitted to and
accepted by the United States Patent and Trademark Office pursuant to 15 U.S.C. Section
1060(a) (or any successor provision); provided that after such acceptance, such intent-to-use
trademark application shall be included as Collateral hereunder.

        The Grantors and the Administrative Agent, on behalf of the Secured Parties, hereby
acknowledge and agree that the security interest created hereby in the Collateral (i) constitutes
continuing collateral security for all of the Secured Obligations, whether now existing or
hereafter arising, and (ii) is not and shall not be construed as an assignment of any Copyrights,
Copyright Licenses, Patents, Patent Licenses, Trademarks or Trademark Licenses.

        3.     Provisions Relating to Accounts.

         (a)     Anything herein to the contrary notwithstanding, each of the Grantors shall
remain liable under each of the Accounts to observe and perform all the conditions and
obligations to be observed and performed by it thereunder, all in accordance with the terms of
any agreement giving rise to each such Account. Neither the Administrative Agent nor any other
Secured Party shall have any obligation or liability under any Account (or any agreement giving
rise thereto) by reason of or arising out of this Agreement or the receipt by the Administrative
Agent or any other Secured Party of any payment relating to such Account pursuant hereto, nor
shall the Administrative Agent or any other Secured Party be obligated in any manner to perform
any of the obligations of any Grantor under or pursuant to any Account (or any agreement giving
rise thereto), to make any payment, to make any inquiry as to the nature or the sufficiency of any
payment received by it or as to the sufficiency of any performance by any party under any
Account (or any agreement giving rise thereto), to present or file any claim, to take any action to
enforce any performance or to collect the payment of any amounts that may have been assigned
to it or to which it may be entitled at any time or times.

        (b)     At any time after the occurrence and during the continuation of an Event of
Default, (i) the Administrative Agent shall have the right, but not the obligation, to make test
verifications of the Accounts in any manner and through any medium that it reasonably considers
advisable, and the Grantors shall furnish all such assistance and information as the
Administrative Agent may require in connection with such test verifications, (ii) upon the

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Administrative Agent’s request and at the expense of the Grantors, the Grantors shall cause
independent public accountants or others satisfactory to the Administrative Agent to furnish to
the Administrative Agent reports showing reconciliations, aging and test verifications of, and
trial balances for, the Accounts, and (iii) the Administrative Agent in its own name or in the
name of others may communicate with account debtors on the Accounts to verify with them to
the Administrative Agent’s satisfaction the existence, amount and terms of any Accounts.

        4.     Provisions Relating to the Pledged Shares.

        (a)    Delivery of Certificates. Each Grantor shall deliver to the Administrative Agent
(i) simultaneously with or prior to the execution and delivery of this Agreement, all certificates
representing the Pledged Shares owned by such Grantor and (ii) promptly upon the receipt
thereof by or on behalf of any Grantor, all other certificates and instruments constituting Pledged
Shares owned by such Grantor. Prior to delivery to the Administrative Agent, all such certificates
and instruments constituting Pledged Shares owned by any Grantor shall be held in trust by such
Grantor for the benefit of the Administrative Agent pursuant hereto. All such certificates and
instruments shall be delivered in suitable form for transfer by delivery or shall be accompanied
by duly executed instruments of transfer or assignment in blank, in form and substance
reasonably satisfactory to the Administrative Agent.

        (b)      Additional Securities. If such Grantor shall receive (or become entitled to receive)
by virtue of its being or having been the owner of any Pledged Shares, any (i) certificate or
instrument, including, without limitation, any certificate representing a dividend or distribution
in connection with any increase or reduction of capital, reclassification, merger, consolidation,
sale of assets, combination of shares or membership or other Equity Interests, stock splits, spin-
off or split-off, promissory notes or other instruments; (ii) option or right, whether as an addition
to, substitution for, conversion of, or an exchange for, any Pledged Shares or otherwise in respect
thereof; (iii) dividends payable in securities; or (iv) distributions of securities or other Equity
Interests, cash or other property in connection with a partial or total liquidation, dissolution or
reduction of capital, capital surplus or paid-in surplus, then such Grantor shall accept and receive
each such certificate, instrument, option, right, dividend or distribution in trust for the benefit of
the Administrative Agent, shall segregate it from such Grantor’s other property and shall deliver
it forthwith to the Administrative Agent in the exact form received together with any necessary
endorsement and/or appropriate stock power duly executed in blank, in form and substance
reasonably satisfactory to the Administrative Agent, to be held by the Administrative Agent as
Pledged Shares and as further collateral security for the Secured Obligations.

       5.    Representations and Warranties. Each Grantor hereby represents and warrants
to the Administrative Agent, for the benefit of the Secured Parties, that so long as any of the
Secured Obligations (other than contingent indemnification obligations for which no underlying
claim has been asserted) remains outstanding and until the Credit Agreement has been
terminated:

        (a)     Ownership. Each Grantor is the legal and beneficial owner of, and has good and
indefeasible title to its Collateral, free and clear of all Liens (other than Permitted Liens) and has
the right to pledge, sell, assign or transfer the same.



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       (b)     Validity, etc. This Agreement and the other Loan Documents to which such
Grantor is a party constitute the legal, valid and binding obligations of such Grantor, enforceable
against such Grantor in accordance with their respective terms (except, in any case, as such
enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium
or similar laws affecting creditors’ rights generally and by principles of equity (whether
enforcement is sought by proceedings in equity or at law).

         (c)    Security Interest and Priority. This Agreement creates a valid security interest in
favor of the Administrative Agent, for the benefit of the Secured Parties, in the Collateral of such
Grantor and, when properly perfected by filing, shall constitute a valid, perfected security
interest in such Collateral, to the extent such security interest can be perfected by filing under the
UCC, free and clear of all Liens except for Permitted Liens, and, except for the proper filing of
the applicable financing statements with the filing offices located in each Grantor’s state of
organization, and all filings and other actions necessary to perfect and protect such security
interest in those portions of Collateral that can be perfected by, amongst other things, the
(i) filing of a financing statement, (ii) entering into of an account control agreement, or
(iii) evidencing of the Administrative Agent’s first priority Lien on a certificate of title, have
been duly taken and such security interest shall be a first priority security interest. No effective
UCC financing statement or other filing similar in effect covering all or any part of the Collateral
is on file in any recording office, except those filed in favor of the Administrative Agent relating
to this Agreement or in favor of the Administrative Agent or other holders of Permitted Liens or
as to which a duly authorized termination statement relating to such UCC financing statement or
other instrument has been delivered to the Administrative Agent on the Closing Date. The taking
of possession by the Administrative Agent of the certificates representing the Pledged Shares and
all other certificates and instruments constituting Collateral will perfect and establish the first
priority of the Administrative Agent’s security interest in the Pledged Shares consisting of
certificated securities of Persons that are not Foreign Subsidiaries and, when properly perfected
by filing or registration, in all other Collateral represented by such certificates and instruments
securing the Secured Obligations.

       (d)    Types of Collateral. None of the Collateral consists of, or is the Accessions or the
Proceeds of, As-Extracted Collateral, Consumer Goods, Farm Products, Manufactured Homes or
Standing Timber.

        (e)    Accounts. (i) Each Account of the Grantors and the papers and documents
relating thereto are in all material respects what they purport to be, (ii) each Account of the
Grantors arises out of (A) a bona fide sale of goods sold and delivered by such Grantor (or is in
the process of being delivered) or (B) services theretofore actually rendered by such Grantor to
the account debtor named therein, (iii) any Account of a Grantor evidenced by any Instrument or
Chattel Paper has, to the extent reasonably requested by the Administrative Agent, been
endorsed over and delivered to, or submitted to the control of, the Administrative Agent and
(iv) no surety bond was required or given in connection with any Account of a Grantor or the
contracts or purchase orders out of which they arose.

        (f)    Inventory. No Inventory of the Grantors with a sales value in excess of $500,000
in the aggregate is held by any Person other than the Grantors pursuant to consignment, sale on
return, sale on approval or similar arrangement. Each Grantor has exclusive possession and

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control, subject to Permitted Liens, of the Equipment and Inventory except as permitted
hereunder and under the Credit Agreement.

        (g)    Copyrights, Patents and Trademarks.

                (i)    Each Copyright, Patent and Trademark that is reasonably necessary for the
        operation of the business of such Grantor is valid, subsisting, unexpired, enforceable and
        has not been abandoned.

                (ii)    None of the Copyrights, Patents and Trademarks of any Grantor is the
        subject of any licensing or franchise agreement.

                (iii) No Grantor has made any assignment or agreement in conflict with the
        security interest in the Copyrights, Patents or Trademarks of any Grantor hereunder.

        (h)     Commercial Tort Claims. Such Grantor has no commercial tort claims other than
those listed on Schedule 2(e).

        (i)    Pledged Shares.

                (i)    Authorization. The Pledged Shares are duly authorized and validly issued,
        are fully paid and nonassessable and are not subject to the preemptive rights of any
        Person.

               (ii)   Title. There exists no “adverse claim” within the meaning of
        Section 8-102 of the UCC with respect to the Pledged Shares of such Grantor.

                 (iii) Partnership and Membership Interests. None of the Pledged Shares
        consisting of partnership or limited liability company interests (i) is dealt in or traded on
        a securities exchange or in a securities market, (ii) by its terms expressly provides that it
        is a security governed by Article 8 of the UCC, (iii) is an investment company security,
        (iv) is held in a securities account or (v) constitutes a Security or a Financial Asset.

                (iv)    No Other Interests. As of the Closing Date, no Grantor owns any Equity
        Interests in any Subsidiary other than as set forth on Schedule 2(v) attached hereto.

        (j)    Grantor’s Name, Location, etc.

                (i)     Other than as otherwise permitted pursuant to any Loan Document, (i) the
        jurisdiction in which such Grantor is located for purposes of Sections 9-301 and 9-307 of
        the UCC is set forth on Schedule 5(j), (ii) the place of business of such Grantor or, if
        such Grantor has more than one place of business, the chief executive office of such
        Grantor and the office where such Grantor keeps its records concerning the Receivables
        and the other Collateral, and all originals of all Chattel Paper which evidence
        Receivables, is set forth on Schedule 5(j), and (iii) such Grantor’s federal taxpayer
        identification number is set forth on Schedule 5(j).




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                (ii)   In the past five years, such Grantor has not been known by any legal name
        different from the one set forth on the signature page hereto, nor has such Grantor been
        the subject of any merger or other corporate reorganization, except as set forth on
        Schedule 5(j).

               (iii) Such Grantor is not a party to any federal, state or local government
        contract, except as set forth on Schedule 5(j) (as such schedule may be amended or
        supplemented from time to time).

              (iv)     Such Grantor does not maintain any Deposit Accounts, Securities
        Accounts or Commodity Accounts with any Person, in each case, except as set forth on
        Schedule 5(j) (as such schedule may be amended or supplemented from time to time).

               (v)    None of the Receivables is evidenced by a promissory note or other
        instrument other than a promissory note or instrument that has been delivered to the
        Administrative Agent (with appropriate endorsements).

                (vi)   Such Grantor is not the beneficiary of any Letters of Credit, except as set
        forth on Schedule 5(j) (as such schedule may be amended or supplemented from time to
        time). Such Grantor has obtained a legal, valid and enforceable consent of each issuer to
        the assignment to the Administrative Agent of the Proceeds of any Letter of Credit which
        has a stated amount in excess of $250,000.

                (vii) As of the Closing Date, the name set forth on the signature page attached
        hereto is the true and correct legal name (as defined in the UCC) of such Grantor. Such
        Grantor shall not change its name except as permitted by, and in strict accordance with
        the terms and conditions of, the Credit Agreement.

                (viii) Except pursuant to the Loan Documents, such Grantor has not consented
        to, and is otherwise unaware of, any Person (other than the Administrative Agent
        pursuant hereto) having control (within the meaning of Section 9-104 or Section 8-106 of
        the UCC) over any Collateral, or any other interest in any of such Grantor’s rights in
        respect thereof.

       (k)    Negotiable Documents, Instruments and Chattel Paper. Such Grantor has,
contemporaneously herewith, delivered to the Administrative Agent possession of all originals of
all Documents, Instruments, Promissory Notes, and Tangible Chattel Paper owned or held by
such Grantor (duly endorsed, in blank, if requested by the Administrative Agent).

        (l)    Best Interests. It is in the best interests of each Grantor to execute this Agreement
in as much as such Grantor will, as a result of being the Borrower or a Subsidiary of the
Borrower, derive substantial direct and indirect benefits from the making of the Loans pursuant
to the Credit Agreement, and each Grantor agrees that the Secured Parties are relying on this
representation in entering into the Credit Agreement and agreeing to make such Loans pursuant
to the Credit Agreement to the Borrower. Furthermore, the making of such Loans under the
Credit Agreement is (i) in furtherance of each Grantor’s corporate or limited liability purposes,
and (ii) necessary or convenient to the conduct, promotion or attainment of each Grantor’s
business.

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        (m)      Representations and Warranties Contained in the Credit Agreement. The
representations and warranties as to such Grantor and its Subsidiaries made in Article VI of the
Credit Agreement are true and correct in all material respects (without duplication of any
materiality qualifier contained therein) on each date as required by the Credit Agreement, with
the same force and effect as if such representations and warranties had been made on and as of
such date, except to the extent that such representations and warranties specifically refer to an
earlier date, in which case they shall be true and correct in all material respects as of such earlier
date.

       6.      Covenants. Each Grantor covenants that, so long as any of the Secured
Obligations (other than contingent indemnification obligations for which no underlying claim
has been asserted) remains outstanding and until the Credit Agreement has been terminated, such
Grantor shall:

       (a)    Other Liens. Defend the Collateral against Liens therein other than
Permitted Liens, upon becoming aware thereof.

        (b)    Instruments; Tangible Chattel Paper; Documents. If any amount payable under or
in connection with any of the Collateral shall be or become evidenced by any Instrument or
Tangible Chattel Paper, or if any property constituting Collateral shall be stored or shipped
subject to a Document, (i) ensure that such Instrument, Tangible Chattel Paper or Document is
either in the possession of such Grantor at all times or, if reasonably requested by the
Administrative Agent, is promptly delivered to the Administrative Agent, duly endorsed in a
manner reasonably satisfactory to the Administrative Agent and (ii) ensure that any Collateral
consisting of Tangible Chattel Paper is marked with a legend reasonably acceptable to the
Administrative Agent indicating the Administrative Agent’s security interest in such Tangible
Chattel Paper.

         (c)   Perfection of Security Interest. Subject to the provisions of the Credit Agreement,
execute and deliver to the Administrative Agent such agreements, assignments or instruments
(including affidavits, notices, reaffirmations and amendments and restatements of existing
documents, as the Administrative Agent may reasonably request) and do all such other things as
the Administrative Agent may reasonably deem necessary, appropriate or convenient (i) to
assure to the Administrative Agent the effectiveness, perfection and priority of its security
interests hereunder, including (A) such instruments as the Administrative Agent may from time
to time reasonably request in order to perfect and maintain the security interests granted
hereunder in accordance with the UCC, (B) with regard to Copyrights registered with the United
States Copyright Office, a Notice of Grant of Security Interest in Copyrights for filing with the
United States Copyright Office in the form of Exhibit 6(c)(i) attached hereto, (C) with regard to
Patents registered with the United States Patent and Trademark Office, a Notice of Grant of
Security Interest in Patents for filing with the United States Patent and Trademark Office in the
form of Exhibit 6(c)(ii) attached hereto and (D) with regard to Trademarks registered with the
United States Patent and Trademark Office, a Notice of Grant of Security Interest in Trademarks
for filing with the United States Patent and Trademark Office in the form of Exhibit 6(c)(iii)
attached hereto, (ii) to consummate the transactions contemplated hereby, and (iii) to otherwise
protect and assure the Administrative Agent of its rights and interests hereunder. To that end,
each Grantor authorizes the Administrative Agent to file one or more financing statements (with

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collateral descriptions broader, including, without limitation, “all assets” and/or “all personal
property” collateral descriptions, and/or less specific than the description of the Collateral
contained herein) disclosing the Administrative Agent’s security interest in any or all of the
Collateral of such Grantor without such Grantor’s signature thereon, and further each Grantor
also hereby irrevocably makes, constitutes and appoints the Administrative Agent, its nominee or
any other Person whom the Administrative Agent may designate as such Grantor’s attorney-in-
fact with full power and for the limited purpose to sign in the name of such Grantor any such
financing statements (including renewal statements), amendments and supplements, notices or
any similar documents that in the Administrative Agent’s reasonable discretion would be
necessary, appropriate or convenient in order to perfect and maintain perfection of the security
interests granted hereunder, such power, being coupled with an interest, being and remaining
irrevocable so long as the Secured Obligations remain unpaid and until the Credit Agreement
shall have been terminated. Each Grantor hereby agrees that a carbon, photographic or other
reproduction of this Agreement or any such financing statement is sufficient for filing as a
financing statement by the Administrative Agent without notice thereof to such Grantor
wherever the Administrative Agent may in its sole discretion desire to file the same. In the event
for any reason the Applicable Law of any jurisdiction other than Texas becomes or is applicable
to the Collateral of any Grantor or any part thereof, or to any of the Secured Obligations, such
Grantor agrees to execute and deliver all such instruments and to do all such other things as the
Administrative Agent reasonably requests as necessary and appropriate to preserve, protect and
enforce the security interests of the Administrative Agent under the Applicable Law of such
other jurisdiction (and, if any Grantor shall fail to do so promptly upon the request of the
Administrative Agent, then the Administrative Agent may execute any and all such requested
documents on behalf of such Grantor pursuant to the power of attorney granted hereinabove). If
any Collateral is in the possession or control of any Grantor’s agents and the Administrative
Agent so requests at any time after the occurrence and during the continuance of an Event of
Default, such Grantor agrees to notify such agents in writing of the Administrative Agent’s
security interest therein and, upon the Administrative Agent’s request, instruct them to hold all
such Collateral for the account of the Secured Parties, subject to the Administrative Agent’s
instructions. Upon the reasonable request of the Administrative Agent, each Grantor agrees to
mark its books and records to reflect the security interest of the Administrative Agent in the
Collateral.

       (d)    Control. Subject to the provisions of the Credit Agreement, execute and deliver
(and cause to be executed and delivered) all agreements, assignments, instruments or other
documents as the Administrative Agent shall reasonably request for the purpose of obtaining and
maintaining control within the meaning of the UCC with respect to any Collateral consisting of
(i) Deposit Accounts (to the extent required by the Credit Agreement) and (ii) Investment
Property, Letter-of-Credit Rights and Electronic Chattel Paper with a value in excess of
$250,000 in the aggregate.

        (e)    Collateral held by Warehouseman, Bailee. If any Collateral with a value in excess
of $250,000 in the aggregate is at any time in the possession or control of a warehouseman,
bailee, agent or processor of such Grantor and is expected to remain in possession and control of
such third party for more than thirty (30) days, notify the Administrative Agent of such
possession or control and, upon the reasonable request of the Administrative Agent, (i) notify
such Person of the Administrative Agent’s security interest in such Collateral, (ii) instruct such

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Person to hold all such Collateral for the Administrative Agent’s account and subject to the
Administrative Agent’s instructions and (iii) obtain a written acknowledgment from such Person
that it is holding such Collateral for the benefit of the Administrative Agent.

        (f)    Treatment of Accounts. At any time upon the request of the Administrative Agent
after the occurrence and during the continuation of an Event of Default, not grant or extend the
time for payment of any Account, or compromise or settle any Account for less than the full
amount thereof, or release any Person or property, in whole or in part, from payment thereof, or
allow any credit or discount thereon, in each case other than as normal and customary in the
ordinary course of any Grantor’s business or as required by Applicable Law.

        (g)    Covenants Relating to Copyrights.

                (i)     Except as could not reasonably be expected to have a Material Adverse
        Effect, (A) not do any act or knowingly omit to do any act whereby any Copyright may
        become invalidated; (B) not do any act, or knowingly omit to do any act, whereby any
        Copyright may become injected into the public domain; (C) notify the Administrative
        Agent immediately if it knows that any Copyright may become injected into the public
        domain or of any adverse determination or development (including, without limitation,
        the institution of, or any such determination or development in, any court or tribunal in
        the United States or any other country) regarding any Grantor’s ownership of any such
        Copyright or its validity; and (D) take all necessary steps as such Grantor shall deem
        appropriate under the circumstances, to maintain and pursue each application (and to
        obtain the relevant registration) of each Copyright owned by any Grantor and to maintain
        each registration of each Copyright owned by any Grantor including, without limitation,
        filing of applications for renewal where necessary.

                (ii)    Promptly notify the Administrative Agent of any infringement of any
        material Copyright of any Grantor of which it becomes aware and take such actions as it
        shall reasonably deem appropriate under the circumstances to protect such material
        Copyright, including, where appropriate, the bringing of suit for infringement, seeking
        injunctive relief and seeking to recover any and all damages for such infringement.

                (iii) Not make any assignment or agreement in conflict with the security
        interest in the Copyrights of each Grantor hereunder (other than in connection with a
        Permitted Lien or as otherwise provided in the Credit Agreement).

        (h)    Covenants Relating to Patents and Trademarks.

               (i)    (A) Maintain its material Trademarks in full force free from any claim of
        abandonment for non-use, (B) maintain as in the past the quality of products and services
        offered under such Trademarks, and (C) not (and not permit any licensee or sublicensee
        thereof to) do any act or knowingly omit to do any act whereby any such material
        Trademarks may become invalidated.

              (ii)   Not do any act, or omit to do any act, whereby any material Patent may
        become abandoned or dedicated.


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                (iii) Notify the Administrative Agent promptly if it knows that any application
        or registration relating to any material Patent or Trademark may become abandoned or
        dedicated, or of any adverse determination or development (including, without limitation,
        the institution of, or any such determination or development in, any proceeding in the
        United States Patent and Trademark Office or any court or tribunal in any country)
        regarding any Grantor’s ownership of any material Patent or Trademark or its right to
        register the same or to keep and maintain the same.

                (iv)    Take all reasonable and necessary steps, including, without limitation, in
        any proceeding before the United States Patent and Trademark Office, or any similar
        office or agency in any other country or any political subdivision thereof, to maintain and
        pursue each application (and to obtain the relevant registration) and to maintain each
        registration of each material Patent and Trademark, including, without limitation, filing
        of applications for renewal, affidavits of use and affidavits of incontestability, except for
        those the failures which, individually or in the aggregate, could not reasonably be
        expected to result in a Material Adverse Effect.

                (v)     Not make any assignment or agreement in conflict with the security
        interest in the Patents or Trademarks of each Grantor hereunder (other than in connection
        with a Permitted Lien or as otherwise provided in the Credit Agreement).

       (i)    Insurance. Insure, repair and replace the Collateral of such Grantor as set forth in
the Credit Agreement. All insurance proceeds shall be subject to the security interest of the
Administrative Agent hereunder.

        (j)    Commercial Tort Claims. Execute and deliver such statements, documents and
notices and do and cause to be done all such things as the Administrative Agent may reasonably
deem necessary, appropriate or convenient, or as are required by Applicable Law, to create,
perfect and maintain the Administrative Agent’s security interest in any Commercial Tort Claim
in excess of $250,000.

        (k)    Covenants Relating to Pledged Shares.

              (i)     Compliance with Securities Laws. File all reports and other information
        now or hereafter required to be filed by such Grantor with the United States Securities
        and Exchange Commission and any other Governmental Authority in connection with the
        ownership of the Pledged Shares of such Grantor.

                (ii)    Pledged Shares of Foreign Subsidiaries. Take all actions necessary or
        advisable and reasonably requested by the Administrative Agent to assure the
        effectiveness, perfection and priority of the security interest in any Pledged Shares of
        Foreign Subsidiaries in any applicable foreign jurisdiction, including any filings,
        agreements, documents and instruments and any other actions in such foreign
        jurisdictions as may be required by applicable foreign law or as the Administrative Agent
        may otherwise reasonably request;

                (iii) Issuance or Acquisition of Equity Interests. Not, without executing and
        delivering, or causing to be executed and delivered, to the Administrative Agent such

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        agreements, documents and instruments as the Administrative Agent may reasonably
        request for the purpose of perfecting its security interest therein, issue or acquire any
        Equity Interests constituting Collateral consisting of an interest in a partnership or a
        limited liability company that (i) is dealt in or traded on a securities exchange or in a
        securities market, (ii) by its terms expressly provides that it is a security governed by
        Article 8 of the UCC, (iii) is an investment company security, (iv) is held in a securities
        account or (v) constitutes a Security or a Financial Asset.

        (l)    As to Equipment and Inventory and Goods.

                (i)     Generally. Each Grantor hereby agrees that it shall (a) keep all of the
        Equipment and Inventory (other than Inventory sold in the ordinary course of business)
        and Goods located in a jurisdiction within the United States of America or its offshore
        waters where all representations and warranties set forth in Section 6 shall be true and
        correct, and all action required pursuant to the second sentence of Section 6(m) shall
        have been taken with respect to the Equipment and Inventory and Goods, and (b) pay
        promptly when due all property and other taxes, assessments and governmental charges
        or levies imposed upon, and all claims (including claims for labor, materials and
        supplies) against, the Equipment and Inventory and Goods, except to the extent the
        validity thereof is being contested in good faith by appropriate proceedings and for which
        adequate reserves in accordance with GAAP have been set aside.

                 (ii)   As to Certificated Equipment. Each Grantor shall cause all Certificated
        Equipment to be properly titled in the name of the appropriate Grantor and to have the
        Administrative Agent’s Lien granted hereunder on such Certificated Equipment properly
        noted on the certificate of title with respect thereof and shall hold such certificates, in
        trust, as custodian for the Administrative Agent.

        (m)     Further Assurances, etc. Each Grantor shall warrant and defend the right and title
herein granted unto the Administrative Agent, for the benefit of the Secured Parties, in and to the
Collateral (and all right, title and interest represented by the Collateral) against the claims and
demands of all Persons whomsoever, subject to Permitted Liens. Each Grantor agrees that, from
time to time at its own expense, it will promptly execute and deliver all further instruments and
documents, and take all further action, that the Administrative Agent may reasonably request, in
order to perfect, preserve and protect any security interest granted or purported to be granted
hereby or to enable the Administrative Agent and the other Secured Parties to exercise and
enforce its rights and remedies hereunder with respect to any Collateral subject to the terms
hereof. Each Grantor agrees that, upon the acquisition after the date hereof by such Grantor of
any Collateral, with respect to which the security interest granted hereunder is not perfected
automatically upon such acquisition, to take such actions with respect to such Collateral or any
part thereof as required by the Loan Documents.

        (n)    Covenants Contained in the Credit Agreement. Comply with the covenants, terms
and conditions set forth in the Credit Agreement which such Grantor is to comply with or which
is otherwise applicable to such Grantor.




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        7.      Advances by Administrative Agent. Upon the occurrence and during the
continuance of an Event of Default, the Administrative Agent may, at its sole option and in its
sole discretion, perform any of the covenants and agreements contained herein and in so doing
may expend such sums as the Administrative Agent may reasonably deem advisable in the
performance thereof, including, without limitation, the payment of any insurance premiums, the
payment of any taxes, any payment to obtain a release of a Lien or potential Lien, expenditures
made in defending against any adverse claim and all other expenditures that the Administrative
Agent may make for the protection of the security hereof or may be compelled to make by
operation of Applicable Law. All such sums and amounts so expended shall be repayable by the
Grantors on a joint and several basis (subject to Section 24 hereof) promptly upon timely notice
thereof and demand therefor, shall constitute additional Secured Obligations and shall bear
interest from the date said amounts are expended at the Default Rate. No such performance of
any covenant or agreement by the Administrative Agent on behalf of any Grantor, and no such
advance or expenditure therefor, shall relieve the Grantors of any default under the terms of this
Agreement, the other Loan Documents or any other documents relating to the Secured
Obligations. At any time on failure of any Grantor to pay after ten (10) Business Days’ notice of
nonpayment from the Administrative Agent, the Administrative Agent may make any payment
hereby authorized in accordance with any bill, statement or estimate procured from the
appropriate public office or holder of the claim to be discharged, without inquiry into the
accuracy of such bill, statement or estimate or into the validity of any tax assessment, sale,
forfeiture, tax lien, title or claim except to the extent such payment is being contested in good
faith by any Grantor in appropriate proceedings and against which adequate reserves are being
maintained in accordance with GAAP.

        8.     Remedies.

         (a)     General Remedies. Upon the occurrence of an Event of Default and during the
continuation thereof, the Administrative Agent shall have, in addition to the rights and remedies
provided herein, in the other Loan Documents, in any other documents relating to the Secured
Obligations or by Applicable Law (including, without limitation, levy of attachment and
garnishment), the rights and remedies of a secured party under the Uniform Commercial Code of
the jurisdiction applicable to the affected Collateral and, further, the Administrative Agent may,
with or without judicial process or the aid and assistance of others, in each case, subject to the
rights of any third parties, (i) enter on any premises on which any of the Collateral may be
located and, without resistance or interference by the Grantors, take possession of the Collateral,
(ii) dispose of any Collateral on any such premises, (iii) require the Grantors to assemble and
make available to the Administrative Agent at the expense of the Grantors any Collateral at any
place and time designated by the Administrative Agent that is reasonably convenient to both
parties, (iv) remove any Collateral from any such premises for the purpose of effecting sale or
other disposition thereof, and/or (v) without demand and without advertisement, notice, hearing
or process of law, all of which each of the Grantors hereby waives to the fullest extent permitted
by Applicable Law, at any place and time or times, sell and deliver any or all Collateral held by
or for it at public or private sale, by one or more contracts, in one or more parcels, for cash, upon
credit or otherwise, at such prices and upon such terms as the Administrative Agent deems
advisable, in its sole discretion (subject to any and all mandatory legal requirements, including,
without limitation, in the event of a private sale of any of the securities constituting Pledged
Shares, limiting such sale to a restricted group of purchasers who will be obligated to agree,

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among other things, to acquire such Pledged Shares for their own account, for investment and
not with a view to the distribution or resale thereof). Each of the Grantors acknowledges that any
private sale referenced above may be at prices and on terms less favorable to the seller than the
prices and terms that might have been obtained at a public sale and agrees that such private sale
shall be deemed to have been made in a commercially reasonable manner. Neither the
Administrative Agent’s compliance with Applicable Law nor its disclaimer of warranties relating
to the Collateral shall be considered to adversely affect the commercial reasonableness of any
sale. In addition to all other sums due the Administrative Agent and the Secured Parties with
respect to the Secured Obligations, the Grantors shall pay the Administrative Agent and each of
the Secured Parties all reasonable documented costs and expenses incurred by the Administrative
Agent or any such Secured Party, including, but not limited to, attorneys’ fees and court costs, in
obtaining or liquidating the Collateral, in enforcing payment of the Secured Obligations, or in the
prosecution or defense of any action or proceeding by or against the Administrative Agent or the
other Secured Parties or the Grantors concerning any matter arising out of or connected with this
Agreement, any Collateral or the Secured Obligations, including, without limitation, any of the
foregoing arising in, arising under or related to a case under the Debtor Relief Laws. To the
extent the rights of notice cannot be legally waived hereunder, each Grantor agrees that any
requirement of reasonable notice shall be met if such notice is personally served on or mailed,
postage prepaid, to the Grantors in accordance with the notice provisions of Section 11.1 of the
Credit Agreement at least ten (10) Business Days before the time of sale or other event giving
rise to the requirement of such notice. The Administrative Agent shall not be obligated to make
any sale or other disposition of the Collateral regardless of notice having been given. To the
extent permitted by Applicable Law, any Secured Party may be a purchaser at any such sale. To
the extent permitted by Applicable Law, each of the Grantors hereby waives all of its rights of
redemption with respect to any such sale. Subject to the provisions of Applicable Law, the
Administrative Agent and the Secured Parties may postpone or cause the postponement of the
sale of all or any portion of the Collateral by announcement at the time and place of such sale,
and such sale may, without further notice, to the extent permitted by Applicable Law, be made at
the time and place to which the sale was postponed, or the Administrative Agent may further
postpone such sale by announcement made at such time and place. Notwithstanding anything to
the contrary contained herein, the Grantors hereby acknowledge that the Administrative Agent
shall have no obligation to delay sale of any Pledged Shares for the period of time necessary to
permit the issuer of such Pledged Shares to register such Pledged Shares for public sale under the
Securities Act of 1933, as amended (the “Securities Act”), or under applicable state securities
laws. Each Grantor further acknowledges and agrees that any offer to sell such Pledged Shares
that has been (i) publicly advertised on a bona fide basis in a newspaper or other publication of
general circulation in the financial community of Houston, Texas (to the extent that such offer
may be advertised without prior registration under the Securities Act) or (ii) made privately in
the manner described above shall be deemed to involve a “public sale” under the
UCC, notwithstanding that such sale may not constitute a “public offering” under the Securities
Act, and the Administrative Agent may, in such event, bid for the purchase of such Pledged
Shares.

       (b)     Remedies Relating to Accounts. Upon the occurrence of an Event of Default and
during the continuation thereof, whether or not the Administrative Agent has exercised any or all
of its rights and remedies hereunder, (i) each Grantor will promptly upon request of the
Administrative Agent instruct all account debtors to remit all payments in respect of Accounts to

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a mailing location selected by the Administrative Agent and (ii) the Administrative Agent shall
have the right to enforce any Grantor’s rights against its customers and account debtors, and the
Administrative Agent or its designee may notify (or require any Grantor to notify) any Grantor’s
customers and account debtors that the Accounts of such Grantor have been assigned to the
Administrative Agent or of the Administrative Agent’s security interest therein, and may (either
in its own name or in the name of such Grantor or both) demand, collect (including, without
limitation, by way of a lockbox arrangement), receive, take receipt for, sell, sue for, compound,
settle, compromise and give acquittance for any and all amounts due or to become due on any
Account, and, in the Administrative Agent’s discretion, file any claim or take any other action or
proceeding to protect and realize upon the security interest of the Secured Parties in the
Accounts. Each Grantor acknowledges and agrees that the Proceeds of its Accounts remitted to
or on behalf of the Administrative Agent in accordance with the provisions hereof shall be solely
for the Administrative Agent’s own convenience and that such Grantor shall not have any right,
title or interest in such Accounts or in any such other amounts except as expressly provided
herein. The Administrative Agent and the other Secured Parties shall have no liability or
responsibility to any Grantor for acceptance of a check, draft or other order for payment of
money bearing the legend “payment in full” or words of similar import or any other restrictive
legend or endorsement or be responsible for determining the correctness of any remittance. Each
Grantor hereby agrees to indemnify the Administrative Agent and the other Secured Parties from
and against all liabilities, damages, losses, actions, claims, judgments, costs, expenses, charges
and attorneys’ fees suffered or incurred by the Administrative Agent or the other Secured Parties
(each, an “Indemnified Party”) because of the maintenance of the foregoing arrangements
except as relating to or arising out of the material breach in bad faith of such Indemnified Party’s
obligations hereunder or under any other Loan Document, or the gross negligence or willful
misconduct of an Indemnified Party or its officers, employees or agents. In the case of any
investigation, litigation or other proceeding, the foregoing indemnity shall be effective whether
or not such investigation, litigation or proceeding is brought by a Grantor, its directors,
shareholders or creditors or an Indemnified Party or any other Person or any other Indemnified
Party is otherwise a party thereto.

        (c)     Access. Subject the rights of any third parties, in addition to the rights and
remedies hereunder, upon the occurrence of an Event of Default and during the continuation
thereof, the Administrative Agent shall have the right to enter and remain upon the various
premises of the Grantors without cost or charge to the Administrative Agent, and use the same,
together with materials, supplies, books and records of the Grantors for the purpose of collecting
and liquidating the Collateral, or for preparing for sale and conducting the sale of the Collateral,
whether by foreclosure, auction or otherwise. In addition, the Administrative Agent may remove
Collateral, or any part thereof, from such premises and/or any records with respect thereto, in
order to effectively collect or liquidate such Collateral.

        (d)    Nonexclusive Nature of Remedies. Failure by the Administrative Agent or the
other Secured Parties to exercise any right, remedy or option under this Agreement, any other
Loan Document or any other documents relating to the Secured Obligations or as provided by
Applicable Law, or any delay by the Administrative Agent or the other Secured Parties in
exercising the same, shall not operate as a waiver of any such right, remedy or option. No waiver
hereunder shall be effective unless it is in writing, signed by the party against whom such waiver
is sought to be enforced and then only to the extent specifically stated, which in the case of the

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Administrative Agent or the other Secured Parties shall only be granted as provided herein. To
the extent permitted by Applicable Law, neither the Administrative Agent, the other Secured
Parties, nor any party acting as attorney for the Administrative Agent or the other Secured
Parties, shall be liable hereunder for any acts or omissions or for any error of judgment or
mistake of fact or law other than their material breach in bad faith of their obligations hereunder
or under any other Loan Document, gross negligence or willful misconduct. The rights and
remedies of the Administrative Agent and the other Secured Parties under this Agreement shall
be cumulative and not exclusive of any other right or remedy that the Administrative Agent or
the other Secured Parties may have.

        (e)     Retention of Collateral. To the extent permitted under Applicable Law, in
addition to the rights and remedies hereunder, upon the occurrence and during the continuation
of an Event of Default, the Administrative Agent may, after providing the notices required by
Sections 9-620 and 9-621 of the UCC or otherwise complying with the requirements of
Applicable Law of the relevant jurisdiction, accept or retain all or any portion of the Collateral in
satisfaction of the Secured Obligations. Unless and until the Administrative Agent shall have
provided such notices, however, the Administrative Agent shall not be deemed to have accepted
or retained any Collateral in satisfaction of any Secured Obligations for any reason.

        (f)     Deficiency. In the event that the proceeds of any sale, collection or realization are
insufficient to pay all amounts to which the Administrative Agent or the other Secured Parties
are legally entitled, the Grantors shall be jointly and severally liable for the deficiency (subject to
Section 24 hereof), together with interest thereon at the Default Rate, together with the costs of
collection and attorneys’ fees. Any surplus remaining after the full payment and satisfaction of
the Secured Obligations shall be returned to the Grantors or to whomsoever a court of competent
jurisdiction shall determine to be entitled thereto.

        9.     Rights of the Administrative Agent.

        (a)    Power of Attorney. In addition to other powers of attorney contained herein, each
Grantor hereby designates and appoints the Administrative Agent, on behalf of the Secured
Parties, and each of its designees or agents, as attorney-in-fact of such Grantor, irrevocably and
with power of substitution, with authority to take any or all of the following actions upon the
occurrence and during the continuation of an Event of Default:

                (i)    to demand, collect, settle, compromise and adjust, and give discharges and
        releases concerning the Collateral, all as the Administrative Agent may reasonably deem
        appropriate;

                (ii)   to commence and prosecute any actions at any court for the purposes of
        collecting any of the Collateral and enforcing any other right in respect thereof;

                (iii) to defend, settle or compromise any action, suit or proceeding brought
        and, in connection therewith, give such discharge or release as the Administrative Agent
        may reasonably deem appropriate;

               (iv)   to endorse checks, notes, drafts, acceptances, money orders, bills of
        lading, warehouse receipts or other instruments or documents evidencing payment,

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        shipment or storage of the goods giving rise to the Collateral on behalf of and in the name
        of such Grantor, or securing, or relating to such Collateral;

                (v)     unless being contested as permitted by, and in strict accordance with the
        terms and conditions of, the Credit Agreement, to pay or discharge taxes, Liens, security
        interests or other encumbrances levied or placed on or threatened against the Collateral;

                (vi)    to direct any parties liable for any payment in connection with any of the
        Collateral to make payment of any and all monies due and to become due thereunder
        directly to the Administrative Agent or as the Administrative Agent shall direct;

              (vii) to receive payment of and receipt for any and all monies, claims and other
        amounts due and to become due at any time in respect of or arising out of any Collateral;

               (viii) to sell, assign, transfer, make any agreement in respect of, or otherwise
        deal with or exercise rights in respect of, any Collateral or the goods or services that have
        given rise thereto, as fully and completely as though the Administrative Agent were the
        absolute owner thereof for all purposes;

               (ix)    to adjust and settle claims under any insurance policy relating thereto;

                (x)    to execute and deliver all assignments, conveyances, statements, financing
        statements, renewal financing statements, security and pledge agreements, affidavits,
        notices and other agreements, instruments and documents that the Administrative Agent
        may reasonably deem appropriate in order to perfect and maintain the security interests
        and Liens granted in this Agreement and in order to fully consummate all of the
        transactions contemplated therein;

                (xi)    to exchange any of the Collateral constituting Pledged Shares or other
        property upon any merger, consolidation, reorganization, recapitalization or other
        readjustment of the issuer thereof and, in connection therewith, deposit any of the
        Collateral constituting Pledged Shares with any committee, depository, transfer agent,
        registrar or other designated agency upon such terms as the Administrative Agent may
        deem appropriate;

                (xii) to vote for a shareholder or member resolution, or to sign an instrument in
        writing, sanctioning the transfer of any or all of the Collateral constituting Pledged Shares
        into the name of the Administrative Agent or one or more of the Secured Parties or into
        the name of any transferee to whom the Collateral constituting Pledged Shares or any part
        thereof may be sold pursuant to Section 8;

               (xiii) to institute any foreclosure proceedings that the Administrative Agent may
        reasonably deem appropriate; and

              (xiv) to do and perform all such other acts and things as the Administrative
        Agent may reasonably deem appropriate or convenient in connection with the Collateral.



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        This power of attorney is a power coupled with an interest and shall be irrevocable for so
long as any of the Secured Obligations (other than contingent indemnification obligations for
which no underlying claim has been asserted) shall remain outstanding and until the
Credit Agreement has been terminated. The Administrative Agent shall be under no duty to
exercise or withhold the exercise of any of the rights, powers, privileges and options expressly or
implicitly granted to the Administrative Agent in this Agreement, and shall not be liable for any
failure to do so or any delay in doing so. The Administrative Agent shall not be liable for any act
or omission or for any error of judgment or any mistake of fact or law in its individual capacity
or its capacity as attorney-in-fact except acts or omissions resulting from its material breach in
bad faith of its obligations hereunder, gross negligence or willful misconduct. This power of
attorney is conferred on the Administrative Agent solely to protect, preserve and realize upon its
security interest in the Collateral.

        (b)    Assignment by the Administrative Agent. The Administrative Agent may from
time to time assign the Collateral and any portion thereof to a successor agent in accordance with
the Credit Agreement, and the assignee shall be entitled to all of the rights and remedies of the
Administrative Agent under this Agreement in relation thereto.

        (c)      The Administrative Agent’s Duty of Care. Other than the exercise of reasonable
care to assure the safe custody of the Collateral while being held by the Administrative Agent
hereunder, the Administrative Agent shall have no duty or liability to preserve rights pertaining
thereto, it being understood and agreed that the Grantors shall be responsible for preservation of
all rights in the Collateral, and the Administrative Agent shall be relieved of all responsibility for
the Collateral upon surrendering it or tendering the surrender of it to the Grantors. The
Administrative Agent shall be deemed to have exercised reasonable care in the custody and
preservation of the Collateral in its possession if such Collateral is accorded treatment
substantially equal to that which the Administrative Agent accords its own property, it being
understood that the Administrative Agent shall not have responsibility for (i) ascertaining or
taking action with respect to calls, conversions, exchanges, maturities, tenders or other matters
relating to any Collateral, whether or not the Administrative Agent has or is deemed to have
knowledge of such matters, or (ii) taking any necessary steps to preserve rights against any
parties with respect to any of the Collateral. In the event of a public or private sale of Collateral
pursuant to Section 8, the Administrative Agent shall have no obligation to prepare the Collateral
for sale.

        (d)    Voting Rights in Respect of the Pledged Shares.

               (i)    So long as no Event of Default shall have occurred and be continuing,
        each Grantor may exercise any and all voting and other consensual rights pertaining to
        the Pledged Shares of such Grantor or any part thereof for any purpose; and

                (ii)    Upon the occurrence and during the continuance of an Event of Default
        and receipt of notice from the Administrative Agent by such Grantor, all rights of any
        Grantor to exercise the voting and other consensual rights that it would otherwise be
        entitled to exercise pursuant to Section 9(d)(i) shall cease and all such rights shall
        thereupon become vested in the Administrative Agent, upon its election, which shall then
        have the sole right to exercise such voting and other consensual rights.

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        (e)    Dividend Rights in Respect of the Pledged Shares.

                (i)    So long as no Event of Default shall have occurred and be continuing and
        subject to Section 4(b), each Grantor may receive and retain any and all dividends and
        distributions (other than stock dividends and other dividends and distributions
        constituting Collateral addressed hereinabove) or interest paid in respect of the Pledged
        Shares to the extent they are allowed under the Credit Agreement.

                (ii)   Upon the occurrence and during the continuance of an Event of Default
        and receipt of notice from the Administrative Agent by such Grantor, (A) all rights of a
        Grantor to receive the dividends, distributions and interest payments that it would
        otherwise be authorized to receive and retain pursuant to Section 9(e)(i) shall cease and
        all such rights shall thereupon be vested in the Administrative Agent, which shall then
        have the sole right to receive and hold as Collateral such dividends, distributions and
        interest payments; and (B) all dividends and interest payments that are received by any
        Grantor contrary to the provisions of the preceding clause (A) shall be received in trust
        for the benefit of the Administrative Agent, shall be segregated from other property or
        funds of such Grantor, and shall be forthwith paid over to the Administrative Agent as
        Collateral in the exact form received, to be held by the Administrative Agent as
        Collateral and as further collateral security for the Secured Obligations.

       (f)     Release of Collateral. The Administrative Agent may release any of the Collateral
from this Agreement or may substitute any of the Collateral for other Collateral without altering,
varying or diminishing in any way the force, effect, lien, pledge or security interest of this
Agreement as to any Collateral not expressly released or substituted, and this Agreement shall
continue as a Lien on all Collateral not expressly released or substituted.

       10.    Rights of Required Lenders. All rights hereunder may be exercised by the
Administrative Agent and shall be exercised by the Administrative Agent at the request of the
Required Lenders.

        11.    Application of Proceeds. Upon the occurrence and during the continuation of an
Event of Default, any payments in respect of the Secured Obligations and any proceeds of the
Collateral, when received by the Administrative Agent or any of the other Secured Parties in
cash or its equivalent, will be applied in reduction of the Secured Obligations in the order set
forth in Section 9.4 of the Credit Agreement, and each Grantor irrevocably waives the right to
direct the application of such payments and proceeds and acknowledges and agrees that the
Administrative Agent shall have the continuing and exclusive right to apply and reapply any and
all such payments and proceeds in the Administrative Agent’s sole discretion, notwithstanding
any entry to the contrary upon any of its books and records.

        12.    Continuing Agreement.

        (a)   This Agreement shall be a continuing agreement in every respect and shall remain
in full force and effect so long as any of the Secured Obligations (other than contingent
indemnification obligations for which no underlying claim has been asserted) remains
outstanding and until the Credit Agreement has been terminated. Upon payment of all Secured


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Obligations (other than contingent indemnification obligations for which no underlying claim
has been asserted) and termination of the Credit Agreement, this Agreement and the Liens and
security interests of the Administrative Agent hereunder shall be automatically terminated (other
than any obligations expressly stated to survive such termination), and the Administrative Agent
shall, upon the request and at the expense of the Grantors, execute and deliver all
UCC termination statements and/or other documents reasonably requested by the Grantors
evidencing such termination. Notwithstanding the foregoing, all releases and indemnities
provided hereunder shall survive termination of this Agreement.

         (b)   This Agreement shall continue to be effective or be automatically reinstated, as
the case may be, if at any time payment, in whole or in part, of any of the Secured Obligations is
rescinded or must otherwise be restored or returned by the Administrative Agent or any other
Secured Party as a preference, fraudulent conveyance or otherwise under any Debtor Relief Law,
all as though such payment had not been made; provided that in the event payment of all or any
part of the Secured Obligations is rescinded or must be restored or returned, all documented costs
and expenses (including, without limitation, attorneys’ fees and disbursements) incurred by the
Administrative Agent or any other Secured Party in defending and enforcing such reinstatement
shall be deemed to be included as a part of the Secured Obligations.

       13.     Amendments and Waivers. This Agreement and the provisions hereof may not
be amended, waived, modified, changed, discharged or terminated except as set forth in
Section 11.2 of the Credit Agreement.

         14.      Successors in Interest. This Agreement shall create a continuing security interest
in the Collateral and shall be binding upon each Grantor, its successors and assigns, and shall
inure, together with the rights and remedies of the Administrative Agent hereunder, to the benefit
of the Administrative Agent and the other Secured Parties and their successors and permitted
assigns; provided that none of the Grantors may assign its rights or delegate its duties hereunder
without the prior written consent of the requisite Lenders under the Credit Agreement. To the
fullest extent permitted by Applicable Law, each Grantor hereby releases the Administrative
Agent and each other Secured Party, their respective successors and assigns and their respective
officers, attorneys, employees and agents, from any liability for any act or omission or any error
of judgment or mistake of fact or of law relating to this Agreement or the Collateral, except for
any liability arising from the material breach in bad faith of such party’s obligations hereunder or
under any other Loan Document, or the gross negligence or willful misconduct of such party or
its officers, attorneys, employees or agents.

       15.     Notices. All notices required or permitted to be given under this Agreement shall
be given as provided in Section 11.1 of the Credit Agreement.

        16.    Counterparts. This Agreement may be executed in any number of counterparts,
each of which where so executed and delivered shall be an original, but all of which shall
constitute one and the same instrument. It shall not be necessary in making proof of this
Agreement to produce or account for more than one such counterpart. Delivery of an executed
counterpart of a signature page of this Agreement by telecopy shall be effective as delivery of a
manually executed counterpart of this Agreement.



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       17.    Headings. The headings of the sections and subsections hereof are provided for
convenience only and shall not in any way affect the meaning or construction of any provision of
this Agreement.

        18.   Governing Law; Submission to Jurisdiction; Venue.

     (a) GOVERNING LAW. THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE LAW OF THE STATE OF TEXAS.

     (b)   SUBMISSION TO JURISDICTION. EACH OF THE PARTIES HERETO
IRREVOCABLY AND UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS
PROPERTY, TO THE NONEXCLUSIVE JURISDICTION OF THE COURTS OF THE
STATE OF TEXAS SITTING IN HARRIS COUNTY AND OF THE UNITED STATES
DISTRICT COURT OF THE SOUTHERN DISTRICT OF TEXAS, AND ANY APPELLATE
COURT FROM ANY THEREOF, IN ANY ACTION OR PROCEEDING ARISING OUT OF
OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT, OR FOR
RECOGNITION OR ENFORCEMENT OF ANY JUDGMENT, AND EACH OF THE
PARTIES HERETO IRREVOCABLY AND UNCONDITIONALLY AGREES THAT ALL
CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING MAY BE HEARD AND
DETERMINED IN SUCH TEXAS STATE COURT OR, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, IN SUCH FEDERAL COURT. EACH OF THE
PARTIES HERETO AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
PROCEEDING SHALL BE CONCLUSIVE AND MAY BE ENFORCED IN OTHER
JURISDICTIONS BY SUIT ON THE JUDGMENT OR IN ANY OTHER MANNER
PROVIDED BY LAW. NOTHING IN THIS AGREEMENT OR IN ANY OTHER LOAN
DOCUMENT SHALL AFFECT ANY RIGHT THAT THE ADMINISTRATIVE AGENT OR
ANY OTHER SECURED PARTY MAY OTHERWISE HAVE TO BRING ANY ACTION OR
PROCEEDING RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT
AGAINST ANY BORROWER OR ANY OTHER GRANTOR OR ITS PROPERTIES IN THE
COURTS OF ANY JURISDICTION.

     (c)  WAIVER OF VENUE. EACH OF THE PARTIES HERETO IRREVOCABLY
AND UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY OBJECTION THAT IT MAY NOW OR HEREAFTER HAVE TO
THE LAYING OF VENUE OF ANY ACTION OR PROCEEDING ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT IN ANY
COURT REFERRED TO IN SECTION 18(B). EACH OF THE PARTIES HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, THE DEFENSE OF AN INCONVENIENT FORUM TO THE MAINTENANCE OF
SUCH ACTION OR PROCEEDING IN ANY SUCH COURT.

     (d)    SERVICE OF PROCESS. EACH PARTY HERETO IRREVOCABLY
CONSENTS TO SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES IN
SECTION 11.1 OF THE CREDIT AGREEMENT. NOTHING IN THIS AGREEMENT WILL
AFFECT THE RIGHT OF ANY PARTY HERETO TO SERVE PROCESS IN ANY OTHER
MANNER PERMITTED BY APPLICABLE LAW.



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      19.   Waiver of Right to Trial by Jury. EACH PARTY HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL
PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR ANY OTHER LOAN DOCUMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY (WHETHER BASED ON CONTRACT, TORT
OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
BEEN INDUCED TO ENTER INTO THIS AGREEMENT AND THE OTHER LOAN
DOCUMENTS BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
CERTIFICATIONS IN THIS SECTION 19.

        20.    Severability. If any provision of this Agreement is determined to be illegal,
invalid or unenforceable, such provision shall be fully severable and the remaining provisions
shall remain in full force and effect and shall be construed without giving effect to the illegal,
invalid or unenforceable provisions.

        21.     Entirety. This Agreement, the other Loan Documents and the other documents
relating to the Secured Obligations represent the entire agreement of the parties hereto and
thereto, and supersede all prior agreements and understandings, oral or written, if any, including
any commitment letters or correspondence relating to the Loan Documents, any other documents
relating to the Secured Obligations, or the transactions contemplated herein and therein.

        22.    Survival. All representations and warranties of the Grantors hereunder shall
survive the execution and delivery of this Agreement, the other Loan Documents and the other
documents relating to the Secured Obligations, the delivery of the Notes and the extension of
credit thereunder or in connection therewith.

        23.    Other Security. To the extent that any of the Secured Obligations are now or
hereafter secured by property other than the Collateral (including, without limitation, real and
other personal property owned by any Grantor), or by a guarantee, endorsement or property of
any other Person, then the Administrative Agent shall have the right to proceed against such
other property, guarantee or endorsement upon the occurrence of any Event of Default, and the
Administrative Agent shall have the right, in its sole discretion, to determine which rights,
security, Liens, security interests or remedies the Administrative Agent shall at any time pursue,
relinquish, subordinate, modify or take with respect thereto, without in any way modifying or
affecting any of them or the Secured Obligations or any of the rights of the Administrative Agent
or the other Secured Parties under this Agreement, under any of the other Loan Documents or
under any other document relating to the Secured Obligations.

        24.    Joint and Several Obligations of Grantors.

         (a)   Subject to Section 24(c), each of the Grantors is accepting joint and several
liability hereunder in consideration of the financial accommodation to be provided by the


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Secured Parties, for the mutual benefit, directly and indirectly, of each of the Grantors and in
consideration of the undertakings of each of the Grantors to accept joint and several liability for
the obligations of each of them.

        (b)      Subject to Section 24(c), each of the Grantors jointly and severally hereby
irrevocably and unconditionally accepts, not merely as a surety but also as a co-debtor, joint and
several liability with the other Grantors with respect to the payment and performance of all of the
Secured Obligations arising under this Agreement, the other Loan Documents and any other
documents relating to the Secured Obligations, it being the intention of the parties hereto that all
the Secured Obligations shall be the joint and several obligations of each of the Grantors without
preferences or distinction among them.

        (c)     Notwithstanding any provision to the contrary contained herein, in any other Loan
Document or in any other document relating to the Secured Obligations, the obligations of each
Grantor under the Credit Agreement, the other Loan Documents and the other documents
relating to the Secured Obligations shall be limited to an aggregate amount equal to the largest
amount that would not render such obligations subject to avoidance under Section 548 of the
Bankruptcy Code or any comparable provisions of any applicable state law.

                             [Signatures are on the following pages]




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                            SCHEDULE 2(e)

                     COMMERCIAL TORT CLAIMS


                                  None.




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                                     SCHEDULE 2(v)

                                  EQUITY INTERESTS


                                                        Number of Certificat Percentage
        Grantor                      Issuer             Shares/Unit e Number Ownership
                                                             s
Lockwood Enterprises, Inc. Lockwood International, Inc.    340         23      100%


Lockwood Enterprises, Inc.   LMG Manufacturing, Inc.    1,000        1         100%

LMG Manufacturing, Inc.      Piping Components, Inc.    1,000        1         100%




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                                       SCHEDULE 5(j)

                                            Lockwood              LMG              Piping
                      Lockwood            International,     Manufacturing,    Components, Inc.
     Name          Enterprises, Inc.           Inc.                Inc.
Jurisdiction             Texas                Texas               Texas              Texas
Type of Entity        Corporation          Corporation         Corporation        Corporation
Principal Place    10002 Windfern       10203 Wallisville    10060 Windfern    15700 International
of Business;       Road, Houston,       Road, Houston,       Road, Houston,    Plaza Drive, Suites
Books and          Texas 77064          Texas 77013          Texas 77064           100 & 150,
Records                                                                          Houston, Texas
                                                                                     77032
US Tax ID#             XX-XXXXXXX                                                 XX-XXXXXXX
Org ID#                802033121            42296600           801687730           802125649
Any Change in             None.               None.            Prior: LMG            None.
Legal Name                                                    Manufacturing,
                                                                   LLC
Any Change in            None.               None.                None.              None.
State of
Formation
Party to Merger,         None.               None.               Merger of            N/A
Consolidation,                                                  Lockwood
or Change in                                                  Manufacturing,
Structure                                                     LLC into LMG
                                                              Manufacturing,
                                                             LLC; conversion
                                                               from limited
                                                                  liability
                                                                company to
                                                                corporation

All of the Borrowers’ bank accounts are at Wells Fargo Bank except as follows:

Bank                       Type of             Beneficiary             Account Number
                           Account
Royal Bank of Canada       Operating           Lockwood                05259-1008044
                                               International, Inc.
Royal Bank of Canada       Payroll             Lockwood                05259-1008309
                                               International, Inc.
Bank of America, N.A.,     Operating           Lockwood                58365010
Singapore Branch                               International, Inc.

Federal State and Local Government Contracts:

Lockwood Enterprises, Inc.: None.



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Lockwood International, Inc.: None.

LMG Manufacturing, Inc.: None.

Piping Components, Inc.: None.

Letters of Credit (as Beneficiary):

Lockwood Enterprises, Inc.: None.

Lockwood International, Inc.: None.

LMG Manufacturing, Inc.: None.

Piping Components, Inc.: None.




                                      Schedule 5(j)
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                                        EXHIBIT 6(c)(i)

                                     NOTICE OF
                           GRANT OF SECURITY INTEREST IN
                                   COPYRIGHTS

United States Copyright Office

Ladies and Gentlemen:

         Please be advised that, pursuant to the Pledge and Security Agreement, dated as of
_____________, 2015 (as the same may be amended, modified, restated or supplemented from
time to time, the “Agreement”), among the undersigned and each of the other Grantors from time
to time party thereto (each, a “Grantor” and, collectively, the “Grantors”) and Wells Fargo
Bank, National Association, as agent for the Secured Parties referenced therein (in such capacity,
together with any successor, the “Administrative Agent”), the undersigned Grantor has granted a
continuing security interest in and continuing lien upon the copyrights and copyright applications
shown on Schedule 1 attached hereto to the Administrative Agent, for the benefit of the Secured
Parties.

       The undersigned Grantor and the Administrative Agent, on behalf of the Secured Parties,
hereby acknowledge and agree that the security interest in the copyrights and copyright
applications set forth on Schedule 1 attached hereto (i) may only be terminated in accordance
with the terms of the Agreement and (ii) is not to be construed as an assignment of any copyright
or copyright application.

                                             [NAME OF GRANTOR]



                                             By: ______________________________________
                                             Name: ____________________________________
                                             Title: _____________________________________


Acknowledged and Accepted:

WELLS FARGO BANK, NATIONAL ASSOCIATION,
as Administrative Agent



By: ______________________________________
Name: ____________________________________
Title: _____________________________________




                                         Exhibit 6(c)(i)
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                                       EXHIBIT 6(c)(ii)

                                     NOTICE OF
                           GRANT OF SECURITY INTEREST IN
                                      PATENTS

United States Patent and Trademark Office

Ladies and Gentlemen:

         Please be advised that, pursuant to the Pledge and Security Agreement, dated as of
_____________, 2015 (as the same may be amended, modified, restated or supplemented from
time to time, the “Agreement”), among the undersigned and each of the other Grantors from time
to time party thereto (each, a “Grantor” and, collectively, the “Grantors”) and Wells Fargo
Bank, National Association, as agent for the Secured Parties referenced therein (in such capacity,
together with any successor, the “Administrative Agent”), the undersigned Grantor has granted a
continuing security interest in and continuing lien upon the patents and patent applications
shown on Schedule 1 attached hereto to the Administrative Agent, for the benefit of the Secured
Parties.

       The undersigned Grantor and the Administrative Agent, on behalf of the Secured Parties,
hereby acknowledge and agree that the security interest in the patents and patent applications set
forth on Schedule 1 attached hereto (i) may only be terminated in accordance with the terms of
the Agreement and (ii) is not to be construed as an assignment of any patent or patent
application.

                                             [NAME OF GRANTOR]



                                             By: ______________________________________
                                             Name: ____________________________________
                                             Title: _____________________________________


Acknowledged and Accepted:

WELLS FARGO BANK, NATIONAL ASSOCIATION,
as Administrative Agent



By: ______________________________________
Name: ____________________________________
Title: _____________________________________




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                                       EXHIBIT 6(c)(iii)

                                     NOTICE OF
                           GRANT OF SECURITY INTEREST IN
                                   TRADEMARKS

United States Patent and Trademark Office

Ladies and Gentlemen:

        Please be advised that, pursuant to the Pledge and Security Agreement, dated as of
_____________, 2015 (as the same may be amended, modified, restated or supplemented from
time to time, the “Agreement”), among the undersigned and each of the other Grantors from time
to time party thereto (each, a “Grantor” and, collectively, the “Grantors”) and Wells Fargo
Bank, National Association, as agent for the Secured Parties referenced therein (in such capacity,
together with any successor, the “Administrative Agent”), the undersigned Grantor has granted a
continuing security interest in and continuing lien upon the trademarks and trademark
applications shown on Schedule 1 attached hereto to the Administrative Agent, for the benefit of
the Secured Parties.

       The undersigned Grantor and the Administrative Agent, on behalf of the Secured Parties,
hereby acknowledge and agree that the security interest in the trademarks and trademark
applications set forth on Schedule 1 attached hereto (i) may only be terminated in accordance
with the terms of the Agreement and (ii) is not to be construed as an assignment of any
trademark or trademark application.

                                             [NAME OF GRANTOR]



                                             By: ______________________________________
                                             Name: ____________________________________
                                             Title: _____________________________________


Acknowledged and Accepted:

WELLS FARGO BANK, NATIONAL ASSOCIATION,
as Administrative Agent



By: ______________________________________
Name: ____________________________________
Title: _____________________________________




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                     PLEDGE AND SECURITY AGREEMENT JOINDER NO. 1

         PLEDGE AND SECURITY AGREEMENT JOINDER NO. 1 (this "Joinder") dated as of
August 21, 2017, to the Pledge and Security Agreement dated as September 30, 2015 (such agreement,
together with all amendments and restatements and joinders, the "Security Agreement"), among the initial
signatories thereto (being LOCKWOOD ENTERPRISES, INC., LOCKWOOD INTERNATIONAL,
INC., LMG MANUFACTURING, INC. and PIPING COMPONENTS, INC.) and each other Person who
from time to time thereafter became or becomes a party thereto (each, individually, a "Grantor" and
collectively, the "Grantors"), in favor of WELLS FARGO BANK, NATIONAL ASSOCIATION, as
Administrative Agent (in such capacity, "Administrative Agent"), for its benefit and the benefit of each
Secured Party.

                                             BACKGROUND.

         Capitalized terms not otherwise defined herein have the meaning specified in the Security
Agreement. The Security Agreement contemplates that additional parties may become Grantors under the
Security Agreement by execution and delivery of a joinder. As contemplated by the Security Agreement,
each of the undersigned is becoming a Grantor under the Security Agreement. Each of the undersigned
desires to become a Grantor under the Security Agreement in order to induce Secured Parties to continue
to make and maintain financial accommodations under the Loan Documents and to satisfy the
requirements of the Forbearance Agreement and Third Amendment to Amended and Restated Credit
Agreement, dated effective as of August 16, 2017, by and among the Grantors, the Administrative Agent,
Trustmark National Bank, as a lender, and Wells Fargo Bank, National Association, as a lender (the
"Forbearance Agreement").

                                              AGREEMENT.

        NOW, THEREFORE, in consideration of the premises set forth herein and for other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, and in order to
induce Secured Parties to continue to make and maintain financial accommodations under the Loan
Documents and to satisfy the requirements of the Forbearance Agreement, each of the undersigned hereby
agree with Administrative Agent, for its benefit and the benefit of Secured Parties, as follows:

        1.       Joinder. Each of the undersigned hereby agrees to, become, and becomes, a Grantor
under the Security Agreement with the same force and effect as if it were an original signatory thereto as
a Grantor and the undersigned hereby (a) agrees to all the terms and provisions of the Security Agreement
applicable to it as a Grantor thereunder and (b) represents and warrants that the representations and
warranties made by it as a Grantor thereunder are true and correct on and as of the date hereof. Each
reference to a "Grantor" in the Security Agreement shall be deemed to include each of the undersigned.

         2.      Assignment and Grant of Security Interest. As security for the payment and performance,
as the case may be, in full of the Secured Obligations, each of the undersigned hereby assigns, and
pledges and grants, to Administrative Agent, for itself and for the benefit of Secured Parties, a security
interest in the entire right, title, and interest of such undersigned in and to all Collateral, whether now or
hereafter existing, owned, arising or acquired.

       3.      Representations and Warranties. On and as of the date hereof, each of the undersigned
makes each representation and warranty set forth in the Security Agreement.

       4.       Notices. All communications and notices hereunder shall be in writing and given as
provided in Section 15 of the Security Agreement.




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                                                                           EXECUTION VERSION


                       FORBEARANCE AGREEMENT AND
         THIRD AMENDMENT TO AMENDED AND RESTATED CREDIT AGREEMENT

           THIS FORBEARANCE AGREEMENT AND THIRD AMENDMENT TO AMENDED
    AND RESTATED CREDIT AGREEMENT (this "Forbearance Agreement") dated effective as
    of August 16, 2017 (the "Forbearance Effective Date"), is by and among LOCKWOOD
    ENTERPRISES, INC., a Texas corporation, LOCKWOOD INTERNATIONAL, INC., a Texas
    corporation, LMG MANUFACTURING, INC., a Texas corporation, and PIPING
    COMPONENTS, INC., a Texas corporation (each a "Borrower" and collectively, "Borrowers"),
    MICHAEL F. LOCKWOOD, an individual ("Individual Guarantor"), LOCKWOOD
    HOLDINGS, INC., a Texas corporation ("LHI"), LH AVIATION, LLC, a Texas limited liability
    company ("LHA"), 7807 EAGLE LANE, LLC, a Texas limited liability company ("7807" and
    together with the Borrowers, LHI, LHA, and the Individual Guarantor the "Obligors" and each an
    "Obligor"), TRUSTMARK NATIONAL BANK, as a Lender (defined below) and WELLS
    FARGO BANK, NATIONAL ASSOCIATION, as a Lender (defined below) and as
    Administrative Agent for itself and the other Lenders (in such capacity, the "Administrative
    Agent").

                                              RECITALS:

            A.      WHEREAS, reference is made to that certain Amended and Restated Credit
    Agreement, dated as of September 30, 2015, among the Borrowers, the financial institutions party
    thereto from time to time as lenders (the "Lenders"), and the Administrative Agent, as amended
    by that certain First Amendment to Amended and Restated Credit Agreement dated effective as of
    July 31, 2016, and by that certain Second Amended and Restated Credit Agreement and Limited
    Waiver of Defaults dated effective as of February 27, 2017, in each case among the Borrowers, the
    Lenders and the Administrative Agent (as may be further amended, restated or otherwise modified
    from time to time, the "Credit Agreement").

           B.     WHEREAS, Events of Default listed on Annex A hereto currently exist and are
    continuing under the Credit Agreement (each an "Acknowledged Default" and collectively, the
    "Acknowledged Defaults").

           C.     WHEREAS, the Obligors have requested that the Administrative Agent and the
    Lenders forbear from exercising their rights and remedies under the Credit Agreement and the
    other Loan Documents.

            D.      WHEREAS, the Required Lenders and the Administrative Agent have agreed
    subject to the terms and conditions of this Forbearance Agreement, to forbear as set forth below
    and only as set forth below.

           NOW, THEREFORE, in consideration of the premises and the mutual covenants,
    representations, warranties and agreements contained herein, and other good and valuable
    consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
    agree as follows:




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                                        AGREEMENTS:

       1.      Definitions. Capitalized terms used and not otherwise defined herein shall have
the same meanings as set forth in the Credit Agreement. In addition, the following terms shall, for
the purposes of this Forbearance Agreement, have the following meanings:

               (a)    "Dormant Foreign Accounts" means the foreign bank accounts listed on
       Annex B as inactive and dormant accounts and any other foreign bank accounts discovered
       after the Forbearance Effective Date.

               (b)    "Focus" means Focus Management Group USA, Inc.

              (c)     "Forbearance Period" means the period of time commencing on the
       Forbearance Effective Date and continuing through and including the earlier of (i) the
       occurrence of a Termination Event and (ii) Termination Date, unless earlier terminated
       pursuant to the terms and provisions of this Forbearance Agreement.

              (d)    "Limited Funds Foreign Accounts" means the bank accounts listed on
       Annex B hereto as active accounts so long as, and only for so long as, such accounts do not
       have balances therein exceeding the applicable amount set forth next to the name of the
       applicable depository bank on Annex B.

              (e)     "Minimum Collateral Ratio" means, at all times, the ratio of gross
       accounts receivable and gross inventory to outstanding Revolving Credit Loans and Letters
       of Credit.

              (f)   "Minimum Rolling 4-Week Revenue" is defined in Section 5(w) of this
       Forbearance Agreement.

               (g)    "Sales Milestones" means (i) in respect of the engagement of Imperial
       Capital, LLC, the dates and periods of time set forth on Annex C to the Forbearance
       Agreement, (ii) in respect of the sale of real estate owned by LHI and 7807, the dates and
       periods of time set forth on Annex D to this Forbearance Agreement and (iii) in respect to
       the airplane owned by LHA, the dates and periods of time set forth on Annex E to this
       Forbearance Agreement.

                (h)    "Termination Date" means 5:00 p.m. (prevailing Texas time) on the date
       that is 30 days after the Forbearance Effective Date.

               (i)    "Termination Event" means the occurrence of any of the following:

               (i)    any representation or warranty made or deemed made by any Obligor in this
                      Forbearance Agreement shall be false, misleading or erroneous in any
                      material respect when made or deemed to have been made,

               (ii)   any Obligor shall fail to perform, observe or comply timely with any
                      covenant, agreement or term contained in this Forbearance Agreement,



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         (iii)   any Default or Event of Default, other than the Acknowledged Defaults,
                 shall occur or shall have occurred under this Forbearance Agreement or any
                 of the Loan Documents,

         (iv)    any Obligor shall commence a voluntary proceeding seeking liquidation,
                 reorganization, or other relief with respect to itself or its debts under any
                 bankruptcy, insolvency, or other similar law now or hereafter in effect or
                 seeking the appointment of a trustee, receiver, liquidator, custodian, or
                 other similar official of it or a substantial part of its property or shall consent
                 to any such relief or to the appointment of or taking possession by any such
                 official in an involuntary case or other proceeding commenced against it or
                 shall make a general assignment for the benefit of creditors or shall
                 generally fail to pay its debts as they become due or shall take any action to
                 authorize any of the foregoing,

         (v)     an involuntary proceeding shall be commenced against any Obligor seeking
                 liquidation, reorganization, or other relief with respect to it or its debts
                 under any bankruptcy, insolvency, or other similar law now or hereafter in
                 effect or seeking the appointment of a trustee, receiver, liquidator,
                 custodian, or other similar official for it or a substantial part of its property,
                 in each case that remains undismissed or unstayed for five (5) consecutive
                 calendar days,

         (vi)    any event or condition shall occur after the Forbearance Effective Date
                 which shall have a Material Adverse Effect, as determined by the
                 Administrative Agent,

         (vii)   the exercise by any creditor or holder of material indebtedness of any
                 Obligor (excluding the Obligors under the Loan Documents or the LHI
                 Credit Agreement) of any right or remedy available to them in connection
                 with any default under the documents governing such material
                 indebtedness, including, but not limited to any foreclosure or enforcement
                 action against any Collateral,

         (viii) the initiation of any action by any Obligor to invalidate or limit the
                enforceability of any of the acknowledgments set forth in Section 2, the
                release set forth in Section 12 or the covenant not to sue set forth in
                Section 13,

         (ix)    the Permitted Variance is exceeded,

         (x)     the Minimum Collateral Ratio is less than 115% at any time,

         (xi)    Failure to deliver to the Administrative Agent on a timely basis copies of all
                 major documentation developed and received by Imperial during the
                 investment banking process, including copies of teasers, investor
                 presentations, confidential information memorandums, investor lists,
                 indications of interest, proposals, letters of intent, weekly written status


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                 updates, or other similar types of material documentation reasonably
                 requested by the Administrative Agent to monitor progress during the
                 investment banking process,

         (xii)   Failure to provide the Administrative Agent with timely and continuous
                 view-only access to the electronic data room used for due diligence
                 throughout the investment banking process, or

         (xiii) failure to meet Sales Milestones unless extended by the Lenders in writing
                in their sole discretion.

  2.     Acknowledgments

          (a)     Acknowledgment of Obligations. Each Obligor hereby acknowledges,
  confirms, and agrees that as of the close of business on August 14, 2017: (a) Borrowers are
  indebted to the Revolving Credit Lenders in respect of the Revolving Credit Loans in the
  principal amount of $64,116,693.44, (b) Borrowers are indebted to Issuing Bank in respect
  of the Letters of Credit in the face amount of $838,920.91 and (c) LHI is indebted to Wells
  Fargo in respect of its Term Loan (as defined in the LHI Credit Agreement) in the principal
  amount of $23,025,833.35. Each Obligor hereby acknowledges, confirms, and agrees that
  all such Obligations together with interest accrued and accruing thereon, and all fees, costs,
  expenses, and other charges now or hereafter payable to the Administrative Agent or
  Lenders, in each case in accordance with the terms of the Loan Documents, are
  unconditionally owing by each Obligor, without offset, defense, or counterclaim of any
  kind, nature, or description whatsoever.

          (b)      Acknowledgment of Security Interests.               Each Obligor hereby
  acknowledges, confirms, and agrees that the Administrative Agent has, and will continue
  to have, valid, enforceable, and perfected first-priority continuing Liens upon and security
  interests in the Collateral heretofore granted to the Administrative Agent, for the benefit of
  the Administrative Agent and Lenders, pursuant to the Security Documents and the other
  Loan Documents or otherwise granted to or held by the Administrative Agent, for the
  benefit of the Administrative Agent and Lenders.

          (c)     Binding Effect of Documents. Each Obligor hereby acknowledges,
  confirms and agrees that: (a) this Forbearance Agreement constitutes a Loan Document;
  (b) each of the Credit Agreement and the other Loan Documents to which it is a party has
  been duly executed and delivered to the Administrative Agent by such Obligor, and each is
  and will remain in full force and effect as of the date hereof except as modified pursuant
  hereto; (c) the agreements and obligations of such Obligor contained in such documents
  and in this Forbearance Agreement constitute legal, valid, and binding Obligations,
  enforceable in accordance with their respective terms, and such Obligor has no valid
  defense to the enforcement of such Obligations; (d) the Administrative Agent and Lenders
  are and will be entitled to the rights, remedies, and benefits provided for under the Credit
  Agreement and the other Loan Documents and applicable law; and (e) during the
  Forbearance Period, such Obligor shall comply with all limitations, restrictions, or
  prohibitions that would otherwise be effective or applicable under the Credit Agreement or


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  any of the other Loan Documents during the continuance of any Event of Default, and
  except to the extent expressly provided otherwise in this Forbearance Agreement, any right
  or action of such Obligor set forth in the Credit Agreement or the other Loan Documents
  that is conditioned on the absence of any Event of Default may not be exercised or taken as
  a result of the Acknowledged Defaults.

  3.     Forbearance in Respect of Acknowledged Defaults.

          (a)     Acknowledgment of Default. Each Obligor hereby acknowledges and
  agrees that the Acknowledged Defaults have occurred and are continuing (or are expected
  to occur and be continuing), each of which constitutes (or will constitute) an Event of
  Default and entitles the Administrative Agent and Lenders to exercise their respective
  rights and remedies under the Credit Agreement and the other Loan Documents, applicable
  law, or otherwise. Each Obligor represents and warrants that as of the date hereof, no
  Events of Default exist other than the Acknowledged Defaults. Each Obligor hereby
  acknowledges and agrees that the Administrative Agent and Lenders have the exercisable
  right to declare the Obligations to be immediately due and payable under the terms of the
  Credit Agreement and the other Loan Documents based on the Acknowledged Defaults.
  Each Obligor acknowledges that, immediately prior to the effectiveness of this
  Forbearance Agreement, Revolving Credit Lenders are no longer obligated to make any
  further Revolving Credit Loans as a result of the Acknowledged Defaults.

          (b)     Forbearance. Subject to, and in reliance on, the terms of this Forbearance
  Agreement and only so long as no Termination Event shall have occurred, the
  Administrative Agent and the Lenders hereby agree to forbear until the Termination Date
  from exercising their rights and remedies under the Loan Documents arising from
  Acknowledged Defaults. Notwithstanding the foregoing, the forbearance granted by the
  Administrative Agent and Lenders pursuant hereto shall not constitute and shall not be
  deemed to constitute a waiver of any of the Acknowledged Defaults or of any other Default
  or Event of Default under the Loan Documents. On and after the Termination Date, or
  such earlier date on which a Termination Event occurs, the Administrative Agent's and the
  Lenders' agreement hereunder to forbear shall terminate automatically without further act
  or action by the Administrative Agent or the Lenders, and the Administrative Agent and
  the Lenders shall be entitled to exercise any and all rights and remedies available to it or
  them under the Loan Documents and this Forbearance Agreement, at law, in equity, or
  otherwise, including, but not limited to, (i) ceasing to make any further Revolving Credit
  Loans or issuing any further Letters of Credit and (ii) accelerating all of the Obligations
  under the Credit Agreement and the other Loan Documents, in all events, without any
  further notice to Obligors, passage of time, or forbearance of any kind.

         (c)     No Waivers; Reservation of Rights.

         (i)     The Administrative Agent and the Lenders have not waived, are not by this
                 Forbearance Agreement waiving, and have no intention of waiving, any
                 Events of Default which may be continuing on the date hereof or any Events
                 of Default which may occur after the date hereof (whether the same or
                 similar to the Acknowledged Defaults or otherwise), and the Administrative


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                      Agent and the Lenders have not agreed to forbear with respect to any of
                      their rights or remedies concerning any Events of Default (other than,
                      during the Forbearance Period, the Acknowledged Defaults to the extent
                      expressly set forth herein) occurring at any time.

              (ii)    Subject to Section 3(b) above (solely with respect to the Acknowledged
                      Defaults), the Administrative Agent and the Lenders reserve the right, in
                      their discretion, to exercise any or all of their rights and remedies under the
                      Credit Agreement and the other Loan Documents as a result of any other
                      Events of Default occurring at any time. The Administrative Agent and the
                      Lenders have not waived any of such rights or remedies, and nothing in this
                      Forbearance Agreement, and no delay on their part in exercising any such
                      rights or remedies, may or will be construed as a waiver of any such rights
                      or remedies.

               (d)    Additional Events of Default. The parties hereto acknowledge, confirm,
       and agree that any misrepresentation by any Obligor, or any failure of any Obligor to
       comply with the covenants, conditions and agreements contained in this Forbearance
       Agreement will constitute an immediate default under this Forbearance Agreement and an
       immediate Event of Default under the Credit Agreement and the other Loan Documents.
       Notwithstanding the existence of the Forbearance Period, in the event that any Person,
       other than the Administrative Agent or the Lenders, at any time exercises for any reason
       (including, without limitation, by reason of any Acknowledged Defaults, any other present
       or future Event of Default, or otherwise) any of its rights and remedies against any Obligor
       or any other Person providing credit support for the Obligations, or against any Obligor's or
       such other Person's property or assets, in each case, of the type that would constitute an
       Event of Default under the terms of the Credit Agreement and the other Loan Documents,
       then such occurrence shall also be deemed to constitute an immediate Event of Default
       hereunder and under the Credit Agreement and the other Loan Documents.

                (e)    Other Payments. Each Credit Party also agrees to reimburse the
       Administrative Agent and the Lenders upon demand for all out-of-pocket expenses
       (including reasonable attorneys' fees, settlement costs and fees and expenses of Focus as
       the financial advisor engaged by the Administrative Agent's counsel) incurred in
       connection with the negotiation of this Forbearance Agreement, any further restructuring
       or "workout" with Obligors, whether or not consummated, of any Secured Obligations, and
       any enforcement of any Secured Obligations. Each Credit Party acknowledges and agrees
       that all such expenses are being incurred in connection with a restructuring or workout, as
       these terms are used in Section 11.03(a) of the Credit Agreement.

      4.       Representations and Warranties. To induce the Administrative Agent and the
Lenders to enter into this Forbearance Agreement, Obligors hereby jointly and severally represent
and warrant as follows:

              (a)     Duly Organized. Obligors which are not natural persons are duly
       organized, validly existing and in good standing under the laws of the jurisdiction in which



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       they were organized and formed, and Obligors have the power and authority to perform
       their respective obligations under this Forbearance Agreement and the Loan Documents.

              (b)     Authority. The execution, delivery and performance of this Forbearance
       Agreement (i) have been duly authorized by all requisite action on the part of Obligors
       which are not natural persons and (ii) do not and will not violate the organizational
       documents of Obligors, any other material agreement to which any Obligor is a party, or
       any law, rule or regulation, or any order of any court, governmental authority or arbitrator,
       by which any Obligor or any of its respective properties is bound.

              (c)     No Defenses. The outstanding principal balance of the Revolving Credit
       Loans is $64,116,693.44, the aggregate amount of outstanding Letters of Credit is
       $838,920.91, and the outstanding principal amount of the Term Loan (as defined in the
       LHI Credit Agreement) is $23,025,833.35, in each case as of August 14, 2017. None of
       Obligors has any defenses to payment, counterclaims, or rights of setoff with respect to the
       Loans or any other Secured Obligations existing as of the Forbearance Effective Date.

              (d)    No Other Defaults. Except for the Acknowledged Defaults, no Default or
       Event of Default under the Loan Documents has occurred and is continuing.

              (e)      Taxes. All payments due to all taxing authorities with respect to the
       Collateral are current as of the Forbearance Effective Date.

       5.    Forbearance Covenants. Notwithstanding any provisions to the contrary
contained in the Loan Documents, Obligors hereby covenant and agree that, during the
Forbearance Period, each of them will perform, observe and comply with each of the following
covenants:

              (a)     Compliance with Related Documents and this Forbearance
       Agreement. The Obligors will perform, observe and comply with each covenant,
       agreement and term contained in this Forbearance Agreement and each of the Loan
       Documents, including, without limitation, the fees and payments required thereunder,
       except for the Acknowledged Defaults.

              (b)    Prepayment of Loans from Net Proceeds. The Borrowers agree to pay,
       immediately upon receipt thereof, the Net Proceeds of the sale of all real Property of LHI
       and 7807 to the Administrative Agent for application as follows: first, to the principal
       amount of outstanding Revolving Credit Loans (with a concurrent permanent reduction in
       the amount of the Revolving Credit Commitment equal to the Net Proceeds so received)
       and second, with respect to any Letters of Credit outstanding after payment in full of the
       Revolving Credit Loans, a payment of Cash Collateral into a Cash Collateral account
       opened by the Administrative Agent, for the benefit of the Revolving Credit Lenders, in an
       amount equal to such excess.

              (c)    Deposit of Funds. Except with respect to Limited Funds Foreign
       Accounts, the Credit Parties shall cause all of their collections to be deposited in deposit
       accounts that are covered by a deposit account control agreement in favor of the
       Administrative Agent, and shall not open, or maintain, unless a deposit account control


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  agreement satisfactory to the Administrative Agent is in effect, any deposit account other
  than deposit accounts that are maintained with Wells Fargo Bank, N.A.

          (d)     Additional Financial Statements. With 30 days after the end of each
  calendar month, each of LHI and LHA shall deliver to the Administrative Agent, in form
  and detail satisfactory to the Administrative Agent an unaudited Consolidated and
  consolidating balance sheet of each of LHI and its Subsidiaries, if any, and LHA and its
  Subsidiaries, if any, as of the close of such fiscal month and unaudited Consolidated and
  consolidating statements of income, all in reasonable detail setting forth in comparative
  form the corresponding figures as of the end of and for the corresponding period in the
  preceding Fiscal Year and prepared in accordance with GAAP and, if applicable,
  containing disclosure of the effect on the financial position or results of operations of any
  change in the application of accounting principles and practices during the period, and
  certified by a Responsible Officer of each of LHI and LHA to present fairly in all material
  respects the financial condition of LHI, LHA and each of their respective Subsidiaries, if
  any, on a Consolidated and consolidating basis as of their respective dates and the results of
  operations of LHI, LHA and each of their respective Subsidiaries, if any, for the respective
  periods then ended, subject to normal year-end adjustments and the absence of footnotes.

          (e)     Cash Flow Forecasts. The CRO shall deliver to the Administrative Agent
  and the Lenders, by no later than noon prevailing Central time on Wednesday of each week
  beginning on the first Wednesday after the Forbearance Effective Date, an updated Budget
  setting forth all sources and uses of cash and beginning and ending cash balances,
  including balance sheet roll-forward calculations for accounts receivable, inventory, and
  accounts payable, a detailed breakdown of professional fees, and a calculation for the
  Minimum Collateral Ratio, an initial copy of which shall be delivered on or prior to the
  Forbearance Effective Date. The Credit Parties shall operate strictly in accordance with
  the Budget and shall pay only those actual, ordinary and necessary operating expenses of
  their business in compliance with the Budget (subject to the variances identified above).

          (f)     Reconciliation Reports. The CRO shall deliver to the Administrative
  Agent and the Lenders concurrently with each Budget (i) a variance report reconciling the
  prior week's cash flow forecast to the actual sources and uses of cash for the prior week,
  along with a line-by-line reconciliation and explanation of material variances, (ii) a listing
  of each Credit Parties' accounts receivable, including invoices aged by invoice date and
  due date (with an explanation of the terms offered), together with a summary specifying the
  name, address, and balance due for each account debtor, and a schedule and aging of each
  Credit Party's accounts payable, (iii) a backlog report and (iv) a report from the CRO and
  management of the Credit Parties setting forth detailed explanations for variance in actual
  results as compared to forecasted performance under the Budget.

          (g)     Daily Operating and Excess Cash Reports. The CRO shall deliver, by
  e-mail, to the Administrative Agent, the Lenders and Focus copies of the daily operating
  reports of the Obligors at the same time they are distributed to members of the management
  team of the Obligors, or any of them, such reports to include at least the invoice sales-daily,
  bookings-daily and the month-to-date executive summary. In addition, the CRO shall
  deliver, by e-mail, not later than 10:00 a.m. prevailing Texas time on each Business Day, a


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   report of the Consolidated Cash Balances of the Credit Parties, the aggregate amount of
   outstanding check for Budget Items and the amount, if any, of Excess Cash, in each case as
   of the end of the immediately preceding Business Day.

          (h)     Weekly Status Calls. The Obligors and the CRO shall participate in
   weekly Thursday status calls with the Administrative Agent, the Lenders and the
   Administrative Agent's professionals, which calls shall include the restructuring
   professionals (Gardere, CR3 and Imperial) assisting the Obligors.

          (i)     Weekly Written Status Updates. The CRO shall provide to the
   Administrative Agent, Focus and the Lenders written status reports and updates at least
   weekly from CR3 on right-sizing efforts as well as written status reports from CR3 and
   Imperial on sale processes, including (without limitation):

                  (i)     list of prospects to whom books have been sent,

                  (ii)    dates of proposed on-site meetings,

                  (iii)   names and other details of persons accessing data site,

                  (iv)    dates NDA's, LOI's, PSA's, etc. are received and proposed closing
                          dates,

                  (v)     information similar to the above for proposed airplane and real
                          estate sales/refinancings.

            (j)    Status of Aircraft Sale. The CRO shall provide weekly broker updates to
   the Administrative Agent, Focus, the Lenders and WFEF on the LHA aircraft sale process
   to include list price, sale strategy, inquiries from potential buyers, actual showings, and
   offers, if any.

           (k)     Timing of Status Report. Status reports and updates under clauses (i) and
   (j) above shall be due by 5:00 p.m. prevailing Central Time each Wednesday to allow for
   review before the Thursday morning status and update calls.

          (l)     No CEO Legal Fees. None of the Credit Parties shall pay any legal fees or
   expenses of the Individual Guarantor.

           (m)     Prohibition on Certain Expenses. None of the Obligors shall pay any fees
   or expenses related to forensic accounting and/or fraud detection efforts, or subsequent
   legal fees or expenses related to civil or criminal litigation resulting from those efforts.

           (n)     LHI Prohibited Payments. LHI shall not make loans or advances,
   distributions (including Individual Guarantor equity draws) or dividends.

          (o)  Management Salaries. No Obligor shall increase any executive
   management compensation or benefits without the written approval of the Administrative
   Agent.


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            (p)    Information. The Obligors shall cooperate with Focus in performing its
   work as financial advisor to the Administrative Agent and its counsel, and each of them
   will fully cooperate with the Advisors and fully authorize the Advisors to disclose all
   information about themselves and their financial condition, assets and operations to the
   Administrative Agent, the Lenders, Focus and their respective counsel. In addition to any
   notices required to be given under the Loan Documents, Obligors and their Advisors will
   provide the Administrative Agent, Lenders and Focus with such other information as may
   be requested by the Administrative Agent or Focus from time to time, within one Business
   Day of such request, including, without limitation, copies of any bank or other financial
   institution statements; financial statements; accounts receivable and accounts payable
   agings; transactional documentation; litigation pleadings, depositions, related documents
   and transcripts; letters of intent or offers to purchase, lease or license any portion, all or
   substantially all of the assets or ownership interests of any of Obligors; and letters of intent
   or commitments for any capital investment, loan or other financing in or to any of the
   Obligors. Each Obligor hereby acknowledges the Administrative Agent's right under the
   Credit Agreement to engage Focus in its sole discretion under these circumstances and
   agrees to reimburse the Administrative Agent for the fees and expenses of Focus.

           (q)     Access. The Administrative Agent, Focus, the Lenders, and their agents
   shall have access during normal business hours to Obligors' business premises, to all data
   rooms maintained by Obligors or their Advisors, and to the Collateral to review, appraise
   and evaluate the physical condition of the Collateral and to inspect the books, records and
   reports of Obligors concerning the operation of Obligors' businesses, financial condition,
   the transfers and expenditures of funds generated therefrom, the accrual of expenses
   relating thereto, and any and all other records relating to the operations of Obligors. The
   Obligors and their Advisors will fully cooperate with the Administrative Agent, Lenders
   and Focus regarding such reviews, evaluations, and inspections, and the Obligors shall
   make their employees, consultants and professionals reasonably available to the
   Administrative Agent, the Lenders, Focus, and the Administrative Agent's other
   professionals and consultants in conducting such reviews, evaluations, and inspections.

           (r)     No Control. No act committed or action taken by the Administrative Agent
   or the Lenders under this Forbearance Agreement or the Loan Documents will be used,
   construed, or deemed to hold the Credit Parties to be in control of any Obligor, or the
   governance, management or operations of any Obligor for any purpose, without limitation,
   or to be participating in the management of any Obligor or acting as a "responsible person"
   or "owner or operator" or a person in "control" with respect to the governance,
   management or operation of any Obligor or their respective businesses (as such terms, or
   any similar terms, are used in the U.S. Bankruptcy Code, the Code, or CERCLA, each as
   may be amended from time to time, or any other federal or state statute, at law, in equity, or
   otherwise) by virtue of the interests, rights, and remedies granted to or conferred upon the
   Administrative Agent or the Lenders under this Forbearance Agreement or the other Loan
   Documents.

          (s)    Obligors' Advisors. The Credit Parties shall maintain their engagement of
   their Advisors at all times during the Forbearance Period. Obligors authorize the



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   Administrative Agent, Focus, and their agents and professionals to communicate with their
   Advisors without notice to, or the presence of, Obligors.

           (t)     Restricted Payments; Affiliate Transactions. Notwithstanding anything
   in the Credit Agreement or any other Loan Documents to the contrary, during the
   Forbearance Period, Credit Parties will not make or agree to make, and no Obligor shall
   receive, (i) any Restricted Payments, (ii) any loans, advances or payments otherwise
   permitted under Section 8.3 or 8.7 of the Credit Agreement or Sections 5.6 and 5.7 of the
   LHI Credit Agreement, or (iii) any other payments to the extent on account of accrued or
   accruing expenses, in each case that are not primarily for the benefit of the Credit Parties
   and for which the Credit Parties do not seek reimbursement from one or more of their
   Affiliates on at least a monthly basis.

           (u)      Additional Collateral Updates. During the Forbearance Period, each
   Obligor will (a) notify the Administrative Agent of any written letters of intent, indications
   of interest, offers and agreements related to any sale or other disposition of any assets of
   any Credit Party, in each case, promptly upon becoming aware of same, (b) provide the
   Administrative Agent with such updates and reports relating to the foregoing and Dormant
   Foreign Accounts as and when the Administrative Agent may reasonably request from
   time to time and (c) include in the Budget line items setting forth the Minimum Collateral
   Ratio.

           (v)     Forbearance Period Loans. Notwithstanding anything to the contrary in
   the Credit Agreement or any other Loan Document (and in all events subject to the terms of
   this Section 5(v)), each Credit Party acknowledges and agrees that, during the Forbearance
   Period, the Borrowers shall only be entitled to request, and the Revolving Lenders only
   agree to make, Loans (a) to the extent necessary to enable Credit Parties to pay the
   expenses set forth in the Budget as and when such expenses are due and payable, (b) to the
   extent the aggregate Loans outstanding at any time do not exceed the aggregate Revolving
   Credit Commitment, (c) subject to Loan Parties' timely compliance with the terms and
   provisions of this Forbearance Agreement, and (d) to the extent at the time of and
   immediately after giving effect to each Loan, (i) the Credit Parties shall not have any
   Excess Cash and (ii) as of the end of the Business Day on which such Loan will be funded,
   the Credit Parties shall not have any Excess Cash.

           (w)     Minimum Rolling 4-Week Revenue. The Credit Parties shall not permit
   rolling 4-week Consolidated revenue to be less than the corresponding amount as set forth
   in the table below ("Minimum Rolling 4-Week Revenue"):




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                               Week Ending                Minimum Rolling 4-Week
                                                                Revenue
                                8/20/2017                      $10,169,377
                                8/27/2017                      $ 9,930,344
                                 9/3/2017                      $ 9,468,000
                                9/10/2017                      $ 9,846,000
                                9/17/2017                      $10,476,000

The failure of Obligors to timely comply with the terms of this Section 5 shall constitute (i) a
Default and an Event of Default under and for all purposes of the Credit Agreement and (ii) a
Termination Event hereunder.

       6.     Credit Agreement Amendments.

               (a)     Changes to Certain Definitions. Section 1.1 is amended by amending and
       restating the definitions of "Applicable Margin" and "Credit Parties" in their entireties to
       read as follows:

                      "Applicable Margin" means the corresponding percentages per annum set
              forth below:

              Commitment Fee         Standby LC Fee        LIBOR +         Base Rate +
                 0.25%                   5.00%              5.00%            3.50%

                     "Credit Parties" means, collectively, each Borrower, LHI, LHA, 7807 and
              each Subsidiary Guarantor.

               (b)      Definition of Permitted Tax Distributions. The definition of "Permitted
       Tax Distributions" found in Section 1.1 changing the word "can" in proviso found after
       clause (ii) to read as "shall".

             (c)    Definition of Revolving Credit Commitment. Section 1.1 is amended by
       amending and restating the penultimate sentence of the definition of "Revolving Credit
       Commitment" read as follows:

                             The aggregate Revolving Credit Commitment of all Revolving
                      Credit Lenders on the Forbearance Effective Date is $64,955,931.52.

               (d)     Additional Definitions. Section 1.1 is amended by adding the following
       definitions in appropriate alphabetical order:

                             "Advisors" means CR3 and Imperial or replacement advisors of
                      comparable standing or reputation to which the Administrative Agent may
                      consent in writing, such consent not to be unreasonably withheld.

                             "CR3" means CR3 Partners, LLC.




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                      "CRO" means Mr. Brandon Smith of CR3 (or such other
               professional acceptable to the Administrative Agent).

                     "CRO Engagement Agreement" means the Engagement
               Agreement, dated March 28, 2017, between CR3 and LII, which retained
               CR3, as supplemented by Addendum A dated May 3, 2017 and
               Addendum B dated as May 31, 2017 and amended by Amendment to
               Engagement Agreement dated effective July 5, 2017.

                       "Disposition" means the sale, lease, conveyance, transfer or other
               disposition of Property.

                      "Excess Cash" means, at any time, the amount of Consolidated
               Cash Balances in excess of the Consolidated Cash Balance Threshold other
               than any cash set aside to pay in the ordinary course of business Budgeted
               Items then due and owing to unaffiliated third-parties and for which a
               Credit Party has issued checks in order to pay such amounts.

                      "Excess Cash Threshold" means aggregate Consolidated Cash
               Balances greater than $1,250,000.

                       "Forbearance Agreement" means the Forbearance Agreement and
               Third Amendment to Amended and Restated Credit Agreement, dated
               effective the Forbearance Effective Date, and the Borrowers, LHI, the
               Individual Guarantor, the Lenders and the Administrative Agent.

                      "Forbearance Effective Date" means August 16, 2017.

                      "Imperial" means Imperial Capital, LLC.

                       "Net Proceeds" means proceeds in cash, checks or other cash
               equivalent financial instruments (including cash equivalents) as and when
               received by the Person making a Disposition, as well as insurance proceeds
               and condemnation, governmental seizure or taking, eminent domain,
               requisition or use and similar awards received net of: (a) in the event of a
               Disposition (i) the direct costs relating to such Disposition excluding
               amounts payable to an Obligor or any Affiliate of an Obligor, (ii) sale, use
               or other transaction Taxes paid or payable as a result thereof, and
               (iii) amounts required to be applied to repay principal, interest and
               prepayment premiums and penalties on Indebtedness secured by a Lien on
               the asset which is the subject of such Disposition.

                      "Permitted Variance" means, with respect revenue, an unfavorable
               variance of 10% or more during the applicable 4-week period on a
               cumulative basis, yielding a reported actual result less than the Minimum
               Rolling 4-Week Revenue.




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         (e)     Amendment of Section 2.4(a)(ii). Section 2.4(a)(ii) of the Credit
   Agreement is amended and restated in its entirety to read as follows:

                          (ii)    Repayment Equal to Daily Excess Cash. If, as of 10:00 a.m.
                  on any Business Day, the Credit Parties have any Excess Cash, the
                  Borrowers shall (or shall cause other Credit Parties to) immediately prepay,
                  to the extent of such Excess Cash, the outstanding principal amount of the
                  Loans and/or Cash Collateralize Letters of Credit.

           (f)    Amendment of Section 2.4(d). Section 2.4(d) is amended and restated to
   read as follows:

                         The amount of Net Proceeds from all Asset Dispositions permitted
                  under Section 8.5 shall be used on the date of receipt to prepay outstanding
                  principal amounts on the Revolving Credit Loans, with a corresponding
                  reduction of the aggregate Revolving Credit Commitment.

          (g)      Amendment of Section 2.5(b). Section 2.5(b) is amended by deleting
   from the first sentence thereof the words "this Section 2.5(b)" and inserting in lieu thereof
   the words "Section 2.4(b), Section 2.4(d), and Section 2.4(f)."

         (h)     Amendment of Section 6.15. The reference in Section 6.15 of the Credit
   Agreement to "Section 5.1(f)(i)" is changed to a reference to "Section 5.1(e)(i)."

         (i)    Amendment of Section 7.20. Section 7.20 of the Credit Agreement is
   amended and restated in its entire to read as follows: "[Reserved]"

         (j)    Amendment of Section 7.21. Section 7.21 of the Credit Agreement is
   amended and restated in its entirety to read as follows:

                          Advisors. Continue to engage CR3 and the CRO unless the
                  Administrative Agent otherwise consents in writing, CR3's and the CRO's
                  duties to include those set forth in CR3's Engagement Letters and continue
                  to engage Imperial to perform the duties set forth in Annex C to the
                  Forbearance Agreement at least through the earlier of (i) the end of the
                  Forbearance Period and (ii) a sale or refinancing of the Obligors.

         (k)    New Article VIII Section. Article VIII of the Credit Agreement is
   amended by adding thereto a new section reading as follows:

                         Section 8.17 No Excess Cash. To the extent any Loans or Letters
                  of Credit are outstanding not permit any Excess Cash to exist as of the end
                  of any Business Day.

         (l)     Amendment of Schedule 1.1. The first table on Schedule 1.1 of the Credit
   Agreement is amended and restated in its entirety to read as follows:

                            Period                            Maximum Aggregate Revolving


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                                                                     Credit Commitment of All
                                                                             Lenders
        Forbearance Effective Date through Termination Date               $64,955,931.52

       7.      Post-Closing Covenants.

              (a)    Deposit Accounts. By August 21, 2017, the Credit Parties and Wells
       Fargo, as depositary, shall have entered into one or more deposit account control
       agreements with the Administrative Agent covering the accounts maintained by the
       Obligors with Wells Fargo.

              (b)    Affidavit. By August 18, 2017, the Administrative Agent shall have
       received an Affidavit of the Individual Guarantor in the form of Annex F hereto.

               (c)    Additional Guaranties. By August 22, 2017, each of LHI, LHA and 7807
       shall have guaranteed the Obligation and executed and delivered Guaranty Agreements to
       the Administrative Agent.

              (d)     Additional Security Documents. By August 22, 2017, to the extent
       requested by the Lenders, each of LHI, LHA and 7807 shall have executed and delivered to
       the Administrative Agent Security Documents granting Liens on all of their Property not
       presently subject to Liens in favor of the Administrative Agent.

               (e)     Tax Returns. By August 21, 2107, the Obligors shall have delivered to the
       Administrative Agent true and correct copies of their federal income tax returns, or if not
       yet filed, extensions of the due date thereof for the past two years.

        The failure of Obligors to timely comply with the terms of this Section 7 shall constitute
(i) a Default and an Event of Default under and for all purposes of the Credit Agreement and (ii) a
Termination Event hereunder.

         8.    Conditions Precedent. As a condition to the commencement of the Forbearance
Period on the Forbearance Effective Date, each of the following conditions shall have been
fulfilled by Obligors:

              (a)   Forbearance Agreement. The Obligors, the Administrative Agent and the
       Majority Lenders have each executed and delivered this Forbearance Agreement.

              (b)    Payments. The Borrowers shall have paid in cash all invoiced and unpaid
       fees and expenses reasonably incurred by and owing to the Administrative Agent's counsel,
       Winstead PC, and to Focus and Paul Boston & Associates, Inc., consultants to Winstead
       PC.

               (c)    Budget. Borrowers shall have delivered the initial Budget.

              (d)     Evidence of Authority. The Credit Parties, LHI, LHA and 7807 shall have
       delivered to the Administrative Agent certificates of duly authorized officers of the Credit



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       Parties, and such other documents, instruments and agreements as the Administrative
       Agent shall require, to evidence the due authorization, execution and delivery of this
       Forbearance Agreement and their other Loan Documents, each of which shall be in form
       and substance satisfactory to the Administrative Agent.

        The failure of Obligors to timely comply with the terms of this Section 8 shall constitute
(i) a Default and an Event of Default under and for all purposes of the Credit Agreement and (ii) a
Termination Event hereunder.

         9.     Ratification of Related Documents and Collateral.                   Obligors hereby
acknowledge that each of them has received from the Administrative Agent proper notice of
Default with respect to the Acknowledged Defaults. Each of the Obligors hereby waives (a) any
further notice of Default, notice of intent to accelerate, or demand for payment and (b) any further
opportunity to cure any of the Acknowledged Defaults. Except as modified by this Forbearance
Agreement, each Obligor hereby acknowledges, ratifies, reaffirms, and agrees that each of the
Loan Documents, and the first priority, perfected liens and security interests created thereby in
favor of the Administrative Agent in the Collateral, are and will remain in full force and effect and
binding on Obligors, and are enforceable in accordance with their respective terms and applicable
law. Each of the Obligors acknowledges, ratifies, and reaffirms all of the terms and provisions of
the Loan Documents, except as modified herein, which are incorporated by reference as of the
Forbearance Effective Date as if set forth herein including, without limitation, all promises,
agreements, warranties, representations, covenants, releases, indemnifications, and waivers of jury
trials contained therein. The Obligors hereby acknowledge, ratify, and confirm the Credit
Agreement, the Notes, the Security Instruments, the Guaranties, the other Loan Documents, and
all of their respective debts and obligations to Credit Parties thereunder. The Obligors
acknowledge and agree that in the event the Administrative Agent seeks to take possession of any
or all of the Collateral securing any of the Secured Obligations by court process, the Obligors each
irrevocably waive, to the fullest extent permitted by law, any bonds and any surety or security
relating thereto required by any statute, court rule or otherwise as an incident to such possession.

       10.     Remedies Upon Termination Event. Upon the occurrence of a Termination
Event, (a) the Forbearance Period will terminate without further act or action by the
Administrative Agent or any Lender, (b) the Administrative Agent will be entitled immediately to
accelerate the Secured Obligations, institute foreclosure proceedings against the Collateral and to
exercise any and all of the Administrative Agent's or any Lender's rights and remedies available to
the Administrative Agent or any Lender under the Loan Documents and this Forbearance
Agreement, at law, in equity, or otherwise, without further opportunity to cure, demand,
presentment, notice of dishonor, notice of Default, notice of intent to accelerate, notice of intent to
foreclose, notice of protest or other formalities of any kind, all of which are hereby expressly
waived by the Obligors.

       11.     Acknowledgment of Defaults. The Obligors specifically acknowledge the
existence and continuation of the Acknowledged Defaults.

     12.  WAIVER AND RELEASE. EACH OF OBLIGORS (IN ITS OR HIS OWN
RIGHT AND ON BEHALF OF ITS PREDECESSORS, SUCCESSORS, LEGAL
REPRESENTATIVES AND ASSIGNS) HEREBY EXPRESSLY AND UNCONDITIONALLY


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ACKNOWLEDGES AND AGREES THAT IT HAS NO SETOFFS, COUNTERCLAIMS,
ADJUSTMENTS, RECOUPMENTS, DEFENSES, CLAIMS, CAUSES OF ACTION,
ACTIONS OR DAMAGES OF ANY CHARACTER OR NATURE, WHETHER
CONTINGENT,    NONCONTINGENT,     LIQUIDATED,   UNLIQUIDATED,    FIXED,
MATURED, UNMATURED, DISPUTED, UNDISPUTED, LEGAL, EQUITABLE, SECURED
OR UNSECURED, KNOWN OR UNKNOWN, ACTUAL OR PUNITIVE, FORESEEN OR
UNFORESEEN, DIRECT, OR INDIRECT, AGAINST EACH OF THE ADMINISTRATIVE
AGENT AND EACH LENDER, ANY OF THEIR AFFILIATES OR ANY OF THEIR
OFFICERS, DIRECTORS, AGENTS, EMPLOYEES, ATTORNEYS OR REPRESENTATIVES
OR ANY OF THEIR RESPECTIVE PREDECESSORS, SUCCESSORS OR ASSIGNS
(COLLECTIVELY, WITH THE ADMINISTRATIVE AGENT AND THE LENDERS, THE
"LENDER-RELATED PARTIES" AND EACH INDIVIDUALLY, A "LENDER-RELATED
PARTY") OR ANY GROUNDS OR CAUSE FOR REDUCTION, MODIFICATION, SET
ASIDE OR SUBORDINATION OF THE SECURED OBLIGATIONS OR ANY LIENS OR
SECURITY INTERESTS OF THE CREDIT PARTIES. IN PARTIAL CONSIDERATION FOR
THE AGREEMENT OF THE ADMINISTRATIVE AGENT AND THE LENDERS TO ENTER
INTO THIS FORBEARANCE AGREEMENT, EACH OF OBLIGORS HEREBY
KNOWINGLY AND UNCONDITIONALLY WAIVES AND FULLY AND FINALLY
RELEASES AND FOREVER DISCHARGES THE LENDER-RELATED PARTIES FROM,
AND COVENANTS NOT TO SUE THE LENDER-RELATED PARTIES FOR, ANY AND
ALL SETOFFS, COUNTERCLAIMS, ADJUSTMENTS, RECOUPMENTS, CLAIMS,
CAUSES OF ACTION, ACTIONS, GROUNDS, CAUSES, DAMAGES, COSTS AND
EXPENSES OF EVERY NATURE AND CHARACTER, WHETHER CONTINGENT,
NONCONTINGENT,     LIQUIDATED,     UNLIQUIDATED,     FIXED,  MATURED,
UNMATURED, DISPUTED, UNDISPUTED, LEGAL, EQUITABLE, SECURED OR
UNSECURED, KNOWN OR UNKNOWN, ACTUAL OR PUNITIVE, FORESEEN OR
UNFORESEEN, DIRECT OR INDIRECT, ARISING OUT OF OR FROM OR RELATED TO
ANY OF THE LOAN DOCUMENTS, WHICH ANY OBLIGOR NOW OWNS AND HOLDS,
OR HAS AT ANY TIME HERETOFORE OWNED OR HELD, SUCH WAIVER, RELEASE
AND DISCHARGE BEING MADE WITH FULL KNOWLEDGE AND UNDERSTANDING
OF THE CIRCUMSTANCES AND EFFECTS OF SUCH WAIVER, RELEASE AND
DISCHARGE AND AFTER HAVING CONSULTED LEGAL COUNSEL OF ITS OWN
CHOOSING WITH RESPECT THERETO. THIS SECTION IS IN ADDITION TO ANY
OTHER RELEASE OF ANY OF THE LENDER-RELATED PARTIES BY ANY OF
OBLIGORS AND SHALL NOT IN ANY WAY LIMIT ANY OTHER RELEASE, COVENANT
NOT TO SUE, OR WAIVER BY ANY OF OBLIGORS IN FAVOR OF ANY OF THE
LENDER-RELATED PARTIES.

         13.     Covenant Not to Sue. Each Obligor hereby absolutely, unconditionally and
irrevocably covenants and agrees with and in favor of each Lender-related Party that it will not sue
(at law, in equity, in any regulatory proceeding, or otherwise) any Lender-related Party on the
basis of any Claim released, remised, and discharged by any Releasing Party pursuant to
Section 12(a) above. If any Releasing Party violates the foregoing covenant, each Obligor, for
itself and its successors and assigns, and its present and former members, managers, shareholders,
affiliates, subsidiaries, divisions, predecessors, directors, officers, attorneys, employees, agents,
legal representatives, and other representatives, agrees to pay, in addition to such other damages as



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any Lender-related Party may sustain as a result of such violation, all attorneys' fees and costs
incurred by any Lender-related Party as a result of such violation.

       14.      No Obligation of Credit Parties. The Obligors hereby acknowledge and
understand that upon the expiration or termination of the Forbearance Period, if all the
Acknowledged Defaults have not been cured or waived by written agreement in accordance with
the Credit Agreement, or if there shall at such time exist a Default or Event of Default, then the
Administrative Agent and the Lenders shall have the right to proceed to exercise any or all
available rights and remedies, which may include foreclosure on the Collateral and/or institution
of legal proceedings. The Administrative Agent and the Lenders shall have no obligation
whatsoever to extend the maturity of the Secured Obligations, waive any Events of Default or
Defaults, defer any payments, or further forbear from exercising its rights and remedies.

        15.     No Implied Waivers. No failure or delay on the part of the Administrative Agent
or the Lenders in exercising, and no course of dealing with respect to, any right, power or privilege
under this Forbearance Agreement, the Credit Agreement, the Notes, the Security Instruments, the
Guaranties, or any other Loan Document shall operate as a waiver thereof, nor shall any single or
partial exercise of any right, power or privilege under this Forbearance Agreement, the Credit
Agreement, the Notes, the Guaranties, or any other Loan Document preclude any other or further
exercise thereof or the exercise of any other right, power or privilege.

      16.  INDEMNIFICATION. IN ADDITION TO, AND WITHOUT LIMITATION
OF, ANY AND ALL INDEMNITIES PROVIDED IN THE LOAN DOCUMENTS, OBLIGORS
HEREBY, JOINTLY AND SEVERALLY, INDEMNIFY AND HOLD EACH OF THE
LENDER-RELATED PARTIES HARMLESS FROM AND AGAINST ANY AND ALL
CLAIMS, LIABILITIES, LOSSES, DAMAGES, CAUSES OF ACTION, SUITS,
JUDGMENTS, COSTS, AND EXPENSES, INCLUDING, WITHOUT LIMITATION,
REASONABLE ATTORNEYS' FEES, ARISING OUT OF OR FROM OR RELATED TO ANY
OF THE LOAN DOCUMENTS OR THIS FORBEARANCE AGREEMENT. IF ANY ACTION,
SUIT, OR PROCEEDING IS BROUGHT AGAINST ANY OF THE LENDER-RELATED
PARTIES, OBLIGORS SHALL, AT SUCH LENDER-RELATED PARTIES' REQUEST,
DEFEND THE SAME AT THEIR SOLE COST AND EXPENSE, SUCH COST AND EXPENSE
TO BE A JOINT AND SEVERAL LIABILITY OF OBLIGORS, BY COUNSEL SELECTED
BY SUCH LENDER-RELATED PARTY. NOTWITHSTANDING ANY PROVISION OF THIS
FORBEARANCE AGREEMENT OR ANY OTHER LOAN DOCUMENT, THIS SECTION 16
SHALL REMAIN IN FULL FORCE AND EFFECT AND SHALL SURVIVE ANY DELIVERY
AND PAYMENT ON THE SECURED OBLIGATIONS, THIS FORBEARANCE
AGREEMENT AND THE OTHER LOAN DOCUMENTS.

        17.     Survival of Representations and Warranties. All representations and warranties
made in this Forbearance Agreement or any other Loan Document will survive the execution and
delivery of this Forbearance Agreement, and no investigation by Credit Parties or any closing will
affect the representations and warranties or the right of Credit Parties to rely upon them.

       18.    Review and Construction of Documents. Each of the Obligors hereby
acknowledges, represents, and warrants to the Administrative Agent and the Lenders that (a) the
Obligors have had the opportunity to consult with legal counsel of their own choice and have been


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afforded an opportunity to review this Forbearance Agreement with their legal counsel,
(b) Obligors have reviewed this Forbearance Agreement and fully understand the effects thereof
and all terms and provisions contained herein, and (c) the Obligors have executed this Forbearance
Agreement of their own free will and volition. The recitals contained in this Forbearance
Agreement shall be construed to be part of the operative terms and provisions of this Forbearance
Agreement.

        19.    ENTIRE AGREEMENT; AMENDMENT.                      THIS FORBEARANCE
AGREEMENT AND THE RELATED DOCUMENTS AS INCORPORATED HEREIN
EMBODY THE FINAL, ENTIRE AGREEMENT BETWEEN THE PARTIES HERETO
REGARDING THE ADMINISTRATIVE AGENT'S AND THE LENDERS' FORBEARANCE
WITH RESPECT TO THEIR RIGHTS AND REMEDIES ARISING AS A RESULT OF THE
ACKNOWLEDGED DEFAULTS AND SUPERSEDE ANY AND ALL PRIOR
COMMITMENTS, AGREEMENTS, REPRESENTATIONS AND UNDERSTANDINGS,
WHETHER WRITTEN OR ORAL, RELATING TO THE SUBJECT MATTER HEREOF AND
MAY NOT BE CONTRADICTED OR VARIED BY EVIDENCE OF PRIOR,
CONTEMPORANEOUS OR SUBSEQUENT ORAL AGREEMENTS OR DISCUSSIONS OF
THE PARTIES HERETO. THERE ARE NO ORAL AGREEMENTS AMONG THE PARTIES
HERETO. The provisions of this Forbearance Agreement may be amended or waived only by an
instrument in writing signed by the parties hereto. The Loan Documents, as modified by this
Forbearance Agreement, continue to evidence the agreement of the parties with respect to the
subject matter thereof.

       20.     Notices. All notices, requests, demands and other communications under this
Forbearance Agreement will be given in accordance with the provisions of the Credit Agreement,
except that notices to the Administrative Agent shall be given to the following:

       Wells Fargo Bank, N.A.
       5080 Spectrum Drive, Suite 400
       Addison, Texas 75225
       Attention: Jennifer L. Norris, CFA
       Fax: 866-968-4862
       Email: Jennifer.norris@wellsfargo.com

        21.     Successors and Assigns. This Forbearance Agreement will be binding upon, and
will inure to the benefit of, the parties hereto and their respective successors and assigns, provided
that none of Obligors may assign any rights or obligations under this Forbearance Agreement
without the prior written consent of the Administrative Agent.

        22.     Tolling of Statutes of Limitation. The parties hereto agree that all applicable
statutes of limitations with respect to the Loan Documents shall be tolled and not begin running
until the Termination Date.

       23.    Arms-Length/Good Faith. This Forbearance Agreement has been negotiated at
arms-length and in good faith by the parties hereto.




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       24.    Governing Law. This Forbearance Agreement shall be governed by and construed
in accordance with the laws of the State of Texas and applicable laws of the United States of
America.

       25.     Interpretation. Wherever the context hereof will so require, the singular shall
include the plural, the masculine gender shall include the feminine gender and the neuter and vice
versa. The headings, captions and arrangements used in this Forbearance Agreement are for
convenience only and shall not affect the interpretation of this Forbearance Agreement.

        26.     Severability. In case any one or more of the provisions contained in this
Forbearance Agreement shall for any reason be held to be invalid, illegal or unenforceable in any
respect, such invalidity, illegality, or unenforceability shall not affect any other provision hereof,
and this Forbearance Agreement shall be construed as if such invalid, illegal, or unenforceable
provision had never been contained herein.

        27.     Counterparts. This Forbearance Agreement may be executed and delivered in any
number of counterparts, and by different parties hereto on separate counterparts, each of which
when so executed and delivered shall be deemed to be an original and all of which counterparts
taken together shall constitute one and the same instrument; provided that no party shall be bound
by this Forbearance Agreement until each of the parties has executed a counterpart hereof.
Execution of this Forbearance Agreement via facsimile or other electronic means shall be
effective, and signatures received via facsimile or other electronic means shall be binding upon the
parties hereto and shall be effective as originals.

        28.     Further Assurances. The Obligors each agree to execute, acknowledge, deliver,
file and record such further certificates, instruments and documents, and to do all other acts and
things, as may be reasonably requested by the Administrative Agent as necessary or advisable to
carry out the intents and purposes of this Forbearance Agreement.

       29.     Loan Document. This Forbearance Agreement is a Loan Document for all
purposes of the Credit Agreement and the other Loan Documents.

        30.     No Effect on Rights Under Subordination and Intercreditor Agreements. The
Administrative Agent's and the Lenders' agreement to forbear pursuant to this Forbearance
Agreement shall not extend to any of their respective rights or remedies under any subordination,
intercreditor, or similar agreement to which the Administrative Agent or any Lender is party, it
being understood that the Acknowledged Defaults shall at all times constitute Events of Default
for purposes of any and all such agreements notwithstanding such agreement to forbear in this
Forbearance Agreement, and the Administrative Agent and the Lenders shall at all times be
permitted to enforce all rights and remedies in respect thereof (including, without limitation,
blocking payments to any holders of subordinated obligations in accordance with the terms of such
agreements).

     31.   Mutual Waiver of Jury Trial. THE PARTIES HERETO WAIVE ALL RIGHTS
TO TRIAL BY JURY IN ANY ACTION, SUIT, OR PROCEEDING BROUGHT TO RESOLVE
ANY DISPUTE, WHETHER ARISING IN CONTRACT, TORT, OR OTHERWISE BETWEEN
AGENT OR ANY LENDER AND ANY LOAN PARTY ARISING OUT OF, CONNECTED



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WITH, RELATED OR INCIDENTAL TO THE RELATIONSHIP ESTABLISHED BETWEEN
THEM IN CONNECTION WITH THIS FORBEARANCE AGREEMENT OR THE CREDIT
AGREEMENT OR THE OTHER LOAN DOCUMENTS OR THE TRANSACTIONS
RELATED THERETO.

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                                             ANNEX A
                                       ACKNOWLEDGED DEFAULTS



Each of the existing and prospective breaches of the Loan Documents set forth below are
Acknowledged Defaults:

       1. Under Section 9.1(a) of the Credit Agreement, failure to meet permanent reduction of the
          Revolving Credit Commitment in accordance with Schedule 1.1 of the Credit Agreement
          and Sections 2.5(c) and 7.20(b).

       2. Under Section 9.1(c) of the Credit Agreement, as a result of breaches under:
             a. Section 6.16 relating to events and conditions that could reasonably be expected to
                have a Material Adverse Effect;
             b. Section 6.20 relating to the absence of Defaults and Events of Default;
             c. Section 6.23 relating to disclosure.

       3. Under Section 9.l(d) of the Credit Agreement:
             a. Failure to timely deliver information required under Sections 7.1 and 7.2;
             b. Failure of delivered information under Sections 7.1(a) and (b) to fairly represent in
                all material respects of the financial condition of the Parent and its Subsidiaries and
                the results of their operations as of their respective dates;
             c. Failure to deliver the forensic accountant’s report by April 30, 2017 pursuant to
                Section 7.2(g);
             d. Failure to comply with Sections 7.2(f) and 7.17 as requested in the May 22, 2017
                letter;
             e. Failure to maintain LII's qualification to do business in Illinois as a foreign
                corporation in accordance with Sections 6.1 and 7.4 of the Credit Agreement1;
             f. Failure to comply with Section 8.6, including any equity draws made to Mike
                Lockwood from October 2016 through July 2017;
             g. Failure to comply with the Consolidated Total Liabilities to Consolidated Tangible
                Net Worth ratio set forth in Section 8.14(a) of the Credit Agreement for the fiscal
                quarters ended October 31, 2016, and January 31, 2017;
             h. Failure to achieve minimum Consolidated EBITDA set forth in Section 8.14(a)2
                for the periods ending April 30, 2017, May 31, 2017, and July 31, 2017;
             i. Failure to comply with the Consolidated Net Income covenant set forth in Section
                8.14(b) of the Credit Agreement for the fiscal quarters ended April 30, 2016, July
                31, 2016, October 31, 2016, and January 31, 2017;
             j. Failure to comply with Section 8.14(b)3 relating to maximum restructuring changes
                in Fiscal Year 2017;
1
    LII is working to get the appropriate documentation submitted to the State of Illinois to get back in good standing.
2
    Section 8.14(a) was changed from a Consolidated Total Liabilities to Consolidated Tangible Net Worth ratio to a
       Minimum EBITDA with the February 2017 amendment.



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               k. Failure to company with Section 8.14(c) as a result of Asset Coverage Ratio being
                  the less than the minimum amount required for the months ending February 2017,
                  March 2017, April 2017, May 2017, June 2017, July 2017, and August 2017.

      4. Under Section 9.1(n) of the Credit Agreement
            a. As a result of the occurrence of an event of default under the LHI Credit Agreement
               due to a sale of LHI’s sale of its Shorewood, Illinois property outside the ordinary
               course of business; and
            b. As a potential default under the LHI Credit Agreement for the executed subleases at
               the Clute, Texas location and the Gonzales, Louisiana location.

      5. Under Sections 6.1 and 7.4 of the Credit Agreement, Lockwood International, Inc.'s
         qualification to do business in Illinois as a foreign corporation has been revoked.




3
    Section 8.14(b) was changed from a Consolidated Net Income covenant to maximum restructuring charges with the
      February 2017 amendment.

Signature Page to Forbearance Agreement and Third Amendment to Amended and Restated
Credit Agreement
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                                     ANNEX B

                    LIMITED FOREIGN FUNDS ACCOUNTS

   1. List of Limited Foreign Funds Accounts (active) – See attached spreadsheet

   2. List of Dormant Foreign Accounts – See attached spreadsheet




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                                ANNEX B-1




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                                         ANNEX C
                                     SALE MILESTONES

   Weeks 1-2: Information Review/Data Room Preparation – The following will be reviewed in
    order to prepare a short investor presentation, teaser and a data room:

       √ Updated executive / board presentations outlining recent performance, potential
         opportunities, etc.

       √ Review Balance Sheet and Cash Flow historicals and forecast projections

       √ 2 year financial forecast

       √ Listing of all assets and inventory, with the following information (asset name, type,
         appraisals Real Estate/Fixed Assets/Plane)

       √ Quarterly customer breakdown on sales with details on product type (PVF and EP) and
         service (Project Management, MRO, Field Service)

   Weeks 2-3: Preparation of Investor Presentation, Teaser, Dataroom and Investor List

       √ Imperial will work with the Company and through its network to develop an investor
         list of the highest probability potential strategic buyers / investors / refinancing
         candidates

       √ Initial contact will occur with conference calls and meetings scheduled

   Weeks 3-4: Launch of Process & Solicitation of Letters of Intent

        Imperial will continue to market and monitor interest with investors/buyers, conduct
         discussions (involving the Obligors' team, as needed), furnish additional diligence and
         drive the process of soliciting indications of interest

   • Weeks 4-6: Review of Proposals / Documentation

        After indications of interest are received, Imperial will work with the Company, the
         Board and its attorneys to evaluate all proposals received to present the best outcome(s)
         to the Lenders

        Proposal Deadline: September 30, 2017

        If the proposals received do not satisfy the Company's obligations, the Company would
         move to negotiations with the Lenders and its other key creditors to effectuate a
         consensual plan of restructuring or consent to a receivership; provided however, that
         prior to the end of the forbearance period, Imperial and the Obligors shall report to
         Lenders with respect to the current sale and/or refinance prospects. Based on such
         prospects, the Lenders may grant, but will not be obligated to grant, a 30 day extension
         of the Forbearance Period. Prior to the expiration of any such 30 day extension,


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         Lenders and Obligors agree to again meet with Imperial for a current review of
         negotiations with prospective parties to a transaction to evaluate whether an additional
         extension is warranted.

______________________

√ = Completed




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                                       ANNEX D


                    TIMELINE FOR REAL PROPERTY SALES



   Properties listed for sale with local brokers as follows:
     912 John Stine Road, Westlake, LA 70669
           o Owned by Lockwood Holdings, Inc.
           o Broker/Agent – Reinauer Real Estate
     Beltway Land
           o 66.7177 Gross Acres (58.388 Net Acres) Of Vacant Land, Harris County,
                Texas 77044
           o Owned by Lockwood Holdings, Inc.
           o Broker/Agent - CBRE
     Airport Hangar
           o 7807 Eagle Lane, Spring, TX 77379
           o Owned by 7807 Eagle Lane, LLC
           o Broker/Agent - CBRE

   Sale/Leaseback Process
       o Broker Stan Johnson & Co hired (“Sale/Leaseback Broker”)
       o Form of nondisclosure agreement completed
       o Sale/Leaseback Broker has sent nondisclosure agreements to various parties
       o Timeline:
               Marketing materials – sent to 95 groups active in industrial real estate
               Initial indications of interest by September 8, 2017
               Letters of Intent – to follow

    Properties included sale/leaseback process:
        10002 Windfern Road, Houston, TX 77064
        10060 Windfern Road, Houston, TX 77064
        900 Business Park South Drive, Port Arthur, TX 77640
        901 Wilson Rd. Clute, TX 77531
        182 Turbo Drive Sherwood Park AB, Canada
        499 Gladwish Drive Sarnia Ontario, Canada




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                                       ANNEX E


                      TIMELINE FOR LHA AIRCRAFT SALE

   Listed with airplane broker– Completed
   Increased marketing efforts – Completed
   Reassessment of the marketing activities to occur by end of August 2017 (including
    determination of whether to have aircraft on static display at the NBAA regional event in
    Morristown, NJ on September 7.




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                                ANNEX F

                   FINANCIAL CONDITION AFFIDAVIT

                                [Attached]




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                          AFFIDAVIT OF FINANCIAL CONDITION
                              OF MICHAEL F. LOCKWOOD

                                           SUBMITTED TO

                    WELLS FARGO BANK, NATIONAL ASSOCIATION
                                     AND
                           TRUSTMARK NATIONAL BANK

STATE OF TEXAS                         §
                                       §
COUNTY OF HARRIS                       §

        I am over the age of 21 years and reside at ____________________________________.
My Social Security Number is ____________________. My driver's license number and state of
issuance are _____________________. I make this Affidavit at the request of Wells Fargo Bank,
National Association and Trustmark National Bank (each a "Bank" and collectively, "Banks"), for
the purpose of informing the Banks of my present financial condition. I know that the acceptance
of this Affidavit by the Banks will be in reliance upon the accuracy and truth of the statements and
representations made by me herein.

        I understand that in accepting this Affidavit and in relying upon its contents, the Banks may
pursue one or more of the following courses of action with regard to any indebtedness (whether
one or more) presently owed or guaranteed by me to either or both Banks: forbear or refrain from
exercising rights and remedies; alter, modify, extend or amend such indebtedness; forgive, release
or acquit me of all or a part of such indebtedness; take or relinquish liens on collateral securing
payment of such indebtedness; take or relinquish security interests pledged as collateral for such
indebtedness; elect not to offset balances in one or more bank accounts in which I have an
ownership interest against such indebtedness; allow the statute of limitations to continue to run on
such indebtedness without causing the statute to be tolled; or take or refrain from taking such other
action which may constitute a postponement or the relinquishment of one or more rights or
remedies which the Bank may have or hold against me with regard to such indebtedness.

        I have personal knowledge of the facts stated in this Affidavit and such facts are true,
accurate and complete in all material respects. I understand that the Banks are relying upon the
accuracy and truth of the statements and representations made by me and that based on the facts
and circumstances surrounding the negotiations pursuant to which this Affidavit is made, the full
and complete reliance of the Banks on the statements and representations made herein is
reasonable and justified.

        Should either Bank take or refrain from taking any courses of action in reliance on one or
more answers provided by this Affidavit, and should it later be determined that such answer or
answers are in whole or in part false, inaccurate or misleading, any such change in such Bank's
position regarding my indebtedness may, at such Bank's sole discretion, be voided and declared to
be of no force or effect and such Bank shall be entitled to assert in full its position toward me as it
existed prior to my delivery of this Affidavit.



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       I further affirm that should my financial condition change in such a manner to make any
information or answer I have in this Affidavit incorrect or inaccurate I will immediately
supplement such answer in writing to describe the means and nature of such change, and deliver
such supplemental answer to the Banks.

       I have no property or assets, have no income and have not disposed of or transferred assets
except as hereinafter stated. [In connection with all listings and descriptions of assets owned,
include the cost or current value, whichever is higher, of acquisition of each asset.]

        When this Affidavit describes assets that I "owe", "hold," or "disposed of or transferred", or
income that I "receive," the description includes without limitation (i) assets or properties which
are owned or held, or which were disposed of or transferred, by trustees, agents or nominees for
my benefit, or on my behalf, and income received by such persons for my benefit or on my behalf;
and (ii) assets or properties which are owned or held, or which were disposed of or transferred, by
my spouse, and income received by my spouse, except for assets, properties and income which
constitute the separate property of my spouse under applicable laws.

        The balance sheet attached hereto as Schedule 1 is true and correct in all respects, properly
and fairly presents my financial condition and describes or includes all of my assets and liabilities
(including, without elimination, contingent liabilities) as of the date set forth thereon. Since the
date of such balance sheet, there have been no material adverse, or material positive, changes in
my financial condition or position.

       1.      I receive no income from any source whatsoever, except [list amount(s) and
source(s)].




       2.       I have no savings account in any bank, domestic or foreign, except [list name and
address of institution and outstanding balance of account].




       3.       I have no checking account in any bank, domestic or foreign, except [list name and
address of institution and outstanding balance of account].




       4.      I receive no salary, except [list amount and source].




       5.       I receive no fees for management assistance or other services rendered to any
individual, partnership, firm or corporation, except [list amount and source].



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       6.      I receive no commissions from any source, except [list amount and source].




      7.     I receive no stock dividends from any corporation, domestic or foreign, except [list
amount and source].




       8.      I am entitled to no bonus from any business, except [list amount and source].




       9.     I have no safe deposit box or access to any safe deposit box, except [list name and
address of each institution, each safe deposit box number and the contents thereof].




       10.     I own no real estate of any nature whatsoever, except [list address, legal
description and date and cost of acquisition of all real estate owned].




        11.     I have no ownership interest in any partnership, legal entity or corporation owning
real estate, except [list name of partnership, firm, legal entity or corporation, interest owned and
date and cost of acquisition].




      12.     I do not own any mortgages or have any interest in any mortgages, except [list
amount, interest, description property mortgaged and identity of mortgagor].




        13.    I own no building or loan certificates, or any shares in or assets in any savings and
loan association, except [list name of institution and ownership interest].




       14.     I own no stocks, bonds, mutual funds or other securities, except [list, including date
and cost of acquisition].




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      15.    I have no brokerage account with any broker, except [list name of broker, account
number and outstanding balance in each account].




       16.     I own no commodities, except [list, including date and cost of acquisition].




      17.    I have no commodity account with any broker, except [list name of broker, account
number and outstanding balance in each account].




         18.    I have no account with any financial institution whatsoever, except [list name of
institution, account number and outstanding balance in each account].




        19.    I have no power of attorney or authority of any nature whatsoever, either over
stocks, bonds, commodity accounts, or other form of securities, except [identify and describe any
such property and beneficial owner thereof].




       20.     I do not act as a trustee or fiduciary with respect to any property, either real or
personal, except [identify and describe any such property and beneficial owner thereof].




      21.     I do not own any bonds or evidence of debt of any governments, except [list all
governmental debt issues owned and date and cost of acquisition].




        22.     I own no insurance policy of any type, except [list name of company, face amount
of policy, type of insurance, beneficiary and amounts borrowed thereon].




       23.     I receive no dividends from any insurance company, except [list as in 22 above].




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       24.     I pay no premiums on any insurance policy, except [list as in 22 above].




       25.     I am not the beneficiary of any insurance policy, except [list as in 22 above].




       26.     I have no interest in any patents, inventions, trade names, trademarks, copyrights,
or royalty agreements, except [identify].




        27.    I have no claim against any insurance company except [identify company, amount
of claim and description of claim].




        28.     I have no claim against or interest in any estate or any trust of any person, whether
living or dead, except [identify estate or trust, amount of claim and description claim].




       29.     I have no claim against any person, whether living or dead, or any firm or
corporation, except [identify individual or entity, amount of claim and description of claim].




       30.    I am not a plaintiff or defendant in or otherwise prosecuting any action or
proceeding now pending in any court, except [list the style of each case, case number, and court in
which each case is pending].




       31.    I am not a party to any arbitration proceeding now pending before any Arbitrator or
Board of Arbitration, except [identify each proceeding].




        32.    I have no interest in any promissory notes, drafts or other commercial paper, except
[identify maker or drawer and amount].




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       33.     I am not entitled to receive any money from any State, City or Federal government,
or agency or department thereof, except [identify agency or department and amount].




        34.    I am not entitled to any Federal, State or City income tax refund, except [identify
and list].




        35.   There are no judgments or decrees outstanding against me except [list style of each
case, case number and court which entered each judgment or decree].




       36.    I have executed no guaranties of the indebtedness or obligation of any individual,
corporation, partnership or other entity, except [identify debtor, amount and holder of each
guaranty].




       37.    I have made no gifts within the preceding two (2) years, except [list property given,
approximate value thereof in terms of cost of acquisition, date of gift and identity of recipient].




        38.     I have made no conveyance of real or personal property for less than full value
within the preceding two (2) years, except [list property transferred, approximate value thereof in
terms of cost of acquisition, property or money received for such transfer (if any), date of transfer
and identity of recipient].




       The foregoing statement includes not only outright conveyances of assets but also releases
or waivers of any valuable claims or contract rights which I owned or held against other parties.




        39.     During the past twenty-four (24) months, I have not made any payments to my
trade creditors, outside of the ordinary course of my business, except: [identify creditor and list
amount and date of payment].




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       40.      During the past twenty-four (24) months, I have not made any payments to banks,
financial institutions or other holders of my notes, bonds or funded indebtedness, except for: (i)
payments to Bank; (ii) payments to creditors whose claims were, at the time of payment, fully
secured by valid and perfected security interest in assets having a value at least as great as the
amount of the indebtedness; and (iii) the following; [list any other payments and dates].




        41.    No real or personal property is held by others for my benefit, except [list property
so held, approximate value thereof in terms of cost of acquisition, date of acquisition and identity
of holder].




       42.    I am not indebted to any bank, savings and loan association, credit union, finance
company, brokerage house or individual, except [list name of institution or individual, amount of
indebtedness and date indebtedness was incurred].




      43.     I own no airplane, automobile, boat, trailer or any motor vehicle of any nature
whatsoever, except [list serial number and date and cost of acquisition].




       44.     I have no personal property other than any clothing and personal effects, except
[include description, serial number (if any) and date and cost of acquisition].




       45.     I do not own or have any interest in any work of art, except [include description,
date and cost of acquisition].




       46.    I own no house, dwelling place, condominium apartment or co-operative
apartment, except [list address, date and cost of acquisition].




         47.    I have not had any financial statement prepared for or by me, nor have I issued any
financial statement to any bank, financial institution, banking corporation, firm, or person within
the last two (2) years, except [attach a copy of any such financial statement].


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       48.     I am not a custodian of property for any minor or other individual or entity, except
[include description of such property and identity of beneficial owner].




        49.     I own no property, real or personal, in Switzerland or any other foreign country or
territory of the United States, except [include description of each item and its location, address
and legal description of real property, serial numbers (if any), and date and cost of acquisition].




       50.    I have no bank accounts, savings accounts or deposit accounts in banks in any
foreign countries, except [list name and address of institution and outstanding balance of
account].




       51.    I own no jewelry or like property having a value in excess of $1,000, except [list
description and date and cost of acquisition].




       52.    Except for the property herein set forth above, I own no property of any nature
whatsoever having a value in excess of $1,000, except [list description and date and cost of
acquisition].




        53.     My fixed monthly expenses are as follows: [list amount and description of each
fixed expense].




       54.     My annual salary from all sources is [list amounts and sources].




        55.    I have delivered to Banks true and correct copies of the tax returns (and all
extensions thereof and amendments thereto) which I have filed with the Internal Revenue Service
for the following years: _______________________________________.




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      56.   I know of no other material facts relating to my financial condition, except
__________________________.




        I make the following representations:

       57.      That neither I nor my spouse has transferred, conveyed, gifted or assigned any
property to a trust, including trusts created as part of estate planning, at any time within the two (2)
years preceding the execution of this Affidavit, except as stated below:



       58.      That neither I nor my spouse have transferred, conveyed, gifted or assigned any real
property or interests in real property to our relatives, including, but not limited to, parents, in-laws,
cousins, children, and/or significant others at any time within the two (2) years preceding this
Affidavit, except as stated below:



        59.    That neither I nor my spouse have transferred, conveyed, gifted or assigned any
cash, stocks, bonds, personal property or interests in personal property to our relatives, including,
but not limited to, parents, in-laws, cousins, children, and/or significant others at any time within
the two (2) years preceding the execution of this Affidavit, except as stated below:



       60.   That neither I nor my spouse has made gifts with a value greater than $1,000 to a
family member within the two (2) years preceding the execution of this Affidavit, except:

                      Name                                Gift                       Value of Gift




        61.     That neither I nor my spouse have created a business entity, including partnerships,
limited liability companies, limited liability partnerships or otherwise, into which we have
transferred property, including, but not limited to, cash in the two (2) years preceding the date of
this Affidavit;

        62.     That neither I nor my spouse own or have an ownership interest in artwork, gun
collections, antiques, patents or other unique property with an aggregate value of $10,000 or more,
except as follows:

                         Type of Property                                Value of Property



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       63.     That neither I nor my spouse have property in a safe deposit box, except [describe,
including value]:



       64.     That neither I nor my spouse have an interest in any oil and gas property or other
mineral interest, except [describe, including value]:



       65.     That neither I nor my spouse are beneficiaries of any trust created for our benefit,
except [describe, including value of trust assets]:



       66.     That no creditor has repossessed property from me in the last two (2) years
preceding the date of this Affidavit;

       67.     That neither I nor my spouse has inherited any property in the last two (2) years;
and

       68.    That neither I nor my spouse has disclaimed any interest in property that we would
otherwise have inherited in the two (2) years preceding the execution of this Affidavit.


                                             Michael F. Lockwood


         SUBSCRIBED AND SWORN TO before me on this ______ day of ____________, 2017,
to certify which witness my hand and official seal.




My commission expires:                       Notary Public, State of Texas


                                             Name:




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                                                                          EXECUTION VERSION


              SECOND FORBEARANCE AGREEMENT AND
  FOURTH AMENDMENT TO AMENDED AND RESTATED CREDIT AGREEMENT

        THIS SECOND FORBEARANCE AGREEMENT AND FOURTH AMENDMENT TO
AMENDED AND RESTATED CREDIT AGREEMENT (this "Forbearance Agreement") dated
effective as of September 29, 2017 (the "Forbearance Effective Date"), is by and among
LOCKWOOD ENTERPRISES, INC., a Texas corporation, LOCKWOOD INTERNATIONAL,
INC., a Texas corporation, LMG MANUFACTURING, INC., a Texas corporation, and PIPING
COMPONENTS, INC., a Texas corporation (each a "Borrower" and collectively, "Borrowers"),
MICHAEL F. LOCKWOOD, an individual ("Individual Guarantor"), LOCKWOOD
HOLDINGS, INC., a Texas corporation ("LHI"), LH AVIATION, LLC, a Texas limited liability
company ("LHA"), 7807 EAGLE LANE, LLC, a Texas limited liability company ("7807" and
together with the Borrowers, LHI, LHA, and the Individual Guarantor the "Obligors" and each an
"Obligor"), TRUSTMARK NATIONAL BANK, as a Lender (defined below) and WELLS
FARGO BANK, NATIONAL ASSOCIATION, as a Lender (defined below) and as
Administrative Agent for itself and the other Lenders (in such capacity, the "Administrative
Agent").

                                           RECITALS:

        A.      WHEREAS, reference is made to that certain Amended and Restated Credit
Agreement, dated as of September 30, 2015, among the Borrowers, the financial institutions party
thereto from time to time as lenders (the "Lenders"), and the Administrative Agent, as amended
by that certain First Amendment to Amended and Restated Credit Agreement dated effective as of
July 31, 2016, by that certain Second Amended and Restated Credit Agreement and Limited
Waiver of Defaults dated effective as of February 27, 2017, and by that certain Forbearance
Agreement and Third Amendment to Amended and Restated Credit Agreement dated effective as
of August 16, 2017 (the “Initial Forbearance Agreement”), in each case among the Borrowers,
the Lenders and the Administrative Agent (as may be further amended, restated or otherwise
modified from time to time, the "Credit Agreement").

       B.     WHEREAS, the Obligors acknowledge the continued existence of the
Acknowledged Defaults outlined in the Initial Forbearance Agreement and requests that the
Administrative Agent and the Lenders continue to forbear from exercising their rights and
remedies under the Credit Agreement and the other Loan Documents in respect thereof and of any
additional Acknowledged Defaults (defined below).

       C.     WHEREAS, Events of Default listed on Annex A hereto currently exist and are
continuing under the Credit Agreement (each an "Acknowledged Default" and collectively, the
"Acknowledged Defaults").

        D.      WHEREAS, the Required Lenders and the Administrative Agent have agreed
subject to the terms and conditions of this Forbearance Agreement, to continue to forbear from
taking enforcement action permitted under the Loan Documents as a result of the Acknowledged
Defaults for a period beginning as of the date hereof through the earlier of (i) the Termination Date
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or (ii) the occurrence of a Termination Event upon the terms and conditions set forth in this
Agreement.

       NOW, THEREFORE, in consideration of the premises and the mutual covenants,
representations, warranties and agreements contained herein, and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
agree as follows:

                                        AGREEMENTS:

       1.      Incorporation of Recitals, Etc. Each of the above Recitals is expressly
incorporated herein by reference and made a part of this Agreement as though set forth herein
verbatim. The Obligors acknowledge that such Recitals are true and correct on the date of this
Forbearance Agreement. For clarity and avoidance of doubt, the parties confirm and agree that the
amendments to Loan Documents found in the Initial Forbearance Agreement continue in full force
and effect except to the extent specifically amended herein.

       2.      Definitions. Capitalized terms used and not otherwise defined herein shall have
the same meanings as set forth in the Credit Agreement and the Initial Forbearance Agreement, as
applicable. In addition, the following terms shall, for the purposes of this Forbearance Agreement,
have the following meanings:

               (a)    "Forbearance Period" means the period of time commencing on the
       Second Forbearance Effective Date and continuing through and including the earlier of
       (i) the occurrence of a Termination Event and (ii) Termination Date, unless earlier
       terminated pursuant to the terms and provisions of this Forbearance Agreement.

               (b)    "LOI" means a written or electronic expression of interest, letter of intent,
       or other form of indication of interest relating to the recapitalization of the Borrowers or
       sale of the Borrowers or their assets (the "Transaction") which contains the following
       information: (i) identity of the proposed counterparty; (ii) value proposed and form of
       payment; (iii) proposed treatment of all interested parties, including the Lenders, trade
       payables, employees, equity, and other interested parties; and (iv) timeline to close the
       Transaction.

              (c)    "Limited Funds Foreign Accounts" means the bank accounts listed on
       Annex B hereto as active accounts so long as, and only for so long as, such accounts do not
       have balances therein exceeding the applicable amount set forth next to the name of the
       applicable depository bank on Annex B.

              (d)     "Minimum Collateral Ratio" means, at all times, the ratio of gross
       accounts receivable and gross inventory to outstanding Revolving Credit Loans and Letters
       of Credit.

               (e)    "Sales Milestones" means (i) in respect of the sale of real estate owned by
       LHI and 7807, the dates and periods of time set forth on Annex C to this Forbearance
       Agreement and (ii) in respect to the airplane owned by LHA, the dates and periods of time
       set forth on Annex D to this Forbearance Agreement.


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         (f)     "Termination Date" means 5:00 p.m. (prevailing Texas time) on October
  31, 2017.

         (g)     "Termination Event" means the occurrence of any of the following:

         (i)     any representation or warranty made or deemed made by any Obligor in this
                 Forbearance Agreement shall be false, misleading or erroneous in any
                 material respect when made or deemed to have been made,

         (ii)    any Obligor shall fail to perform, observe or comply timely with any
                 covenant, agreement or term contained in this Forbearance Agreement,

         (iii)   any Default or Event of Default, other than the Acknowledged Defaults,
                 shall occur or shall have occurred under this Forbearance Agreement or any
                 of the Loan Documents,

         (iv)    any Obligor shall commence a voluntary proceeding seeking liquidation,
                 reorganization, or other relief with respect to itself or its debts under any
                 bankruptcy, insolvency, or other similar law now or hereafter in effect or
                 seeking the appointment of a trustee, receiver, liquidator, custodian, or
                 other similar official of it or a substantial part of its property or shall consent
                 to any such relief or to the appointment of or taking possession by any such
                 official in an involuntary case or other proceeding commenced against it or
                 shall make a general assignment for the benefit of creditors or shall
                 generally fail to pay its debts as they become due or shall take any action to
                 authorize any of the foregoing,

         (v)     an involuntary proceeding shall be commenced against any Obligor seeking
                 liquidation, reorganization, or other relief with respect to it or its debts
                 under any bankruptcy, insolvency, or other similar law now or hereafter in
                 effect or seeking the appointment of a trustee, receiver, liquidator,
                 custodian, or other similar official for it or a substantial part of its property,
                 in each case that remains undismissed or unstayed for five (5) consecutive
                 calendar days,

         (vi)    any event or condition shall occur after the Forbearance Effective Date
                 which shall have a Material Adverse Effect, as determined by the
                 Administrative Agent,

         (vii)   the exercise by any creditor or holder of material indebtedness of any
                 Obligor (excluding the Obligors under the Loan Documents or the LHI
                 Credit Agreement) of any right or remedy available to them in connection
                 with any default under the documents governing such material
                 indebtedness, including, but not limited to any foreclosure or enforcement
                 action against any Collateral,

         (viii) the initiation of any action by any Obligor to invalidate or limit the
                enforceability of any of the acknowledgments set forth in Section 3, the


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                 release set forth in Section 13 or the covenant not to sue set forth in
                 Section 14,

         (ix)    the Minimum Collateral Ratio is less than 115% at any time,

         (x)     failure to deliver to the Administrative Agent on a timely basis copies of all
                 major documentation developed and received by Imperial during the
                 investment banking process, including copies of teasers, investor
                 presentations, confidential information memorandums, investor lists,
                 indications of interest, proposals, letters of intent, weekly written status
                 updates, or other similar types of material documentation reasonably
                 requested by the Administrative Agent to monitor progress during the
                 investment banking process,

         (xi)    failure to provide the Administrative Agent with timely and continuous
                 view-only access to the electronic data room used for due diligence
                 throughout the investment banking process,

         (xii)   failure to meet Sales Milestones, or

         (xiii) failure to deliver an LOI by October 20, 2017, unless extended by the
                Lenders in writing in their sole discretion.

  3.     Acknowledgments

          (a)      Acknowledgment of Obligations. Each Obligor hereby acknowledges,
  confirms, and agrees that as of the close of business on September 28, 2017: (a) Borrowers
  are indebted to the Revolving Credit Lenders in respect of the Revolving Credit Loans in
  the principal amount of $63,453,305.76, (b) Borrowers are indebted to Issuing Bank in
  respect of the Letters of Credit in the face amount of $838,920.91 and (c) LHI is indebted
  to Wells Fargo in respect of its Term Loan (as defined in the LHI Credit Agreement) in the
  principal amount of $26,741,327.86. Each Obligor hereby acknowledges, confirms, and
  agrees that all such Obligations together with interest accrued and accruing thereon, and all
  fees, costs, expenses, and other charges now or hereafter payable to the Administrative
  Agent or Lenders, in each case in accordance with the terms of the Loan Documents, are
  unconditionally owing by each Obligor, without offset, defense, or counterclaim of any
  kind, nature, or description whatsoever.

          (b)      Acknowledgment of Security Interests.               Each Obligor hereby
  acknowledges, confirms, and agrees that the Administrative Agent has, and will continue
  to have, valid, enforceable, and perfected first-priority continuing Liens upon and security
  interests in the Collateral heretofore granted to the Administrative Agent, for the benefit of
  the Administrative Agent and Lenders, pursuant to the Security Documents and the other
  Loan Documents or otherwise granted to or held by the Administrative Agent, for the
  benefit of the Administrative Agent and Lenders.

         (c)    Binding Effect of Documents. Each Obligor hereby acknowledges,
  confirms and agrees that: (a) this Forbearance Agreement constitutes a Loan Document;


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  (b) each of the Credit Agreement and the other Loan Documents to which it is a party has
  been duly executed and delivered to the Administrative Agent by such Obligor, and each is
  and will remain in full force and effect as of the date hereof except as modified pursuant
  hereto; (c) the agreements and obligations of such Obligor contained in such documents
  and in this Forbearance Agreement constitute legal, valid, and binding Obligations,
  enforceable in accordance with their respective terms, and such Obligor has no valid
  defense to the enforcement of such Obligations; (d) the Administrative Agent and Lenders
  are and will be entitled to the rights, remedies, and benefits provided for under the Credit
  Agreement and the other Loan Documents and applicable law; and (e) during the
  Forbearance Period, such Obligor shall comply with all limitations, restrictions, or
  prohibitions that would otherwise be effective or applicable under the Credit Agreement or
  any of the other Loan Documents during the continuance of any Event of Default, and
  except to the extent expressly provided otherwise in this Forbearance Agreement, any right
  or action of such Obligor set forth in the Credit Agreement or the other Loan Documents
  that is conditioned on the absence of any Event of Default may not be exercised or taken as
  a result of the Acknowledged Defaults.

  4.     Forbearance in Respect of Acknowledged Defaults.

          (a)     Acknowledgment of Default. Each Obligor hereby acknowledges and
  agrees that the Acknowledged Defaults have occurred and are continuing (or are expected
  to occur and be continuing), each of which constitutes (or will constitute) an Event of
  Default and entitles the Administrative Agent and Lenders to exercise their respective
  rights and remedies under the Credit Agreement and the other Loan Documents, applicable
  law, or otherwise. Each Obligor represents and warrants that as of the date hereof, no
  Events of Default exist other than the Acknowledged Defaults. Each Obligor hereby
  acknowledges and agrees that the Administrative Agent and Lenders have the exercisable
  right to declare the Obligations to be immediately due and payable under the terms of the
  Credit Agreement and the other Loan Documents based on the Acknowledged Defaults.
  Each Obligor acknowledges that, immediately prior to the effectiveness of this
  Forbearance Agreement, Revolving Credit Lenders are no longer obligated to make any
  further Revolving Credit Loans as a result of the Acknowledged Defaults.

          (b)     Forbearance. Subject to, and in reliance on, the terms of this Forbearance
  Agreement and only so long as no Termination Event shall have occurred, the
  Administrative Agent and the Lenders hereby agree to forbear until the Termination Date
  from exercising their rights and remedies under the Loan Documents arising from
  Acknowledged Defaults. Notwithstanding the foregoing, the forbearance granted by the
  Administrative Agent and Lenders pursuant hereto shall not constitute and shall not be
  deemed to constitute a waiver of any of the Acknowledged Defaults or of any other Default
  or Event of Default under the Loan Documents. On and after the Termination Date, or
  such earlier date on which a Termination Event occurs, the Administrative Agent's and the
  Lenders' agreement hereunder to forbear shall terminate automatically without further act
  or action by the Administrative Agent or the Lenders, and the Administrative Agent and
  the Lenders shall be entitled to exercise any and all rights and remedies available to it or
  them under the Loan Documents and this Forbearance Agreement, at law, in equity, or
  otherwise, including, but not limited to, (i) ceasing to make any further Revolving Credit


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  Loans or issuing any further Letters of Credit and (ii) accelerating all of the Obligations
  under the Credit Agreement and the other Loan Documents, in all events, without any
  further notice to Obligors, passage of time, or forbearance of any kind.

         (c)     No Waivers; Reservation of Rights.

         (i)     The Administrative Agent and the Lenders have not waived, are not by this
                 Forbearance Agreement waiving, and have no intention of waiving, any
                 Events of Default which may be continuing on the date hereof or any Events
                 of Default which may occur after the date hereof (whether the same or
                 similar to the Acknowledged Defaults or otherwise), and the Administrative
                 Agent and the Lenders have not agreed to forbear with respect to any of
                 their rights or remedies concerning any Events of Default (other than,
                 during the Forbearance Period, the Acknowledged Defaults to the extent
                 expressly set forth herein) occurring at any time.

         (ii)    Subject to Section 4(b) above (solely with respect to the Acknowledged
                 Defaults), the Administrative Agent and the Lenders reserve the right, in
                 their discretion, to exercise any or all of their rights and remedies under the
                 Credit Agreement and the other Loan Documents as a result of any other
                 Events of Default occurring at any time. The Administrative Agent and the
                 Lenders have not waived any of such rights or remedies, and nothing in this
                 Forbearance Agreement, and no delay on their part in exercising any such
                 rights or remedies, may or will be construed as a waiver of any such rights
                 or remedies.

          (d)    Additional Events of Default. The parties hereto acknowledge, confirm,
  and agree that any misrepresentation by any Obligor, or any failure of any Obligor to
  comply with the covenants, conditions and agreements contained in this Forbearance
  Agreement, will constitute an immediate default under this Forbearance Agreement and an
  immediate Event of Default under the Credit Agreement and the other Loan Documents.
  Notwithstanding the existence of the Forbearance Period, in the event that any Person,
  other than the Administrative Agent or the Lenders, at any time exercises for any reason
  (including, without limitation, by reason of any Acknowledged Defaults, any other present
  or future Event of Default, or otherwise) any of its rights and remedies against any Obligor
  or any other Person providing credit support for the Obligations, or against any Obligor's or
  such other Person's property or assets, in each case, of the type that would constitute an
  Event of Default under the terms of the Credit Agreement and the other Loan Documents,
  then such occurrence shall also be deemed to constitute an immediate Event of Default
  hereunder and under the Credit Agreement and the other Loan Documents.

          (e)     Other Payments. Each Credit Party also agrees to reimburse the
  Administrative Agent and the Lenders upon demand for all out-of-pocket expenses
  (including reasonable attorneys' fees, settlement costs and fees and expenses of Focus as
  the financial advisor and Paul Boston & Associates, Inc., as the collateral examiner, in each
  case engaged by the Administrative Agent's counsel) incurred in connection with the
  negotiation of this Forbearance Agreement, any further restructuring or "workout" with


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       Obligors, whether or not consummated, of any Secured Obligations, and any enforcement
       of any Secured Obligations. Each Credit Party acknowledges and agrees that all such
       expenses are being incurred in connection with a restructuring or workout, as these terms
       are used in Section 11.03(a) of the Credit Agreement.

      5.       Representations and Warranties. To induce the Administrative Agent and the
Lenders to enter into this Forbearance Agreement, Obligors hereby jointly and severally represent
and warrant as follows:

               (a)     Duly Organized. Obligors which are not natural persons are duly
       organized, validly existing and in good standing under the laws of the jurisdiction in which
       they were organized and formed, and Obligors have the power and authority to perform
       their respective obligations under this Forbearance Agreement and the Loan Documents.

              (b)     Authority. The execution, delivery and performance of this Forbearance
       Agreement (i) have been duly authorized by all requisite action on the part of Obligors
       which are not natural persons and (ii) do not and will not violate the organizational
       documents of Obligors, any other material agreement to which any Obligor is a party, or
       any law, rule or regulation, or any order of any court, governmental authority or arbitrator,
       by which any Obligor or any of its respective properties is bound.

               (c)    No Defenses. The true and correct amounts of the outstanding principal
       balance of the Revolving Credit Loans, the aggregate amount of outstanding Letters of
       Credit, and the outstanding principal amount of the Term Loan (as defined in the LHI
       Credit Agreement) are, in each case, set forth in Section 3(a) hereof. None of Obligors has
       any defenses to payment, counterclaims, or rights of setoff with respect to the Loans or any
       other Secured Obligations existing as of the Forbearance Effective Date.

              (d)    No Other Defaults. Except for the Acknowledged Defaults, no Default or
       Event of Default under the Loan Documents has occurred and is continuing.

              (e)      Taxes. All payments due to all taxing authorities with respect to the
       Collateral are current as of the Forbearance Effective Date.

               (f)    Certain Personnel-related Matters. Messrs. Whaley and Spillard are no
       longer contractors of the Borrowers and are not owed any monies. Effective September 10,
       2017, the Individual Guarantor’s salary has been, with his consent, reduced by the Credit
       Parties to two times the federally-mandated minimum wage, with the first payroll
       reflecting such change to be paid on September 28, 2017, for the two-week period ending
       September 23, 2017.

       6.    Forbearance Covenants. Notwithstanding any provisions to the contrary
contained in the Loan Documents, Obligors hereby covenant and agree that, during the
Forbearance Period, each of them will perform, observe and comply with each of the following
covenants:

             (a)  Compliance with Related Documents and this Forbearance
       Agreement. Save and except for the Acknowledged Defaults during the Forbearance


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  Period, the Obligors will perform, observe and comply with each covenant, agreement and
  term contained in this Forbearance Agreement and each of the other Loan Documents,
  including, without limitation, the fees and payments required thereunder.

          (b)    Prepayment of Loans from Net Proceeds. The Obligors agree to pay, or
  cause to be paid, immediately upon receipt thereof, the Net Proceeds of the sale of all real
  Property of LHI and 7807 to the Administrative Agent for application as follows: first, to
  the principal amount of outstanding Revolving Credit Loans (with a concurrent permanent
  reduction in the amount of the Revolving Credit Commitment equal to the Net Proceeds so
  received) and second, with respect to any Letters of Credit outstanding after payment in
  full of the Revolving Credit Loans, a payment of Cash Collateral into a Cash Collateral
  account opened by the Administrative Agent, for the benefit of the Revolving Credit
  Lenders, in an amount equal to such excess.

         (c)     Deposit of Funds. Except with respect to Limited Funds Foreign
  Accounts, the Credit Parties shall cause all of their collections to be deposited in deposit
  accounts that are covered by a deposit account control agreement in favor of the
  Administrative Agent, and shall not open, or maintain, unless a deposit account control
  agreement satisfactory to the Administrative Agent is in effect, any deposit account other
  than deposit accounts that are maintained with Wells Fargo Bank, N.A.

          (d)     Additional Financial Statements. With 30 days after the end of each
  calendar month, each of LHI and LHA shall deliver to the Administrative Agent, in form
  and detail satisfactory to the Administrative Agent an unaudited Consolidated and
  consolidating balance sheet of each of LHI and its Subsidiaries, if any, and LHA and its
  Subsidiaries, if any, as of the close of such fiscal month and unaudited Consolidated and
  consolidating statements of income, all in reasonable detail setting forth in comparative
  form the corresponding figures as of the end of and for the corresponding period in the
  preceding Fiscal Year and prepared in accordance with GAAP and, if applicable,
  containing disclosure of the effect on the financial position or results of operations of any
  change in the application of accounting principles and practices during the period, and
  certified by a Responsible Officer of each of LHI and LHA to present fairly in all material
  respects the financial condition of LHI, LHA and each of their respective Subsidiaries, if
  any, on a Consolidated and consolidating basis as of their respective dates and the results of
  operations of LHI, LHA and each of their respective Subsidiaries, if any, for the respective
  periods then ended, subject to normal year-end adjustments and the absence of footnotes.

          (e)     Cash Flow Forecasts. The CRO shall deliver to the Administrative Agent
  and the Lenders, by no later than noon prevailing Central time on Wednesday of each week
  beginning on the first Wednesday after the Forbearance Effective Date, an updated Budget
  setting forth all sources and uses of cash and beginning and ending cash balances,
  including balance sheet roll-forward calculations for accounts receivable, inventory, and
  accounts payable, a detailed breakdown of professional fees, and a calculation for the
  Minimum Collateral Ratio, an initial copy of which shall be delivered on or prior to the
  Forbearance Effective Date. The Credit Parties shall operate strictly in accordance with
  the Budget and shall pay only those actual, ordinary and necessary operating expenses of
  their business in compliance with the Budget (subject to the variances identified above).


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           (f)     Reconciliation Reports. The CRO shall deliver to the Administrative
   Agent and the Lenders concurrently with each Budget (i) a variance report reconciling the
   prior week's cash flow forecast to the actual sources and uses of cash for the prior week,
   along with a line-by-line reconciliation and explanation of material variances, (ii) a listing
   of each Credit Parties' accounts receivable, including invoices aged by invoice date and
   due date (with an explanation of the terms offered), together with a summary specifying the
   name, address, and balance due for each account debtor, and a schedule and aging of each
   Credit Party's accounts payable, (iii) a backlog report and (iv) a report from the CRO and
   management of the Credit Parties setting forth detailed explanations for variance in actual
   results as compared to forecasted performance under the Budget.

           (g)     Daily Operating, Excess Cash and Collateral Base Reports. The CRO
   shall deliver, by e-mail, to the Administrative Agent, the Lenders and Focus copies of the
   daily operating reports of the Obligors at the same time they are distributed to members of
   the management team of the Obligors, or any of them, such reports to include at least the
   invoice sales-daily, bookings-daily and the month-to-date executive summary. In addition,
   the CRO shall deliver, by e-mail, not later than 10:00 a.m. prevailing Texas time on each
   Business Day, (1) a report of the Consolidated Cash Balances of the Credit Parties, the
   aggregate amount of outstanding check for Budget Items and the amount, if any, of Excess
   Cash, in each case as of the end of the immediately preceding Business Day, and (2) a
   report detailing such information as the Administrative Agent may request about the
   Collateral.

          (h)     Weekly Status Calls. The Obligors and the CRO shall participate in
   weekly Thursday status calls with the Administrative Agent, the Lenders and the
   Administrative Agent's professionals, which calls shall include the restructuring
   professionals (Gardere, CR3 and Imperial) assisting the Obligors.

          (i)     Weekly Written Status Updates. The CRO shall provide to the
   Administrative Agent, Focus and the Lenders written status reports and updates at least
   weekly from CR3 on right-sizing efforts as well as written status reports from CR3 and
   Imperial on sale processes, including (without limitation):

                  (i)     list of prospects to whom books have been sent,

                  (ii)    dates of proposed on-site meetings,

                  (iii)   names and other details of persons accessing data site,

                  (iv)    dates NDA's, LOI's, PSA's, etc. are received and proposed closing
                          dates,

                  (v)     information similar to the above for proposed airplane and real
                          estate sales/refinancings.

         (j)     Status of Aircraft Sale. The CRO shall provide weekly broker updates to
   the Administrative Agent, Focus, the Lenders and WFEF on the LHA aircraft sale process,



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   such updates to include the list price, sale strategy, any price reductions, inquiries from
   potential buyers, actual showings, and offers (if any).

           (k)     Timing of Status Report. Status reports and updates under clauses (i) and
   (i) above shall be due by 5:00 p.m. prevailing Central Time each Wednesday to allow for
   review before the Thursday morning status and update calls.

           (l)    Prohibition on Certain Expenses. None of the Obligors shall pay any fees
   or expenses related to forensic accounting and/or fraud detection efforts, or legal fees or
   expenses accruing or payable after August 16, 2017, related to civil or criminal litigation
   resulting from those efforts.

           (m)     Prohibited Payments. No Obligor shall make any loans or advances nor,
   unless turned-over to the Administrative Agent for application to the Loans, any
   distributions (including Individual Guarantor equity draws) or dividends. No Credit Party
   shall pay any legal fees or expenses of the Individual Guarantor.

          (n)  Management Salaries, Etc. No Obligor shall increase any executive
   management compensation or benefits without the written approval of the Administrative
   Agent.

            (o)    Information. The Obligors shall cooperate with Focus in performing its
   work as financial advisor to the Administrative Agent and its counsel, and each of them
   will fully cooperate with the Advisors and fully authorize the Advisors to disclose all
   information about themselves and their financial condition, assets and operations to the
   Administrative Agent, the Lenders, Focus and their respective counsel. In addition to any
   notices required to be given under the Loan Documents, Obligors and their Advisors will
   provide the Administrative Agent, Lenders and Focus with such other information as may
   be requested by the Administrative Agent or Focus from time to time, within one Business
   Day of such request, including, without limitation, copies of any bank or other financial
   institution statements; financial statements; accounts receivable and accounts payable
   agings; transactional documentation; litigation pleadings, depositions, related documents
   and transcripts; letters of intent or offers to purchase, lease or license any portion, all or
   substantially all of the assets or ownership interests of any of Obligors; and letters of intent
   or commitments for any capital investment, loan or other financing in or to any of the
   Obligors. Each Obligor hereby acknowledges the Administrative Agent's right under the
   Credit Agreement to engage Focus in its sole discretion under these circumstances and
   agrees to reimburse the Administrative Agent for the fees and expenses of Focus.

           (p)     Access. The Administrative Agent, Focus, the Lenders, and their agents
   shall have access during normal business hours to Obligors' business premises, to all data
   rooms maintained by Obligors or their Advisors, and to the Collateral to review, appraise
   and evaluate the physical condition of the Collateral and to inspect the books, records and
   reports of Obligors concerning the operation of Obligors' businesses, financial condition,
   the transfers and expenditures of funds generated therefrom, the accrual of expenses
   relating thereto, and any and all other records relating to the operations of Obligors. The
   Obligors and their Advisors will fully cooperate with the Administrative Agent, Lenders


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   and Focus regarding such reviews, evaluations, and inspections, and the Obligors shall
   make their employees, consultants and professionals reasonably available to the
   Administrative Agent, the Lenders, Focus, and the Administrative Agent's other
   professionals and consultants in conducting such reviews, evaluations, and inspections.

           (q)     No Control. No act committed or action taken by the Administrative Agent
   or the Lenders under this Forbearance Agreement or the Loan Documents will be used,
   construed, or deemed to hold the Credit Parties to be in control of any Obligor, or the
   governance, management or operations of any Obligor for any purpose, without limitation,
   or to be participating in the management of any Obligor or acting as a "responsible person"
   or "owner or operator" or a person in "control" with respect to the governance,
   management or operation of any Obligor or their respective businesses (as such terms, or
   any similar terms, are used in the U.S. Bankruptcy Code, the Code, or CERCLA, each as
   may be amended from time to time, or any other federal or state statute, at law, in equity, or
   otherwise) by virtue of the interests, rights, and remedies granted to or conferred upon the
   Administrative Agent or the Lenders under this Forbearance Agreement or the other Loan
   Documents.

          (r)    Obligors' Advisors. The Credit Parties shall engage and maintain the
   engagement of the Advisors at all times during the Forbearance Period. The Obligors
   authorize the Administrative Agent, Focus, and their agents and professionals to
   communicate with their Advisors without notice to, or the presence of, Obligors.

           (s)     Restricted Payments; Affiliate Transactions. Notwithstanding anything
   in the Credit Agreement or any other Loan Documents to the contrary, during the
   Forbearance Period, Credit Parties will not make or agree to make, and no Obligor shall
   receive, (i) any Restricted Payments, (ii) any loans, advances or payments otherwise
   permitted under Section 8.3 or 8.7 of the Credit Agreement or Sections 5.6 and 5.7 of the
   LHI Credit Agreement, or (iii) any other payments to the extent on account of accrued or
   accruing expenses, in each case that are not primarily for the benefit of the Credit Parties
   and for which the Credit Parties do not seek reimbursement from one or more of their
   Affiliates on at least a monthly basis.

           (t)      Additional Collateral Updates. During the Forbearance Period, each
   Obligor will (a) notify the Administrative Agent of any written letters of intent, indications
   of interest, offers and agreements related to any sale or other disposition of any assets of
   any Credit Party, in each case, promptly upon becoming aware of same, (b) provide the
   Administrative Agent with such updates and reports relating to the foregoing and Dormant
   Foreign Accounts as and when the Administrative Agent may reasonably request from
   time to time and (c) include in the Budget line items setting forth the Minimum Collateral
   Ratio.

           (u)    Forbearance Period Loans. Notwithstanding anything to the contrary in
   the Credit Agreement or any other Loan Document (and in all events subject to the terms of
   this Section 6(w)), each Credit Party acknowledges and agrees that, during the Forbearance
   Period, the Borrowers shall only be entitled to request, and the Revolving Lenders only
   agree to make, Loans (a) to the extent necessary to enable Credit Parties to pay the


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   expenses set forth in the Budget as and when such expenses are due and payable, (b) to the
   extent the aggregate Loans outstanding at any time do not exceed the aggregate Revolving
   Credit Commitment, (c) subject to Loan Parties' timely compliance with the terms and
   provisions of this Forbearance Agreement, and (d) to the extent at the time of and
   immediately after giving effect to each Loan, (i) the Credit Parties shall not have any
   Excess Cash and (ii) as of the end of the Business Day on which such Loan will be funded,
   the Credit Parties shall not have any Excess Cash.

   The failure of Obligors to timely comply with the terms of this Section 6 shall constitute (i)
   a Default and an Event of Default under and for all purposes of the Credit Agreement and
   (ii) a Termination Event hereunder.

   7.     Credit Agreement Amendments.

          (a)     Additional Definitions. In addition to the definitions added to Section 1.1
   in the Initial Forbearance Agreement, Section 1.1 is further amended by adding the
   following definitions in appropriate alphabetical order:

                          "Engagement Agreements" mean the CRO Engagement
                  Agreement and the engagement agreements being entered into with the
                  CRO by the Credit Parties other than LII on the Second Forbearance
                  Effective Date.

                         "Second Forbearance Agreement" means the Second
                  Forbearance Agreement and Fourth Amendment to Amended and Restated
                  Credit Agreement, dated effective the Forbearance Effective Date, and the
                  Borrowers, LHI, the Individual Guarantor, the Lenders and the
                  Administrative Agent.

                          "Second Forbearance Effective Date" means September 29, 2017.

           (b)     Amendment of Section 7.21. Section 7.21 is amended and restated in its
   entirety to read as follows:

                  Advisors. Unless the Administrative Agent consents otherwise in writing,
                  engage and continue engage, in the case of each Credit Party, CR3 and the
                  CRO to perform the duties set out in the Engagement Letters and, in the
                  case of LII, continue to engage Imperial to perform the duties set forth in
                  Annex C to the Forbearance Agreement at least through the Termination
                  Date (as defined in the Second Forbearance Agreement).

   8.     Post-Closing Covenants.

          (a)    Deposit Accounts. Within three Business Days of presentation of one or
   more deposit account control agreements by the Administrative Agent, the Credit Parties
   and Wells Fargo, as depositary, shall have entered into such deposit account control
   agreements with the Administrative Agent covering the accounts maintained by the
   Obligors with Wells Fargo.


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                (b)     Vehicle Title Applications. Within five Business Days of presentment by
       the Administrative Agent, each of LHI and LII shall have executed applications to change
       the titles to their Texas vehicles to reflect the Lien in favor of the Administrative Agent,
       submitted such applications and the original titles to the County Clerk of Harris County,
       Texas, along with a check for the fees necessary to effect the title change, and delivered
       evidence of such actions to the Administrative Agent. In additional, by October 10, 2017
       (unless otherwise agreed to by the Administrative Agent), LHI shall have taken such action
       and paid such fees as may be necessary to reflect the Lien in favor of the Administrative
       Agent on vehicles titled in jurisdictions other than Texas and shall have delivered evidence
       thereof to the Administrative Agent. Each of LII and LHI agree to provide, at least weekly,
       to the Administrative Agent an update on the status of missing titles and progress being
       made in noting the Lien on titles from jurisdictions other than Texas.

               (c)   Tomoe. LII has, with the consent of Tomoe, offset $1 million of inventory
       from Tomoe against the outstanding indebtedness between Tomoe and LII, which reduced
       the outstanding balance. Not later than September 29, 2017, LII shall enter into a new
       promissory note on terms and conditions, and with acknowledgments, satisfactory to the
       Administrative Agent for the remaining balance to replace that certain Revolving
       Promissory Note made by Tomoe payable to the order of LII dated January 18, 2013 and
       related agreements.

        The failure of Obligors to timely comply with the terms of this Section 8 shall constitute
(i) a Default and an Event of Default under and for all purposes of the Credit Agreement and (ii) a
Termination Event hereunder.

         9.    Conditions Precedent. As a condition to the commencement of the Forbearance
Period on the Forbearance Effective Date, each of the following conditions shall have been
fulfilled by Obligors:

              (a)   Forbearance Agreement. The Obligors, the Administrative Agent and the
       Majority Lenders have each executed and delivered this Forbearance Agreement.

              (b)    Payments. The Borrowers shall have paid in cash all invoiced and unpaid
       fees and expenses reasonably incurred by and owing to the Administrative Agent's counsel,
       Winstead PC, and to Focus and Paul Boston & Associates, Inc., consultants to Winstead
       PC.

              (c)     Pledge of Certain Equity. The Administrative Agent shall have received
       executed Security Documents granting Liens on (1) all of the stock of LHI and (2) all of the
       member interests of 7807 and the proceeds of such stock and membership interests, in each
       case subject to no other Liens, and the Individual Guarantor shall have delivered to the
       Administrative Agent all certificates evidencing such equity interests and executed blank
       stock powers.

              (d)    Lockwood Affidavit Update. The Administrative Agent shall have
       received additional information required by it in its sole discretion from Individual
       Guarantor in connection with the Affidavit delivered by Individual Guarantor in



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       connection with the Initial Forbearance Agreement, including without limitation,
       information regarding the direct and indirect ownership, structure and value of TIV Valves
       SRL (with its direct and indirect parent companies, "TIV"), the amount of any salary,
       benefits or distributions the Individual Guarantor receives from TIV, and any monies
       owed by TIV to Individual Guarantor and regarding the beneficial interest in, and value of,
       trusts included on the Individual Guarantor’s Affidavit of Financial Condition delivered in
       connection with the Initial Forbearance Agreement.

               (e)     Evidence of Authority. The Credit Parties, LHI, LHA and 7807 shall have
       delivered to the Administrative Agent such certificates of duly authorized officers of the
       Credit Parties, and such other documents, instruments and agreements as the
       Administrative Agent shall require, to evidence the due authorization, execution and
       delivery of this Forbearance Agreement and their other Loan Documents, each of which
       shall be in form and substance satisfactory to the Administrative Agent.

              (f)     Amendment of LHA Loan Papers. All of the conditions precedent,
       including payment of appraisal costs and legal fees, to the effectiveness of the September
       6, 2017, Second Amendment to Term Loan Agreement between LHA and WFEF shall
       have been satisfied.

        The failure of Obligors to timely comply with the terms of this Section 9 shall constitute
(i) a Default and an Event of Default under and for all purposes of the Credit Agreement and (ii) a
Termination Event hereunder.

         10.    Ratification of Related Documents and Collateral.                   Obligors hereby
acknowledge that each of them has received from the Administrative Agent proper notice of
Default with respect to the Acknowledged Defaults. Each of the Obligors hereby waives (a) any
further notice of Default, notice of intent to accelerate, or demand for payment and (b) any further
opportunity to cure any of the Acknowledged Defaults. Except as modified by this Forbearance
Agreement, each Obligor hereby acknowledges, ratifies, reaffirms, and agrees that each of the
Loan Documents, and the first priority, perfected liens and security interests created thereby in
favor of the Administrative Agent in the Collateral, are and will remain in full force and effect and
binding on Obligors, and are enforceable in accordance with their respective terms and applicable
law. Each of the Obligors acknowledges, ratifies, and reaffirms all of the terms and provisions of
the Loan Documents, except as modified herein, which are incorporated by reference as of the
Forbearance Effective Date as if set forth herein including, without limitation, all promises,
agreements, warranties, representations, covenants, releases, indemnifications, and waivers of jury
trials contained therein. The Obligors hereby acknowledge, ratify, and confirm the Credit
Agreement, the Notes, the Security Instruments, the Guaranties, the other Loan Documents, and
all of their respective debts and obligations to Credit Parties thereunder. The Obligors
acknowledge and agree that in the event the Administrative Agent seeks to take possession of any
or all of the Collateral securing any of the Secured Obligations by court process, the Obligors each
irrevocably waive, to the fullest extent permitted by law, any bonds and any surety or security
relating thereto required by any statute, court rule or otherwise as an incident to such possession.

       11.    Remedies Upon Termination Event. Upon the occurrence of a Termination
Event, (a) the Forbearance Period will terminate without further act or action by the


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Administrative Agent or any Lender, (b) the Administrative Agent will be entitled immediately to
accelerate the Secured Obligations, institute foreclosure proceedings against the Collateral and to
exercise any and all of the Administrative Agent's or any Lender's rights and remedies available to
the Administrative Agent or any Lender under the Loan Documents and this Forbearance
Agreement, at law, in equity, or otherwise, without further opportunity to cure, demand,
presentment, notice of dishonor, notice of Default, notice of intent to accelerate, notice of intent to
foreclose, notice of protest or other formalities of any kind, all of which are hereby expressly
waived by the Obligors.

       12.     Acknowledgment of Defaults. The Obligors specifically acknowledge the
existence and continuation of the Acknowledged Defaults.

     13.   WAIVER AND RELEASE. EACH OF OBLIGORS (IN ITS OR HIS OWN
RIGHT AND ON BEHALF OF ITS PREDECESSORS, SUCCESSORS, LEGAL
REPRESENTATIVES AND ASSIGNS) HEREBY EXPRESSLY AND UNCONDITIONALLY
ACKNOWLEDGES AND AGREES THAT IT HAS NO SETOFFS, COUNTERCLAIMS,
ADJUSTMENTS, RECOUPMENTS, DEFENSES, CLAIMS, CAUSES OF ACTION,
ACTIONS OR DAMAGES OF ANY CHARACTER OR NATURE, WHETHER
CONTINGENT,    NONCONTINGENT,     LIQUIDATED,   UNLIQUIDATED,    FIXED,
MATURED, UNMATURED, DISPUTED, UNDISPUTED, LEGAL, EQUITABLE, SECURED
OR UNSECURED, KNOWN OR UNKNOWN, ACTUAL OR PUNITIVE, FORESEEN OR
UNFORESEEN, DIRECT, OR INDIRECT, AGAINST EACH OF THE ADMINISTRATIVE
AGENT AND EACH LENDER, ANY OF THEIR AFFILIATES OR ANY OF THEIR
OFFICERS, DIRECTORS, AGENTS, EMPLOYEES, ATTORNEYS OR REPRESENTATIVES
OR ANY OF THEIR RESPECTIVE PREDECESSORS, SUCCESSORS OR ASSIGNS
(COLLECTIVELY, WITH THE ADMINISTRATIVE AGENT AND THE LENDERS, THE
"LENDER-RELATED PARTIES" AND EACH INDIVIDUALLY, A "LENDER-RELATED
PARTY") OR ANY GROUNDS OR CAUSE FOR REDUCTION, MODIFICATION, SET
ASIDE OR SUBORDINATION OF THE SECURED OBLIGATIONS OR ANY LIENS OR
SECURITY INTERESTS OF THE CREDIT PARTIES. IN PARTIAL CONSIDERATION FOR
THE AGREEMENT OF THE ADMINISTRATIVE AGENT AND THE LENDERS TO ENTER
INTO THIS FORBEARANCE AGREEMENT, EACH OF OBLIGORS HEREBY
KNOWINGLY AND UNCONDITIONALLY WAIVES AND FULLY AND FINALLY
RELEASES AND FOREVER DISCHARGES THE LENDER-RELATED PARTIES FROM,
AND COVENANTS NOT TO SUE THE LENDER-RELATED PARTIES FOR, ANY AND
ALL SETOFFS, COUNTERCLAIMS, ADJUSTMENTS, RECOUPMENTS, CLAIMS,
CAUSES OF ACTION, ACTIONS, GROUNDS, CAUSES, DAMAGES, COSTS AND
EXPENSES OF EVERY NATURE AND CHARACTER, WHETHER CONTINGENT,
NONCONTINGENT,     LIQUIDATED,     UNLIQUIDATED,     FIXED,  MATURED,
UNMATURED, DISPUTED, UNDISPUTED, LEGAL, EQUITABLE, SECURED OR
UNSECURED, KNOWN OR UNKNOWN, ACTUAL OR PUNITIVE, FORESEEN OR
UNFORESEEN, DIRECT OR INDIRECT, ARISING OUT OF OR FROM OR RELATED TO
ANY OF THE LOAN DOCUMENTS, WHICH ANY OBLIGOR NOW OWNS AND HOLDS,
OR HAS AT ANY TIME HERETOFORE OWNED OR HELD, SUCH WAIVER, RELEASE
AND DISCHARGE BEING MADE WITH FULL KNOWLEDGE AND UNDERSTANDING
OF THE CIRCUMSTANCES AND EFFECTS OF SUCH WAIVER, RELEASE AND
DISCHARGE AND AFTER HAVING CONSULTED LEGAL COUNSEL OF ITS OWN


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CHOOSING WITH RESPECT THERETO. THIS SECTION IS IN ADDITION TO ANY
OTHER RELEASE OF ANY OF THE LENDER-RELATED PARTIES BY ANY OF
OBLIGORS AND SHALL NOT IN ANY WAY LIMIT ANY OTHER RELEASE, COVENANT
NOT TO SUE, OR WAIVER BY ANY OF OBLIGORS IN FAVOR OF ANY OF THE
LENDER-RELATED PARTIES.

         14.     Covenant Not to Sue. Each Obligor hereby absolutely, unconditionally and
irrevocably covenants and agrees with and in favor of each Lender-related Party that it will not sue
(at law, in equity, in any regulatory proceeding, or otherwise) any Lender-related Party on the
basis of any Claim released, remised, and discharged by any Releasing Party pursuant to
Section 13(a) above. If any Releasing Party violates the foregoing covenant, each Obligor, for
itself and its successors and assigns, and its present and former members, managers, shareholders,
affiliates, subsidiaries, divisions, predecessors, directors, officers, attorneys, employees, agents,
legal representatives, and other representatives, agrees to pay, in addition to such other damages as
any Lender-related Party may sustain as a result of such violation, all attorneys' fees and costs
incurred by any Lender-related Party as a result of such violation.

       15.      No Obligation of Credit Parties. The Obligors hereby acknowledge and
understand that upon the expiration or termination of the Forbearance Period, if all the
Acknowledged Defaults have not been cured or waived by written agreement in accordance with
the Credit Agreement, or if there shall at such time exist a Default or Event of Default, then the
Administrative Agent and the Lenders shall have the right to proceed to exercise any or all
available rights and remedies, which may include foreclosure on the Collateral and/or institution
of legal proceedings. The Administrative Agent and the Lenders shall have no obligation
whatsoever to extend the maturity of the Secured Obligations, waive any Events of Default or
Defaults, defer any payments, or further forbear from exercising its rights and remedies.

        16.     No Implied Waivers. No failure or delay on the part of the Administrative Agent
or the Lenders in exercising, and no course of dealing with respect to, any right, power or privilege
under this Forbearance Agreement, the Credit Agreement, the Notes, the Security Instruments, the
Guaranties, or any other Loan Document shall operate as a waiver thereof, nor shall any single or
partial exercise of any right, power or privilege under this Forbearance Agreement, the Credit
Agreement, the Notes, the Guaranties, or any other Loan Document preclude any other or further
exercise thereof or the exercise of any other right, power or privilege.

      17.  INDEMNIFICATION. IN ADDITION TO, AND WITHOUT LIMITATION
OF, ANY AND ALL INDEMNITIES PROVIDED IN THE LOAN DOCUMENTS, OBLIGORS
HEREBY, JOINTLY AND SEVERALLY, INDEMNIFY AND HOLD EACH OF THE
LENDER-RELATED PARTIES HARMLESS FROM AND AGAINST ANY AND ALL
CLAIMS, LIABILITIES, LOSSES, DAMAGES, CAUSES OF ACTION, SUITS,
JUDGMENTS, COSTS, AND EXPENSES, INCLUDING, WITHOUT LIMITATION,
REASONABLE ATTORNEYS' FEES, ARISING OUT OF OR FROM OR RELATED TO ANY
OF THE LOAN DOCUMENTS OR THIS FORBEARANCE AGREEMENT. IF ANY ACTION,
SUIT, OR PROCEEDING IS BROUGHT AGAINST ANY OF THE LENDER-RELATED
PARTIES, OBLIGORS SHALL, AT SUCH LENDER-RELATED PARTIES' REQUEST,
DEFEND THE SAME AT THEIR SOLE COST AND EXPENSE, SUCH COST AND EXPENSE
TO BE A JOINT AND SEVERAL LIABILITY OF OBLIGORS, BY COUNSEL SELECTED


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BY SUCH LENDER-RELATED PARTY. NOTWITHSTANDING ANY PROVISION OF THIS
FORBEARANCE AGREEMENT OR ANY OTHER LOAN DOCUMENT, THIS SECTION 17
SHALL REMAIN IN FULL FORCE AND EFFECT AND SHALL SURVIVE ANY DELIVERY
AND PAYMENT ON THE SECURED OBLIGATIONS, THIS FORBEARANCE
AGREEMENT AND THE OTHER LOAN DOCUMENTS.

        18.     Survival of Representations and Warranties. All representations and warranties
made in this Forbearance Agreement or any other Loan Document will survive the execution and
delivery of this Forbearance Agreement, and no investigation by Credit Parties or any closing will
affect the representations and warranties or the right of Credit Parties to rely upon them.

        19.     Review and Construction of Documents. Each of the Obligors hereby
acknowledges, represents, and warrants to the Administrative Agent and the Lenders that (a) the
Obligors have had the opportunity to consult with legal counsel of their own choice and have been
afforded an opportunity to review this Forbearance Agreement with their legal counsel,
(b) Obligors have reviewed this Forbearance Agreement and fully understand the effects thereof
and all terms and provisions contained herein, and (c) the Obligors have executed this Forbearance
Agreement of their own free will and volition. The recitals contained in this Forbearance
Agreement shall be construed to be part of the operative terms and provisions of this Forbearance
Agreement.

        20.    ENTIRE AGREEMENT; AMENDMENT.                      THIS FORBEARANCE
AGREEMENT AND THE RELATED DOCUMENTS AS INCORPORATED HEREIN
EMBODY THE FINAL, ENTIRE AGREEMENT BETWEEN THE PARTIES HERETO
REGARDING THE ADMINISTRATIVE AGENT'S AND THE LENDERS' FORBEARANCE
WITH RESPECT TO THEIR RIGHTS AND REMEDIES ARISING AS A RESULT OF THE
ACKNOWLEDGED DEFAULTS AND SUPERSEDE ANY AND ALL PRIOR
COMMITMENTS, AGREEMENTS, REPRESENTATIONS AND UNDERSTANDINGS,
WHETHER WRITTEN OR ORAL, RELATING TO THE SUBJECT MATTER HEREOF AND
MAY NOT BE CONTRADICTED OR VARIED BY EVIDENCE OF PRIOR,
CONTEMPORANEOUS OR SUBSEQUENT ORAL AGREEMENTS OR DISCUSSIONS OF
THE PARTIES HERETO. THERE ARE NO ORAL AGREEMENTS AMONG THE PARTIES
HERETO. The provisions of this Forbearance Agreement may be amended or waived only by an
instrument in writing signed by the parties hereto. The Loan Documents, as modified by this
Forbearance Agreement, continue to evidence the agreement of the parties with respect to the
subject matter thereof.

       21.     Notices. All notices, requests, demands and other communications under this
Forbearance Agreement will be given in accordance with the provisions of the Credit Agreement,
except that notices to the Administrative Agent shall be given to the following:

       Wells Fargo Bank, N.A.
       5080 Spectrum Drive, Suite 400
       Addison, Texas 75225
       Attention: Jennifer L. Norris, CFA
       Fax: 866-968-4862
       Email: jennifer.norris@wellsfargo.com


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        22.     Successors and Assigns. This Forbearance Agreement will be binding upon, and
will inure to the benefit of, the parties hereto and their respective successors and assigns, provided
that none of Obligors may assign any rights or obligations under this Forbearance Agreement
without the prior written consent of the Administrative Agent.

        23.     Tolling of Statutes of Limitation. The parties hereto agree that all applicable
statutes of limitations with respect to the Loan Documents shall be tolled and not begin running
until the Termination Date.

       24.    Arms-Length/Good Faith. This Forbearance Agreement has been negotiated at
arms-length and in good faith by the parties hereto.

       25.    Governing Law. This Forbearance Agreement shall be governed by and construed
in accordance with the laws of the State of Texas and applicable laws of the United States of
America.

       26.     Interpretation. Wherever the context hereof will so require, the singular shall
include the plural, the masculine gender shall include the feminine gender and the neuter and vice
versa. The headings, captions and arrangements used in this Forbearance Agreement are for
convenience only and shall not affect the interpretation of this Forbearance Agreement.

        27.     Severability. In case any one or more of the provisions contained in this
Forbearance Agreement shall for any reason be held to be invalid, illegal or unenforceable in any
respect, such invalidity, illegality, or unenforceability shall not affect any other provision hereof,
and this Forbearance Agreement shall be construed as if such invalid, illegal, or unenforceable
provision had never been contained herein.

        28.     Counterparts. This Forbearance Agreement may be executed and delivered in any
number of counterparts, and by different parties hereto on separate counterparts, each of which
when so executed and delivered shall be deemed to be an original and all of which counterparts
taken together shall constitute one and the same instrument; provided that no party shall be bound
by this Forbearance Agreement until each of the parties has executed a counterpart hereof.
Execution of this Forbearance Agreement via facsimile or other electronic means shall be
effective, and signatures received via facsimile or other electronic means shall be binding upon the
parties hereto and shall be effective as originals.

        29.     Further Assurances. The Obligors each agree to execute, acknowledge, deliver,
file and record such further certificates, instruments and documents, and to do all other acts and
things, as may be reasonably requested by the Administrative Agent as necessary or advisable to
carry out the intents and purposes of this Forbearance Agreement.

       30.     Loan Document. This Forbearance Agreement is a Loan Document for all
purposes of the Credit Agreement and the other Loan Documents.

        31.     No Effect on Rights Under Subordination and Intercreditor Agreements. The
Administrative Agent's and the Lenders' agreement to forbear pursuant to this Forbearance
Agreement shall not extend to any of their respective rights or remedies under any subordination,
intercreditor, or similar agreement to which the Administrative Agent or any Lender is party, it


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being understood that the Acknowledged Defaults shall at all times constitute Events of Default
for purposes of any and all such agreements notwithstanding such agreement to forbear in this
Forbearance Agreement, and the Administrative Agent and the Lenders shall at all times be
permitted to enforce all rights and remedies in respect thereof (including, without limitation,
blocking payments to any holders of subordinated obligations in accordance with the terms of such
agreements).

      32.  Mutual Waiver of Jury Trial. THE PARTIES HERETO WAIVE ALL RIGHTS
TO TRIAL BY JURY IN ANY ACTION, SUIT, OR PROCEEDING BROUGHT TO RESOLVE
ANY DISPUTE, WHETHER ARISING IN CONTRACT, TORT, OR OTHERWISE BETWEEN
AGENT OR ANY LENDER AND ANY LOAN PARTY ARISING OUT OF, CONNECTED
WITH, RELATED OR INCIDENTAL TO THE RELATIONSHIP ESTABLISHED BETWEEN
THEM IN CONNECTION WITH THIS FORBEARANCE AGREEMENT OR THE CREDIT
AGREEMENT OR THE OTHER LOAN DOCUMENTS OR THE TRANSACTIONS
RELATED THERETO.

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                                       TRUSTMARK NATIONAL BANK


                                       By:
                                       Name:
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                                                    ANNEX A

                                     ACKNOWLEDGED DEFAULTS

Each of the existing and prospective breaches of the Loan Documents set forth below are
Acknowledged Defaults:

    1. Under Section 9.1(a) of the Credit Agreement, failure to meet permanent reduction of the
       Revolving Credit Commitment in accordance with Schedule 1.1 of the Credit Agreement
       and Sections 2.5(c) and 7.20(b) and to pay interest on August 31, 2017, in accordance with
       Section 4.1(d).

    2. Under Section 9.1(c) of the Credit Agreement, as a result of breaches under:
          a. Section 6.16 relating to events and conditions that could reasonably be expected to
             have a Material Adverse Effect;
          b. Section 6.20 relating to the absence of Defaults and Events of Default;
          c. Section 6.23 relating to disclosure.

    3. Under Section 9.l(d) of the Credit Agreement:
          a. Failure to timely deliver information required under Sections 7.1 and 7.2;
          b. Failure of delivered information under Sections 7.1(a) and (b) to fairly represent in
             all material respects of the financial condition of the Parent and its Subsidiaries and
             the results of their operations as of their respective dates;
          c. Failure to deliver Officer’s Compliance Certificates in accordance with Sections
             7.1 and 7.2 for February 2017, March 2017, April 2017, May 2017, June 2017, and
             July 2017;
          d. Failure to deliver the forensic accountant’s report by April 30, 2017 pursuant to
             Section 7.2(g);
          e. Failure to comply with Sections 7.2(f) and 7.17 as requested in the May 22, 2017
             letter;
          f. Failure to maintain LII's qualification to do business in Illinois as a foreign
             corporation in accordance with Sections 6.1 and 7.4 of the Credit Agreement1;
          g. Failure to comply with Section 8.6, including any equity draws made to Mike
             Lockwood from October 2016 through July 2017;
          h. Failure to comply with the Consolidated Total Liabilities to Consolidated Tangible
             Net Worth ratio set forth in Section 8.14(a) of the Credit Agreement for the fiscal
             quarters ended October 31, 2016, and January 31, 2017;
          i. Failure to achieve minimum Consolidated EBITDA set forth in Section 8.14(a)2
             for the periods ending April 30, 2017, May 31, 2017, July 31, 2017, and August 31,
             2017;


1
    LII is working to get the appropriate documentation submitted to the State of Illinois to get back in good standing.
2
    Section 8.14(a) was changed from a Consolidated Total Liabilities to Consolidated Tangible Net Worth ratio to a
    Minimum EBITDA with the February 2017 amendment.



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            j. Failure to comply with the Consolidated Net Income covenant set forth in Section
               8.14(b) of the Credit Agreement for the fiscal quarters ended April 30, 2016, July
               31, 2016, October 31, 2016, and January 31, 2017;
            k. Failure to comply with Section 8.14(b)3 relating to maximum restructuring changes
               in Fiscal Year 2017;
            l. Failure to company with Section 8.14(c) as a result of Asset Coverage Ratio being
               the less than the minimum amount required for the months ending February 2017,
               March 2017, April 2017, May 2017, June 2017, July 2017, and August 2017.

    4. Under Section 9.1(n) of the Credit Agreement:
          a. As a result of the occurrence of an event of default under the LHI Credit Agreement
             due to a sale of LHI’s sale of its Shorewood, Illinois property outside the ordinary
             course of business;
          b. As a potential default under the LHI Credit Agreement for the executed subleases at
             the Clute, Texas location and the Gonzales, Louisiana location.
          c. Default under the LHI Credit Agreement for failure to deliver required certificates
             and reports.

    5. Under Sections 6.1 and 7.4 of the Credit Agreement, Lockwood International, Inc.'s
       qualification to do business in Illinois as a foreign corporation has been revoked.

    6. Under Section 6 of the Initial Forbearance Agreement, failure (due to Hurricane Harvey
       and its effect on, and subsequent flooding in, the Greater Houston Metropolitan Area) to:
          a. Provide cash flow forecasts under Section 6(d) on September 6, 2017;
          b. Provide reconciliation report under Section 6(f);
          c. Provide daily operating, excess cash, and collateral base reports under Section 6(g)
               for August 28 to 31, 2017; and
          d. Meet the Minimum Rolling 4-Week Revenue under Section 6(w).

    7. Under Section 6 of the Initial Forbearance Agreement, failure to timely deliver the daily
       operating, excess cash and collateral reports under Section 6(g) for September 28, 2017
       due to systems being down.




3
    Section 8.14(b) was changed from a Consolidated Net Income covenant to maximum restructuring charges with
    the February 2017 amendment.



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                                     ANNEX B

                    LIMITED FOREIGN FUNDS ACCOUNTS

   1. List of Limited Foreign Funds Accounts (active) – See attached spreadsheet

   2. List of Dormant Foreign Accounts – See attached spreadsheet




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                                       ANNEX C

                    TIMELINE FOR REAL PROPERTY SALES

   Properties listed for sale with local brokers as follows:
     912 John Stine Road, Westlake, LA 70669
           o Owned by Lockwood Holdings, Inc.
           o Broker/Agent – Reinauer Real Estate
     Beltway Land
           o 66.7177 Gross Acres (58.388 Net Acres) Of Vacant Land, Harris County,
                Texas 77044
           o Owned by Lockwood Holdings, Inc.
           o Broker/Agent - CBRE
     Airport Hangar
           o 7807 Eagle Lane, Spring, TX 77379
           o Owned by 7807 Eagle Lane, LLC
           o Broker/Agent - CBRE

   Sale/Leaseback Process
       o Broker Stan Johnson & Co hired (“Sale/Leaseback Broker”)
       o Form of nondisclosure agreement completed
       o Sale/Leaseback Broker sent nondisclosure agreements to various parties
       o Timeline:
               Marketing materials – sent to 95 groups active in industrial real estate
               Due diligence – being completed by interested parties
               Initial indications of interest – expected to be provided by October 31, 2017

    Properties included sale/leaseback process:
        10002 Windfern Road, Houston, TX 77064
        10060 Windfern Road, Houston, TX 77064
        900 Business Park South Drive, Port Arthur, TX 77640
        901 Wilson Rd. Clute, TX 77531
        182 Turbo Drive Sherwood Park AB, Canada
        499 Gladwish Drive Sarnia Ontario, Canada




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                                     ANNEX D

                     TIMELINE FOR LHA AIRCRAFT SALE

   Listed with airplane broker– Completed
   Increased marketing efforts – Completed
   Placement of the aircraft in the NBAA Business Aviation Convention & Exhibition to be
    held October 10-12, 2017, in Las Vegas, NV, unless aircraft is refinanced, under
    contract of sale prior to such date, or under repair by manufacturer.




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WINSTEAD                                Austin   Charlotte   Dallas   Fort Worth    Houston     San Antonio    The Woodlands




                                                                      50 0 Winstead Building              214.745.5400     OFFICE

                                                                      2728 N. Harwood Street              214.745 .5390    FAX

                                                                      Dallas , Te xas 75201               winstead .com




                                                                                                         Rakhee V. Patel
                                                                                               direct dial: 214.745.5250
                                                                                                   matel @,winstead.com



  November 27, 2017


  Via Certified Mail, Return Receipt Requested
  and Facsimile (713) 670-3974

  C~RiUR#9414726699042009354752                          C~R1UR#9414726699042009354790
  Lockwood International, Inc.                           Michael F. Lockwood
  10060 Windfem Road                                     10060 Windfem Road
  Building B                                             Building B
  Houston, Texas 77064                                   Houston, Texas 77064

  C~RiUR#9414726699042009354769                          C~R1UR#9414726699042009354806
  Lockwood Enterprises, Inc.                             Lockwood Holdings, Inc.
  10060 Windfem Road                                     10060 Windfem Road
  Building B                                             Building B
  Houston, Texas 77064                                   Houston, Texas 77064

  C~RiUR#9414726699042009354776                          C~R1UR#9414726699042009354608
  LMG Manufacturing, Inc.                                LH Aviation, LLC
  10060 Windfem Road                                     10060 Windfem Road
  Building B                                             Building B
  Houston, Texas 77064                                   Houston, Texas 77064

  C~RiUR#9414726699042009354783                          C~R1UR#9414726699042009354615
  Piping Components, Inc.                                7807 Eagle Lane, LLC
  10060 Windfem Road                                     10060 Windfem Road
  Building B                                             Building B
  Houston, Texas 77064                                   Houston, Texas 77064
  Ladies and Gentlemen,

  We are counsel for the Administrative Agent (defined below). This letter is being sent to the
  notice address specified in the Credit Agreement (defined below) and is also being transmitted to
  Messrs. Melko and Wise and Ms. Beausoleil in their capacity as legal counsel for the Borrowers
  or Obligors, or both.



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Reference is made to that certain Amended and Restated Credit Agreement (as amended,
restated, supplemented or modified from time to time, the "Credit Agreement") dated as of
September 30, 2015, among Lockwood Enterprises, Inc., Lockwood International, Inc., LMG
Manufacturing, Inc. and Piping Components, Inc. as borrowers ("Borrowers") , the financial
institutions party thereto from time to time, as lenders (the "Lenders"), and Wells Fargo Bank,
National Association, as Administrative Agent (in such capacity, "Administrative Agent").
Capitalized terms used but not defined in this letter agreement have the meaning given them in
the Credit Agreement unless otherwise stated and section references are to the Credit Agreement
unless otherwise stated.

Reference is also made to that certain Forbearance Agreement and Third Amendment to
Amended and Restated Credit Agreement dated effective as of August 16, 2017 (the "First
Forbearance Agreement") and to that certain Second Forbearance Agreement and Fourth
Amendment to Amended and Restated Credit Agreement, dated as of September 29, 2017,
among the Borrowers, the Lenders, Administrative Agent and the other Obligors named therein
(the "Second Forbearance Agreement" and collectively, "Forbearance Agreements"). As used
herein, "Obligors" has the meaning assigned to such term in the Second Forbearance Agreement
and "Loan Documents" means the Credit Agreement, the Forbearance Agreements, the Security
Documents and all other instruments, agreements, and documents evidencing, securing, or
otherwise executed in connection with the Revolving Credit Facility.

Reference is also made to the various reservations of rights found in the Forbearance Agreements
and in e-mails and letters transmitted to the Borrowers and to counsel for Borrowers.

Pursuant to Section 3(a) of the First Forbearance Agreement and Section 4(a) of the Second
Forbearance Agreement, Obligors have acknowledged Events of Default under the Loan
Documents (collectively, the ''Existing Defaults"). In addition to the Existing Defaults, there is a
failure to timely pay interest that accrued through the date hereof (individually the "Payment
Defaults" and together with the Existing Defaults, the "Enumerated Defaults") . In addition to
the Enumerated Defaults, there may be other Defaults or Events of Default of which the
Administrative Agent and Lenders are currently unaware. As of the date hereof, the Enumerated
Defaults have not been cured or waived by the Administrative Agent and Lenders and remain in
existence.

Further, under the Second Forbearance Agreement, any agreement by Lenders and
Administrative Agent to forbear on the exercise of rights and remedies under the Loan
Documents has terminated automatically based, inter alia, on the occurrence of the Termination
Date (as defined in the Second Forbearance Agreement), and each ofthe Obligors waived (i) any
further notice of Default, notice of intent to accelerate, or demand for payment and (ii) any
further opportunity to cure any of the Acknowledged Defaults and each Obligor acknowledged
and agreed that the Administrative Agent and Lenders have the exercisable right to declare the
Obligations to be immediately due and payable under the terms of the Credit Agreement and the
other Loan Documents based on the Acknowledged Defaults. The Second Forbearance
Agreement also provides that the Administrative Agent will be entitled immediately to accelerate
the Secured Obligations, to institute foreclosure proceedings against the Collateral and to
exercise any and all of the Administrative Agent's or any Lender's rights and remedies available
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to the Administrative Agent or any Lender under the Loan Documents and the Second
Forbearance Agreement, at law, in equity, or otherwise, without further opportunity to cure,
demand, presentment, notice of dishonor, notice of Default, notice of intent to accelerate, notice
of intent to foreclose, notice of protest or other formalities of any kind, all of which were
expressly waived by the Obligors.

This letter constitutes formal notice to the Borrowers that the Administrative Agent, with the
consent of the Required Lenders, hereby (i) terminates any obligation of each Lender and the
Issuing Bank to make extensions of credit (including making advances and issuing Letters of
Credit) under the Credit Agreement and (ii) accelerates the balance of all outstanding
Obligations under the Credit Agreement (including, but not limited to, and together with
principal, interest, fees, reimbursements, indemnifications and all other amounts payable under
the Credit Documents) in light of the Enumerated Defaults. Accordingly, (a) the full amount of
all outstanding Obligations under the Credit Agreement are immediately due and payable in full
and (b) Borrowers shall immediately deposit in a Cash Collateral account opened by the
Administrative Agent an amount equal to the aggregate undrawn and unexpired amount of the
Letters of Credit, and the Administrative Agent demands immediate payment ofboth as provided
in the Loan Documents.

Section 4.1(c) the Credit Agreement relating to interest after Default is in effect.

As permitted under the Loan Documents and the Uniform Commercial Code, available cash
collateral funds on deposit in pledged Wells Fargo Bank, N.A. deposit account ending in 1933
have been and may be swept at the discretion of Administrative Agent and applied to the
Obligations.

You are hereby notified that Administrative Agent and Lenders do not and have not waived any
of their rights and remedies resulting from any Events of Default, including but not limited to,
the Enumerated Defaults. Administrative Agent and Lenders may immediately, without further
notice of any kind, assert any and/or exercise all remedies or rights that may be available to them
including, without limitation, offset of deposit accounts, foreclosure of Collateral securing
payment of the Obligations, and the pursuit through legal proceedings of all parties obligated on
or guaranteeing the Obligations. Obligors should not rely upon the Administrative Agent or
Lenders continuing to refrain from pursuing any of their rights, remedies and recourses as may
be otherwise available to the Administrative Agent or Lenders.

Please be advised that any litigation may include not only the full amount of principal and
accrued interest due under the Obligations, but also may include expenses, attorneys' fees and
costs of court, or other charges allowable or payable under the Loan Documents, applicable law
or in equity as well.

In the event the election is made to proceed with foreclosure and the Collateral is sold at
foreclosure sale for an amount insufficient to satisfy the entire unpaid balance of principal,
accrued interest and any other amounts payable pursuant to the terms of the Credit Agreement
and the other Loan Documents, Borrowers will be liable for the deficiency to the extent
permitted by law.
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The existence or continuance of Enumerated Defaults or additional Events of Default, or both, do
not relieve the Borrowers and the other Obligors of their payment, reporting and covenant
obligations under the Loan Documents.

Administrative Agent's and Lenders' past or future failure to exercise available rights and
remedies or acceptance of any payment(s) is not intended to (i) operate as a waiver of (a) rights
and remedies available to Administrative Agent or Lenders pursuant to the Loan Documents
including, without limitation, all rights, remedies and powers granted under the Credit
Agreement, any other Loan Document, the Uniform Commercial Code, applicable federal or
state law or at law or in equity or (b) any default, including the Enumerated Defaults, which may
exist under the Credit Agreement or any other Loan Document, (ii) indicate agreement of the
part of Administrative Agent or Lenders to forbear from exercising rights and remedies,
(iii) indicate agreement by the Administrative Agent or Lender to renew, extend or refinance any
of the Obligations or (iv) establish or operate as a course of dealing between the parties. Further,
any single or partial exercise by Administrative Agent or Lenders shall not act as a waiver of, nor
prevent Administrative Agent or Lenders from exercising any right, remedy, or power available
to them, including, without limitation, all rights, remedies and powers granted under the Credit
Agreement, any other Loan Document, and at law or in equity.

This letter is being transmitted as a courtesy to you,   and is not an admission that any written
notice regarding the Event of Default is otherwise due   to Obligors, nor is it an election or waiver
of the rights and remedies of Administrative Agent       or Lenders. This letter further does not
waive, abrogate or supersede the First Reservation       of Rights or the Second Reservation of
Rights.

Any future negotiations or discussions (whether written or oral) with any agent or representative
of the Administrative Agent or Lenders regarding the Credit Agreement or the other Loan
Documents shall not be binding upon the Administrative Agent or Lenders and the Obligors may
not rely on any such negotiations or discussions (whether written or oral) unless and until it is in
writing and signed by an authorized agent or representative of the Administrative Agent and
Lenders.

Nothing in this letter shall be deemed to be or construed as a demand for payment of any sum in
excess of the amounts which are lawfully owed to Lenders pursuant to the Loan Documents.
The intention is to demand on behalf of Lenders payment for only the amount provided for in the
Loan Documents.

IMPORTANT NOTE: Notwithstanding anything herein, to the extent that any party related to
this matter or to whom this correspondence is addressed is subject to the protection or
proceedings of a bankruptcy court acting under the United States Bankruptcy Code (Title 11 of
the U.S. Code), such party is advised that this communication is transmitted to such party for
informational purposes only and is not intended to violate any stay or injunction or to constitute a
demand for payment or an attempt to collect any indebtedness that may have been discharged or
is currently being administered in connection with a pending bankruptcy proceeding. To that
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end, if any party related to this matter in receipt of this correspondence is subject to the
protection or proceedings of a bankruptcy court acting under the United States Bankruptcy Code,
please notify the undersigned, or direct your counsel to notify the undersigned, if represented by
counsel, in writing immediately. Regardless of the pendency of any bankruptcy proceeding, if
any party to which this correspondence is addressed is represented by counsel, please direct your
counsel to contact the undersigned.



                                                    [ly~ .            rL.
                                                    Rakhee V. Patel


cc:     Mr. Michael Hilliard (via email)
        Mr. John Melko (via emailjmelko@gardere.com)
        Ms. Sharon Beausoleil (via email sbeausoleil@gardere.com)
        Mr. Mark Wise (via email mwise@zimmerlaw.com)
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                                                                                         Wells Fargo Bank, N.A.
                                                                                         5080 Spectrum Drive
                                                                                         Suite400
                                                                                         Addison, TX 75001

                                                                                         wellsfargo.com




                               NOTICE TO ACCOUNT DEBTOR AND DIRECTION

December 1, 2017


Via Certified Mail, Return Receipt Requested #9414726699042060161368
and First Class U.S. Mail




Re:       Lockwood International, Inc., Lockwood Enterprises, Inc., LMG Manufacturing, Inc. and Piping
          Components, Inc. (each a "Borrower" and collectively, the "Borrowers")


To Whom It May Concern,

YOU MUST FOLLOW THE INSTRUCTIONS IN THIS LETTER.

Please be advised that Wells Fargo Bank, National Association, as Administrative Agent, ("Wells Fargo ") is a
secured creditor with respect to the accounts receivable of the Borrowers, has the right to notify and direct account
debtors to make payments due or to become due to be remitted to Wells Fargo, and is entitled to receive all
payments on those obligations.

PURSUANT TO THE TERMS OF THE SECURITY AGREEMENT (DEFINED BELOW) AND THE
UNIFORM COMMERCIAL CODE, YOU, AS AN ACCOUNT DEBTOR OF ONE OR MORE OF THE
BORROWERS, ARE HEREBY NOTIFIED AND DIRECTED TO REMIT ALL AMOUNTS DUE AND
OWING, AND THAT HEREAFTER BECOME DUE AND OWING, UNDER YOUR ACCOUNT
OBLIGATIONS TO ONE OR MORE OF THE BORROWERS AS FOLLOWS :

A.         If you ordinarily pay by check, money order or cashier's check, send your payment immediately and
           directly to Wells Fargo at the following address:

                         Wells Fargo Bank
                         123 S Broad St
                         MC: Yl375-084
                         Philadelphia, P A 19109
                         Attention: Rowena Overton

Checks should continue to be made payable to the applicable Borrower(s).




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B.         If you pay by electronic funds transfer, wire transfer or automated clearing house payment, you
           should continue to remit payments to the Wells Fargo account to which you were previously
           instructed by one or more of the Borrowers in your ordinary course of dealings with them unless
           otherwise directed by Wells Fargo in writing.

NOTE THAT YOU SHOULD NOT ACCEPT NEW ELECTRONIC PAYMENT INSTRUCTIONS
FROM ANY OF THE BORROWERS AND SHOULD IMMEDIATELY CONTACT WELLS FARGO
FOR PAYMENT INSTRUCTIONS IF ANY SUCH REQUEST IS MADE BY ANY OF THE
BORROWERS.

As used herein, the term "Security Agreement" means the Pledge and Security Agreement dated as of
September 30, 2015, as amended, restated, supplemented, modified or replaced from time to time, entered
into by the Borrowers, among other parties, and Wells Fargo.

Please note that Section 9.406 of the Uniform Commercial Code provides that once an account
debtor has been notified of the assignment of accounts, the account debtor may not discharge its
obligation by paying the assignor (in this case, the Borrowers) and, thus, remitting payment to
anyone other than Wells Fargo will not absolve your obligation to Wells Fargo as assignee of such
accounts.

Should you fail to comply with this notice, Wells Fargo will proceed with any and all available legal
remedies against you pursuant to applicable law.

Thank you in advance for your cooperation. Future written communications with Wells Fargo regarding
this matter should be directed to Jennifer Norris at the address listed below, and should you have any
questions regarding this notification and direction, please do not hesitate to call Ms . Norris at
(972) 419-3119 .


                                                  Sincerely,

                                                  WELLS FARGO BANK, NATIONAL ASSOCIATION,
                                                  as Administrative Agent



                                                  By~ Je ·fer L. orris
                                                      S ior Vice President
                                                      5080 Spectrum Drive
                                                      Suite 400
                                                      Addison, TX 75225




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                                                                                          wellsfargo.com




______________________________________________________________________________________
                                 NOTICE TO ACCOUNT DEBTOR AND DIRECTION

  December 11, 2017


  Via Certified Mail, Return Receipt Requested # 9314869904300041296817
  and First Class U.S. Mail




  Re:     Lockwood International, Inc., Lockwood Enterprises, Inc., LMG Manufacturing, Inc. and Piping Components,
          Inc. (each a "Borrower" and collectively, the "Borrowers")


  To Whom It May Concern,

  YOU MUST FOLLOW THE INSTRUCTIONS IN THIS LETTER.

  Please be advised that Wells Fargo Bank, National Association, as Administrative Agent, ("Wells Fargo") is a secured
  creditor with respect to the accounts receivable of the Borrowers. Wells Fargo has the right to notify and direct account
  debtors to remit payments due or to become due to Wells Fargo and is entitled to receive all payments on those
  obligations.

  PURSUANT TO THE TERMS OF THE SECURITY AGREEMENT (DEFINED BELOW) AND THE UNIFORM
  COMMERCIAL CODE, YOU, AS AN ACCOUNT DEBTOR OF ONE OR MORE OF THE BORROWERS, ARE
  HEREBY NOTIFIED AND DIRECTED TO REMIT ALL AMOUNTS DUE AND OWING, AND THAT
  HEREAFTER BECOME DUE AND OWING, UNDER YOUR ACCOUNT OBLIGATIONS TO ONE OR MORE
  OF THE BORROWERS AS FOLLOWS:

  A.      If you ordinarily pay by check, money order or cashier's check, send your payment directly to Wells Fargo at the
          following address:

                  Wells Fargo Bank
                  123 S Broad St
                  MC: Y1375-084
                  Philadelphia, PA 19109
                  Attention: Rowena Overton

  Checks should continue to be made payable to the applicable Borrower(s).
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B.      If you pay by electronic funds transfer, wire transfer or automated clearing house payment, send your payment
        directly to Wells Fargo as follows:

                ABA or ACH#:
                Account #:
                Ref: Lockwood International
                Attn: Jennifer Norris

NOTE THAT YOU SHOULD NOT ACCEPT NEW ELECTRONIC PAYMENT INSTRUCTIONS FROM ANY OF
THE BORROWERS AND YOU SHOULD IMMEDIATELY CONTACT WELLS FARGO FOR PAYMENT
INSTRUCTIONS IF THE BORROWER MAKES ANY SUCH REQUEST. YOU SHOULD DISREGARD ANY
PAYMENT INSTRUCTIONS OTHER THAN THE INSTRUCTIONS CONTAINED IN THIS LETTER.

As used herein, the term "Security Agreement" means the Pledge and Security Agreement dated as of September 30,
2015, as amended, restated, supplemented, modified or replaced from time to time, entered into by the Borrowers, among
other parties, and Wells Fargo.

Please note that Section 9.406 of the Uniform Commercial Code provides that once an account debtor has been
notified of the assignment of accounts, the account debtor may not discharge its obligation by paying the assignor
(in this case, the Borrowers) and, thus, remitting payment to anyone other than Wells Fargo will not absolve your
obligation to Wells Fargo as assignee of such accounts.

Should you fail to comply with this notice, Wells Fargo will proceed with any and all available legal remedies against you
pursuant to applicable law.

Thank you in advance for your cooperation. Future written communications with Wells Fargo regarding this matter should
be directed to Jennifer Norris at the address listed below, and should you have any questions regarding this notification
and direction, please do not hesitate to call Ms. Norris at (972) 419-3119.


                                                Sincerely,

                                                WELLS FARGO BANK, NATIONAL ASSOCIATION,
                                                as Administrative Agent


                                                By:
                                                Jennifer L. Norris
                                                Senior Vice President
                                                5080 Spectrum Drive
                                                Suite 400
                                                Addison, TX 75225
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       November 17, 2017

       Re:      Remittance Address Change
                Lockwood International, Inc.

       To Whom It May Concern,

       Please be advised that Lockwood International’s remittance information
       has changed. Please update your systems with the new details as
       follows:

       Remittance by Mail:

       Lockwood International, Inc.
       PO Box 53466
       Houston, TX 77052

       Remittance by Wire or ACH:

       Bank of America
       9006 West Sam Houston Parkway N.
       Houston, TX

       Account:
       Routing:         026009593
       SWIFT:           BOAFAUS3N

       Thank you for your assistance in this matter.




10203 Wallisville Road, Houston, Texas USA 77013   Toll Free: 800.456.5625   Phone: 713.675.8186   Fax: 713.675.2733

                                                   lockwoodint.com
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From: Atasi, Yasmin
Sent: Monday, December 18, 2017 6:06 PM
To: 'fspagnoletti@spaglaw.com'; 'dtoy@spaglaw.com'; 'erhine@spaglaw.com'
Cc: Hilliard, Mike; Patel, Rakhee
Subject: RE: Lockwood International - CEASE AND DESIST
 
Counsel, we have just learned that Lockwood has been using its inventory – the Bank’s collateral – to satisfy and pay 
debts it owes to Lockwood’s creditors.  This is yet another violation of Lockwood’s obligation under the Credit 
Agreement and Pledge and Security Agreement: Lockwood agreed that it would not to sell any inventory other than in 
the ordinary course of business.  Accordingly, in addition to ceasing from interfering with Wells Fargo’s rights to the 
accounts receivable of the Borrowers, demand is hereby made that Lockwood immediately cease and desist from 
depleting and disposing of the  inventory (and any other Collateral), including, but not limited to, transferring 
inventory to any creditors to repay any debts owed by Lockwood to its creditors. 
 
We also demand that Lockwood provide and disclose  an accounting of all inventory transferred to any creditors / 
customers in satisfaction of Lockwood’s debt, including the identity of all creditors / customers, the debt amount and 
date incurred, the purpose of the debt, the date(s) on which inventory was transferred and the nature and amount of 
inventory transferred.  
 
Please respond by no later than Tuesday at 10:00am.  Thank you. 
 
Yasmin Atasi, Shareholder 
Winstead PC | 600 Travis Street | Suite 5200 | Houston, Texas 77002 
713.650.2735 direct | 713.650.2400 fax | yatasi@winstead.com | www.winstead.com  
 
PLEASE NOTE NEW ADDRESS 
 
From: Atasi, Yasmin
Sent: Thursday, December 14, 2017 4:48 PM
To: 'fspagnoletti@spaglaw.com'; 'dtoy@spaglaw.com'; 'erhine@spaglaw.com'
Cc: Hilliard, Mike; Patel, Rakhee
Subject: Lockwood International - Cease & Desist Letter
 
Gentlemen, please see the attached letter. 
Frank, thank you for calling today, and I look forward to hearing back following your meeting with Mike Lockwood 
tomorrow. 
Thank you, Yasmin. 
 
Yasmin Atasi, Shareholder 
Winstead PC | 600 Travis Street | Suite 5200 | Houston, Texas 77002 
713.650.2735 direct | 713.650.2400 fax | yatasi@winstead.com | www.winstead.com  
 
PLEASE NOTE NEW ADDRESS 
 




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